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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF COLUMBIA
                                   Civil Division

JAQUIA BUIE                   )
                              )
     Plaintiff,               )
                              )
vs.                           )                Civil Action No. 1:16-cv-01920 (CKK)
                              )                Judge Colleen Kollar-Kotelly
DISTRICT OF COLUMBIA, et. al. )
     Defendants               )
                              )



                          PLAINTIFF’S OPPOSITION TO DEFENDANT’S
                            MOTION FOR SUMMARY JUDGEMENT



               Plantiff submits herein responses to Defendant’s Statement of Facts and,

in addition, provides its own Issues of Material Fact, and Memorandum of Points and

Authorities in Support of its opposition. Plaintiff has failed to meet its burden, and its

motion should be denied.1




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        Plaintiff withdraws Count Ten: Breach of Fiduciary Duty.
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                         UNITED STATES DISTRICT COURT
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     Plaintiff,               )
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vs.                           )               Civil Action No. 1:16-cv-01920 (CKK)
                              )               Judge Colleen Kollar-Kotelly
DISTRICT OF COLUMBIA, et. al. )
     Defendants               )
                              )



               PLAINTIFF’S ISSUES OF MATERIAL FACT


               1.      Officer Darrell Best attempted to rape Jaquia Buie at MPD

headquarters on the evening of December 3, 2014.

In full police uniform and armed with his service weapon—came over to her, and despite

her resistance, unbuttoned Jaquia’s shirt, pulled up her bra, and exposed her breasts. Ex.

1, Jaquia Buie (“J. Buie”) Tr. at 228:18-230:12. He pressed his head into her bosom as she

resisted and tried to re-button her shirt, but he was too strong. Id. at 230:13-17. He asked

her why she was acting “like a little girl.” “But I am a little girl,” she responded. Id. at

231:1-7. He turned out the lights and told her that he wasn’t going to play. Id. at 232:1-

3, 232:20-233:3. She repeatedly tried to get away from him. Id. at 231:7-18, 232:3-6,

232:21-22. Officer Best then unzipped his pants and pulled out his penis. Id. at 233:11-

12. He removed his sidearm from its holster, and placed it in conspicuous proximity to

her. Id. at 233:16-20, 237:8-12. Then he told her to touch his penis, but she refused. Id. at

237:10-12. He told her to stop acting scared and unfastened her pants and tried to press his

penis into her vagina. Id. at 238:6-15. She struggled vigorously to keep her pants on while
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he tried to pull them down. Id. Best relented, but warned Jaquia “no one better find out

about this;” she saw him looking at his gun when he said it; and she responded, “Okay.”

Id. at 242:17-243:4.

               2.      On the evening of Dec 3, 2014, Darrell Best seized Jaquia Buie

in violation of the 4th Amendment of the Constitution of the United States of America.

Officer Best met Jaquia at the metro station, as he had arranged. He arrived in an unmarked

police cruiser around 6 p.m. on December 3, 2014, in full police uniform, wearing his

service weapon on his hip. Id. at 176:11-13, 223:2-4. After being seated at Georgia

Brown’s for dinner, a conversation ensued about Jaquia’s interest in becoming a police

officer. Abruptly, Officer Best turned to vile sexual inquiry about young Jaquia, asking

her, among other outrageous questions, if she liked “getting her pussy ate.” Id. at 181:9-

13. She spit out her tea. Id. at 182:4-6. She asked him to stop. Id. at 201:8-13. When he

persisted, she got up and headed toward the Metro to go home. Id. at 205:6-19. Officer

Best followed her out the restaurant and called her name several times. “Come here,” he

said in a hushed but commanding tone. “Come here.” Id. at 205:6-206:12, 207:1-12. She

was scared: he was “police.” Id. at 204:19-22. She turned and went back to the police

cruiser where he was standing. Id. at 210:2-6. He ordered her to get into the cruiser, so she

did, with the understanding that he was driving her home. Id. at 210:14-16, 211:10-14,

240:14-17. Jaquia realized that Officer Best was not taking her home when he turned right

at the Third Street Tunnel. Id. at 211:15-20. “I have to go home. I have to get home,” she

protested. Id. at 212:5-11. But he said that he had “work to finish up.” Id. at 212:5-11.




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               3.      On the evening of December 3, 2014, Officer Best violated

Jaquia Buie’s right to bodily integrity in violation of the 5th Amendment of the

Constitution of the United States of America.

See same record facts in support of Issue number “1.”

               4.      Officer Best misused power that he possessed by virtue of state

law and made possible only because he was clothed with authority of state law.

Officer Best met Jaquia at the metro station. He arrived in an unmarked police cruiser

around 6 p.m. on December 3, 2014, in full police uniform, wearing his service weapon on

his hip. Id. at 176:11-13, 223:2-4. After inducing her to get into his police cruiser on the

premise he would take Ms. Buie home. Id. at 210:14-16, 240:15-17. He proceeded to the

entry gate of an underground garage, where the person overseeing the gate acquiesced to

his badge and granted access. Id. at 213:2-17. Jaquia asked Officer Best if she could wait

in the car. Id. He said, “no” and pointed to a car that he said belonged to Chief of Police,

Cathy Lanier, telling her that “Chief Lanier’s in here. You can’t sit down here.” Id. Best

made Jaquia believe that she had to leave the garage and go into MPD headquarters. Id. at

213:18-214:2. He took Jaquia to Elevator 12, the special, secure elevator for high-ranking

police officials, which allowed them to bypass security they would otherwise encounter at

the fifth floor when using a standard elevator. Ex. 9, Elevator log; Ex. 10, Elevator photos;

Ex. 5, Inspector Dickerson Tr. at 167:14-168:9. Officer Best also used a credential/fob that

MPD issued him to give him access to Elevator 12. Ex. 1, J. Buie Tr. at 214:11-20. Jaquia

looked around for a security camera; she wanted to make sure that a security camera got a

picture of her face if anything happened to her, because she was really scared. Ex. 11, Mrs.

Shenita Buie (“S. Buie”) Tr. at 102:12-15.



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               5.      The MPD provides statement of its policies and interpretation

of policy through written directives called General Orders.

Plaintiff asks this Court to take judicial notice of the section on General Orders posted on

the MPD official website at https://mpdc.dc.gov/node/423092

               6.      General Order 120.21, Disciplinary Procedures and Processes

(“General Order 120.21”), exist “to establish policies rules and procedures for

handling discipline relating to the alleged misconduct of sworn members . . .” It

contains a Table of Offenses and Penalties, which “serves as the basis for an Official

Reprimand or Adverse Action” at MPD. But there is no mention of the subject

police sexual misconduct or even a single type of police sexual misconduct.

Ex. 12, General Order 120.21, at 1, and “Table of Offenses and Penalties,” at 1-3.

               7.      General Order 120.23, Serious Misconduct Investigations,

among other things, defines what the MPD considers as “Serious Misconduct.” But

there is no mention of the subject of police sexual misconduct or even a single type

of police sexual misconduct.

Ex. 13, General Order 120.23, at 2-3.

               8.      The MPD has no written police sexual misconduct policy.

If there was one, it would have been provided in discovery, and that did not happen.

Ex. 14, Lou Reiter Tr. 42:15-22; 43:1-11; Ex. 5, Inspector Dickerson Tr. at 180:10-182:1;

Ex. 15, Alphonso Lee Tr. at 12:11-13-20.

               9.      The MPD is affiliated with International Association of Chiefs

of Police (“IACP”).

Ex. 5, Inspector Dickerson Tr. at 170:4-172:2



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               10.      In 2005, the U.S. Department of Justice, Office on Violence

Against Women, awarded a grant to the IACP for it “to examine the problem of

sexual offenses and conduct [committed by law enforcement] and to develop

resources to assist law leaders in investigating and preventing incidents.”

Ex.7, Addressing Sexual Offenses and Misconduct by Law Enforcement: Executive

Guide, International Association of Chiefs of Police, 2011, at 2; Defendant’s Ex. 25,

Reiter Preliminary Expert Report, at 8, 12-13; Defendant’s Ex. 27, Reiter Second

Supplemental Report, at 2.

               11.      In June of 2011, the IACP published, Addressing Sexual

Offenses and Misconduct by Law Enforcement: Executive Guide. (“IACP Guide”)

The guide provides clear instructions, derived from broad deliberation involving a

wide range of input from law enforcement leaders and personnel, as well as

scholarly research on how to institute and establish a police sexual misconduct

policy.

Ex. 7, Addressing Sexual Offenses and Misconduct by Law Enforcement: Executive

Guide, at 5-6, 12-13.

               12.      Relying on general offenses, such as Conduct Unbecoming an

Officer and/or MPD’s EEO policy, which, among nineteen (19) other EEO topics,

addresses sexual harassment, the District falsely contends that it has a written police

sexual misconduct policy.

Defendant Exhibit 25 at 9 (Mr. Lou Reiter, plaintiff’s police practices and procedures

expert noted that the IACP Guide advised, “that police agencies not rely on vague

administrative charges and should develop specific policies to address [police sexual]



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misconduct. Specifically, the report presented model language that should be used or

adopted in police department policies.” Ex. 5, Inspector Dickerson Tr. at 180:10-182:1;

Ex. 16, General Order 201.09, Equal Employment Opportunity, at 2-5; Ex. 15 Alphonso

Lee Tr. at 12:16-13-20, 29:1-14.

               13.     The IACP National Working Group on Sexual Offenses by

Police Officers, which produced, Addressing Sexual Offenses and Misconduct by Law

Enforcement: Executive Guide, involved police representatives from Delaware,

Maryland, Virginia, Pennsylvania, and other states. But there was no one from the

MPD. The MPD has—by all indications—ignored the contents of the guide.

Id. at Table of Contents. Inspector referred to the IACP non-exhaustive list of the types of

police sexual misconduct in the IACP Guide as an example of the things the District

“potentially would say as an agency that relate to sexual misconduct. She cannot explain

why it hasn’t already been done, but she “think[s] it’s needed, absolutely.” Ex. 5,

Inspector Dickerson Tr. at 171:6-172:2; 180:10-182:1.

               14.     It is the custom, pattern, and practice, i.e., the policy, of the

District of Columbia not to have a written police sexual misconduct policy.

Ex. 14, Reiter Tr. 42:15-22; 43:1-11. Mr. Lou Reiter, Plaintiff’s police practices and

procedures expert, found “systemic deficiencies” of the customs, pattern, and practice of

the MPD with respect to police sexual misconduct, which “created an environment where

a reasonable officer could believe that there would be little, if any, employment sanctions

for engaging in sexual and domestic misconduct.” Defendant’s Ex. 25, Reiter

Preliminary Expert Report, at ¶ 23. In his opinion, MPD made a “conscious choice to

avoid enacting specific written policies and procedures” regarding police sexual



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misconduct. Id. at ¶ 24. Mr. Reiter noted MPD’s lack of training specific to police sexual

misconduct; supervisory oversight failures, including the retention of Officer Best after

two charges of misconduct were sustained against him, and administrative investigatory

inadequacies. Id. at ¶ 22. It is his opinion that the harm suffered by Jaquia Buie “was the

result of the environment created by the MPD’s customs, practices and policies”

pertaining to police “sexual and domestic misconduct by MPD employees.” Id.

Mr. Reiter examined the investigative files of other MPD officers accused of police

sexual misconduct in his Supplemental Expert Report. See Defendant’s Ex. 26, at 7-15.

While reviewing these files, Mr. Reiter found what appeared to be “persistent and

widespread custom of MPD officers abusing the most vulnerable female victims in the

community.” Id. at 11. See also, Defendant’s Ex. 25, Reiter Preliminary Expert Report, at

¶ 25. He pointed to the IACP Guide as a widely recognized standard on police sexual

misconduct policies and quoted a passage from the Guide explaining why police

departments resist implementing specific police sexual misconduct policy that is

particularly apt in this case:

“Two reasons are commonly offered by executives as to why they would resist

instituting a sexual misconduct policy or program. First, they report that there is no

sexual misconduct problem in their agency. This may be an indicator of an undetected or

denied problem. Leaders must be aware of the potential and willing to implement policy

and procedures for monitoring and intervening proactively. Second, because policies are

typically “incident driven,” they admit they are unlikely to develop a policy until one is

absolutely necessary. To merely address issues and behaviors after they arise is an




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ineffective operating model and a lapse in critical oversight that can create significant

liability while risking the public’s trust and confidence.”

Id. at ¶11, at p. 10-11, quoting IACP Guide, at 6.

               15.     This custom, pattern or practice, was the moving force behind

the constitutional violations against Jaquia Buie.

The police practices and procedures expert concluded that the lack of a specific police

sexual misconduct policy “causes these serious acts of officer misconduct to occur” when

there is no “reasonable investigation or imposition of sanctions” when an officer engages

in police sexual misconduct. Id. at 2.

               16.     The absence of a written police sexual misconduct policy at the

MPD precludes the prospect of adequate training or supervision of its members

about police sexual misconduct, because MPD has consciously chosen not to

identify, define, or craft into a written policy a proactive set of standards to enable it

adequately to train or supervise its members with respect to police sexual

misconduct.

                       The results of the two computer generated searches using the term

                       “sex” that the District produced in discovery reveal not only

                       inadequacies in how MPD investigates and disciplines police sexual

                       misconduct, but also how poorly the District keeps track of them.

                       Ex. __ “IAD 2006 thru 2018” (“IAD Sex Search”) and Ex. 18 “DRD

                       2006 thru 2018” (“DRD Sex Search”)

               17.     The District presents 1 of the 20 sections of its EEO policy, the

sexual harassment section of its EEO policy as the core of its purported police sexual



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misconduct policy. But sexual harassment is only one (1) of, at minimum, ten (10)

types of police sexual misconduct.

Ex. 15 Alphonso Lee Tr. 29: 1-14. Ex. 7, Addressing Sexual Offenses and Misconduct by

Law Enforcement, at 5-6: (“While strong policies prohibiting sexual harassment are

necessary, relying on existing sexual harassment policies to cover matters of sexual

misconduct involving members of the public is completely inadequate.”)

               18.     In 2009 Internal Affairs specifically warned the District about

Best’s proclivity for police sexual misconduct and telegraphed concern about the

prospect of serious legal action in connection with his behavior.

On April 15, 2009, Internal Affairs issued its final report in the second sexual harassment

case against Best (the Lee matter.) The final report referred to the Raynette Jones case,

(“IS#08003668”) and contained a warning: “. . .it appears that Sergeant Best continues to

engage in behavior that may leave the Department open for serious legal action.

Essentially, Sergeant Best has been involved in two reported sexual harassment

allegations, and although the first complaint has a finding of Insufficient Facts, there are a

number of factor that are similar. It can be suggested that he used his position of

authority to try to intimidate the women. Additionally, the alleged inappropriate touching

touch place in which Sergeant Best made sure there would not be any witnesses. Both

Women were allegedly touched on the buttocks.” due to the “disturbing similarity of

Sergeant Best’s most recent complaint . . . it appears that Sergeant Best continues to

engage in behavior that may leave the Department open for serious legal action…”

Defendant Exhibit 14, at 6.




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                  19.   The District inadequately investigates and disciplines police

sexual misconduct.

Mr. Reiter’s opinion after review of the produced administrative investigations, supported

his initial opinion that the “practice of the MPD for investigating and adjudicating

allegations of sexual misconduct are seriously egregious, contrary to reasonable and

generally accepted police practices, and in many cases simply a perfunctory reaction to an

allegation that often only stays within the four-corners of the complaint.” Importantly, he

said that these investigations simply corroborated his opinion that the Officer Best

investigations were “not an anomaly and represent a conscious choice by the MPD and are

consistent with its operational practices both before and after the 2014 incident involving

Officer Best and the Plaintiff in this case.” Defendant’s Ex. 26, Reiter Supplemental

Report, at 5-6.

Former Sgt. Best’s first sexual harassment incident arose approximately two months after

met Raynette Jones in July 2007. She was 20 years old and was interested in getting into

MPD’s police cadet program. Best offered to help her. She came Best’s office at the

police academy, and he helped her fill out her application. Ex. 3, Jones Investigation, at

DC 001553-54. Ms. Jones was hired by the MPD Cadet Program on July 27, 2007 and

assigned to the police academy in September 2007. Id. at DC 001552-53. On April 28,

2008, Cadet Jones was interviewed and told the investigator that Sgt. Best five called her

on her cell phone summoning her to his office at the police academy and locked the door,

groped her, including her breasts and genital area. Id. at DC 001553, 001558-001561.

She said had Best repeatedly solicited oral and genital sex between five and ten times

from September when she was assigned to the police academy until December of 2007.



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Id. at DC 001561. Best was reassigned to the police academy in May 2008 pending the

investigation. Id. at DC 001473.

The Internal Affairs Division assigned the investigation to an agent who had known Best

since they were as cadets at the police academy and had maintained a friendship with him

for 28 years. Ex. 19 Webster Tr. 28:2-19. The District’s Rule 30(b)(6) witness testified

that assignment of the case to an investigator with a twenty-plus friendship with the target

was “a conflict.” Ex. 5, Inspector Dickerson Tr. 37:4-17.

Cadet Jones gave the investigator the name of a male cadet that she had told of Best’s

conduct, the only person she had told. Id. at DC 001559. She told the investigator that

Best called on her cell phone three to five times. Id. at DC 001560. There is no evidence

in the investigative file that the male cadet was interviewed or that cell phone records

were subpoenaed, despite the agent’s written note in the file of the five “Things to Do”

and Number 3 was “Interview Haywood” (the name of the male cadet) and Number 5

was “Subpoena phone records (Best and Jones’). Id. at DC 001547. Inspector Dickerson

confirmed there was no evidence of the interview or phone records in the file. Ex. 5

Inspector Dickerson, Tr. at 152:9-153:6. She testified that the Jones investigation was

not “comprehensive.” Id. at 153:15-154:1.

Also, missing from the file were two 2007 cases against Best: an Adverse Action and a

domestic violence case (Ex. 4, Fraud/Time Attendance; Ex.18, Domestic Violence) from

Best’s “Officer History Summary” list. Ex. 3, Jones Investigation, at DC 001529.

The offense, “Second Degree Sexual Abuse of a Ward,” did not fit the facts of the case

because Jones was not a ward. Ex. 3, Jones Investigation, at DC 001484-001489. See

D.C. Code, Title 22, §22-3014. The case was not sent to the United States Attorney



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Office for review until sometime after June 19, 2008. Ex. 3, Jones Investigation, at DC

001509. No surprise that on August 1, 2008, the USAO declined to prosecute Best for

Second Degree Sexual Abuse of a Ward because the case did not meet the criminal

elements of that offense. Id. at DC 001508. Inspector Dickerson later testified that she

the criminal charge of Second Degree Sexual Abuse of a Ward did not fit the facts of the

case. Ex. 5 Inspector Dickerson, Tr. at 163:11-166:1.

A lieutenant at the police academy notified then Assistant Chief Peter Newsham on April

22, 2008 that her team would draw an IS number for the case that morning. However, the

investigator did not create the IS number (IS#08-3668) until August 6, 2008. Ex. 3, Jones

Investigation, at DC 001473. The period between the date MPD was notified (April 21,

2008) and the date of the final Jones report was inexplicitly in excess of the 90-day limit

for administrative investigations to be completed, according to Inspector Dickerson. Ex.

5, Inspector Dickerson Tr. 123:1-124:11.

More, Best’s 2007 Adverse Action for time and attendance fraud and willfully and

knowingly making an untruthful statement would have been relevant for assessing Best’s

credibility in the Cadet Jones matter, according to Inspector Dickerson. Id. at 90:20-91:2.

On October 22, 2008, a newly hired civilian employee in the Fifth District filed a

complaint against Best, alleging that Best touched her buttocks, suggested that she get a

hotel room, and offered to give her a massage. Defendant’s Ex. 14, at 2. The MPD

assigned the same investigator to handle the second criminal sexual assault investigation

against Best. Id., at 1. Chief Lanier placed Best on administrative leave on October 31,

2008, and his police powers remained revoked until October 2009. Ex. 2, Best Personnel

History, DC 000980; Defendant’s Ex. 16.



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Notably, there is a 2010 memo from then Assistant Chief Michael Anzallo asking

whether a Seventh District sergeant’s police powers should be revoked pending

completion of the criminal investigation. The disciplinary wing of the MPD responded

that it does not revoke an officer’s police powers until the second sexual assault case is

filed against him, specifically citing “i.e. Daryl Best case.” Exhibit 21, Anzallo memo.

               20.     Sergeant Best’s first police misconduct investigation, which the

District in its summary judgment motion describes as irrelevant and which MPD

officially declared had insufficient facts was seriously inadequate and should have,

according to the District’s own 30(b)(6) designee, former Director of Internal

Affairs Division, Inspector Kimberly Dickerson, been sustained.

Ex. 5 Inspector Dickerson Tr. at 37:4-15, 210:21-213:11; Ex. 13, General Order 120.23,

Section IV, Regulations, subsection H, at 5.

               21.     The District has a custom, pattern or practice, of ignoring vital

EEOC-promulgated standards for assessing credibility in sexual harassment cases.

Ex. 5: Inspector Dickerson Tr. at 65:22-66:6. The District gives lip service to these

standards. “Since sexually harassing conduct is often displayed behind closed doors with

no eyewitnesses, the EEOC permits the use of circumstantial evidence to raise an inference

of discrimination . . . [and] in the absence of evidence or eyewitness testimony, an

investigator may rely on a subjective assessment of the credibility of the complainant and

the target.”   Defendant’s Ex. 14 (the Lee matter Final Report), at DC 001001-02.

Interestingly, the same investigator chose to remove this language from the Final Report

in the Jones investigation. Ex. 5, Jones Investigation, at DC 001481.




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               22.     By 2009, the District was on notice that Officer Best was a

lying, undutiful, miscreant, with a penchant for police sexual misconduct, about

which Internal Affairs had specifically admonished MPD in writing.

On May 21, 2007, Chief Lanier suspended Best for thirty (30) days for fraud for working

52 hours of outside employment in conjunction with his official on-duty hours for which

he was compensated by the MPD, and for altering his time card with “Wite-out” to

represent that he had not worked outside employment when in fact he did. Ex. 4,

Fraud/Time Attendance.

Nine days later, Best’s wife filed a domestic violence case and got a Temporary

Protection Order against him The MPD did not investigate. Ex. 20, Domestic Violence.

On December 12, 2011, a man called Internal Affairs and alleged that Best was having an

intimate relationship with his wife and wore his service weapon in the pulpit of his

church. Ex. 22, Affair. The investigator, his captain, was instructed by Internal Affairs to

interview the wife. The investigator did not do so. The investigation closed with a finding

of ‘Insufficient facts.’ Commander Kimberly Chisley-Missouri initialed the final report.

The District’s 30(b)(6) witness was aware that the woman Best later married the woman

he denied having an affair with him. Dickerson Tr. at 209:13-210:11.

               23.     There is no record in Best files that he ever received targeted

particularized monitoring as a result of sexual misconduct investigations or Internal

Affairs sober admonition about him.

Best never received any training as a recruit in the police academy or in in-service

training on police sexual misconduct or sexual harassment throughout his career with the




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MPD, even after his demotion. Ex. 23, Best’s Training Records.; Ex. 24 General Order

(PPMS) and (SSP), Attachment A. “SSP Indicator Chart.”

               24.    The District was deliberately indifferent to the risk that not

addressing the implications of Best’s history of investigations and disciplinary

actions—particularly police sexual misconduct—would result in constitutional

violations.

       Officer Best worked in the Fourth District under Commander Chisley-Missouri for

approximately three years before the chief of police detailed him to the CSB. In 2014, Best

was one of two MPD personnel that Chisley-Missouri chose to go with her to CSB.

Although Chisley-Missouri knew that Best had been demoted, but she made no inquiry as

to what he was demoted for. She did not review his personnel file. She testified that she

never knew, until the date of her deposition, what Best had been demoted for. Missouri

Tr. at 82:21-22; 83:1-14. A mere nine (9) days after his arrival at CSB, Best brought Jaquia

Buie into CSB offices and attempted to rape her:

       He turned out the lights. J.Buie Tr. at 232:1-6

       She repeatedly tried to get away from him.

        He told her that he wasn’t going to play. Id. at 232:1-6, 232:20-233:3.

       Officer Best then pulled out his penis. Id. at 233:11-12.

       He removed his sidearm from its holster, and placed it in conspicuous proximity

       to her. Id. at 233:16-20, 237:3-21.

        He unfastened her pants and tried to press his penis into her vagina. Id. at 238:6-

       15.




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       She struggled vigorously to keep her pants on while he tried to pull them down.

       Id.

       Best relented, but warned Jaquia “no one better find out about this;” she saw him

       looking at his gun when he said it; and she responded, “Okay.” Id. at 242:17-

       243:4.

                25.   There is a direct causal link between the custom, pattern or

practice at issue in this case and the constitutional violations alleged herein.

Ex.14, Reiter Tr. at 43:17- 44:17.

                26.   At the request of former Deputy Chief of Police Kimberly

Chisley Missouri, Chief Cathy Lanier, aware of his problematic history, authorized

Officer Best to be detailed to the Corporate Support Bureau (“CSB”).

Then Chief of Police Cathy L. Lanier detailed Officer Best to the Corporate Support Bureau

(“CSB”), effective November 23, 2014 at the request of former Assistant Chief Kimberly

Chisley-Missouri, when Chisley-Missouri was promoted from Commander of the Fourth

District to Assistant Chief of the CSB. Officer Best was one of two MPD personnel chosen

by Chisley-Missouri to accompany her to CSB from the Fourth District. Officer Best’s

detail was supposed to last from 11/23/2014-Feb. 21, 2015. Ex. 25, Deputy Chief Chisley-

Missouri Tr. at 58:22-59:3; Defendant Districts Ex. 3. On December 1, 2014, Officer Best

signed a police car out of the MPD motor pool. The vehicle had not been returned by

December 14, 2014. Ex. 6, Motorpool, at 1.




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               27.     Chief Lanier had final policymaking authority to detail Darrell

Best MPD employment issues, and specifically to detail Officer Best to the CSB.

       The Chief of Police is the final policymaking authority with respect to the

discipline and training of MPD personnel. The Chief’s final decision-making authority

includes the power to make final decisions on detailing, transfers, officers’ appeals of

adverse actions, and whether to punish officers. Ex. General Order 120.21. and Ex.

General Order 120.21. Under DC Code § 5-127.01, the Mayor is empowered by the City

Council of the District of Columbia to enforce the rules for proper governance of the

MPD. The Mayor delegated personal authority to the chief of police by Mayor’s Orders

97-88, 2008-81, 2012-28, and 2015-167. The authority to supervise, discipline, train,

detail, and transfer MPD personnel was delegated to the chief of police by these Orders.

See D.C. Code §5-1114(a)

               28.     Deputy Chief Chisley Missouri did not consider it sufficiently

important, before she requested that Best be detailed to CSB, to find out why he had

been demoted.

Officer Best worked in the Fourth District under Commander Chisley-Missouri for

approximately three years before the chief of police detailed him to the CSB. Best was

one of two MPD personnel that Chisley-Missouri chose to go with her to CSB. Although

Chisley-Missouri knew that Best had been demoted, but she made no inquiry as to what

he was demoted for. She did not review his personnel file. She testified that she did not

know, until the date of her deposition, why Best had been demoted.

Ex. 25, Asst. Chief Chisley-Missouri Tr. at 80:11-81:1.




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               29.     The District supplied the chattel that Best employed to inflict

the harm he did upon Jaquia Buie.

By detailing Officer Best to CSB, the chief of police gave him access to the police garage

underneath police headquarters, a key or code to Elevator 12 that went from the garage to

the fifth floor and bypassed security, and a key to the CSB office. Officer Best used

Elevator 12 to take Jaquia directly to the fifth floor and bypass security. Ex 9, Elevator

12 Access. He unlocked the door to CSB with the key that MPD had given him. Ex. 1, J.

Buie Tr., at 176:11-13, 213:2-17, 214:11-20,

The CSB is located on the Fifth Floor, the location of the Department’s top Leaders, the

Joint Strategic & Tactical Analysis Command Center (i.e. control central), and other of

the most sensitive centers of MPD decision and policy-making, including the Chief of

Police’s office. Id. at 215:1-4. The floor is staffed with security that you must pass

through, unless you have access to Elevator 12. Ex. 5, Inspector Dickerson Tr. at 167:14-

168:9.

               30.     The District knew or should have known that Officer Best was

likely to use the chattel in a manner involving risk of harm to young women subject

to his authority

The District knew, among others, the following aspects of Best’s foreboding disciplinary:

         (1)   the 30-day suspension after the 2007 allegations of lying and stealing were

sustained following an Internal Affairs investigation; Ex. 4, Fraud/Time Attendance.

         (2)   successive Internal Affairs investigations for allegations of police sexual

               misconduct (the first of which Inspector Dickerson testified should have and

               could have been sustained if it had been investigated properly (see



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                  Dickerson Tr. at 211-213), and the second of which was sustained resulting

                  in Best being demoted from Sergeant to officer, where Internal Affairs

                  admonished the District about Best and his penchant for police sexual

                  misconduct); Ex. 3, Jones investigation.

       (3)        the official written Internal Affairs admonition about Best’s penchant for

                  police sexual misconduct, warning that “Sergeant Best continues to engage

                  in behavior that may leave the Department open for serious legal action.”

                  (Defendant’s Exhibit 14 at DC 001002) contained in the final report of the

                  second police sexual misconduct investigation;

       (4)        the 2012 domestic violence Temporary Protection Order Best’s then-wife

                  filed against him; Ex. 20, Domestic Violence; and

       (5)        the 2011 investigation of allegations from a citizen that Best was having an

                  affair with his wife, a member of Best’s church congregation (who, despite

                  denying the affair, he later went on to marry) and that he regularly wore his

                  police service revolver in the pulpit. Ex. 22, Affair.

                  31.    Jaquia Buie was a vulnerable young girl, subject to Officer

Best’s police authority, the sort of person the District should expect to be

endangered by Best’s use of the chattel.

Id. at 231:1-7.

                  32.    The District had a duty to use reasonable care in the

supervision and/or retention of Officer Best.

The District knew, among others, the following aspects of Best’s foreboding disciplinary:




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       (1)    the 30-day suspension after the 2007 allegations of lying and stealing were

sustained following an Internal Affairs investigation; Ex. 4, Fraud/Time Attendance.

       (2)    successive Internal Affairs investigations for allegations of police sexual

              misconduct (the first of which Inspector Dickerson testified should have and

              could have been sustained if it had been investigated properly (see

              Dickerson Tr. at 211-213), and the second of which was sustained resulting

              in Best being demoted from Sergeant to officer, where Internal Affairs

              admonished the District about Best and his penchant for police sexual

              misconduct); Ex. 3, Jones investigation.

       (3)    the official written Internal Affairs admonition about Best’s penchant for

              police sexual misconduct, warning that “Sergeant Best continues to engage

              in behavior that may leave the Department open for serious legal action.”

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              second police sexual misconduct investigation;

       (4)    the 2012 domestic violence Temporary Protection Order Best’s then-wife

              filed against him; Ex. 20, Domestic Violence; and

       (5)    the 2011 investigation of allegations from a citizen that Best was having an

              affair with his wife, a member of Best’s church congregation (who, despite

              denying the affair, he later went on to marry) and that he regularly wore his

              police service revolver in the pulpit. Ex.22, Affair.




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               33.     The District of Columbia failed to exercise such reasonable

care and breached its duty.

The District assigned both of Best’s successive investigations to a person who testified that

she was his friend of 28 years (Webster Tr., at 96:2-19), and the District’s 30(b)(6) witness

for Internal Affairs described assignment of even one case to Webster as a “conflict.” Ex.

5, Inspector Dickerson Tr. at 37: 4-15; see also Ex.13, General Order 120.23 “Serious

Misconduct” at 5(H.) (“Any member who has a potential conflict of interest related to a

pending misconduct investigation shall not be allowed to participate in any way in the

conduct or review of that investigation.” (Italics added); The District conducted a shoddy

investigation into his first police sexual misconduct allegation and the District’s 30(b)(6)

witness for Internal Affairs testified that, if done properly, the allegations in that matter

should have and could have been sustained. Inspector Dickerson Tr. at 211-213. The

second investigation, which was based on allegations that occurred while the first was

underway (Ex. 19, Sgt. Nicole Webster Tr. at 105:8-20), was sustained. But the District

retained Best, and his demotion did absolutely nothing to protect the myriad young civilian

girls and women of the women from a known sexually predator MPD Officer. After

retaining him, the District did nothing proactive to monitor or hold Best accountable

regarding police sexual misconduct; indeed, by detailing him to the CSB in November of

2014, they outfitted him with additional resources and further enabled him to act upon his

known proclivity for sexual misconduct.

               34.     The District’s breach of that reasonable duty of care caused

harm to Jaquia Buie.

Ex. 1, J. Buie Tr., at 265:6-285:22.



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               35.     Officer Best’s attempted rape of Jaquia Buie inside MPD was

the outgrowth of a job-related encounter.

Young Ms. Buie had an interest in becoming a police officer. Id., at 148:20-149:4. Officer

Best offered to take her and her mother out to dinner to discuss her interest in becoming a

police officer.” Id. at 165:6-16. Officer Best met Jaquia at the metro station in an unmarked

police cruiser around on December 3, 2014, in full police uniform, wearing his service

weapon on his hip. Id. at 176:11-13, 223:2-4. At the restaurant, Best spoke about the police

academy. Id. at 179:21-180:11. Officer Best unilaterally took Jaquia Buie to police

headquarters, where he said he work to finish up, against her will. While there in his

office—the place where he was only moments before doing job-related things and the place

where he had reported to work for the previous eight (8) days—he attempted to rape her.

               36.     The District is directly negligent, not vicariously, for the harm

inflicted upon her through Darrell Best.

The District knew of the following foreboding aspects of Best’s history at the MPD:

       (1)     the 30-day suspension after the 2007 allegations of lying and stealing were

               sustained following an Internal Affairs investigation; Ex. 4.

       (2)     successive Internal Affairs investigations for allegations of police sexual

               misconduct (the first of which Inspector Dickerson testified should have and

               could have been sustained if it had been investigated properly (see

               Dickerson Tr. at 211-213), and the second of which was sustained resulting

               in Best being demoted from Sergeant to officer, where Internal Affairs

               admonished the District about Best and his penchant for police sexual

               misconduct; (Ex. 3, Jones investigation);



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       (3)     the official written Internal Affairs admonition about Best’s penchant for

               police sexual misconduct, warning that “Sergeant Best continues to engage

               in behavior that may leave the Department open for serious legal action.”

               (Defendant’s Exhibit 14 at DC 001002) contained in the final report of the

               second police sexual misconduct investigation;

       (4)     the 2012 domestic violence Temporary Protection Order Best’s then-wife

               filed against him; Ex. 20, Domestic Violence; and

       (5)     the 2011 investigation of allegations from a citizen that Best was having an

               affair with his wife, a member of Best’s church congregation (who, despite

               denying the affair, he later went on to marry) and that he regularly wore his

               police service revolver in the pulpit. Ex. 22, Affair.

This is a history of documented dishonest and sordid conduct. The District’s conscious

choices made it possible for someone like Best to continue to be an “officer of the law.”

The Districts tolerance, provision, permission, and enablement of Best are sine qua non

and cause of the harm that Best inflicted upon Jaquia Buie. The District not only retained

Best, but it failed to require him to undergo any particularized remedial training to be

subject to specific monitoring or accountability, particularly related to his history of police

sexual misconduct. Then, as if that wasn’t enough, the District detailed Best to CSB. The

District both enabled and positioned to do to a vulnerable civilian what he had similarly

done to members before. This was the District’s own negligence.

Officer Best picked Jaquia up in an unmarked police cruiser around on December 3, 2014,

in full police uniform, wearing his service weapon on his hip. Ex. 1, J. Buie Tr. at 176:11-

13, 223:2-4. At a meeting that Best had arranged to talk about her career, a conversation



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ensued about Jaquia’s interest in becoming a police officer. Id. at 148:2-7. Officer Best

followed her out the restaurant and said in a hushed but commanding tone. “Come here.”

Id. at 205:6-206:12, 207:1-12. She was scared: he was “police.” Id. at 204:19-22, 208:7-

12. She turned and went back to the police cruiser where he was standing. Id. at 210:2-

211:14. He told her that he would take her home and ordered her to get into the cruiser, so

she did. Id. at 210:2-211:14, 240:14-17.

But he did not take her home. Id. at 211:15-20. “I have to go home. I have to get home,”

she protested. Id. at 212:5-11. But he said that he had “work to finish up.” Id. at 212:5-11.

He proceeded to the entry gate of an underground garage, where the person overseeing the

gate acquiesced to his badge and granted access. Id. at 213:2-17. Jaquia asked Officer

Best if she could wait in the car. Id. He said, “no” and pointed to a car that he said belonged

to Chief of Police, Cathy Lanier, telling her that “Chief Lanier’s in here. You can’t sit

down here.” Id. Best made Jaquia believe that she had to leave the garage and go into

MPD headquarters. Id. at 213:18-214:4. Officer Best also used a code/fob that MPD issued

him to give him access to Elevator 12. Id. at 214:11-20.

Officer Best took her up to the fifth floor to the office of CSB and unlocked the door it with

a key issued to him by the MPD. Id. at 216:11-19. Best never received any training as a

recruit in the police academy or in in-service training on police sexual misconduct or sexual

harassment throughout his career with the MPD, even after his demotion. Ex. 23, Best’s

Training Records.




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               37.     Alone in an unmonitored office at MPD headquarters against

her will, with Officer Best, Jaquia Buie was in a zone of physical danger.

Officer Best took her up to the fifth floor and down a hall past a lighted office with a door

ajar, which he said was the chief of police’s office. He told Jaquia to be quiet as they

walked by. Ex. 1, Jaquia Buie Dep. Tr. at 214:21-215:4. Officer Best brought her to the

door of CSB and unlocked it with a key. Id. at 216:11-19.

               38.     The District’s negligence created the zone of danger into which

Ms. Buie was taken against her will.

See “26,” supra. He took Jaquia to Elevator 12, the special, secure elevator for high-

ranking police officials, which allowed them to bypass security they would otherwise

encounter at the fifth floor when using a standard elevator. Ex. 9, Elevator 12 Access; Ex.

9, Elevator 12 photos; Ex. 5, Rule 30(b)(6) witness Dickerson Dep. Tr. at 167:14-168:9.

Officer Best also used a code/fob that MPD issued him to give him access to Elevator 12.

Ex. 1, Jaquia Buie Dep. Tr. at 214:11-20.

               39.     Jaquia Buie feared for her safety while in the zone of danger.

Jaquia looked around for a security camera; she wanted to make sure that a security camera

got a picture of her face if anything happened to her because she was really scared. Ex. 11,

S. Buie Dep. Tr. at 102:12-15. Surrounded by portraits of Chiefs of Police hanging on the

wall, Jaquia sat afraid on a couch as far away from Best as possible under the

circumstances. Id. at 220:16-217:1. Ex. 26, Photo of Police Chiefs.




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               40.     The emotional distress that resulted from the life-changing

experience was truly serious and verifiable.

Dr. Carole Guinta, Ph.D., opined that Jaquia suffers from post-traumatic stress disorder

after her ordeal, that this “violation has affected [her] beliefs on very fundamental level”

and that Jaquia “feels that she cannot trust others to keep her safe.” Dr. Guinta reported

that Jaquia was in “dire need of psychotherapy.” She added: “…it is noteworthy that Ms.

Buie was a relatively unsophisticated, under age black female from a low income

background at the time that she was sexually assaulted. All of these factors make her

more vulnerable to exploitation by an older, more savvy man whom society had accorded

respect and stature due to his status as a member of the law enforcement and clerical

communities. These imbalances in power and privilege constitute an additional level of

meaning to the victimization and insult which Ms. Buie must unravel in her therapy.” Ex.

27, Dr. Guinta Report, at 7-9.

               41.     The following three factors work confluently to make the

District’s conduct in this case extreme and outrageous: (1) not having a written

police sexual misconduct policy by 2014 when Best attempted to rape Jaquia Buie;

(2) retaining Officer Best after 2009, and (3) detailing him to CSB and further

enabling him to do the unsavory things that his history shows come natural to him,

namely dishonesty and police sexual misconduct. Not having a written police sexual

misconduct policy contributed to a culture of indifference toward police sexual

misconduct at the MPD. (Defendant’s Ex. 25, Expert Report of Lou Reiter at 17-18,)

and—in light of various noteworthy incidents of police sexual misconduct incidents at

MPD— and the publication of the IACP Guide in 2011, evinces a conscious disregard of



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a risk of harm to its citizenry. Retaining (particularly without special monitoring or a

tailored regimen of proactive accountability through training and supervision) officer

Best after several investigations for serious misconduct, including successive police

sexual misconduct investigations (including a specific admonition about the threat of

“serious legal action,” which Best’s penchant for police sexual misconduct posed) also

evinces a conscious disregarded of a risk of harm to its citizenry. Detailing Best to the

CSB (Defendant’s Ex._3) is the pinnacle of this triad of conscious disregard, as it

positioned, permitted, and enabled Best to inflict the type of harm

               42.     The District’s conduct expresses recklessness in each of the

three (3) strands articulated above.

Not having a written police sexual misconduct policy contributed to a culture of

indifference toward police sexual misconduct at the MPD (Defendant’s Ex. 25, Expert

Report of Lou Reiter at 17-18,) and—in light of various noteworthy incidents of police

sexual misconduct incidents at MPD — and the publication of the IACP Guide in 2011,

evinces a conscious disregard of a risk of harm to its citizenry. Retaining (particularly

without special monitoring or a tailored regimen of proactive accountability through

training and supervision) officer Best after several investigations for serious misconduct,

including successive police sexual misconduct investigations (including a specific

admonition about the threat of “serious legal action,” which Best’s penchant for police

sexual misconduct posed) also evinces a conscious disregarded of a risk of harm to its

citizenry. Detailing Best to the CSB (Defendant’s Ex. 3) is the pinnacle of this triad of

conscious disregard, as it positioned, permitted, and enabled Best to inflict the type of harm

he was known to deliver, but this time: on civilian citizen, a female minor.



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               43.     The District’s recklessness caused Jaquia severe emotional

distress.

Ex. 1, J. Buie Tr., at 265:6-285:22.

Dr. Carole Guinta, Ph.D., opined that Jaquia suffers from post-traumatic stress disorder

after her ordeal, that this “violation has affected [her] beliefs on very fundamental level”

and that Jaquia “feels that she cannot trust others to keep her safe.” Dr. Guinta reported

that Jaquia was in “dire need of psychotherapy.” She added: “…it is noteworthy that Ms.

Buie was a relatively unsophisticated, under age black female from a low income

background at the time that she was sexually assaulted. All of these factors make her

more vulnerable to exploitation by an older, more savvy man whom society had accorded

respect and stature due to his status as a member of the law enforcement and clerical

communities. These imbalances in power and privilege constitute an additional level of

meaning to the victimization and insult which Ms. Buie must unravel in her therapy.” Ex.

27, Guinta Report, at 7-9.

               44.     Darrell Best is a documented known liar whose Declaration is

untrustworthy.

Darrell Best was first accused of Fraud and Time Attendance by the MPD in March 2004.

Ex. 3, Jones Investigation at DC001529. In 2007, he was charged again with Fraud and

Time Attendance, but this time it was sustained. Shortly thereafter a cadet at the police

academy claimed that he had sexually abused her from September to December of 2007

while he was an instructor of the Code of Ethics at the police academy. Id. at DC 001084.

He denied it, and the MPD officially declared it had insufficient facts was seriously

inadequate and should have, according to the District’s own 30(b)(6) designee, former



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Director of Internal Affairs Division, Inspector Kimberly Dickerson, been sustained. Ex.

5, Inspector Dickerson Tr. at 37:4-15, 210:21-213:11. Then in 2008, another charge of

sexual harassment was brought against him, and this time was sustained over his denials

of any wrongdoing. Defendant’s Ex. 14, at DC 000996.




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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA
                                     Civil Division

   JAQUIA BUIE                   )
                                 )
        Plaintiff,               )
                                 )
   vs.                           )                Civil Action No. 1:16-cv-01920 (CKK)
                                 )                Judge Colleen Kollar-Kotelly
   DISTRICT OF COLUMBIA, et. al. )
        Defendants               )
                                 )


        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
             PLAINTIFF'S OPPOSITION TO THE DISTRICT’S
           MOTION FOR SUMMARY JUDGMENT ON ALL COUNTS


                                      INTRODUCTION

                  At this juncture the focus of this action is on the District of Columbia

   (the “District”) and its own agency and responsibility in this conscience-shocking

   matter, not former Sergeant Darrell Best. He has been held accountable, at least, for his

   criminal acts.1 The District, however, has fought to shield itself from the primary and

   direct responsibility it should bear for the harm inflicted on Jaquia Buie. Justice

   William Brennan, rendering the opinion in Pembaur v. City of Cincinatti2 succinctly

   stated that, “Monell is a case about responsibility.” Well, this case is about

   irresponsibility, deliberate indifference, and negligence—the District of Columbia’s.



   1
          Officer Best defaulted on all counts applicable to him in this action.
   2
          Pembauer v. City of Cincinatti, 475 U.S. 469, 478; 106 S.Ct 1292, 1297 (1986)
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   Plaintiff wants to see the District held accountable for what it did to her and for what it

   is not doing for the rest of its citizens: holding members of the Metropolitan Police

   Department accountable for police sexual misconduct and taking there civil rights

   seriously.3

                                       I.    BACKGROUND

                   At a sentencing hearing before the Honorable Senior Judge Reggie B.

   Walton, on October 22, 2015, former Sergeant Darrell L. Best, a 28-year veteran of the

   Metropolitan Police Department (“MPD”), entered a plea of guilty to a criminal

   information consisting of three separate felony counts. Two of the counts, production of

   child pornography (in violation of 18 U.S.C § 2251(a)) and first-degree sexual abuse of

   a minor (in violation of 22 D.C. Code § 3009), were against a minor female victim, not a

   party in the matter sub judice, and did not occur inside the heart and soul of MPD

   headquarters. But the third count, second-degree sexual abuse of a minor (in violation of

   22 D.C. Code § 3009.2), was the criminal offense that Officer Best’s attorney was able

   to negotiate for him in connection with his attempted rape of Jaquia Buie on the evening

   of December 3, 2014, inside the offices of the Corporate Support Bureau (“CSB”) on the

   fifth floor of MPD headquarters.4


   3
          It is premature to rule on the issue of Injunction in this matter, as one of the
   requirements of injunction is that the party seeking it prevail. A decision on that should be
   deferred.
   4
           At Officer Best’s sentencing hearing on February 26, 2016, Judge Walton said, “[t]here
   are certain crimes that people commit that they should be put away for the rest of their lives
   and this is one of them.” He asked the Assistant United States Attorney (“AUSA”) to explain
   why it had agreed to a plea deal of only eighteen (18) years for Officer Best. The AUSA
   explained that while Best’s offenses were “serious,” the Office of the United States Attorney

                                                   2
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                               II.    STANDARD OF REVIEW

                   “Summary judgment is an extreme remedy, entitling the moving party to

   judgment as a matter of law only when no genuine issue of material fact is present. . .”

   Murphy v. Army Distaff Foundation Inc., 458 A.2d 61, 62 (D.C. 1983). Under the

   standard set forth in Fed. R. Civ. P. 56, a court may grant a motion for summary judgment

   only if “there is no genuine dispute as to any material fact and the movant is entitled to

   judgment as a matter of law.” Fed. R. Civ. P. 56(a). “A fact is material if it ‘might affect

   the outcome of the suit under the governing law,’ and a dispute about a material fact is

   genuine ‘if the evidence is such that a reasonable jury could return a verdict for the

   nonmoving party.’ ” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248; 106 S.Ct 2505,

   2510 (1986) When ruling on a motion for summary judgment, “[t]he evidence of the

   non-movant is to be believed, and all justifiable inferences are to be drawn in h[er] favor.”

   Anderson, 477 U.S. at 255, 106 S.Ct. 2505. “Credibility determinations, the weighing of

   the evidence, and the drawing of legitimate inferences from the facts are jury functions,

   not those of a judge . . . ruling on a motion for summary judgment.” Id. The movant has

   the burden of demonstrating the absence of a genuine issue of material fact and that the

   non-moving party “fail[ed] to make a showing sufficient to establish the existence of an


   wanted to ensure that the girls would not have to testify against him in a criminal trial because
   neither of them wanted to be further exposed, humiliated or embarrassed. Sentencing Tr. 4:5‐
   13; 20:21‐25.

           The principal reason he would go along with the plea deal, Judge Walton said, was out
   of consideration for the girls’ wishes. He imposed restrictions on Best’s future employment,
   highlighting that “one of [Best’s] offenses related to his involvement as a police officer since
   one of the assaults took place right across the street in the police department . . . .” Id. 33:20‐
   34:6.

                                                    3
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   element essential to that party's case, and on which that party will bear the burden of proof

   at trial.” Celotex Corp. v.. In responding to a motion for summary judgment, the non-

   moving party “must set forth specific facts showing that there [are] genuine issue[s] for

   trial.” Anderson, 477 U.S. at 248, 106 S.Ct. 2505. “The mere existence of a scintilla of

   evidence in support [is] insufficient”; rather, “there must be [some] evidence on which

   the jury could reasonably find for the [non-movant].” Id. at 252, 106 S.Ct. 2505.


                                     III.    ARGUMENT

                   42 U.S.C. § 1983

                   “Title 42 U.S.C. § 1983 provides a remedy for deprivations of rights

   secured by the Constitution and laws of the United States when that deprivation takes

   place ‘under color of any statute, ordinance, regulation, custom, or usage, of any State or

   Territory . . . ’” Lugar v. Edmondson Oil Co., 457 U.S. 922, 924, 102 S. Ct. 2744, 2747,

   73 L. Ed. 2d 482 (1982)5 “[I]n any §1983 action the initial inquiry must focus on whether

   the two essential elements to a 1983 action are present[:] (1) . . . conduct complained of

   was committed by a person acting under color of state law; and (2) . . . this conduct

   deprived a person of rights, privileges, or immunities secured by the Constitution or laws




   5
           In relevant part, 42 U.S.C. § 1983 provides as follows:

            Every person who, under color of any statute, ordinance, regulation, custom, or usage,
   of any State or Territory or the District of Columbia, subjects, or causes to be subjected, any
   citizen of the United States or other person within the jurisdiction thereof to the deprivation of
   any rights, privileges, or immunities secured by the Constitution and laws, shall be liable to the
   party injured in an action at law, suit in equity, or other proper proceeding for redress . . . .


                                                   4
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   of the United States.” Paratt v. Taylor 451 U.S. 527, 535, _101 S. Ct. 1908, 68 L.Ed.2d

   420 (1981).

                   The concepts of “state action” and acting “under color of state law” are

   identical. Lugar v Edmondson, 457 U.S. 922, 928; 102 S.Ct. 2744, 2749 (1982). “In

   cases under §1983 ‘under color’ of law has consistently been treated as the same thing as

   the ‘state action’ required under the Fourteenth Amendment.” Id. “To constitute state

   action, ‘the deprivation must be caused by the exercise of some right or privilege created

   by the State . . . or by a person for whom the State is responsible,’ and ‘the party charged

   with the deprivation must be a person who may fairly be said to be a state actor.’” Maniaci

   v. Georgetown Univ., 510 F. Supp. 2d 50, 67–68 (D.D.C. 2007), citing West v. Atkins,

   487 U.S. 42, 48, 108 S.Ct. 2250 (1988). “Misuse of power possessed by virtue of state

   law and made possible only because the wrongdoer is clothed with the authority of state

   law is action taken ‘under color of’ state law.’” United Sates v. Classic, 313 U.S. 299,

   326, 61 S.Ct. 1031, 85 L.Ed.1368 (1941); Woodward & Lothrop, 598 A.2d 1142, 1145

   (1991). Officer Best misused his police power6 and employed an array of State-furnished

   instrumentalities, powers, and privileges to accomplish his wrongdoing. He used an

   unmarked police cruiser, his police uniform, attendant accoutrement (including his gun

   and badge), police credentials, an exclusive secure police parking facility, police




   6
            Officer Best induced Jaquia Buie to believe that he would drive her straight home. She
   justifiably relied on his statement. J. Buie Tr. at 210: 14‐16; 211: 10‐14. Instead of driving her
   home, he took her to MPD headquarters, because he had “work to finish up.” Id. at 211:15‐
   22; 212:1‐11.


                                                   5
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   headquarters, elevator fob, restricted secure elevator, and an official office key. Best took

   Jaquia Buie, a 17-year old girl, into the nerve center of police headquarters—the Fifth

   Floor: the location of the Department’s top Leaders, the Joint Strategic & Tactical

   Analysis Command Center (i.e. control central), and other of the most sensitive centers

   of MPD decision and policy-making—and there, with the authority and power of the state

   on full blast, his bona fide connection to it on intentional, vivid display, Officer Best

   attempted to rape Jaquia Buie.

          Officer Best deprived her of her rights under the Fourth and Fifth Amendments

   of the Constitution of the United States of America. The Fourth Amendment deprivation

   of her right to be free from unreasonable seizures occurred when Best took Jaquia Buie

   to MPD headquarters against her will. “In determining whether a seizure occurred, the

   court analyzes the totality of the circumstances to determine whether ‘the police conduct

   would have communicated to a reasonable person that the person was not free to decline

   the officers’ request or otherwise terminate the encounter” Florida v. Bostwick, 501 U.S.

   429, 439, 111 S.Ct. 2382, 115 L.Ed.2d 389            (1991).   “An encounter may begin

   consensually and, through either ‘the officer’s show of authority or some other indication

   that the individual is not free to leave, become a nonconsensual seizure’ that requires

   reasonable, articulable suspicion.” Towles v United States, 115 A.3d 1222, 1228 (D.C.

   2015). The encounter between Officer Best and Jaquia began consensually when they

   met at Georgia Brown’s. It became nonconsensual after Jaquia tried to end the encounter,

   and Best ordered her into his police cruiser, assuring her he would bring her home

   directly, then taking her to police headquarters against her will instead. The Fifth

                                                6
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   Amendment egregious deprivation of her right to bodily integrity occurred when Officer

   Best attempted to rape her.

                    IV.     MUNICIPAL LIABILITY, COUNT I & II

                   The Supreme Court decided in Monell v. New York City Dept. of Social

   Services, in Monell v .Department of Social Services of the City of New York, 436 U.S.

   658, 98 S.Ct. 2018, 56 L.Ed.16 (1978), that a municipality can be liable under §1983 only

   where its policies are the “moving force” behind the constitutional violation. Monell, 436

   U.S. at 694. “The deprivation must be caused by the exercise of some right or privilege

   created by the State or by a rule of conduct imposed by a person for whom the State is

   responsible.” There are four theories of municipal action, which have been judicially

   determined to establish municipal liability: (1) express municipal policy; (2) single act by

   final policymaking authority; (3) custom, pattern or practice; and (4) deliberate

   indifference.7 Pembaur v. City. of Cincinnati, 475 U.S. 469, 483, 106 S.Ct. 1292, 89 L.

   Ed. 452 (1986), Warren v. District of Columbia, 353 F.3d 36, 39 (D.C. Cir. 2004) Barnes

   v. District of Columbia, 793 F. Supp.2d 260, 278 (D.D.C. 2011); Brooks v. District of

   Columbia, 297 F.Supp.2d 136, 139 (D.D.C. 2003). With respect to police sexual

   misconduct, one presumes that there will never be an actual situation where there is an

   express policy promoting police sexual misconduct, so category (1) is perforce

   inapplicable under the facts of this case. But the remaining three—custom, pattern, or



   7
           “There are four basic categories of municipal action Plaintiff may rely on to establish
   municipal liability: (1) express municipal policy; (2) adoption by municipal policymakers; (3)
   custom or usage; and (4) deliberate indifference.” Maniaci, supra, 510 F. Supp. 2d 67‐68,
   quoting Monell, 436 U.S. at 691, 98 S.Ct. 2018.

                                                   7
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   practice, single act by policymaking authority, and deliberate indifference—remain in

   play and at issue. Each will be addressed in the following pages.

             A.   Custom, Pattern, or Practice

                  The Supreme Court and the U.S. Court of Appeals for the District of

   Columbia Circuit have held that a city's inaction, including its failure to train or supervise

   its employees adequately, constitutes a policy or custom under Monell when it can be said

   that the failure amounts to deliberate indifference toward the constitutional rights of

   persons in its domain. City of Canton v. Harris, 489 U.S. 378, 388–89 & n. 7, 109 S.Ct.

   1197, 103 L.Ed.2d 412 (1989) (recognizing municipal liability under § 1983 for failure

   to train adequately). See Rogala v. District of Columbia, 161 F.3d 44, 56 (D.C.Cir.1998)

   (recognizing liability for failure to train or supervise); Triplett v. District of

   Columbia, 108 F.3d 1450, 1453 (D.C.Cir.1997) (noting that “inaction giving rise to or

   endorsing a custom” can be basis of § 1983 liability). “[L]ocal governments, like every

   other §1983 ‘person’ may be sued for constitutional deprivations visited pursuant to

   government ‘custom’ even though such custom has not received formal approval through

   the government’s official decision-making channels.” Monell v. Department of Social

   Services of City of New York, 436 U.S. 658, 690-691, 98 S.Ct. 2018, 56 L.Ed.2d 611

   (1978). It is the policy—the custom, pattern and practice—of the MPD (1) not to have a

   written police sexual misconduct policy, (2) not adequately to train and supervise its

   members regarding police sexual misconduct, (3) not adequately to investigate and

   discipline police sexual misconduct, and, finally, (4) to ignore EEOC-promulgated

   standards for assessing credibility in sexual harassment cases.

                                                 8
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                  1.      The District does not have a written police sexual misconduct
                          policy.

                  The purpose of General Order 120.21, Disciplinary Procedures and

   Processes, “is to establish policies, rules, and procedures for handling discipline relating

   to the alleged misconduct of [MPD] members . . .” General Order 120.21 has a specific

   list of types of prohibited conduct, The Table of Offenses and Penalties, which “serves as

   the basis for an Official Reprimand or Adverse Action” at the MPD. See Exhibit 12 at ,

   General Order 120.21, Disciplinary Procedures and Processes. It contains twenty-five

   (25) different offenses. But police sexual misconduct is not one of them. That police

   sexual misconduct is not listed among The Table of Offenses under General Order 120.21

   is dispositive evidence that the MPD does not have a written police sexual misconduct

   policy. There cannot be a written policy about an offense that MPD has not even

   identified and defined. 8 Moreover, there are four (4) categories of investigation in the

   Internal Affairs Bureau at MPD: (1) Misconduct, (2) Use of Force, (3) EEO, and (4)

   Citizen’s Police Complaints. Nicole Webster Tr. at 23; 4-19. Each of these has intricately

   written policies behind them. Police sexual misconduct has no written policy.

                  This is not a mistake. It is the custom and practice of the MPD not to have

   a written police sexual misconduct policy. MPD keeps the subject undefined, and in the

   shadows, because accounting for it through a written policy would inevitably expose

   MPD’s pervasive deficiencies in this regard, shake up the Department, and subject it to



   8
           The MPD General Order for Serious Misconduct Investigation does not include police
   sexual misconduct either. See Exhibit [Cite Go‐Per 120.23]


                                                9
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   intensely deserved scrutiny and compelled reform. Although unwritten, this custom has

   been consistently, persistently, and defiantly practiced for far too long, despite various

   countervailing practical, professional, and societal pressures for the institution of a

   written police sexual misconduct policy.

                   MPD has literally hundreds of written policies on a wide range of topics,

   from the predictable to the obscure, many of which are considerably less important than

   police sexual misconduct.9 If there was, in fact, a written police sexual misconduct policy

   it would be in the form of a General Order.10 But year after year MPD has consistently

   declined to craft and institute a written policy on police sexual misconduct.

                   For purposes of contesting this litigation, however, it appears the District

   has haphazardly attempted to cobble together a narrative composed of unspecific, catch-

   all offenses, such as Conduct Unbecoming an Officer, and MPD’s EEO policy, which,

   among various other EEO topics, addresses sexual harassment11—to advance the false

   notion that MPD does have a written sexual misconduct policy. The following exchange

   with Inspector Kimberly Dickerson (“Inspector Dickerson”), formerly Director of the

   MPD Internal Affairs Division from September 2016 through March 2019, and now


   9
           The Metropolitan Police Department official website posts only a subset of MPD
   General Orders, written policies on a wide range of subjects. Nonetheless, one can view more
   than two hundred (200) there. This does not include the also available hundreds of executive
   orders, standard operating procedures, Special Orders, and Bureau and Divisions orders—all
   written policies of the MPD.

   10
           See, for example, MPD General Order 201.09: Equal Employment Opportunity.

   11
            Sexual harassment is, indeed, a type of sexual misconduct. But a proscription against
   it does not constitute a police sexual misconduct policy any more than one swallow doth a
   summer make.

                                                 10
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   Director of Risk Management Division, a subdivision of the Office of Internal Affairs,

   was the District’s 30(b) (6) designee with respect to the Internal Affairs, is telling:

          Q.    Do you have a sense of what the
          percentage of females are at the MPD?

          A.      Possibly 18 to 20 percent.

          Q.      18 to 20?

          A.      Maybe.

          Q.      I bet you it's slightly higher than
                  that, but the point is that in modern policing,
                  don't you believe [a] sexual misconduct policy
                  ought to exist in the police department?

          A.      I do.

          Q.      Do you wonder why it's not at MPD?

           Objection.     Misstates
                          the policies and procedures effective at MPD.

          A.      Do I wonder why?

          Q.      That there is not [a] police sexual
                  misconduct policy at the MPD --

          Objection.
          .
          Q.     besides the one strand of EEO
                 harassment?

          A.      I wouldn't say that I wonder why, but
                  I do believe that it needs to be more clearly
                  defined.

          Q.      So, is it your view that there already
                  is a policy?

          A.      We have policies that govern our

                                                11
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                   behavior. However, it's not clearly defined.

           Q.      As police sexual misconduct?

           A.      As police sexual misconduct and as,
                   for example, what we have here, clearly
                   delineated for all to see, these are the things
                   that we're saying or potentially would say as
                   an agency that relate to sexual misconduct. 12

           Q.      Okay, why do you think that is the
                   case; is it left intentionally ambiguous in
                   your view?

           A.      I don't believe so. I don't think
                   it's intentionally ambiguous. Why it's not
                   done, I don't really know. Do I think it's
                   needed, absolutely.

   Inspector Kimberly Dickerson Tr. at 180-182. Inspector Dickerson struggled to avoid

   asserting on the record the fact that MPD does not have a written police sexual

   misconduct policy. Asked point blank, “[s]o, is it your view that there is already a

   policy?” She responded, “[w]e have policies that govern our behavior,” but she didn’t

   say “yes.” That is one of many evasive stratagems she employed in the exchange to avoid

   uttering the plain truth: no, there is not a written police sexual misconduct policy at MPD

   and there never has been.



   12
            When Inspector Dickerson referred to “for example, what we have here” she was
   referring to deposition Exhibit 12, Addressing Sexual Offenses and Misconduct by Law
   Enforcement: Executive Guide, specifically a list of ten (10) non‐exhaustive types of police
   sexual misconduct set forth in the Guide. Furthermore, she testified that she believed the
   District participates in the International Association of Chiefs of Police (IACP), and that the
   chief of police has attended IACP conferences. Additionally, she testified that the IACP
   “creates policies or guidelines for law enforcement from varying subjects such as [police sexual
   misconduct] to everyday interactions with citizens and anything, of course, that can adversely
   effect the profession.”

                                                 12
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                  Police sexual misconduct is a much broader category than sexual

   harassment. Police sexual misconduct includes, but is not limited to, the following: “(1)

   sexual contact by force (e.g., sexual assault, rape); (2) sexual shakedown (e.g., extorting

   sexual favors in exchange for not ticketing or arresting a citizen); (3) gratuitous physical

   contact with suspects (e.g. inappropriate or unnecessary searches, frisks or pat-downs);

   (4) officer-initiated sexual contacts while on duty; (5) sexual harassment of

   colleagues/co-workers; (6) engaging in citizen-initiated sexual contact while on duty; (7)

   sexual behavior while on duty (e.g. masturbation, viewing and/or distributing

   pornographic images, sexting); (8) voyeuristic actions that are sexually motivated (e.g.

   looking in windows of residences for sexually motivated reasons); (9) unnecessary

   contacts/actions taken by officers for personally and/or sexually motivated reasons (e.g.

   unwarranted call backs to crime victims, making a traffic stop to get a closer look at the

   driver for non-professional reasons); and (10) inappropriate and unauthorized use of

   department resources and/or information systems for other than legitimate law

   enforcement purposes.” Ex. 7, Addressing Sexual Offenses and Misconduct by Law

   Enforcement: Executive Guide at 3-4. Inspector Kimberly Dickerson of MPD stated that

   these are the things the District “potentially would say as an agency that relate to sexual

   misconduct.” She cannot explain why it hasn’t already been done, but she “think[s] it’s

   needed, absolutely.” Dickerson Tr. at 181-182




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                  In 2005, the U.S. Department of Justice, Office on Violence Against

   Women, awarded a grant to the International Association of Chiefs of Police (IACP)13

   for it “to examine the problem of sexual offenses and conduct [committed by law

   enforcement] and to develop resources to assist law enforcement leaders in investigating

   and preventing incidents.” [Citation.] It is referenced in Defendant District’s Exhibit 25,

   Preliminary Expert Report of Lou Reiter, plaintiff’s police practices and procedures

   expert. Mr. Reiter noted that the IACP publication on police sexual misconduct advised,

   “that police agencies not rely on vague administrative charges and should develop

   specific policies to address [police sexual] misconduct. Specifically, the report presented

   model language that should be used or adopted in police department policies.”

   Defendant’s Exhibit 25 at 9.

                  In June of 2011, the IACP published, Addressing Sexual Offenses and

   Misconduct by Law Enforcement: Executive Guide. The guide provides clear instructions,

   derived from broad deliberation involving a wide range of input from law enforcement

   leaders and personnel, as well as scholarly research on how to institute and establish a



   13
            “Recurring accusations of sexual offenses implicating law enforcement officers were
   noted with concern by the Office on Violence Against Women of the U.S. Department of
   Justice. . . . IACP’s work in the 1990’s to address domestic violence committed by law
   enforcement officers uniquely situated the Association to explore this serious problem and
   issue recommendations to the field. In 2007, the IACP hosted a roundtable discussion during
   the Association’s 114th Annual Conference in New Orleans to learn from department leaders
   about situations they confronted and the resulting problems. Over seventy executives chose
   to attend this moderated discussion that was closed to the media. The range of concerns and
   incidents many had faced in their own agencies made it clear that sexual offenses and sexual
   misconduct committed while officers were on or off duty necessitated focused attention and a
   proactive response.” Addressing Sexual Offenses and Misconduct by Law Enforcement,
   Executive Guide at 2.

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   police sexual misconduct policy. The monograph is thorough and well considered, with

   detailed findings and practical, substantive recommendations.                  Ultimately, the

   monograph/guide concluded the following:

                   Members of law enforcement are in a unique and visible position in the
                   communities they serve. They are entrusted with the authority to enforce
                   laws and protect citizens’ civil rights. Central to the executive’s
                   responsibility to the community is the proactive enforcement of ethical
                   standards of conduct and officer accountability. Leaders must establish
                   zero-tolerance policies to address and prevent [police] sexual misconduct
                   and reinforce the expectation of integrity through meaningful training and
                   effective supervision.

   Ex. 7, Addressing Sexual Offenses and Misconduct by Law Enforcement, Executive Guide

   at 15. Plaintiff’s police practices expert-witness [INSERT accreditation of him] relies, in

   relevant part, on the contents of the IACP monograph on police sexual misconduct. Yet,

   more than nine (9) years after the publication of Addressing Sexual Offenses and

   Misconduct by Law Enforcement: Executive Guide, the Metropolitan Police Department,

   in 2020, still does not have a written police sexual misconduct policy. Exhibits: depo

   quotations and the email to Anzallo DC 012156] This fact is evidence of the deliberate

   indifference to the rights of persons with whom the police come into contact and an

   expression of the moving force that drove the harm inflicted on Jaquia Buie at MPD

   headquarters on December 3, 2014. The District’s persistent and deliberate custom and

   practice of failing to institute a written police sexual misconduct policy14 could lead a



   14
            “The problem of sexual misconduct by officers warrants the full attention of law
   enforcement leadership. It represents a grave abuse of authority and a violation of the civil
   rights of those victimized. Law enforcement agencies and executives have a duty to prevent
   sexual victimization, to ensure it is not perpetrated by their officers, and to take every step
   possible to ensure the safety and dignity of everyone in the community. When an incident of

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   jury reasonably to conclude that the District conducted itself in a manner that was

   deliberately indifferent to a known and documented threat to the constitutional rights of

   its citizens.

                   2.      The District does not adequately train or supervise its
                           members against police sexual misconduct.15

                   The absence of a written police sexual misconduct policy at the MPD

   precludes the prospect of adequate training or supervision of its members about police

   sexual misconduct, because MPD has consciously chosen not to identify, define, or craft

   into a written policy a set of standards to enable it adequately to train or supervise its

   members with respect to police sexual misconduct. Albeit, as this Court is keenly aware,




   sexual misconduct involving a law enforcement officer is reported, it presents one of the most
   difficult challenges a law enforcement executive can face. Therefore, it is imperative that
   executives prepare through agency mission, policy, and training to proactively address and
   prevent incidents. Leaders must demonstrate to their officers and their community a
   consistent, focused effort to identify and eliminate misconduct through the institutionalization
   of a zero tolerance position. Sexual misconduct within an agency may be indicative of a need
   for systemic and cultural changes. Creating and implementing a policy are key steps to ensure
   an agency is prepared to respond to allegations, reinforce officer accountability, and ultimately
   prevent abuses of power.”
   Addressing Sexual Offenses and Misconduct by Law Enforcement: Executive Guide at 1.
   15
            In City of Canton, Ohio v. Harris the Supreme Court held that “the inadequacy of police
   training may serve as the basis for §1983 liability only where the failure to train amounts to
   deliberate indifference to the rights of persons with whom the police come into contact.” City
   of Canton, Ohio v. Harris, supra, 489 U.S.at 379, 388. “Only where a failure to train reflects a
   ‘deliberate’ or ‘conscious’ choice by the municipality can the failure be properly thought of as
   an actionable city ‘policy.’” Id. at 389. “It may seem contrary to common sense to assert that
   a municipality will actually have a policy of not taking reasonable steps to train its employees.
   But it may happen that in light of the duties assigned to specific officers or employees the
   need for more or different training is so obvious, and the inadequacy so likely to result in the
   violation of constitutional rights, that the policymakers of the city can reasonably be said to
   have been deliberately indifferent to the need.” Id. at 390.


                                                  16
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   discovery in this case went on for a number of years, there is simply no evidence (and it

   would certainly be in the interests of the District to have produced such evidence) that, at

   the times relevant to this lawsuit, there was anyone in District of Columbia leadership (in

   or outside MPD) who was sufficiently concerned with or knowledgeable about police

   sexual misconduct to be qualified to craft and articulate a set of standards to inform

   training or supervision of MPD members on the subject.16 The only training that MPD

   sworn members received related to police sexual misconduct is regarding a single issue:

   sexual harassment, and that training was itself inadequate.17 Indeed, in the course of this



   16
           The IACP National Working Group on Sexual Offenses by Police Officers, which
   produced, Addressing Sexual Offenses and Misconduct by Law Enforcement: Executive Guide,
   involved police representatives from Delaware, Maryland, Virginia, Pennsylvania, and other
   states. But there was no one from the MPD. Moreover, the MPD has—by all indications—
   ignored the contents of the guide. See Addressing Sexual Offenses and Misconduct by Law
   Enforcement: Executive Guide at Table of Contents page.
   17

           A.      There is an annual training for
           Metropolitan Police Department employees in relation
           to EEO and sexual harassment.

           Q.      And it's an hour each year?

           A.      Yes, sir.

            Q.      And when you say "EEO and sexual
            harassment," it's not an hour dedicated to the
            broader topic of sexual misconduct/sexual
            harassment? Let's do it that way. It's in that hour they cover the range of EEO topics,
   racial discrimination, age discrimination, national origin discrimination? All those types of EEO‐
   related topics are covered in that hour?

           A.      That is correct.

   Alphonso Lee Tr. at 29; 1‐14.


                                                  17
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   litigation, the District has presented a single section, a mere component of its much

   broader EEO policy, as the core of its purported police sexual misconduct “policy”:

   Q.     Are you equating sexual misconduct with
          sexual harassment?

   A.     No, I'm not.

   Q.     So where in here does this policy mention
          sexual misconduct?

   A.     In the note section under 19, section 19,
          page 5, there's a note that says, "Sexual harassment
          may include, but is not limited to, verbal
          harassment or abuse, subtle pressure for sexual
          activity, patting or pinching, brushing against
          another person's body, and demands for sexual
          favors."

          My interpretation of that is to include
          sexual misconduct.

   Q.      You're talking about the note on 19?

   A.     Yeah, number 19, the –

   Q.     There is a note, right?

   A.     Yes, sir.

   Q.     And the language "sexual harassment may
          include, but is not limited to, verbal harassment or
          abuse, subtle pressure for sexual activity, patting
          or pinching, brushing against another person's body,
          and demands for sexual favors." So this passage is
          where this policy document of the Equal Employment
          Opportunity Division of MPD comments on sexual
          misconduct, according to your interpretation?

   A.     Yes, sir.

   Alphonso Lee Tr. at 12-13; 16-11

                                               18
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   Police sexual misconduct, as a general topic, is mentioned nowhere in the language that

   Director Lee cites. “While strong policies prohibiting sexual harassment are necessary,

   relying on existing sexual harassment policies to cover matters of sexual misconduct

   involving members of the public is completely inadequate.” Addressing Sexual Offenses

   and Misconduct by Law Enforcement at 5-6. Because the District has deliberately and

   consistently chosen, at best, to rely upon an existing sexual harassment provision of a

   broader EEO policy—before and after—(1) Darrell Best’s first and second Internal

   Affairs Bureau investigations for police sexual misconduct in 2008, (2) publication of

   Addressing Sexual Offenses and Misconduct by Law Enforcement: Executive Guide in

   2011, (3) the arrest, conviction, and sentencing of Darrell Best in 2015 for attempting to

   rape Jaquia Buie inside MPD headquarters in 2014, and (4) the occurrence of numerous

   other noteworthy events of police sexual misconduct at MPD during the period 2009 to

   2017, a jury could reasonably find that the District did not (and does not) adequately train

   or supervise its officers about police sexual misconduct. More specifically, a jury could

   reasonably conclude that the District’s refusal (to this very day) to identify, articulate,

   and systematically address in a General Order the numerous types of police sexual

   misconduct, even though the District was involved with the IACP, precluded the

   possibility of either adequately training or supervising its members about the subject of

   police sexual misconduct and evinces profound deliberate indifference for the civil rights

   of its citizens.




                                               19
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                     3.       The District inadequately investigates and disciplines police
                              sexual misconduct. 18

                     It is the District’s pattern and custom to conduct shoddy investigations into

   allegations of police sexual misconduct and to tolerate it by not instituting zero-tolerance,

   although the agent who conducted the Internal Affairs Bureau investigations into both

   Darrell Best’s police sexual misconduct matters testified under oath that MPD had a zero-

   tolerance policy regarding police sexual misconduct.19 Plaintiff’s police practices and


   18
           Mr. Lou Reiter, plaintiff’s police practices and procedures expert, stated the following:
   “My review of the produced administrative investigations, in my opinion, supports my initial
   opinion that the practice of the MPD for investigating and adjudicating allegations of sexual
   misconduct are seriously egregious, contrary to reasonable and generally accepted police
   practices, and in many cases simply a perfunctory reaction to an allegation that often only
   stays within the four‐corners of the complaint. These investigations, in my opinion, simply
   corroborate that the Officer Best investigations were not an anomaly and represent a
   conscious choice by the MPD and are consistent with its operational practices both before and
   after the 2014 incident involving Officer Best and the Plaintiff in this case.” Id. at 5‐6.
   19
        Q.   Now, what is the Metropolitan Police
             Department's position on sexual misconduct?

             Objection.

   A.        That we don't tolerate
             it.

   Q.        When you say you don't tolerate it,
             explain to me what you mean?

   A.        We don't tolerate it, knowingly. So
             if the facts are provided and it's found to be
             sustained, then the member is disciplined.

   Q.        But you have a zero tolerance policy
             towards sexual misconduct?

   A.        Yes, sir. When it's proven, it's zero
             tolerance.


                                                     20
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   procedures expert, Lou Reiter, in his Supplemental Expert Report of February 13, 2019,

   describes a series of egregious police sexual misconduct cases involving other MPD

   officers whose investigative files he reviewed.

   Plaintiff invites this Court to consider the following synoptic examples.


                   The MPD received an anonymous letter that a sergeant, a 17-year veteran
                   and director of the cadet program at the Police Academy, was having sex
                   with cadets at the Academy; was organizing group sex parties with cadets
                   on a website called Gloryholeparties.com; and was taking nude photos at
                   the parties of females on his MPD-issued cell phone. Several charges were
                   sustained, including a charge for lying to investigators, but there is no
                   evidence that he was disciplined. 20 There is also no evidence that the
                   MPD tried to identify other officers who participated in the sex parties.

                   In 2013, a Seventh District officer was arrested for taking semi-nude
                   photographs of a 14-year-old girl in a follow-up visit to her home after a
                   missing person report. Hundreds of photos of semi-nude women, some
                   girls, dating back to 2011 were found on his camera after his arrest. There
                   were fifteen (15) prior complaints against him between 2009 and 2013.
                   The most recent was for alleged stalking.21

                   In 2011, an anonymous caller told the MPD that a Seventh District officer
                   assigned to the Narcotic and Special Investigations Division was operating
                   a prostitution ring out of his apartment and smoking marijuana. The MPD
                   waited nearly a year to send an agent to the apartment building and closed


   Nicole Webster Tr. pgs 27‐28, lns. 22‐14
   20
            Mr. Reiter described these cases as two “singularly egregious examples of the
   tolerance for police sexual misconduct nurtured in the MPD.” Id. at 6‐7. Neither case against
   him appears on the computer printouts for Internal Affairs Division (“IAD”) (2006‐2018) and
   Disciplinary Review Division (“DRD”) Sex Cases (2006‐2018). Ex. 17 and 18.

   21
            A friend in the Seventh District, a police dispatcher, tipped the offending officer off on
   the Seventh District TAC channel and the offending officer was caught in the act of deleting
   photos from his camera. Internal Affairs did not interview the dispatcher until a year later. He
   said that other officers let the offending officer come to crime scenes and take photos of
   women and girls although he was not crime scene‐search certified. The dispatcher was not
   disciplined. DC 020092‐020229, 020266 and 020270


                                                   21
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                   the case after a cursory investigation with finding of “Insufficient Facts.”
                   Then in 2013, the MPD stumbled on this officer-run prostitution ring after
                   someone reported a missing juvenile female, and the girl’s cell phone was
                   traced to his apartment. There were more than ten (10) prior complaints
                   against him.22

                   In 2010, a female told the MPD that an officer had sexually assaulted her.
                   Three other females told similar stories about the same officer. A year
                   later, based on MPD’s investigation, the officer was charged merely with
                   second and fourth degree sexual abuse while armed of three women
                   between 2006-2010. A city councilman wondered what took so long to
                   bring an indictment against him. Worse, in 2014, a judge said that the
                   officer could not be found guilty as charged because he had confessed to
                   acts of prostitution, not sexual abuse, and acquitted him of all criminal
                   charges.

                   The lead detective in a criminal sexual assault case, a 19-year veteran
                   MPD, sent the victim a photo of his penis. She complained and Someone
                   informed him. He then exchanged text messages with her. Text messages
                   between the detective and the sexual assault victim say that victim was
                   told that the detective would just be removed from the case. Charges
                   against him were sustained, but there is no record that he was disciplined.23

                   In 2015, Ward 8 Community contacted the MPD to advise the District that
                   they had received more than 20 phone calls from residents complaining
                   that MPD officers in their community were “messing with young girls,
                   sexually,” and that the problem went back to 2011 and had not stopped.
                   The investigation consisted of merely two interviews and was closed out
                   as ‘Unfounded.’24

   22
         Reiter Supplemental Report at 8‐9. The 2011 case is not listed in the “IAD Sex Cases
   computer printout, Ex. 17.

   23
            According to Mr. Reiter, “Disclosed documents from the District in the printouts of IAD
   and DRD fail to identify this case . . . as sexual and there is no documentation that DRD made
   any disposition.. DC 002652 IAD Sex Cases shows only ‘Closed.’ DC 002640 DRD Sex Cases
   2006‐2018 void of this case. This case is just one of many that show the MPD’s inability to
   produce trustworthy lists of officer’s sexual misconduct cases. This is in my opinion a
   conscious choice by MPD to shield and obfuscate discovery of such cases in the event of
   litigation and limits any usefulness of its identification and intervention programs.” Reiter
   Supplemental Report at 11.

   24
            “The allegation from Ward 8 persons in 2015 should have alerted the MPD to the
   possibility that there was more misconduct occurring, specifically with District 7 officers…

                                                  22
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                   In 2010, a female officer from the Seventh District alleged that a sergeant,
                   her first-line supervisor, had been touching her inappropriately and sent
                   her a photo of his erect penis. The men’s bathroom floor of the Seventh
                   District was recognizable in the background. There were two (2) prior
                   sexual harassment complaints against him, both closed with ‘Insufficient
                   Facts.’ This case, too, was closed with insufficient facts. 25

                           In 2011, Prince Georges County law enforcement contacted the
                           MPD about 22-year MPD veteran accused of sexual abuse of a
                           minor. There were two prior investigations of this officer, who
                           was finally arrested in 2013 and convicted of repeated sexual abuse
                           of a 10-year-old girl. He was not terminated until 2015.

                           In 2011, a 22-year veteran of the MPD force solicited a prostitute,
                           got in an altercation with her pimp, pursued them in his car, had a
                           traffic accident, then fired five (5) rounds into their car, injurying
                           them both. The officer was extremely intoxicated. Several
                           charges were sustained against him in 2014, yet the case does not
                           appear in either computer-run printouts of IAD or DRD sex cases
                           the years 2006-2018.

                           Best was interviewed in an investigation involving several Seventh
                           District officers when he was a sergeant in the Seventh District
                           Domestic Violence Unit. The investigation sprang from the arrest
                           of a Seventh District officer who was convicted of having sex with
                           a victim of domestic violence. The officer alleged, presumably as
                           part of his plea deal, that other Seventh District officers had also
                           returned to the scene of domestic violence calls and solicited sex
                           from the victims. The investigation of two named officers was
                           classified as ‘Unfounded’ and ‘Insufficient Facts.’ 26


   [MPD] made a superficial inquiry into the community leaders’ concerns, showing in my opinion
   a callous and deliberate indifference to the risk that [if] it did not address this concern that
   prompted 25 calls.” Reiter Supplemental Report at 9.

   25
            Notably, there is a memo in the investigative file from then Assistant Chief Michael
   Anzallo asking whether the sergeant’s police powers should be revoked pending completion of
   the criminal investigation. The disciplinary wing of the MPD responded that it does not revoke
   an officer’s police powers until the second sexual assault case is filed against him, “i.e. Daryl
   Best case.” Exhibit 21. (DC 012156)

   26
           Reiter Supplemental Report at 12.

                                                  23
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                 Indeed, Sergeant Best’s first police sexual misconduct investigation,

   which the District in its summary judgment motion describes as “irrelevant” (see SJM at

   19) and which MPD officially declared had “insufficient facts” was seriously inadequate

   and should have, according to the District’s own 30(b)(6) designee, former Director of

   Internal Affairs Division, Inspector Kimberly Dickerson, been sustained.

          Q.     Okay. Fair enough. I think we're
                 done. Oh, one more question that I didn't ask.
                 Going back to the Raynette Jones investigation,
                 if the sustained allegations associated with
                 lying and stealing from the District had been
                 applied in the Raynette Jones investigation,
                 had been taken into account so that she is
                 saying she, the 20 year-old whose got nothing
                 to gain and everything to lose by accusing this
                 man, stepped forward, levies her allegations,
                 he has a great deal to lose and everything to
                 gain by lying and so we've got -- because no
                 [phone] records were obtained and her only witness
                 that offered any level of corroboration – and
                 she didn't say, "He's going to tell you, I told
                 him everything." She said, "I told him certain
                 things," but it would have been some level, was
                 not pursued, so it was turned into an
                 artificial he said-she said because of a
                 failure to pursue evidence, shouldn't that --
                 in that situation, given that the pre-existing
                 adverse action have [sic] operated against the
                 credibility of Daryl Best to turn the tide in
                 that situation to a sustained?

          A.     I think that it should have, but I
                 also testified earlier that, that investigation
                 was not comprehensive, so had there been a
                 comprehensive investigation coupled with the
                 allegations and the findings of the other
                 investigation, lending to the, as you said, the
                                             24
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                  20 year-old who has everything to lose in this
                  situation by coming forward and the history and
                  the disciplinary or investigative history of
                  Best, I do believe we could have reached a
                  preponderance of evidence in the Jones case,
                  but again, I stress had there been a comprehensive investigation.

   Inspector Kimberly Dickerson Tr. at 211-213.

                  Cadet Jones filed a complaint on April 21, 2008 alleging that Sgt. Best, at

   least ten (10) times over a period of months in 2007, rang her cell phone, summoned her

   to his office at the police academy (where he taught Ethics), locked the door, and groped

   her buttocks, breasts and genital area while kissing on her neck. He repeatedly solicited

   oral and genital sex, informing her that he could outperform her lesbian lover in various

   sexual acts. First, the Internal Affairs Agent assigned to investigate the matter testified

   under oath at her deposition in this case that she had been a cadet with Officer Best at the

   police academy, that she had known him for 28 years, and that they’d been friends for the

   entire period.27 Second, the investigation did not follow the EEO guidelines the MPD


   27
          Q.      If you were going to assign you
          know, an IS number gets triggered. A complaint
          comes in, IS number gets triggered, and you're
          going to make a decision who you are going to
          assign as the investigator, right?

          A.      Yes.

          Q.      And you know, you have knowledge that
          the person you are going to [as]sign as an
          investigator has had a 20‐plus year friendship
          with the person who is the target of the
          investigation. Is that a potential conflict?

          A.      It is a conflict.

                                               25
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   professes to follow in cases characterized as instances of “he said/she said.” In fact, the

   District’s Rule 30(b)(6) witness who was designated to testify about the practices of MPD

   Internal Affairs, Inspector Kimberly Dickerson, confirmed that it is the practice of MPD

   to regard “he said/she said” matters as a case of ‘Insufficient Facts’ without regard to

   credibility if there is no physical evidence or third-party corroboration. Ex. 5, Inspector

   Dickerson Tr. at 212:21-213:11. The investigator neither obtained critical cell phone

   records (Cadet Jones told the investigator that Officer Best had called her on her cell

   phone several times)28 nor interviewed the only witness who Cadet Jones offered to

   corroborate her allegations, a male cadet she named specifically for that purpose. Ex. 3,

   Tr. Interview of Cadet Jones, 4/28/08.     The testimony of Cadet Jones and the female

   sergeant, who originally reported the allegations, was given little weight. When the

   investigator asked her if she believed Cadet Jones, the sergeant responded, “she has. .

   .nothing to gain by making it up. . .”

                   Relevant prior disciplinary history of Sergeant Best before the Jones

   matter was improperly excluded from consideration. A 2007 Adverse Action against

   Best for lying and stealing, followed by a domestic violence case a few weeks later were

   notably missing from the “Officer History Summary” of Best’s incident history in relation




   Dickerson Tr. at 37.
   28
          The investigator wrote a note in the file to subpoena phone records and interview the
   corroborating witness, but, by her own admission, never did either.


                                                26
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   to the Jones matter. (The last entry in his Officer History Summary was a Fraud/Time &

   Attendance matter that occurred in 2004.)

                 4.      The District ignores vital EEOC-promulgated standards for
                         assessing credibility in sexual harassment cases.

                 Exhibit 14 of the District’s Motion for Summary Judgment, contains the

   following language:

                         The EEOC has recognized that sexual harassment
                         complaints may present evidentiary problems. Since
                         sexually harassing conduct is often displayed behind
                         closed doors with no eyewitnesses, the EEOC permits the
                         use of circumstantial evidence to raise an inference of
                         discrimination. The EEOC’s Workplace Harassment
                         Issues: An Essential Guide states that, in the absence of
                         physical evidence or eyewitness testimony, an investigator
                         may rely on subjective assessment of the credibility of the
                         complainant and the target. In instances of “he said/she
                         said” allegations, the credibility of the complainant
                         assessment is crucial.

   Among other things, Inspector Dickerson testified thus regarding “he said/she said”

   customs at the MPD:

                 Q.      Right, I should mark this. So anyway, Exhibit 4. Remember, you

                 recall the discussion we had about he said-she said, right?

                 A.      I do.

                 Q.      And you recall that we had gotten into the language in the

                 document about credibility in situations of he said-she said?

                 A.      I recall.




                                               27
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                  Q.      Now, once again, imagine that Officer Norman, Norman Jones is

                  out of the picture. He’s not involved. And so you have [the complainant]

                  with her story of X and Daryl Best of [sic] his story with not X, right?

                  A.      Yes.

                  Q.      And you say it is the practice of MPD to treat those as insufficient

                  facts when that’s what the situation is, without some extraneous witness

                  or recording or corroborating data, right?

                  A.      Correct.

   Tr. Inspector Dickerson P. 89-90:12-10. This testimony confirms that MPD has a

   custom/practice of actively ignoring the EEO Division standard articulated in language

   on its own documents and apathetically treating all he said/she said internal investigations

   involving sexual-harassment as having Insufficient Facts.            This practice/custom

   prejudices he said/she said scenarios, which most virtually all sexual harassment cases

   tend to be, in favor of the accused and against complainants/victims.29 Indeed, this

   practice played a large part in driving the finding of “Insufficient Facts” in Officer Best’s

   first police sexual misconduct Internal Affairs investigation. Because this single practice

   operates prejudicially to frustrate the prospect of sustaining sexual harassment

   investigations at MPD, the sliver of police sexual misconduct that receives some attention

   at MPD, a jury could reasonably find that this practice evinces MPD’s deliberate

   indifference towards the constitutional rights of citizens.




   29


                                                28
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             B.    Deliberate Indifference

                   “[A] plaintiff seeking to establish municipal liability on the theory that a

   facially lawful municipal action . . . has led an employee to violate a plaintiff's rights must

   demonstrate that the municipal action was not simply negligent, but was taken with

   “deliberate indifference” as to its known or obvious consequences.” Id., at 388, 109 S.Ct.,

   at 1204. “Only where adequate scrutiny of an applicant’s background would lead a

   reasonable policymaker to conclude that the plainly obvious consequence of the decision

   to hire the applicant would be the deprivation of a third party’s federally protected right

   can the official’s failure to adequately scrutinize the applicant’s background constitute

   ‘deliberate indifference.’” Pembaur v. City of Cincinnati, 475 U.S. 469, 480.

   “[D]eliberate indifference on the part of individual officers towards a plaintiff . . . may

   establish the predicate constitutional violation, but the plaintiff must also show the

   District itself was deliberately indifferent to the risk that not addressing a certain issue

   will result in constitutional violations.” See Baker, 326 F.3d at 1306–07. The District

   was—and continues to be—deliberately indifferent to the fact that police sexual

   misconduct will result in constitutional violations in the absence of a written police sexual

   misconduct policy at the MPD.

                   The “first inquiry in any case alleging municipal liability under §1983 is

   the question whether there is a direct causal link between a municipal policy or custom

   and the alleged constitutional deprivation.” City of Canton v. Harris, 489 US 378, supra,

   at 388, 109 S.Ct., at 1204.   There is a causal link between the District’s conduct and the

   constitutional violations that plaintiff alleged in the matter before this Court. Officer Best

                                                 29
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   had generated a trail of police misconduct well before the evening of December 3, 2014,

   including two official Internal Affairs investigations initiated on successive, separate

   2008 complaints, allegations of police sexual misconduct based on events of 2007 and

   2008, respectively.30 In addition, earlier in 2007 (the same year of his alleged first sexual

   misconduct incident), Sergeant Best had intentionally presented false work hours and

   falsified time cards to cover the original deception and theft.31 Indeed, in 2009, in the

   final investigative submission to the Disciplinary Review Division in connection with

   Best’s second police sexual misconduct investigation, Internal Affairs explicitly warned

   the District:

                   [I]t appears that Sergeant Best continues to engage in behavior that
                   may leave the Department open for serious legal action. . . .
                   Sergeant Best has been in two reported sexual harassment
                   allegations, and although the first has a finding of Insufficient
                   Facts, there are a number of factors that are similar. The facts in
                   both complaints suggest that both complainants are new
                   employees: Sergeant Best served as a supervisor for both women,
                   and in fact, it can be suggested he used his position of authority to
                   try to intimidate the women.




   30
           The investigations, both handled by the investigator who had been a friend of Best for
   28 years, overlapped one another and for a period of time were under way at the same time.

   31
           Sergeant Best pilfered $1997.32 before someone detected his dishonesty. MPD
   imposed a mere 30‐day suspension for his treachery. Despite his manifest moral turpitude,
   MPD chose to retain him as an active member of what the District should be aspiring to make
   a fraternity of exemplary men and women, who diligently express and earnestly believe in the
   principals and values that would qualify them to wield remarkable authority in a free society
   and be trusted as worthy to serve and protect the people of the District of Columbia.
   Inspector Gottert, of the Disciplinary Review Division (DRD), testified that typically if a member
   has been found to have lied and been penalized for it, “the penalty for lying is generally
   recommendation for termination.” Gottert Tr. at 52:1‐8. Defendant Ex. 8 at 7.

                                                  30
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   Defendant Ex. 14. Here Internal Affairs is alerting MPD, i.e. the District of Columbia,

   to a serious issue—one considered worthy of formal and explicit documentation—

   announcing that evidence indicates that Sergeant Best poses a grave threat to vulnerable,

   young females who are subject to his authority and, further (and quite remarkably), that

   there is concern about him exposing the District to “serious legal action”—exactly what

   has occurred. Nonetheless, in a display of conscious disregard and truly shocking

   deliberate indifference to the obvious and foreseeable harm Officer Best had been

   specifically flagged as posing to the civil rights of the vulnerable, young women of the

   District of Columbia, MPD—again—chose to retain Officer Best within its fraternity and

   under its banner as a member of its police force.

                   Moreover, there is no record in the entirety of Best’s files produced in

   discovery that he ever received any targeted training or particularized monitoring as a

   result of Internal Affair’s sober admonition about him. Ex. Best’s training records Based

   upon these facts, a jury could reasonably conclude that the District was the moving force

   that enabled Best to attempt to rape Jaquia Buie inside MPD headquarters. The District

   retained him after he lied and stole from the MPD and after successive investigations for

   police sexual misconduct. Then the District detailed Best to police headquarters, where

   within nine (9) days of being there, he brought a young female into police headquarters

   and attempted to rape her, exactly the kind of behavior that the District had been officially

   warned of in writing in 2009.32



   32
           In Bd. of Cty. Comm'rs of Bryan Cty., Okl. v. Brown, 520 U.S. 397, 398, 117 S. Ct. 1382,
   1385, 137 L. Ed. 2d 626 (1997), the Supreme Court ruled that the plaintiff was required to

                                                  31
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         C.        Single Act by Final Policymaking Authority

                   “Municipal liability may be imposed for a single decision by municipal

   policymakers under appropriate circumstances.” Pembaur v. City of Cincinnati, 475 U.S.

   469, 481, 106 S. Ct. 1292, 1298, 89 L. Ed. 2d 452 (1986) “[A] government frequently

   chooses a course of action tailored to a particular situation and not intended to control

   decisions in later situations. If that decision to adopt that particular course of action is

   properly made by that government's authorized decision makers, it surely represents an

   act of official government ‘policy’ as that term is commonly understood. More

   importantly, where the action is directed by those who establish governmental policy, the

   municipality is equally responsible whether that action is taken only once or to be taken

   repeatedly.” Id. at 481.

                    “Once those officials who have the power to make official policy on a

   particular issue have been identified, it is for the jury to determine whether their decisions

   have caused the deprivation of rights at issue by policies which affirmatively command




   produce evidence from which a jury could find that, had the hiring Sheriff adequately screened
   the deputy’s background, the Sheriff “should have concluded that Burns’s use of excessive
   force would be a plainly obvious consequence of the hiring decision.” The Court found that
   plaintiff’s evidence of the Sheriff ’s scrutiny of the deputy’s record did not enable the jury to
   make such a finding. In the case sub judice, there is evidence from which a jury could
   reasonably find that, had Chief Lanier, who knew of Best’s prior incidents of lying and stealing
   and police sexual misconduct, adequately considered Darrell Best’s disciplinary record in 2009,
   particularly in light of the written Internal Affairs warning included in Best’s second
   investigation for police sexual misconduct, Chief Lanier should have concluded that further
   manifestation of Best’s proclivity for police sexual misconduct would be a plainly obvious
   consequence of a decision to retain him. Furthermore, the District’s 30(b)(6) designee
   regarding Internal Affairs testified that the Jones matter was not investigated comprehensively
   and should have been sustained.


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   that it occur, see Monell, supra, 436 U.S., at 661, n. 2, 98 S.Ct., at 2020, n. 2, or by

   acquiescence in a longstanding practice or custom which constitutes the “standard

   operating procedure” of the local governmental entity. Jett v. Dallas Indep. Sch. Dist.,

   491 U.S. 701, 737, 109 S. Ct. 2702, 2724, 105 L. Ed. 2d 598 (1989)I

                  In 2014, former Deputy Chief of Police, Kimberly Chisley-Missouri

   submitted a formal request to Chief of Police, Cathy Lanier, seeking authorization for

   Officer Best to be detailed to police headquarters where Deputy Chief Missouri had been

   promoted to lead the Corporate Support Bureau.              Chief Lanier possessed final

   policymaking authority with respect to MPD members’ employment issues. Although

   she was aware that he had been demoted, Assistant Chief Missouri admitted in her

   deposition testimony that she requested officer Best be detailed to police headquarters.33.

   But she said she didn’t know why he was demoted. She obviously did not consider it

   sufficiently important to find out:

                  Q.      "So I'm asking you, is it a minor thing or a
                          significant thing for a sergeant to be demoted?"

                  Same objection.

                  A.      Between minor and
                          significant, definitely more significant, yes.

                  Q.      But you had -- you didn't look in -- before
                          you brought him into police headquarters and gave
                          him the privileges of accessing the office of the
                          Corporate Support Bureau, you didn't investigate why
                          he had been demoted?

                  A.      No.

   33
          [Provide the language from her transcript where she says this.]

                                                33
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                   Q.      Okay. Is today when I handed you this
                           document the first time you learned why he was
                           demoted?

                   A.      Yes.

   Missouri Tr. P. 82-83, L. 21-14. This is egregious indifference. But what is more is that

   Police Chief Cathy Lanier—fully aware of his 2007, 30-day suspension for lying and

   stealing and of both sexual misconduct Internal Affairs investigations (moreover,

   knowing specifically why she’d authorized his demotion), nonetheless decided to

   authorize Best to be detailed to the Corporate Support Bureau on the fifth floor of police

   headquarters. Chief Lanier’s final policymaking decision to authorize Officer Best to be

   detailed to police headquarters occurred on November 21, 2014. Officer Best’s detail

   commenced on November 24, 2014. A mere nine (9) days later34—little more than a

   week—on December 3, Officer Best used his police authority and assorted other

   resources of the MPD, to bring Jaquia Buie into the very nerve center of the department

   and attempt to rape her. These facts make it possible for a jury to reasonably conclude

   that the District was the moving force behind a constitutional deprivation, caused by

   Chief Lanier’s participation in a longstanding practice or custom which constitutes the

   “standard operating procedure” of the MPD/the District of Columbia: a pattern of

   deliberate indifference toward police sexual misconduct.


   34
           After being detailed to the Fifth District following commencement of Best’s first
   Internal Affairs investigation regarding sordid allegations of police sexual misconduct at the
   police academy, it took only a few months before he committed new acts of police sexual
   misconduct, which resulted in his subsequent demotion in connection with the second police
   sexual misconduct Internal Affairs investigation.


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                                 Negligent Entrustment, Count V35

                    Defendant bewilderingly contends that “there is no evidence in the

   record supporting Plaintiff’s negligent entrustment claim,” and speciously asserts that

   “‘the doctrine of negligent entrustment . . . does not require a defendant to be

   clairvoyant.’” Id., at 40 Plaintiff agrees that the doctrine does not require a defendant

   to be clairvoyant, but urges this Court to recognize that the doctrine does require the

   defendant to have a memory. As defendant states in its motion, “to establish a claim of

   negligent entrustment, a plaintiff must show: (1) [t]he making available to another

   chattel which the supplier (2) knows or should have known the user is likely to use in a

   manner involving risk of physical harm to others (3) whom the supplier should expect

   to be endangered by its use.” Id., at 39 . Defendant’s evasive contention that “[w]hat

   Best used to sexually assault36 Plaintiff was his position as pastor . . . ,” Id., 40, is


   35
            Defendant attempts to apply the Public Duty Doctrine to this case are unpersuasive.
   “[A]bsent a special relationship between the [District] and an individual, no specific legal duty
   exists,” and a suit against the District based on a claim of simple negligence will “fail[ ] as a
   matter of law.” Warren v. District of Columbia, 444 A.2d 1, 3, 4 (D.C.1981) (en banc). Accord,
   e.g., Klahr v. District of Columbia, 576 A.2d 718, 719 (D.C.1990)
   (“Underthe public duty doctrine, a person seeking to hold the District of Columbia liable for
   negligence must allege and prove that the District owed a special duty to the injured party,
   greater than or different from any duty which it owed to the general public.”) When a police
   officer presses a citizen, particularly a young female, to let him take her home and induces her
   to get into his police cruiser, he creates a special relationship with the District, not him as an
   individual. Even if not at that specific point, then certainly after the Officer unilaterally brings
   her via exclusive police garage and restricted elevator into police headquarters while he does
   police work. See Wanzer v. District of Columbia, 580 A.2d 127, 132 (1990) (“[T]o give rise to a
   special relationship the [MPD’s] response to the private party must in some way exceed the
   response generally made to the members of the public.”)

   36
           Although, in a general sense, it is accurate to characterize what Officer Best did to
   Jaquia Buie as a “sexual assault,” the charge that Count IX of the Complaint alleges is “Sexual
   Abuse of a Minor.” The pertinent section of 12 D.C. Code Subsec. 301(11) “Limitation of time

                                                    35
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   ridiculous.37 The District should remember that the only possible chattel at issue are the

   various articles supplied to Best by it: the car,38 uniform (and associated

   accoutrements), key, fob, and firearm. The District supplied these items to officer Best

   as a sworn member of MPD and, more recently, as someone newly detailed to the CSB.

   The District should also remember the host of reasons—including Best’s documented

   disciplinary record involving, among other things, rank dishonesty (lying and stealing),

   domestic violence, and a keenly relevant history of police sexual misconduct reflected

   in two Internal Affairs investigations, in the course of the second of which IAD

   specifically admonished the District thus:

                   Due to the nature of this allegation and the disturbing similarity of
                   Sergeant Best’s most recent complaint . . . it appears that Sergeant Best
                   continues to engage in behavior that may leave the Department open for
                   serious legal action. . . . Sergeant Best has been in two reported sexual
                   harassment allegations, and although the first has a finding of
                   Insufficient Facts, there are a number of factors that are similar. The

   for bringing actions,” in effect on the date that Plaintiff initiated this action in September 2016,
   provided that actions “for the recovery of damages arising out of sexual abuse that occurred
   while the victim was a minor [is] 7 years from the date that the victim attains the age of 18, or
   3 years from when the victim knew, or reasonably should have known, of any act constituting
   sexual abuse, whichever is later.” In the District of Columbia, a minor is a person under the
   age of 18 years. Jaquia Buie was 17 at the time of Best’s attempted rape. Accordingly, she had
   a right to bring this count until 2021, seven years after she turned 18. She filed this Complaint
   in September 2016.
   37
           But for the fact that Best was a police officer, it is highly improbable that Jaquia Buie
   would have ever been meeting with Best in the first instance. She was certainly not at Georgia
   Brown’s to confer about an interest in becoming a pastor. Furthermore, it is not speculative to
   posit that any trust or respect related to his status as a pastor, which Jaquia had for Best prior
   to meeting him at the restaurant that evening, evaporated immediately and completely when
   he started asking her lascivious, disconcerting, and wildly inappropriate questions at dinner.
   38
          To the extent the District argues that Best was not authorized to have the MPD cruiser
   he was driving on December 3, 2014, it simply reinforces Plaintiff’s contention about
   inadequate supervision at MPD, particularly of Best himself.

                                                   36
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                   facts in both complaints suggest that both complainants are new
                   employees: Sergeant Best served as a supervisor for both women, and in
                   fact, it can be suggested he used his position of authority to try to
                   intimidate the women

   (Defendant Ex. 14)—a jury could reasonably find that the District of Columbia knew or

   should have known that Best was likely to use in a manner involving physical harm to

   vulnerable young females subject to his position of police authority. Finally, based on

   Best’s history of police sexual misconduct against vulnerable young females, a jury

   could reasonably find that Jaquia Buie was definitely the sort to be endangered by

   Best’s use of the chattel.39


                     Negligent Supervision and Retention, Counts IV & VI40

                   “An action for negligent supervision or retention requires proof that the

   employer breached a duty to plaintiff to use reasonable care in the supervision or retention

   of an employee which proximately caused harm to plaintiff. Fleming v. Bronfin, 80 A.2d

   915, 917 (D.C. 1951). “There are circumstances under which an employer can be held



   39
            In its argument against Plaintiff’s claim of negligent entrustment, the District alludes to
   Restatement (Second) of Torts, §390. Among the illustrations provided to illuminate the
   section is the following:

                   A permits B, his chauffer, who to his knowledge is in the habit of driving at an
                   excessive speed, to use his car to take B’s family to the seashore. While
                   driving the car for this purpose, B drives at an excessive rate of speed and
                   harms C. A is subject to liability to C.
   40
            Contrary to Defendant’s hyperbolic claims about the need for plaintiff’s expert to
   opine on the ultimate issue of causation, “[q]uestions of causation are ordinarily issues of fact
   for the jury,” and there is no reason for things to be otherwise in this case. Reese v.
   Washington Metro Area Transit Authority, 135 A.2d 1326, 1329 (1991); Tolu v Ayed, 945 A.2d
   596, 604 n.6 (D.C. 2008)

                                                   37
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   liable for intentional acts committed by an employee who causes harm although acting

   outside the scope of his or her employment. That liability is predicated upon the

   employer’s direct negligence rather than under a theory of vicarious liability based on the

   employee’s negligence.” Phelan v. City of Mount Ranier, 805 A.2d 930, 937 (2002).41

   The case sub judice is a case involving such circumstances.

                    The District failed to show reasonable care with respect to supervision and

   retention of Best at MPD after a series of important events:

           (1)      the 30-day suspension after the 2007 allegations of lying and stealing were

                    sustained following an Internal Affairs investigation;

           (2)      successive Internal Affairs investigations for allegations of police sexual

                    misconduct (the first of which Inspector Dickerson testified should have

                    and could have been sustained if it had been investigated properly, and the

                    second of which was sustained resulting in Best being demoted from

                    Sergeant to officer);

           (3)      the official written Internal Affairs admonition about Best, warning that

                    “Sergeant Best continues to engage in behavior that may leave the

                    Department open for serious legal action.” (see Defendant’s Exhibit 14 at




   41
             An off‐duty, police officer in plain clothes and outside of his jurisdiction (the City of
   Mount Ranier, Maryland) gets involved in the personal squabble of a friend in the District of
   Columbia and ends up shooting a man dead in the process. The decedent’s wife commenced
   an action against the officer, the City of Mount Ranier, and its Police Chief for violation of his
   civil rights under 42 U.S.C. § 1983 various other claims, sounding in negligence, etc..


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                  DC 001002) contained in the final report of the second police sexual

                  misconduct investigation;

          (4)     the 2012 domestic violence Temporary Restraining Order Best’s then-

                  wife filed against him; and

          (5)     the 2011 investigation of allegations from a citizen that Best was having

                  an affair with his wife, a member of Best’s church congregation (who,

                  despite denying the affair, he later went on to marry) and that he regularly

                  wore his police service revolver in the pulpit.

   A jury could reasonably conclude that after all this documented dishonest and sordid

   conduct, allowing Best to continue to be entrusted with the authority, the official

   credibility, the powers and privileges, and the access to the wide range of resources and

   accoutrements of MPD, was not reasonable care with respect to the supervision or

   retention of officer Best or his fellow members. Not only was Best retained, he was not

   required to undergo any particularized remedial training or subjected to any bespoke

   oversight or monitoring to hold him accountable in the wake of his demonstrated

   proclivity for police sexual misconduct. Beyond this even, Former Chief of Police, Cathy

   Lanier, officially ordered—despite her knowledge of Best’s history of sexual misconduct

   in the department and demotion from sergeant to officer—that he be detailed to the

   Corporate Support Bureau, which allowed officer Best privileged and unmonitored access

   to exclusive areas of police headquarters and various other departmental resources.

                  The Phelan Court reasoned that “[n]egligently retaining and supervising

   Thompson as a police officer in Mount Rainier had little or no connection with his off-

                                                39
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   duty shooting in a jurisdiction where he had [no] . . . authority to act as police officer . . .

   .” Phelan at 940. Unlike the shooting in Phelan, however, the attempted rape of Jaquia

   Buie was the outgrowth of a job-related encounter. Murphy v. Army Distaff Foundation,

   Inc., 458 A.d 61, 64 and n. 4 (D.C. 1983). In full uniform, a police officer, driving a

   police cruiser, met a recent high school graduate within his jurisdiction to discuss the

   prospect of her joining the local police force for which he worked: 42 that’s easy to

   conceive of as a job-related encounter. Or, a police officer orders a minor into a police

   cruiser and promises that he will take her home, then, after the patrol car is in motion,

   unilaterally declares he has “work to finish up,” takes her inside MPD headquarters, starts

   working in his office on his computer, and eventually attempts to rape her: that’s hard not

   to conceive of as being a job-related situation.

                   It was clear in 2009 that Best was a person who was dishonest,

   untrustworthy, and would transgress sexually against female MPD members, particularly

   those subject to him. Moreover, his exploitative sexual predation was known and

   documented. It was plainly foreseeable that, if the District retained him, Best would

   someday use the powers and accoutrements of his position to prey on the even more

   vulnerable: the civilian female population of the District. See generally District of

   Columbia v. Cassidy, 465 A.2d 395, 398 (D.C. 1983) (liability may be imposed for

   reasonably foreseeable results of acts or omissions, including intervening acts of third

   party when foreseeable). But, irresponsibly, the MPD disregarded the threat to the



   42
          In Phelan, the officer was not in uniform, not within the jurisdiction of his police
   powers, and he was not identifiable as a police officer prior to the shooting. Phelan at 940.

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   welfare of the women of the District of Columbia. This was a substantial factor in best

   preying on Jaquia Buie, and provides the “nexus between the . . . misuse of the

   professional relationship by the employee, the alleged negligent acts of the employer, and

   the resultant injury to the [victim],” which the court in Phelan described. Phelan at 939.

   A jury could reasonably, based on these facts—all of which are substantiated by the

   record—find that this was not the reasonable care required under the law and that breach

   of this standard of reasonable care proximately caused the harm inflicted upon Jaquia

   Buie. Ultimately, as Plaintiff is “the nonmoving party, she is entitled to all favorable

   inferences which may be drawn from” the evidence. Consequently, summary judgment

   is simply inappropriate here.

                     Negligent Infliction of Emotional Distress, Count VII

                  Defendant’s contention that there is “no evidence in the record

   supporting Plaintiff’s NIED claim,” (see SMJ., at 40) is irresponsible and false. Under

   the law of the District of Columbia, to prove a claim of negligent infliction of emotion

   distress one must establish the following: (1) plaintiff was in the zone of physical

   danger; (2) the zone was created by the defendant’s negligence; (3) plaintiff feared for

   her own safety; and (4) the resulting emotional distress was serious and verifiable.

   Hunter v. District of Columbia, 824 F. Supp.2d 125, 139 (D.D.C. 2011). Based on the

   evidence in the record a jury could reasonably find that each of the elements above is

   satisfied. Relying on the fact that officer Best seized her against her will, took her into

   police headquarters to an unmonitored office, alone with him, a jury could reasonably

   conclude that Jaquia Buie was “in the zone of physical danger.” Indeed, based on the

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   fact officer Best indisputably attempted to rape her—and sits in prison at this exact

   moment because of a criminal conviction derived from that fact—no one could

   reasonably dispute that Jaquia Buie was in the zone of physical danger. Then,

   predicated on the fact the District failed to adhere to its own disciplinary and

   supervisory policies and, in addition, inexplicably detailed Officer Best to CSB,

   recklessly granting him enhanced opportunity to act on his known proclivities to

   commit police sexual misconduct, a jury could also reasonably find that the “zone of

   physical danger” was, in fact, created by the District’s negligence. Simple reliance on

   plaintiff’s own deposition testimony that she was scared at the time would allow the

   same jury to find that plaintiff, indeed, feared for her safety.43 That the “resulting

   emotional distress was serious and verifiable” could easily be shown through plaintiff’s

   psychological expert, Dr. Carol T. Giunta, PhD, who states in her expert report the

   following:

                  Because [Ms. Buie] continues to re[-]experience the sexual assault on a
                  regular basis and has not yet been able to integrate this event into the
                  larger narrative of her life, Ms. Buie copes with its aftermath in largely
                  unhealthy ways. She keeps others at a distance, forgoing support in favor
                  of isolation. She has relied on substances to distance herself from the
                  experience and facilitate sleep. Her fuse is ignited quickly, resulting in
                  displays of anger and aggression in an attempt to ward off the feared
                  experience of further victimization. In short, Ms.Buie is relying on any
                  and all strategies she can muster to cope with what continues to be an
                  overwhelming array of feelings and experiences which tie back directly
                  to the sexual assault or represent attempts to manage its fallout.



   43
           As he molested her, Officer Best told her to stop acting scared. Ex. 1, Jaquia Tr. at
   238:6. Jaquia was really scared and looked for a security camera in headquarters to make sure
   there was a picture of her face if something happened to her. Ex. 11, Mrs. Buie Tr. at 102:12‐
   15.

                                                42
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                  However, these coping strategies create more problems for her and put
                  her at risk for a negative life trajectory.

   Carol T. Giunta Expert Report at p. 8. Defendant’s. A jury could reasonably find in

   favor of Plaintiff with respect to the count of negligent infliction of emotional distress.



                          Intentional Infliction of Emotional Distress

                  To establish a prima facie case of intentional infliction of emotional

   distress, a plaintiff must show (1) extreme and outrageous conduct on the part of the

   defendant which (2) either intentionally or recklessly (3) causes the plaintiff severe

   emotional distress. Howard Univ. v. Best, 484 A.2d 958, 985 (D.C. 1984) (quoting Sere

   v. Group Hospitalization, Inc., 443 A.2d 33, 37 (D.C. 1982)). The conduct must be “so

   outrageous in character, and so extreme in degree, as to go beyond all possible bounds of

   decency, and to be regarded as atrocious, and utterly intolerable in a civilized

   community.” Homan v. Goyal, 711 A.2d 812, 818 (D.C. 1998) (quoting Drejza v.

   Vaccaro, 650 A.2d 1308, 1312 n. 10 (D.C. 1994)). Plaintiff contends that it was extreme

   and outrageous conduct of the District of Columbia, the capitol city of the United States

   of America, not to have a written police sexual misconduct policy in December 2014, and

   to have retained and detailed Darrell Best to the CSB in light of his disciplinary record

   and the specific admonition about him that Internal Affairs advanced in 2009. She

   maintains that those factors, together, constituted reckless conduct by the District of

   Columbia—not Officer Best, who himself in determinative part was a product, result, and

   expression of the District’s conscious disregard over time—and that they operated



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   confluently to cause the emotional distress imposed upon her through Best. Plaintiff

   stresses that it was the District’s failure to take responsibility to lead, manage, supervise,

   and train its members—including Best—regarding police sexual misconduct that made

   possible the convergence of all the elements that produced what the Defendant described

   in its motion as “the terrible acts Best committed against her in December 2014” (see

   MSJ at 39). A jury could reasonably find in favor of Plaintiff on this count based on this

   record.

                                          Respectfully submitted,

                                          SMITH MUSTILLE, LLC


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                                          December 21, 2020

                                          Attorneys for Plaintiff




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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA
                                    Civil Division

   JAQUIA BUIE                   )
                                 )
        Plaintiff,               )
                                 )
   vs.                           )              Civil Action No. 1:16-cv-01920 (CKK)
                                 )              Judge Colleen Kollar-Kotelly
   DISTRICT OF COLUMBIA, et. al. )
        Defendants.              )
                                 )


                                   PROPOSED ORDER

          Upon consideration of Plaintiff’s Responses to Defendant’s Statement of Facts,

   Issues of Material Fact, and Plaintiff’s Memorandum of Points and Authorities in Support

   of Plaintiff’s Opposition to the District’s Motion for Summary Judgment On All Counts,

   and the record herein, it is this ___ day of December, 2020 hereby,

          ORDERED that Plaintiff’s Responses to Defendant’s Statement of Facts, Issues

   of Material Fact, and Plaintiff’s Memorandum of Points and Authorities in Support of

   Plaintiff’s Opposition to the District’s Motion for Summary Judgment On All Counts is

   GRANTED.




                                                       Judge Colleen Kollar-Kotelly
                                                       U.S. District Court for the
                                                       District of Columbia
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              EXHIBIT 1
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                                                                        1

                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

                                  + + + + +

      _______________________
                             :
      IN THE MATTER OF:      :
                             :
      JAQUIA BUIE,           :
                             :
                  Plaintiff, :
                             :
           v.                : C.A. No.
                             : 16-CV-1920 (CKK)
      DISTRICT OF COLUMBIA, :
      et al.,                :
                             :
                  Defendants.:
                             :
      _______________________:

                     Tuesday,
                     April 3, 2018

                     Washington, D.C.


      DEPOSITION OF:

                                JAQUIA BUIE

      called for examination by Counsel for the

      Defendant, pursuant to Notice of Deposition, in

      the D.C. Office of the Attorney General, located

      at 441 4th Street, NW, Suite 630 South,

      Washington, D.C., when were present on behalf of

      the respective parties:



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                                                                        2

      APPEARANCES:


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                                                                            100

1                     A   Sunday.

2                     Q   All right.      And you said that it was

3          pleasant.      Tell me about going to the church, and

4          walking through the door, and what, what was the

5          experience that day?

6                     A   It was a fun experience.           I didn't

7          have any problems.       I didn't, I mean, we didn't

8          go in their judging.        It was a very small church,

9          not a lot of people, so that was fine with me.

10                        And the people, the people that were

11         there, they were kind to me that day.             So.

12                    Q   Okay, and so did, at some point during

13         that day, did Best come over and introduce

14         himself to your mother and the family?

15                    A   He just introduced himself in the

16         pulpit.

17                    Q   And what did he say?

18                    A   My name is Darrell Best, and he's the

19         pastor of the church, and he's also a police

20         officer - because he did carry gun on his hip in

21         church.

22                    Q   What, okay.       But I asked you what, did



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1          tell you?

2                     A     No.

3                     Q     Do you know what your mother told him?

4                     A     I'm not sure what my mother told him,

5          but she did tell him I wanted to be a police

6          officer.

7                     Q     So do, have you since found out what

8          your mother told him?

9                     A     No.

10                    Q    Have you ever asked your mother what

11         she told him?

12                    A    I don't like bringing up Darrell Best.

13         So I'd rather not bring incidents up, and ask her

14         something, a question of what she might have, she

15         don't even like talking about Darrell Best.                      So I

16         don't talk about what she told him, what he told

17         her.       We don't talk about this situation.

18                    Q    Okay.     So you have not asked your

19         mother about what she might have told Darrell

20         Best about ---

21                         MR. SMITH: Objection.                Asked and

22         answered.



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1          say to you?

2                     A   Your mother told me that she wanted to

3          be a police officer.

4                     Q   And what did you say to him?

5                     A   I said yes, I would like to be a

6          police officer.        But it was a closed-ended

7          question.

8                     Q   And did he respond to that?

9                     A   Yes, he did.

10                    Q   What did he say?

11                    A   He said what are you doing to become

12         a police officer?       And I said nothing now, but I

13         am going to the cadet meeting that my mother did

14         sign me up for.

15                    Q   When was that cadet meeting?

16                    A   In early 2015.

17                    Q   Okay.    And what, did he say anything

18         in response to that?

19                    A   No.

20                    Q   How long did the conversation last?

21                    A   It was not, it wasn't a conversation.

22         He just asked, you know, would I like to be a



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1          police officer, because of what my mother had

2          talked about?     I told him yes.             And he said he

3          may, he may can help me with that.                  And I said

4          okay. And that was the, that was the end of it.

5                     Q   And did you ask him how he could help

6          you with it?

7                     A   No, I did not.

8                     Q   Did he tell you how he could help you

9          with it?

10                    A   No, he did not.

11                    Q   And was this conversation on a Sunday?

12                    A   This conversation was on Thanksgiving.

13         I don't know if Thanksgiving was on a Sunday, but

14         I know it was on Thanksgiving.

15                    Q   So you went to church on, for

16         Thanksgiving?

17                    A   Correct.

18                    Q   And was this conversation, were there

19         other people around ---

20                    A   Yes.

21                    Q   --- when he, when you had this

22         conversation with, with him?



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1                     Q   Other than Pastor Best telling you

2          that your mother told him that you were

3          interested, or maybe interested in being a police

4          officer, and him saying to you that he may be

5          able to help you.

6                     A   Mmhmm.

7                     Q   Did he say anything else about what

8          kind of assistance he could help you with, in

9          terms of becoming a police officer?

10                    A   That, later, before we did, in the

11         church, he did ask for my number.                 And the

12         graduation gift was brought up again.                And he

13         said, did you find, did you, did you come up with

14         anything for your graduation gift?

15                        And I told him no.           I told you, I told

16         him, I told you nothing.

17                        And he said, well, we'll just have,

18         we'll go out to dinner to talk about your plans

19         as a police officer, and your mother was invited.

20                    Q   Okay, so was this on November 30?

21                    A   Correct.

22                    Q   Okay.    And now, was your mother there?



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1                     Q   Did you know if Pastor Best had her

2          cell phone number?

3                     A   She did have Darrell Best's number,

4          because my mother was the coordinator.            She did

5          clean the church.       So she did have his number.

6          But I don't know when she gave this number, I

7          don't, when she gave her number to him, I'm not

8          sure.

9                     Q   Okay.    So did the two of you, did

10         Pastor Best tell you when he wanted to take you

11         to dinner?

12                    A   He did ask me for my number.

13                    Q   Right.

14                    A   And Darrell Best did ask me for my

15         number, and he told me to find a place where we

16         all can go, and sit down and have this dinner.

17         And he will, he will get in touch with me, but I

18         thought that would be, you know --- I, I never

19         thought going out for my graduation dinner would,

20         that would ever happen.

21                    Q   And so, what, three days, four days

22         later you went to dinner with him?



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1                     A   Correct.

2                     Q   Okay.   So when you told her mother

3          that she, that Pastor Best had invited you to

4          dinner and her to dinner, what did she say?

5                     A   She said okay.

6                     Q   And so was it her intention, do you

7          know, to go along with the, the two of you?            To

8          go to dinner?

9                     A   Was it her intention?

10                    Q   Yeah.   Was she planning on going to

11         dinner?

12                    A   Yes, she was.

13                    Q   And so, but it as it turned out, only

14         you and Pastor Best went to dinner, right?

15                    A   Correct.

16                    Q   Why was that?

17                    A   Because my mother felt as though I was

18         not going to retain the information that he would

19         have told me if she was sitting in the presence

20         of the both of us, because I always relied,

21         because my mother was so big on my career, I

22         always relied on my mother to sit in on things so



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1          problem of retaining information?

2                     A   I don't have a problem with retaining

3          information, I just did not think, I just

4          graduated.     So I did want to become a police

5          officer, but I was not, I was not attacking the

6          situation like my mother wanted me to.            I was not

7          on top of everything how she would want me to be.

8                     Q   So, and when did she decide that she

9          was not going to go to dinner?

10                    A   The day of.

11                    Q   Okay.    And when during that day?

12                    A   When I was getting ready, she said

13         well, I'm not going to go.

14                    Q   What time was that?

15                    A   That time was about 4:00.

16                    Q   Okay.    And you were at home?

17                    A   Mmhmm.

18                    Q   And Pastor Best called you?

19                    A   He did.

20                    Q   Okay.    And what did he say?

21                    A   I didn't answer the phone.

22                    Q   Who answered the phone?



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1                     Q     Did the, did you make plans to, to

2          meet up somewhere?

3                     A     He did ask me where was I coming from,

4          because he didn't know where me and my mother

5          stayed.        We did give that when we joined the

6          church, but they did not, he didn't know where we

7          stayed at.       And I told him I would meet him at

8          Mount Vernon.

9                     Q     Okay, and where you were staying at,

10         was that on Shippen Street?

11                    A     Correct.     Shippen Lane.

12                    Q     Shippen Lane.        Why did you decide to

13         meet him at Mount Vernon?

14                    A     Because he said he was, you know,

15         close, downtown.

16                    Q     How far -- Mount Vernon is the metro

17         station?

18                    A     Correct.

19                    Q     How far is that from where you live?

20                    A     Mount Vernon, it was the same -- It

21         was the Green Line -- the Green Line, so there

22         was about seven stops.



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1                     Q   Okay.    And did he tell you why he was

2          in a -- and this was an unmarked police car,

3          correct?

4                     A   Correct.

5                     Q   Did he tell you why he was in an

6          unmarked police car?

7                     A   No, he did not tell me why he was in

8          an unmarked police car.

9                     Q   And you didn't ask him?

10                    A   No, I didn't.

11                    Q   How was he dressed?

12                    A   He was in full police uniform with his

13         gun, with a jacket.

14                    Q   Did the jacket say -- have any writing

15         on it?

16                    A   No, but you could see his badge.          His

17         jacket was open.       You could see his police hat.

18                    Q   And his police hat was in the vehicle

19         as opposed to on his head?

20                    A   It was in the vehicle but when he got

21         out, he had it on his head.

22                    Q   And how far was the drive from Mount



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1                     Q   So when you got to Georgia Brown, did

2          you text or call your mother to let her know that

3          you had arrived at the restaurant safely?

4                     A   No.   I just let her know that I was at

5          --

6                     Q   Mount Vernon.

7                     A   Mount Vernon.

8                     Q   Okay.

9                     A   And he stopped talking about the

10         police force and asked me did I have a boyfriend.

11         And I asked him why.         And that question

12         immediately turned into, "Do you like getting

13         your pussy ate?"

14                    Q   Did you have a boyfriend at that time?

15                    A   I'm not sure if I had a boyfriend at

16         that time.

17                    Q   What do you mean?

18                    A   I don't remember 2014.              I didn't have

19         a boyfriend.     I had friends.           I was not allowed

20         to say I had a boyfriend.

21                    Q   In your mind, did you have a

22         boyfriend?



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1                     A     No, I didn't have a boyfriend.             I

2          talked to people but I didn't have a boyfriend.

3                     Q     Okay.

4                     A     And I spit my drink out.             And I said,

5          "What?"        Because I couldn't believe this was

6          coming from his mouth.

7                     Q     So let me stop you there.             What were

8          you drinking?

9                     A     I was drinking a peach tea.

10                    Q     Okay.   And when you say you spit it

11         out, was it all over the table or just --

12                    A     No, it was in my section of the table.

13         It was in my section of the table.                  And he could

14         see that I was uncomfortable.

15                    Q     Were the two of you sitting at an open

16         table or in like a booth?

17                    A     We were sitting at an open table.

18                    Q     Okay.   And there were other patrons in

19         the restaurant?

20                    A     Yes, there was.

21                    Q     Okay.   So you spit out what you were

22         drinking and what happened?



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1                     A       And he apologized.           And I did tell him

2          -- I told him you were out of line for saying

3          that.          And he said I won't bring it up again.

4                             And the food had arrived.           And he

5          complimented the food but at that time, I was

6          just -- I was over eating.               I didn't touch

7          anything.         And he started grinning and smiling.

8          And he started asking me what positions do you

9          like?          So I said, you said you wasn't going to

10         bring this back up.           And he said, well I know.

11         And he started mentioning that I was a big girl.

12         And I'm grown and things of that sort.                 And I'm

13         like, well no.         I'm not grown.

14                    Q       Okay.   So when he mentioned you were

15         a big girl, was he talking about your age or was

16         he talking about your body size, your physique?

17                    A       I don't -- I'm not sure what he was

18         talking about but he did say I was grown.                 And I

19         said No, we shouldn't be having this

20         conversation.

21                            MR. JACKSON:       Okay.      Let me show you

22         a picture just -- and I'm going to ask you to



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1          again, he said it again.           He said something

2          inappropriate again.         And when he started the

3          mess in his food after he asked me what position

4          --

5                     Q     I'm sorry, when he started what?

6                     A     He started to eat his food.

7                     Q     Okay.

8                     A     And then once he was finished with

9          that bite of food, he went on and said, "What

10         positions do you like?"           And I said, "Are you

11         serious?       I told you to stop."          And then I

12         preceded to put my coat on.             And that's when he

13         started being aggressive.

14                    Q    Explain how he was being aggressive.

15                    A    He told me to take my coat off and

16         started talking as if he was my parent.              And that

17         frightened me because I had never seen this side

18         of Darrell ever.         I've never seen him get upset

19         or -- he was just -- he was a pastor, so I didn't

20         see him raise his voice and I was confused.               And

21         I was -- you know, I was thrown back why he was

22         yelling me at like that.



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1          there.         It was a need to call my mother but I did

2          not know how to tell my mother this happened.

3                     Q      Okay.   Did you tell Pastor Best that

4          you were going -- you wanted to leave the

5          restaurant?

6                     A      I said, I'm leaving.

7                     Q      Okay.   And did you tell him that you

8          would be able to get home on your own?

9                     A      I did tell him that.

10                    Q      Were you able to get home on your own?

11                    A      Yes, I was.

12                    Q      How would you have gotten home?

13                    A      I did have a metro card.

14                    Q      And where was the closest metro stop

15         from where the restaurant is?

16                    A      I'm not sure.

17                    Q      How would you get to the metro?

18                    A      Walk.

19                    Q      Were you in fear of your safety?

20                    A      I was in fear of my safety.

21                    Q      Did you think of calling the police?

22                    A      He was the police.



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1                     Q   My question is did you think of

2          calling the police?

3                     A   No.

4                     Q   Did you think of seeking help from

5          somebody in the restaurant?

6                     A   No.     The reason I did not seek help

7          from the restaurant, because he was still in my

8          presence.      And when I -- when he paid for the

9          meal, after I told him I would pay for myself.                  I

10         insisted on paying for myself, so he did not feel

11         like he did anything for me.              He got up and put

12         his coat on and followed me.              When he seen me

13         walking, he said, "Come here" and he started

14         talking through his teeth like this.               Now that's

15         what put me in fear for my life.

16                    Q   Okay.    So at that point, were you

17         outside the restaurant?

18                    A   I was outside the restaurant at that

19         time.

20                    Q   Did you make an attempt at all to call

21         your mother?

22                    A   No.   I was trying to get to where I



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1          was going.        I was trying to get as far away as

2          Darrell Best as I possibly could.

3                     Q      Okay.   And so were you walking fast,

4          slow?

5                     A      I was walking across the street but he

6          kept calling my name.           And being as though he was

7          a police officer, I didn't want anybody thinking

8          okay well, let me stop her.              I thought of so many

9          scenarios.        And I did turn around and said,

10         "What?"        Because I know he could have followed

11         me.    He is a police officer.             He's capable of

12         anything.       He has access to everything.

13                    Q     What time of the evening was this?

14                    A     I'm not sure of the exact time.          I

15         don't want to give you a time that I'm -- I don't

16         remember but it was in the evening.

17                    Q     And so had you started to cross the

18         street?

19                    A      Yes, I did.

20                    Q     Were you -- had you reached the other

21         side of the street?

22                    A      Yes, I did.



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1                     Q   And where was Pastor Best when you

2          reached the other side of the street?

3                     A   He was on the passenger side of the

4          car and he said, "Come here now."

5                     Q   Did you try to call your mother at

6          that point?

7                     A   No, I was trying to get away from

8          Darrell Best.

9                     Q   I understand, but did you try to call

10         your mother?

11                    A   I was trying to get away from Darrell

12         Best.

13                        MR. SMITH:      I'm going to object.

14         She's asked and answered that many times now.

15         You've asked the same question.

16                        MR. JACKSON:       Many times?

17                        MR. SMITH:      Yes, many times.     We can

18         play it back for the record if you doubt it.

19                        MR. JACKSON:       I understand that you

20         were trying to get away from Pastor Best.            My

21         question is did you try to call your mother?

22                        MR. SMITH:      Objection, asked and



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1          answered.

2                         MR. JACKSON:      That's fine.      You can

3          answer.

4                         MS. BUIE:     I was trying to get away

5          from Darrell Best at that present time.

6                         BY MR. JACKSON:

7                     Q   Were you thinking about calling your

8          mother?

9                     A   At that time, I was in disbelief and

10         I was shocked.    I was scared.          Calling my mother

11         was the last thing on my mind.             I was trying to

12         get away from this guy.

13                    Q   Okay.   So when he told you to come

14         here, did you have to cross back over to the side

15         of the street where he was?

16                    A   No, I did not.

17                    Q   Were you on the opposite side of the

18         street where the restaurant was?

19                    A   Yes, I was.

20                    Q   And was his car parked on the side of

21         the street where the restaurant was?

22                    A   It was on the opposite side of the



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1          walk back towards him?

2                         MS. BUIE:     No, he told me to come

3          here.

4                         BY MR. JACKSON:

5                     Q   And did you come here?

6                     A   Yes, I did.

7                     Q   Okay.   And tell me about the

8          conversation once you came back to the car.

9                     A   He told me to stop playing with him.

10         And he told me how would that look if I didn't

11         bring you back home?       And I didn't answer.     I

12         didn't open my mouth one time until we got to the

13         parking garage.

14                    Q   Okay.   So did he tell you to get in

15         the car?

16                    A   Yes, he did.

17                    Q   And so if he -- was it your

18         understanding when he said to you, "What would it

19         look like if I didn't bring you back home?"          Was

20         it your understanding that he was going to drive

21         you home at that point?

22                    A   To -- from when we left the



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1          restaurant?     I'm confused.

2                     Q   Well, when he said -- I thought you

3          said that he said, "Come here."

4                     A   Yes, he did say that.

5                     Q   And you walked back towards the car.

6                     A   Yes, I did.

7                     Q   And he said to you, "How would it look

8          if I did not drive you home?"               Right?

9                     A   Yes.

10                    Q   At that point, was it your

11         understanding that he was going to drive you

12         home?

13                    A   Yes, it was my understanding he was

14         going to drive me home.

15                    Q   Okay.     So once you got in the car and

16         he started to drive, at what point did you

17         realize that he was not driving towards your

18         home?

19                    A   When we made the right turn from the

20         Third Street Tunnel.

21                    Q   Okay.     And that left turn put you

22         where?



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1                     A    It put me right there by the

2          courthouse.

3                     Q    Okay.

4                     A    On the side of the courthouse.

5                     Q    And at that point, did you say

6          anything to Pastor Best?

7                     A    Yes, I did.

8                     Q    What did you say?

9                     A    I said I have to go home.         I have to

10         get home.      And he said I have work to finish up.

11         I won't take long.

12                    Q   And he drove you -- the police

13         headquarters is right here, correct?

14                    A    Correct.

15                    Q   Okay.    And you know that there's the

16         metro station right in front of this building,

17         correct?

18                    A   At that time, I didn't know that.

19                    Q    You didn't know that?

20                    A    No, I did not.

21                    Q   You weren't familiar with this area?

22                    A   No, I was not.        To this day, I'm still



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1          not familiar with this area.

2                     Q    So then what happened, after he comes

3          out of the Third Street Tunnel?               Tell me about

4          that.

5                     A    We make a right turn and he stopped

6          for a minute.      And I was curious as to why he

7          stopped.       And he to pull out his badge to gain

8          access to go down into the police garage.              And a

9          black gentleman -- he was a security guard, gave

10         him access to let him down.             And while we were

11         driving down in the police garage, he pointed out

12         Chief Lanier's car.        And I noticed now, this just

13         has turned wrong.       Because now I'm not even where

14         civilians are supposed to go.              When we get into

15         the garage.      I asked him to sit in the car.           And

16         he tells me, "No.       Chief Lanier's in here.          You

17         can't sit down here."

18                    Q    Okay.   And so you have get out and go

19         into the building.

20                    A    Yes, we did.

21                    Q    Okay.   And you -- when you get out of

22         the car, you have to walk to an elevator?



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1                     A   We had to walk inside the building.

2                     Q   Right.

3                     A   After walking inside the two metal

4          doors, there was an elevator right there.

5                     Q   Okay.    During that walk, did you see

6          any other police officers?

7                     A   No.   I did see housekeeping -- a

8          Hispanic housekeeper.

9                     Q   But no police officers?

10                    A   No police officer.

11                    Q   And so then you went up what floor, do

12         you remember?

13                    A   No, I do not remember.              But when I --

14         I didn't remember that day but when the

15         detectives had took me to do the walkthrough to

16         ask where I was at, it was the fifth floor that

17         he took me to.

18                    Q   Okay.

19                    A   And he had to gain access to even get

20         on the elevator.

21                    Q   And when you got to the fifth floor,

22         did you see any police officers there?



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1                     A   No police officers but I did pass

2          Chief Lanier's office where the door was ajar and

3          he told me to keep it down because I started to

4          ask questions, where am I?

5                     Q   Did you see any police officers on the

6          fifth floor?

7                     A   No.

8                     Q   Did you hear any police officers --

9                     A   No.

10                    Q   -- anybody on the fifth floor?

11                    A   No.

12                        MS. BUIE:       Can I go to the restroom?

13                        MR. JACKSON:        Sure.      We'll take a five

14         minute break.

15                        (Whereupon, the foregoing matter went

16         off the record at 3:29 p.m. and went back on the

17         record at 3:38 p.m.)

18                        MR. JACKSON:        Are we ready?

19                        MS. BUIE:       Yes.

20                        BY MR. JACKSON:

21                    Q   Okay.    Back on the record.         So when

22         you got to the fifth floor, you passed Chief



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1          Lanier's office.          Is that correct?

2                     A      Correct.

3                     Q      And you did not see the chief or any

4          other police officer?

5                     A      No, but it was -- the lights were on

6          and the door was open.

7                     Q      Right.     But you didn't hear any voices

8          coming from that office?

9                     A      No.

10                    Q      Okay.    Tell me what happened next.

11                    A      We walked to his office and he had

12         opened the door.

13                    Q      Did he need a key to open the door or

14         was it just open if you recall?

15                    A      No, it was not just opened.         He did

16         need it to open the door.               And he opened it with

17         a key.         And --

18                    Q      Who walked in first, you or him?

19                    A      He walked in first.

20                    Q      Okay.    And tell me to the best that

21         you can recall, what happened next?

22                    A      He went directly to his desk.        And I



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1                     Q    -- if he sat down?

2                     A    Yes.

3                     Q    I see.

4                     A    That side by the door.               It was -- that

5          was the door.     That was the Xerox machine and

6          this was the desk.

7                     Q    Okay.

8                     A    And there was not a chair there.

9                     Q    There was not a chair where?

10                    A   Right beside the desk.

11                    Q   Do you see that couch there?

12                    A   That couch was there.

13                    Q   Was that -- is that the position where

14         the couch was?

15                    A   Yes, it was.

16                    Q   Okay.      And there's several pictures on

17         the wall.      Do you see that?

18                    A   Yes.

19                    Q   Do you recall those pictures being

20         there?

21                    A   Yes.

22                    Q   If you would turn to the second



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1                     A       What --

2                     Q       In terms -- when you arrived at

3          Georgia Brown?

4                     A       Somewhere around 6:00.

5                     Q       Okay, later then.          At 6:00 and you

6          were there for about an hour?

7                     A       Correct.

8                     Q       And so you left there somewhere around

9          7:00.          Is that correct?

10                    A       Correct.

11                    Q       Okay.   And then the drive from Georgia

12         Brown to police headquarters.                 By the time you

13         walked out of Georgia Brown, how much time was

14         that?      About 15 minutes elapsed?

15                    A       When?

16                    Q       By the time you walked out of Georgia

17         Brown's until the time you actually reached

18         police headquarters.

19                    A       Correct.

20                    Q       About 15 minutes?

21                    A       (inaudible response)

22                    Q       Okay.   So you would have arrived in



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1          anything like how did dinner go or you know, or

2          how were you doing?         Did she say anything that

3          would indicate that she knew that he had dinner

4          with you that night?

5                     A   No, she didn't.           And Keisha actually

6          started acting strange.

7                     Q   That night?

8                     A   No, I didn't speak to her that night.

9          The next time I saw her.

10                    Q   Right, okay.         Well let's -- we'll get

11         to that later.    I just want to stick to this

12         particular night and the phone call.                So other

13         than him telling her that he was working and she

14         said okay, that was the extent of the

15         conversation?

16                    A   Yes.

17                    Q   What happened after that?

18                    A   He hung up the phone and he stayed at

19         the desk for just a little while longer.               And he

20         had made his way to me.

21                    Q   He had made his --

22                    A   Way -- He had walked from the desk to



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1          me.

2                     Q   Okay.

3                     A   And -- Can you give me a minute?              I'm

4          sorry.

5                     Q   Well let me ask you this and let me

6          try to make it a little bit easier.               He never

7          forced you to remove your clothes, is that

8          correct?

9                     A   He touched my clothes.

10                    Q   Right but my question is, he never

11         forced you to remove your clothes.               Is that

12         correct?

13                    A   Correct.

14                    Q   Okay.   And he touched you through your

15         clothes.

16                    A   No, he opened my shirt.           He came to me

17         and opened my shirt.

18                    Q   Okay.   Did he -- what kind of a shirt

19         were you wearing?

20                    A   I had a button-up jean shirt on.

21                    Q   A button-up jean shirt, okay.           And

22         when it was buttoned, was it buttoned from the



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1          neck down or from the second button down?

2                     A   From the second button down.

3                     Q   Okay.     How many buttons did he open?

4                     A   He opened the cleavage part of my

5          shirt.

6                     Q   And can you describe to me what you're

7          doing as he is doing this?

8                     A   I'm closing my shirt back up while

9          he's trying to unbutton it.              But his grip is so

10         strong that he just smashed his head into my

11         breasts.

12                    Q   How tall are you?

13                    A   I'm 5'8".

14                    Q   All right.        How tall is Best?

15                    A   I don't know.

16                    Q   Is he shorter than you?

17                    A   He's about the same height as me.

18                    Q   Is that the first thing that he did

19         was unbutton your blouse?

20                    A   Yes.

21                    Q   And he got it to the button that would

22         show your cleavage.



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1                     A   Right.

2                     Q   What happened next?

3                     A   He pulled my bra.

4                     Q   He pulled it up?

5                     A   No, he just pulled my bra.

6                     Q   Oh, he just pulled it?

7                     A   Yes.

8                     Q   And did that cause you breasts to be

9          exposed?

10                    A   Yes.

11                    Q   What happened -- one or both?

12                    A   One.

13                    Q   Okay.     And what happened next?

14                    A   He stuck his head inside my breasts.

15         And I was pushing his head but he had his head

16         snug in my chest so that the force of his head

17         wouldn't let up.

18                    Q   And how long did this last?

19                    A   For about a minute.

20                    Q   And what happened -- did you say

21         anything to him?

22                    A   Stop.     Please stop.



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1                     Q   Did he say anything to you?

2                     A   Why are you acting like a little girl?

3                     Q   Let me know when you're ready to

4          continue.

5                     A   I am.

6                     Q   And so what happened next?

7                     A   I told him I am a little girl.                And I

8          had got up.     I had got up from the couch I was

9          sitting on and I had went to the chair.                   And it

10         was like we were playing couch -- like we were

11         getting back up and going to the couch from the

12         chair because he would follow me.                And --

13                    Q   Okay.   So just so I'm clear, so when

14         he unbuttoned your blouse, you were sitting on

15         the couch.

16                    A   Correct.

17                    Q   And then he came and sat next to you.

18                    A   Correct.

19                    Q   Okay.   And then you got up and you

20         moved to the chair?

21                    A   The chair near that door.

22                    Q   And what did he do?



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1                     A   He went to go turn off the lights.

2          And he came and turned off -- he went to turn off

3          the lights.     Then he came back to the chair I was

4          sitting in.     And he started to touch my -- he

5          started to touch my shoulder and I moved from

6          that chair back to the couch.

7                     Q   So at this time, had you rebuttoned

8          your blouse?

9                     A   Yes.

10                    Q   Okay.     And you had straightened your

11         bra.

12                    A   Yes, I did.

13                    Q   And so was he in front of you or

14         behind you when he started to touch your

15         shoulder?

16                    A   He was on the side of me.

17                    Q   On the side of you.             Left side or

18         right side?

19                    A   I don't remember which side it was.

20                    Q   What happened next?

21                    A   I had got up and I went to the couch

22         again and he had followed me.               And told me he



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1          wasn't going to play.            Stop playing and stop

2          acting like a little girl.              He kept repeating

3          that.

4                     Q       When you went to the couch, did you

5          sit down on the couch again or you just walked

6          towards the couch?

7                     A       No, I sat down on the edge of the

8          couch.         And he had told me he loved me and he was

9          making comments -- just the little girl comments

10         again.         And I told him, I'm not grown.

11                    Q       And then what happened?

12                    A      He had pulled out his penis.

13                    Q      Was he standing in front of you or was

14         he sitting on the couch?

15                    A      No, he was sitting on the couch.

16                    Q      How far away was he from you?

17                    A      He was not far from me.            He was just

18         sitting next to me.          And as he -- as he took out

19         his penis, he had took his gun out of his holster

20         and placed it on the table.

21                    Q      Had you ever saw Pastor Best without

22         his uniform on?



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1          I know that he was in -- I got your question.                I

2          told you that he had left out the church directly

3          after service in full police uniform.

4                     Q   Right, okay.         So my question is when

5          he was in the church, before he left that church,

6          do you know if he was supposed to be acting as a

7          police officer?        Do you know if he was on -- do

8          you understand when I asked if he was on duty?

9          Not how he was dressed.            Was he preaching at a

10         time that he should have been working?

11                    A   Yes.     And he did mention that to my

12         mother one time that he was doing -- his overtime

13         was patrolling at the church.               That was his

14         overtime.

15                    Q   Other than the time that you said that

16         he left the church right after service in his

17         full uniform, did you ever see him on other

18         occasions in his full uniform?

19                    A   During bible study.

20                    Q   In his house?

21                    A   And when he came to the church.

22                    Q   Okay.     How often did that happen?



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1                     A   It was every Tuesday we had bible

2          study.

3                     Q   Okay.   So getting back to what was

4          going on at police headquarters, I think we

5          stopped at the part where he has exposed himself

6          to you.

7                     A   Correct.

8                     Q   What happened next?

9                     A   He had exposed himself.           Placed his

10         gun on the table near me, in front of me.             And he

11         has asked me to touch it -- to touch his penis.

12         And I told him no.

13                    Q   How far away from you was he?

14                    A   He was directly next to me.

15                    Q   Okay.   So did he have to get up from

16         the couch to put his gun on the desk and then he

17         walked back towards you?

18                    A   It was the coffee table in front of

19         us.

20                    Q   Oh, so he put it on the coffee table.

21                    A   Correct.

22                    Q   So did he ever stand up from the couch



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1          at that point?

2                     A       No, he leaned up.

3                     Q       And you told him no.

4                     A       Correct.

5                     Q       And what happened next?

6                     A       He told me to stop acting scared.           And

7          he wanted some.           Darrell Best got on top of me

8          and Darrell Best was humping me so hard trying to

9          -- he was trying to force his penis into my

10         pants.         But I would not -- my pants wouldn't go

11         down.

12                    Q       Were your pants opened?

13                    A      My pants -- he did unfasten my pants

14         but I was pulling them up so he could not get my

15         pants down.

16                    Q      Okay.      And so your pants fastened how?

17                    A       They were up here.

18                    Q       Okay.

19                    A      They were high-waisted -- they were

20         American Apparel pants so they were riding pants.

21                    Q      So there's buttons and a zipper?

22                    A       Yes.



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1                     Q   And did he unbutton that button?

2                     A   Yes.

3                     Q   And he zipped his pants down?

4                     A   Yes.

5                     Q   And then did he lower his pants?

6                     A   No, he did not.

7                     Q   Okay.     And then what happened?

8                     A   And I made it from under him because

9          his force was on top of me.              I put my pants on

10         and I told him, we're leaving.                Come on.   I'm

11         ready to go now.

12                    Q   Okay.     And is there a reason why you

13         didn't say that to him earlier?

14                    A   It was not -- I didn't say that to him

15         earlier because I told him I was ready to go.                   I

16         told him I had intentions that he was taking me

17         straight home, not to police headquarters.

18                    Q   Okay.     So let me rephrase.         I

19         understand that.        But when he came over and he

20         started to unbutton your blouse, is there a

21         reason why you didn't say to him at that point,

22         take me home now?



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1                     A    I was shoving his head away.           And the

2          reason I said take me home now was because I was

3          going to be loud.       I didn't know why, but he told

4          me to keep my voice down.            And he could hear it

5          in my voice that I was ready to go.                And he said,

6          come on.       He did tell me to button up my shirt

7          more than it was buttoned because he didn't want

8          anybody thinking anything.

9                     Q    At that point in your life, had you

10         been sexually active?

11                    A    Yes, I was sexually active.

12                    Q    And that would have been with your

13         boyfriend.

14                    A    He wasn't my boyfriend.

15                    Q    Your male friend.

16                    A    Correct.

17                    Q    Okay.   And for how many years had you

18         been sexually active?

19                    A    I had, had sex, to make that clear.

20         I wasn't sexually active.            I had, had sex.

21                    Q    Okay.   Had you only had -- Let me

22         rephrase it.      How many sexual partners had you



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1          had at that point in your life?

2                     A   One.

3                     Q   Are you still friends with that

4          individual?

5                     A   The guy that I had sex with?

6                     Q   Yes.

7                     A   Yes.

8                     Q   Are the two -- did the two of you

9          date?

10                    A   No.

11                    Q   Still friends?          Best friends?

12                    A   We're mutual.          If I see him, it's not

13         a bad -- it's not nothing bad.

14                    Q   So you said to Darrell Best, "Take me

15         home now."

16                    A   Yes.

17                    Q   And what did he say?

18                    A   He said, "Okay."            And he told me that

19         no one better find out about this.

20                    Q   Other than saying that, did he say or

21         do anything else about telling you or indicating

22         that nobody else better find out about this?



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1                     A    I seen him look at his gun when he

2          said it.

3                     Q    And did you respond to him?

4                     A    I said, "Okay."

5                     Q    So after you said to him, "I'm ready

6          to go now," what happened next?

7                     A    I said, "Come on" and he said what he

8          told me.       "Nobody better find out about this,"

9          while looking at his gun.            And I told him,

10         "Okay."

11                    Q    And after that, did you leave the

12         office?

13                    A    We did leave the office.

14                    Q    As you left the office, did you see

15         any police officers around?

16                    A    No, I did not.

17                    Q    Did you hear any voices?

18                    A    I did hear voices coming from Chief

19         Lanier's office.

20                    Q    At that point?

21                    A    At that point when we was leaving.

22         Then we got on the elevator and he used the card



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1                     Q      Okay.    Did you ask him where he was

2          going?

3                     A      No.

4                     Q      Did you ask him if he was working?

5                     A      No.

6                     Q      Okay.

7                     A      That's like me saying a police officer

8          in full uniform exiting -- leaving out of a

9          store, asking are you going to work?                  I would

10         think they're at work.

11                    Q     You indicated that Pastor Best told

12         you that his overtime work was to patrol the

13         church.        Let me make sure I have this right.              You

14         indicated that Pastor Best told your mother that

15         his overtime work included patrolling the church,

16         correct?

17                    A      Correct.

18                    Q      Okay.    Did you ever have a

19         conversation with Pastor Best about his overtime

20         work?

21                    A      No, I did not.

22                    Q     So when you would see him in his full



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1                     Q   Or did somebody choose that for you?

2                     A   That was given to me.               That was given

3          to my mom, actually, and she told me about it.

4                     Q   By the court?

5                     A   Correct.

6                     Q   Had you ever heard of The Wendt Center

7          prior to you going there?

8                     A   I heard of The Wendt Center.              I didn't

9          know what The Wendt Center was, but I did know it

10         was funded through the Government.

11                    Q   Did you know what kind of counseling

12         they did?

13                    A   No.

14                    Q   Did you ever know anybody that went to

15         The Wendt Center?

16                    A   No.

17                    Q   So, you were telling me that your

18         sleep habits changed.

19                    A   Correct.

20                    Q   What else changed?

21                    A   I gained a lot of weight.              And I

22         gained the weight because I didn't want to look



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1          like that old me.

2                     Q       Okay.   So how much did you weigh prior

3          to the incident?

4                     A       I weighed 160 pounds.

5                     Q       How much do you weigh now?

6                     A       I weigh 230 pounds.

7                     Q       And that additional weight, you're

8          attributing to what happened?

9                     A       Correct.

10                    Q      So can you explain how it is that you

11         gained the weight?

12                    A       By just eating.

13                    Q       And -- just eating?

14                    A      Eating every day, all day.          The reason

15         I gained weight was because he had a certain

16         type.      He --

17                    Q      And when you say he, just for the

18         record --

19                    A       Darrell Best.

20                    Q       Okay.

21                    A      Officer Best, yes.           He liked smaller

22         girls.         And I did not want to look small anymore.



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1          I did not want to look -- I didn't want to fit

2          what he liked.     I wanted to gain weight, so that

3          he would not be interested in what I looked like,

4          because he did convey to me that Terry was a

5          member of the church, and her kids was fat.

6                     Q   Who's Terry?

7                     A   She was a member of the church, and

8          she had two kids that went there.                But they were

9          overweight.

10                    Q   When did he tell you this?

11                    A   He told me that -- I don't know what

12         time it was, but he did tell me, that was the day

13         of the third, he did tell me that he would never

14         talk to Terry's kids.

15                    Q   How old were Terry's kids?

16                    A   Terry's kids were fat.

17                    Q   How old were they?

18                    A   Oh, they were younger than me.             They

19         were about 15.

20                    Q   Were they female or male?

21                    A   Female.

22                    Q   Okay.   So, he told you this the day of



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1          the incident?

2                     A     He did tell me this.

3                     Q     Where were you when he told you this?

4                     A     This was on the ride back.         I was not

5          talking, but he told me -- he was making jokes

6          about Terry's kids.

7                     Q     And you're saying, on the ride back

8          from police headquarters?

9                     A     Correct.

10                    Q    Okay.   And so what did he tell you

11         about the weight of the people that he liked?

12                    A    He would never look at they fat ass.

13         And now that I knew that he disliked fat girls, I

14         tried to turn into a fat girl.

15                    Q     So what would you eat?

16                    A    Everything that was not healthy.

17         Everything.

18                    Q     Like what?

19                    A    Cookies, ice cream, soda.          I would eat

20         more times a day.       I would eat huge proportions

21         of food.       I would sit in my room and eat.        I

22         would do everything.         I sat in my room.



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1                     Q   So, help me understand, when you said

2          you would just eat everything.               So, let's take a

3          meal, for example.        The family sits down.        Does

4          your family generally sit down together to eat?

5                     A   No.     No.

6                     Q   No?     Your mother cooked regularly?

7                     A   She did not cook regularly, but we did

8          have snacks in the home.

9                     Q   Okay.

10                    A   I did know how to cook.

11                    Q   So, if you cooked yourself dinner,

12         what would you cook?

13                    A   I wasn't cooking dinner.

14                    Q   Okay.    So tell me the fattening foods

15         that you'd eat.

16                    A   I ate out mostly every day.

17                    Q   Okay.    What did you eat, when you ate

18         out?

19                    A   Chipotle, Syracuse, Chick-Fil-A,

20         McDonald's, Burger King, Chick Checkers.              We went

21         out to eat, Outback, Friday's, Pizza Hut,

22         Dominos, everything.



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1                     Q   And who were these people that you'd

2          be going out to eat with?

3                     A   My mother.     But sometimes my mother

4          would bring us food back, if it was the fast food

5          places.

6                     Q   Okay.   And the snacks that you were

7          eating, these snacks that were in the house?

8                     A   Correct.

9                     Q   And what snacks were those?

10                    A   Deli Cakes, Chips Ahoy, cereal, eggs

11         and bacon at night.       My eating habits were off.

12                    Q   Okay.   And did this start right after

13         the incident?

14                    A   It did.

15                    Q   Did you mother ever ask you why you

16         were eating so much?

17                    A   Yes, she did.

18                    Q   And what did you tell her?

19                    A   Because I wanted to.

20                    Q   Did she ever express to you concerns

21         that she saw this change in your behavior?

22                    A   She did.



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1                     Q   And what would she say?

2                     A   Why are you eating so much?         And,

3          you're gaining a lot of weight.             And you're not

4          going to be that size forever.             And you need to

5          slow down eating.

6                         I didn't care.       I didn't care.

7                     Q   And you would go in your room and eat?

8                     A   Yes, I did.

9                     Q   Other than eating, how else did your

10         life change?

11                    A   My family.

12                    Q   In what way?

13                    A   My dad was no longer in the house.

14                    Q   So, can you tell me why your dad left

15         the house?

16                    A   Because him and my mother -- I don't

17         know exactly why, but -- I don't know every day

18         what the argument was, but it stemmed from this

19         event, December 3rd.       Yes, it did.

20                    Q   But your family didn't find out until

21         sometime in March, correct?

22                    A   Correct.    That's when I came out.



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1                     Q    So, before the disclosure was made in

2          March, did you father ever ask you why you were

3          eating so much?

4                     A    No.

5                     Q    So, when this incident comes out, your

6          father and mother, then have a breakdown in their

7          relationship?

8                     A    Yes, they did.         It caused my family to

9          split up.      My sisters, my sister, acting out, my

10         sisters acting out.         We no longer had a father

11         figure.

12                    Q   And when you say, are you talking

13         mainly about your older sister?

14                    A    My younger and my older.

15                    Q   Okay.     So, can you just give me a

16         sense, let's talk about the disclosure that was

17         made about what happened to you.                    Can you just

18         tell me what's going on in your household?                    Are

19         your parents arguing?

20                    A   That day that the news came out?

21                    Q   Yes.     What's the substance of the

22         argument?      The reason why I'm asking is because



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1          I'm trying to understand why your father would

2          have left the home.

3                     A   It was a lot of yelling.          At this

4          point, my father felt betrayed.             He felt

5          betrayed.

6                     Q   By who?

7                     A   Darrell Best, my mother, because he

8          didn't have any other -- he didn't know that this

9          was happening.     And it was a lot of blaming.            It

10         was a lot of blaming going on.

11                        My father blamed my mother a lot, and

12         I just felt as though my mother couldn't deal

13         with that.     It was, arguing every day.         They

14         argued every day.

15                    Q   And were these loud arguments?

16                    A   Yes, they were loud arguments.

17                    Q   And did they go on for a while?

18                    A   They did go on for a while.

19                    Q   And did your mother ask your father to

20         leave the house?

21                    A   Yes, she did.

22                    Q   And so when your father found out



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1          about what had happened.

2                     Q   Has the family ever been recommended

3          for family counseling?

4                     A   No.

5                     Q   No?     So, how are you sleeping now?

6                     A   It's still not regular.             I don't have

7          normal sleeping hours.

8                     Q   Is it getting better?

9                     A   It's not -- I don't -- I don't see it

10         getting better.      I don't see it has gotten

11         better.

12                    Q   Okay.    So what time would you normally

13         go to bed?

14                    A   I used to go to bed around 10:00 or

15         11:00.

16                    Q   And what time do you go to bed now?

17                    A   Maybe 3:00 or 4:00.

18                    Q   What time do you go to work?

19                    A   This is ending -- I work overnight,

20         and that's just on Sundays, Tuesdays, Thursdays,

21         and Fridays.

22                    Q   And so what are your working hours?



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1                     A    12:00 to 8:00.

2                     Q    12:00 midnight to 8:00 in the morning?

3                     A    Correct.    But when I'm off on that

4          Tuesday night, I don't sleep.             I don't sleep.

5                     Q    Now that you're going to have a full-

6          time and a part-time job, how are you going to --

7          what are going to be your sleeping hours?

8                     A    My sleeping hours, I don't know if

9          tomorrow, when I take the job, I don't know what

10         the possibility may be.          I can't tell you my

11         sleeping hours, because I don't know what my work

12         hours would be.     I haven't made that up yet.

13                    Q   So how else has this incident affected

14         you?

15                    A   My anger is -- I've never been -- I've

16         never been like this, ever.

17                    Q   Okay.   Tell me about your anger.

18                    A   I'm very defensive.           I'm very, very

19         rude.      I used to be social.        I used to like

20         talking to people.       Now, I'm really -- I get

21         irritable a lot.

22                    Q   Okay.   So when you say rude, who are



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1          you rude to?

2                     A       To whoever.

3                     Q       To your mother?

4                     A       Yes.

5                     Q       In what way?         What do you call being

6          rude?          I just want to understand what you mean by

7          rude.

8                     A       Talking back.          Saying what I want to

9          say.       Having no regard for no one's feelings.                I

10         was never like that.              I was never like that.        The

11         defensiveness.         Just being arrested.             I've never

12         been arrested in my life.                 I've never been

13         arrested in my life.              And that was very life-

14         changing for me.

15                            Me and my sister would get -- we would

16         argue, but I've never fought my sister.

17                    Q       And now that you've had some time to

18         think about it, do you recall what the argument

19         was with your sister?

20                    A       No, I don't.         I still don't know.

21                    Q       Other than the fight that you had with

22         your sister, have you had fights with other



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1          people --

2                     A   Yes.

3                     Q   -- physically?

4                     A   No, not physically, but words that

5          could have turned physically, driving.              I do seem

6          to get upset a lot, and pull over, and get out of

7          my car, and say, well, you know what -- just

8          things I know I would have never done.

9                     Q   Do you drive?

10                    A   I do drive.

11                    Q   You have a driver's license?

12                    A   Yes, I do.

13                    Q   Okay.     And so you -- would you

14         describe the anger you get while you're driving

15         as road rage?

16                    A   I would say that.

17                    Q   You would say that?

18                    A   Yes.

19                    Q   So describe to me what you would be

20         like, or what you would do, when you're angry

21         about somebody when you're driving.

22                    A   If, for example, because it just



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1          happened, someone tried to cut in front of me,

2          and it was so much traffic, and I had to get to

3          where I was going, and the lady put her hand out

4          the window, and that wasn't okay with me.

5                     Q   What do you mean, put her hand out of

6          the window?

7                     A   She tried to wave like, oh, I'm sorry

8          that I was getting over.         And to me, it's like,

9          I've got to prove that, you know what, you're not

10         putting this one over on me.            So I drove around,

11         around her car, and I got back in front of her,

12         and she was talking out of her car, and you know,

13         I told her, she could get out of her car.

14                        I'm just very aggressive.         And I've

15         never been like this.

16                    Q   So do you -- if you know the source of

17         it, is there a reason why you can't control it?

18                    A   I don't even understand what you're

19         asking me.

20                    Q   Well, if you know that the reason why

21         you get angry is because of what happened to you,

22         some people just don't know what makes them



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1          angry.         You seem to know what makes you angry.

2                            My question is, if you know what makes

3          you angry, is there a reason why you can't

4          control it?

5                            MR. SMITH:      Objection.         No

6          psychologist in the room.

7                            BY MR. JACKSON:

8                     Q      I'm sorry, what was your answer?               He

9          makes the objection for the record, but you can

10         still answer.

11                    A      What was your question?            I forgot.

12                    Q      My question was, if you know the

13         source of where your anger comes from, is there a

14         reason why you can't control it?

15                           Is that a no, or a --

16                    A      Because I don't understand the

17         question, I'm sorry.

18                    Q      Okay.   Let's talk about the use of

19         alcohol.        Prior to the incident, were you

20         drinking?

21                    A      No, I was not.

22                    Q      Not at all?



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 1                UNITED STATES DISTRICT COURT

 2                     DISTRICT OF COLUMBIA

 3                         Civil Division

 4     - - - - - - - - - - - - - - x

 5     JAQUIA BUIE,                       :

 6                 Plaintiff,             :   Civil Action No.

 7           v.                           :   I:16-CV-1090

 8     DISTRICT OF COLUMBIA, et al.:          (CKK/RMM)

 9                 Defendants.            :

10     - - - - - - - - - - - - - - x

11                            November 20, 2019

12                            Washington, DC

13     Deposition of:

14                    INSPECTOR DICKERSON

15     the Witness, called for examination by counsel

16     for the Complainant, at the Law Offices of

17     of Smith Mustille, LLC, 2200 Pennsylvania

18     Avenue, N.W., 4th Floor East, Washington, D.C,

19     beginning at 9:30 a.m., before Debra Derr, Court

20     Reporter and Notary Public for the District of

21     Columbia, and were present on behalf of the

22     respective parties:


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                           Inspector Dickerson

                                                                      Page 2
 1     APPEARANCES:

 2

 3           On Behalf of the Plaintiff:

 4           SMITH MUSTILLE, LLC

 5           BY:   Mark A. Smith, Esquire

 6                 Judith A. Mustille, Esquire

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 9                 Washington, DC      20037

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11

12           On Behalf of the Agency:

13           OFFICE OF THE ATTORNEY GENERAL

14           BY:   David A. Jackson, Esquire

15                 Philip A. Medley, Esquire

16                 Assistants Attorney General

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18                 Suite 630 South

19                 Washington, DC      20001

20

21

22


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                                                                      Page 37
 1     really trying to be nice today.          I hope you'll

 2     let me, David.      I hope you'll let me.

 3               BY MR. SMITH:

 4         Q.    If you were going to assign          you

 5     know, an IS number gets triggered.          A complaint

 6     comes in, IS number gets triggered, and you're

 7     going to make a decision who you are going to

 8     assign as the investigator, right?

 9         A.    Yes.

10         Q.    And you know, you have knowledge that

11     the person you are going to sign as an

12     investigator has had a 20-plus year friendship

13     with the person who is the target of the

14     investigation.      Is that a potential conflict?

15         A.    It is a conflict.

16               MR. SMITH:     Oh, she went past me.         It

17     is a conflict.      All right.

18               BY MR. SMITH:

19         Q.    I'm going to ask you a couple more

20     questions from this.       Okay, I have one.         This is

21     a little more obscure, but since you're here and

22     you seem knowledgeable, I'm going to ask you.


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                                                                    Page 65
 1         A.     But it's like --

 2         Q.     Is that fair?

 3         A.     That's fair.     Maybe you could believe

 4     what she's saying and maybe you can't based on

 5     the gossipy talk.

 6         Q.     But a person whose -- but she mostly

 7     stays to herself, has the opposite effect.

 8     This is not a person who just is running her

 9     mouth all the time.       She stays to herself, so

10     that lends -- that certainly lends credibility

11     to her?

12         A.     In a way, yes.

13         Q.     You agree?

14         A.     I agree.

15         Q.     So that might be why she put in there,

16     right?

17         A.     It's possible, but I wouldn't want to

18     say 100 percent.

19         Q.     I understand, but -- I understand.

20         A.     Without -- because everything is not

21     here.

22         Q.     Say no more.     So, is it fair to say


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                                                                    Page 66
 1     that it's the practice of the Internal Affairs

 2     division and what are characterized as he

 3     said-she said cases to find insufficient facts?

 4         A.      Without any other evidence, yes.

 5         Q.      That's what's he said-she said.

 6         A.      Correct.

 7         Q.      Now, you mentioned as other evidence,

 8     you mentioned video, a third-party eye witness

 9     and a contemporaneous statement to a third

10     party.    So, in the same exhibit that we're on,

11     this exhibit, go to page, well, it's numbered

12     page 5 of the final report and it's bate stamp

13     number DC001001 and the heading is findings,

14     okay.    And this is in the finding section.          And

15     I've seen this on other documents, too.

16                 "The EEOC has recognized that sexual

17     harassment complaints may present evidentiary

18     problems.     Since sexually harassing conduct is

19     often displayed behind closed doors with no eye

20     witness, the EEOC permits the use of

21     circumstantial evidence to raise an inference

22     of discrimination.


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 1     lying, that's what the finding was here, all

 2     right, you agree, don't you?

 3         A.     I agree.

 4         Q.     Yes.    Now, why am I sharing this,

 5     because now we're going to back to the exhibit --

 6     what's this one --

 7                MADAM REPORTER:      The sticker is right

 8     at the bottom.

 9                MR. SMITH:     What is it?

10                THE WITNESS:     Exhibit 4.

11                BY MR. SMITH:

12         Q.     Right, I should mark this.         So,

13     anyway, Exhibit 4.       Remember, you recall the

14     discussion we had about he said-she said,

15     right?

16         A.     I do.

17         Q.     And you recall that we had gotten into

18     the language in the document about credibility

19     in situations of he said-she said?

20         A.     I recall.

21         Q.     Now, once again, imagine that Officer

22     Norman, Norman Jones is out of the picture.


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                                                                    Page 90
 1     He's not involved.       And so you have Janice Lee

 2     with her story of X and Daryl Best of his story

 3     with not X, right?

 4         A.      Yes.

 5         Q.      And you say it is the practice of MPD

 6     to treat those as insufficient facts when

 7     that's what the situation is, without some

 8     extraneous witness or recording or

 9     corroborating data, right?

10         A.      Correct.

11         Q.      But we're in the credibility zone here

12     now.     So, Janice Lee, who was a civilian

13     member, has no, no findings of being a liar and

14     a thief in the course of her job as a member of

15     MPD, none, but this, this conclusion about

16     Daryl Best in Exhibit 8, I guess it was -- no,

17     no, I'm not talking about this.          I'm

18     referencing the other one -- indicates that he

19     both stole and lied.

20                 So, would that not be relevant as a

21     consideration for assessing his credibility

22     versus Janice Lee's and could -- that's the


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                                                                   Page 101
 1     of the document that date of incident, time of

 2     incident, right, and then it's got date

 3     notified, time notified, right?

 4         A.     Yes.

 5         Q.     So, the date notified is the date that

 6     the MPD is notified of the incident, right?

 7         A.     That's what that should indicate, yes.

 8         Q.     That's what that -- when you say that

 9     should indicate that, that sometimes doesn't

10     indicate that?

11         A.     Well, this information is inputted by

12     humans and sometimes they make errors.           I'm not

13     saying they did in this case.

14         Q.     Right, right, but that's what that's

15     supposed to indicate, right?

16         A.     It should indicate that, yes.

17         Q.     And it ought to be the case that on

18     the bottom of page, "IS created by," and it has

19     a person's name -- the IS number should be

20     created the same day as the date notified of

21     the incident, right?

22         A.     It should be, yes.


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                                                                   Page 102
 1         Q.     And when it's not that way, something

 2     improper has occurred, right?

 3                MR. JACKSON:     Objection as to the form

 4     of the question.

 5                BY MR. SMITH:

 6         Q.     The system is not working the way it's

 7     supposed to, if that doesn't happen, right?

 8         A.     The way the system is designed, yes.

 9         Q.     You mean the system is not working as

10     designed when there is a discrepancy between

11     the date notified and the IS number, right?

12         A.     Correct.

13         Q.     But as you said, there's humans

14     involved, so I imagine sometimes there's a one

15     or two day variation?

16         A.     Sometimes.

17         Q.     Right, but it's not going to be a

18     month long variation, right?

19         A.     No.   That's not the norm, no.

20         Q.     And if it is the month long variation,

21     something is -- it's not just a minor error.

22     Something is out of order, right, on a bigger


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                                                                   Page 123
 1         Q.     But the date notified, she spoke to a

 2     different sergeant about this on 4-21-2008.

 3     Okay, let's just walk through this.

 4         A.     Yes.

 5         Q.     Now, this final report is dated

 6     January 6, 2009, right?

 7         A.     Yes.

 8         Q.     I see you making faces and you might

 9     be feeling something --

10         A.     I'm just looking at the dates.          That's

11     all.

12         Q.     I know, but the dates don't make any

13     sense to me.      Is that why you're making those

14     faces, because they don't make sense to you

15     either?

16         A.     The dates don't make sense to me.

17         Q.     Explain what you mean by the dates

18     don't make sense to you?

19         A.     Well, of course, you know, we've

20     talked in depth about the varying dates between

21     the date notified, which is 4-21 and the date

22     that the IS numbers were generated, which is


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                                                                   Page 124
 1     August 5th and then, here, there's another date

 2     introduced when she actually filed the

 3     complaint with the EEOC and then the report

 4     itself doesn't have an author date.           Although,

 5     this one doesn't have any signatures on it, but

 6     it does say January 6, 2009, which are all

 7     significant gaps in time.

 8         Q.      Right.   It would be, apart from

 9     extraordinary developments, way outside the

10     90-day limit, right?

11         A.      Absolutely.

12         Q.      Now, I'm going to ask you a question

13     and I'm not questioning your voracity as you

14     strike me as -- and I'm not just trying to make

15     you feel good -- you strike me as a forthright

16     witness, but I'm going to ask you this.

17                 Have there not been situations at the

18     MPD where in an effort to spare a target

19     disciplinary action, someone intentionally runs

20     past the 90 days?      And if you can -- that's the

21     question.     That's the first question.

22         A.      Well, I can't say it hasn't happened


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                                                                   Page 152
 1     What's that 5-23-06?

 2         A.      I don't know.     It may be referring to

 3     another case.

 4         Q.      Okay, forget about it.       I was just

 5     looking at it and I was wondering if you might

 6     educate me, but that's not the main reason I'm

 7     showing you this.

 8         A.      Okay.

 9         Q.      Do you see this, look, "Interview

10     Haywood," okay?

11         A.      Yes.

12         Q.      Now, in this Daryl Best, Raynette

13     Jones case, if you read the narrative, you may

14     recall that she only said, "I spoke to one

15     person, Daryl Haywood."        Okay, now Daryl

16     Haywood's name shows up a couple times in this

17     file, handwritten by Ms. Webster.          Ms. Webster

18     never interviewed him?

19         A.      I don't remember reading a statement

20     from him.

21         Q.      That's because there is no one?

22         A.      Correct.


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                                                                   Page 153
 1         Q.     Now, you see "Subpoena phone records

 2     (Best and Jones)?"

 3         A.     I do.

 4         Q.     Those phone record were never

 5     subpoenaed.      Did you see any phone records?

 6         A.     No.

 7         Q.     Okay.    So, let's just take a step back

 8     for a moment, okay, because this is -- I'm not

 9     trying to be like a parent, but this bears

10     repeating at this moment.        If I didn't repeat

11     it, I would be negligent.

12                "The quality of an investigation is

13     the foundation on which the reputation of the

14     Office of Internal Affairs is based," okay?

15                Based on your experience for 21 years

16     and your two years as the director of IAD,

17     what's your evaluation of this investigation?

18                MR. JACKSON:     Objection as to the form

19     of the question.

20                THE WITNESS:     My evaluation is that

21     it's not comprehensive.        It doesn't cover all

22     bases as, if you will, it doesn't dot all the


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                                                                   Page 154
 1     Is and cross all the Ts.

 2                BY MR. SMITH:

 3         Q.     Was this investigation fair to

 4     Raynette Jones?

 5                MR. JACKSON:     Objection to relevance.

 6                THE WITNESS:     No, because it was not

 7     comprehensive.

 8                BY MR. SMITH:

 9         Q.     Do you recognize that the -- when you

10     review this file -- let me show you something.

11     Before I ask you the next question, I'm going

12     to show you this.

13         A.     Okay.

14                (Discussion off the record.)

15                MR. SMITH:     Debra, Let's mark this as

16     Exhibit 11?

17                MADAM REPORTER:      12.

18                MR. SMITH:     12, even dozen.      Turn to

19     1529.    Actually, you know what, I don't know

20     why I did that.      It's in your file, 1529, yes.

21     So kill that Exhibit 12.

22                MADAM REPORTER:      Okay.


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                                                                   Page 163
 1     Sergeant -- oh, this is Sergeant -- who is

 2     saying this --

 3                (Discussion off the record.)

 4                Okay, now there's a document I want to

 5     show you, but I don't have a copy of it, so I'm

 6     going to show it to you and both of your

 7     lawyers can take a look at it to make sure that

 8     I'm not showing you something out of line.            All

 9     it is, is the list of sex abuse offenses, okay?

10         A.     Okay.

11         Q.     Okay, now it's D.C. Code Title 22,

12     Criminal Offenses, Chapter 30, Sexual Abuse,

13     subchapter 2, Sex Offenses," sections 223002

14     through 223009.04, right?

15         A.     Yes.

16         Q.     And you see one of them is sexual

17     abuse with a ward, okay?

18         A.     I don't see that exact one, the ward.

19     I do see second degree child sexual abuse and

20     first degree child sexual abuse.          Is the ward

21     on here?

22         Q.     Yes, it's on there.


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                                                                   Page 164
 1         A.      I'm getting my pages all confused.

 2         Q.      Okay, there it is right there

 3     (indicating).

 4         A.      Okay, I can make it bigger.

 5                 MR. JACKSON:    Just so you don't get

 6     confused.

 7                 THE WITNESS:    Are these yours?       I

 8     think those are yours because I have them right

 9     here.

10                 BY MR. SMITH:

11         Q.      All right,

12         A.      Double click it, there we go.

13         Q.      Now, will you read that out loud?

14         A.      The statute?

15         Q.      Yes.

16         A.      Sure.   "Any staff member, employee

17     contract employee, consultant or volunteer at a

18     hospital, treatment facility, detention or

19     correctional facility, group home or other

20     institution, anyone who is an ambulance driver

21     or attendant, a bus driver or attendant or

22     person who participates in the transportation of


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 1     a ward, patient, client or prisoner to and from

 2     such institution or any official custodian of a

 3     ward, patient, client or prisoner who engages

 4     in a sexual contact with a ward, patient,

 5     client or prisoner or causes a ward, patient,

 6     client or prisoner to engage in or submit to a

 7     sexual contact shall be imprisoned for not more

 8     than five years or fined not more than the

 9     amount set forth in."

10         Q.     Okay, now, based on that description

11     of that crime, how would this have anything to

12     do with this case?

13         A.     I don't think that it does.         So, are

14     you asking me does this charge fit what we've

15     talked about?

16         Q.     It wouldn't.     We're talking about the

17     Raynette Jones' case, right, from there to now?

18         A.     Yes.

19         Q.     Now, at the same time, why would the

20     facts of this case be related to that charge as

21     a possibility?      We don't have a ward involved,

22     right?


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                                                                   Page 166
 1         A.      Agree.

 2         Q.      So, this is -- you agree also that

 3     this is one of many peculiar dimensions to this

 4     investigation, right?

 5         A.      Yes, in that the declination has that

 6     language.

 7         Q.      When you say "in that the declination

 8     has that language," that's the charge that was

 9     declined."     Look at this.     Look at how easy

10     this could have been done.

11                 I mean, look at misdemeanor, sexual

12     abuse.    Will you read that one, please?

13         A.      Sure.    "Whoever engages in a sexual

14     act or sexual contact with another person and

15     who should have knowledge or reason to know

16     that the act was committed without that other

17     person's permission shall be imprisoned for not

18     more than 180 days."

19         Q.      I'm not asking you, should he be

20     convicted of that, but if a credible, possible

21     charge was to be contemplated, wouldn't that

22     make totally more sense than second degree


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                                                                   Page 167
 1     sexual abuse with a ward?

 2         A.      Yes.

 3         Q.      All right.    Hold on, we're coming

 4     along fine here.      You know, I think we'll be

 5     done before 4:00, I do.

 6                 Are you in headquarters, is your

 7     office in headquarters?

 8         A.      Yes.

 9         Q.      Are you on the fifth floor?

10         A.      I am.

11         Q.      How long have you been there?

12         A.      Since March of this year, the end of

13     March this year.

14         Q.      Do you have restricted access to the

15     elevator?

16         A.      Do I?

17         Q.      Yes.

18         A.      To come to my floor?

19         Q.      To come to the fifth floor.

20         A.      Yes, I have to swipe my ID to come to

21     that floor.

22         Q.      Everybody can't just come to the fifth


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 1     floor, right?

 2         A.      That's correct.

 3         Q.      How is it determined who gets to come

 4     to the fifth floor?

 5         A.      I don't know who makes that

 6     determination.

 7         Q.      And everybody can't get into the

 8     parking garage either, right?

 9         A.      That's correct.

10         Q.      How is it determined who gets into the

11     parking garage?

12         A.      Well, there's a security guard there

13     and we have placards in our cars as well as I

14     drive a vehicle that has government tags.

15         Q.      So, any vehicle with government tags

16     can get in the garage?

17         A.      I don't know the exact procedure, but

18     I don't see why they would challenge that

19     person.

20         Q.      Well, do you know about officers being

21     detailed?

22         A.      Do I know about it?


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                                                                   Page 170
 1         A.     I understand.

 2         Q.     The transfer is permanent, right?

 3         A.     Yes.

 4         Q.     Okay, so are you familiar with the

 5     organization, International Association of

 6     Chiefs of Police?

 7         A.     I'm aware of what it is, yes.

 8         Q.     And the District participates in that

 9     organization?

10                MR. JACKSON:     Objection.

11                THE WITNESS:     I do believe so, yes.

12                BY MR. SMITH:

13         Q.     Why do you believe that?

14         A.     Because I've been aware that our chief

15     has attended that conference.

16                MR. SMITH:     Okay, I want you to mark

17     this document as exhibit whatever it is.

18                MADAM REPORTER:      12.

19                MR. SMITH:     12?

20                MADAM REPORTER:      Yes.

21                (Discussion off the record.)

22                BY MR. SMITH:


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                                                                   Page 171
 1         Q.     Okay, now, are you ready for me to ask

 2     you a few questions?

 3         A.     Sure.

 4         Q.     So, according to this document -- and

 5     what is this document, ma'am?

 6         A.     Well, this is the International

 7     Association of Chiefs of Police Executive Guide

 8     addressing sexual offenses and misconduct by

 9     law enforcement.

10                (Documentation referred to above was

11                 marked Deposition Exhibit Number 12

12                 for Identification, copy of which is

13                 attached to the transcript.)

14                BY MR. SMITH:

15         Q.     Now, you mentioned that you've had

16     prior knowledge of this organization.           What

17     does this organization, in general, apart from

18     this document, exist to do?

19         A.     I guess in what knowledge I do have,

20     they suggest or create policies or guidelines

21     for law enforcement from varying subjects such

22     as this to just everyday interactions with


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 1     citizens and anything, of course, that can

 2     adversely effect the profession.

 3         Q.     And in the spirit of my -- at least

 4     for purposes of this deposition, my hero,

 5     Mr. Michael Anzallo, okay --

 6         A.     Okay.

 7         Q.     You know, earlier on, we talked about

 8     the duty to identify trends and developments,

 9     you know, proactively to seek them out, right?

10         A.     We did.

11         Q.     So, let me ask you this.        When was

12     this document published?        Just to help you out,

13     go to the last page, the very last page.            What

14     does it indicate?

15         A.     Okay, June of 2011.

16         Q.     June of 2011.      And where is the

17     International Association of Chiefs of Police

18     located?

19         A.     In Alexandria, Virginia.

20         Q.     Right in out backyard, right?

21         A.     Correct.

22         Q.     So it makes it easy for the


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                                                                   Page 180
 1     dominated endeavor, but D.C. actually has more

 2     females than most police departments, don't

 3     they?

 4         A.     I really don't know.

 5         Q.     Do you have a sense of what the

 6     percentage of females are at the MPD?

 7         A.     Possibly 18 to 20 percent.

 8         Q.     18 to 20?

 9         A.     Maybe.

10         Q.     I bet you it's slightly higher than

11     that, but the point is that in modern policing,

12     don't you believe sexual misconduct policy

13     ought to exist in the police department?

14         A.     I do.

15         Q.     Do you wonder why it's not at MPD?

16                MR. JACKSON:     Objection.     Misstates

17     the policies and procedures effective at MPD.

18                THE WITNESS:     Do I wonder why?

19                BY MR. SMITH:

20         Q.     That there is not police sexual

21     misconduct policy at the MPD --

22                MR. JACKSON:     Objection.


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                                                                   Page 181
 1                 BY MR. SMITH:

 2         Q.      -- besides the one strand of EEO

 3     harassment?

 4         A.      I wouldn't say that I wonder why, but

 5     I do believe that it needs to be more clearly

 6     defined.

 7         Q.      So, is it your view that there already

 8     is a policy?

 9         A.      We have policies that govern our

10     behavior.     However, it's not clearly defined.

11         Q.      As police sexual misconduct?

12         A.      As police sexual misconduct and as,

13     for example, what we have here, clearly

14     delineated for all to see, these are the things

15     that we're saying or potentially would say as

16     an agency that relate to sexual misconduct.

17         Q.      Okay, why do you think that is the

18     case; is it left intentionally ambiguous in

19     your view?

20         A.      I don't believe so.      I don't think

21     it's intentionally ambiguous.         Why it's not

22     done, I don't really know.         Do I think it's


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 1     needed, absolutely.

 2         Q.     Okay, bear with me a moment.         All

 3     right, hold on for a minute.         Okay, go to page

 4     11 of this document that we're looking at now.

 5     Thematically, this is something worth

 6     discovering.       This pertains to investigations,

 7     right?

 8         A.     Okay.

 9         Q.     This is the product of commensurating

10     chiefs of police trying to address this

11     problem.    This is not my document, right?

12         A.     Understood.

13         Q.     "Victims" -- mid page -- "Victims may

14     be reluctant to report an incident and/or

15     participate in the investigation for a variety

16     of reasons, including trauma of the incident,

17     fear of not being believed, retaliation from

18     the perpetrator or other officers and previous

19     bad experiences with law enforcement."

20                So do you agree that these points

21     annunciated in here are relevant to the

22     environment at MPD?


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 1         Q.     Right and so the idea is that, well,

 2     in my judgment, this triggers sustained, but I

 3     don't make the calls about what you're going to

 4     do about it?

 5         A.     Correct.

 6         Q.     Okay, I got it.      Now, you know about

 7     the SSP system, right?

 8         A.     Yes, I'm aware of the system.

 9         Q.     In your position, if you weren't that

10     would be a problem, but it was used in 2008,

11     right?

12         A.     The first time SSP -- I'm sorry, I'm

13     just talking to --

14         Q.     You're thinking out loud.        I get it.

15         A.     I'm thinking out loud.        The first time

16     SSP was around, was around 2007, but I don't

17     exactly know when in 2007.

18         Q.     I understand.      I understand, but that

19     would cover -- that would get us to 2008.

20         A.     It covers 2008.

21         Q.     Right, so the point system, a

22     sustained sexual misconduct, that's 100 points,


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                                                                   Page 203
 1     right?

 2         A.      It should be.     I don't see why it

 3     wouldn't be.

 4         Q.      You don't know?

 5         A.      Don't know what?

 6         Q.      Whether it's 100 points.

 7         A.      I think an allegation of that

 8     magnitude would be a sustained 100 points.

 9         Q.      Okay, so I don't see any indication

10     that after he managed to dodge the much more

11     serious allegations of Raynette Jones and then,

12     Ms. Webster sustained the further serious, even

13     though important, the further serious

14     allegations -- one woman getting her butt

15     touched one time, and she's a grown woman --

16     not that you get to touch grown women, but you

17     understand, she's just more capable of enduring

18     these kind of infringements than a young

19     non-adult who is more trusting and vulnerable

20     and even -- I'm sorry -- I got lost.

21                 So, the question is, what was the

22     question?     We don't see anything about SSP in


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 1     minute break.

 2                (Brief Recess)

 3                BY MR. SMITH:

 4         Q.     This is Exhibit 14.       Please take a

 5     look at that packet and I want to ask you a few

 6     questions.

 7         A.     Okay.

 8                (Documentation referred to above was

 9                  marked Deposition Exhibit Number 14

10                  for Identification, copy of which is

11                  attached to the transcript.)

12                BY MR. SMITH:

13         Q.     Okay.    So another incident of alleged

14     misconduct against Officer Best, right?            The

15     main reason I'm pointing this one out is that

16     the cover sheet has the following discrepancies

17     were found and it reads, "Please interview wife

18     of complainant with whom Officer Best is

19     alleged to being having the affair," and then,

20     "Officer Best's response to the allegation of

21     wearing his gun and badge in the pulpit of his

22     church does not adequately answer the


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                                                                   Page 210
 1     question."

 2                If you review this, you'll see that,

 3     okay, Officer Best enhanced his statement.

 4     They never interviewed this guy's wife?

 5         A.     No.

 6         Q.     You see that, right?

 7         A.     Yes.

 8         Q.     And you know he denied that he was

 9     having an affair with her and then, he went

10     onto marry her later.       You know that, right?

11         A.     I do know that.

12         Q.     It's not funny, but it is.

13         A.     It's not.

14         Q.     It's not funny, but it is.         So, is it

15     your view that -- you didn't have anything to

16     do with this investigation, right, Inspector?

17         A.     Oh, no.

18         Q.     But his wife should have been spoken

19     to, right?

20         A.     Absolutely.

21         Q.     So, this is a failed investigation,

22     right?


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 1         A.      It's not comprehensive.

 2         Q.      And so, is it not comprehensive a

 3     euphemism for failed?       I mean, so at what point

 4     is -- seriously -- what makes a failed

 5     investigation in your estimation?          How many

 6     things have to be wrong, because you said the

 7     Raynette Jones investigation was not

 8     comprehensive and it's got -- it's like Swiss

 9     cheese.

10                 So what makes for a failed

11     investigation, must an investigator -- how many

12     balls must be dropped for you to comment as

13     failed?

14         A.     Well, I think you use one term and I

15     use another.

16         Q.      Okay, fine.    So, if not --

17         A.     Maybe our outcome is the same, but I

18     say not comprehensive and you say failed.

19         Q.      Okay.   Fair enough.     I think we're

20     done.     Oh, one more question that I didn't ask.

21     Going back to the Raynette Jones investigation,

22     if the sustained allegations associated with


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 1     lying and stealing from the District had been

 2     applied in the Raynette Jones investigation,

 3     had been taken into account so that she is

 4     saying she, the 20 year-old whose got nothing

 5     to gain and everything to lose by accusing this

 6     man, stepped forward, levies her allegations,

 7     he has a great deal to lose and everything to

 8     gain by lying and so we've got -- because no

 9     form records were obtained and her only witness

10     that offered any level of corroboration -- and

11     she didn't say, "He's going to tell you, I told

12     him everything."      She said, "I told him certain

13     things," but it would have been some level, was

14     not pursued, so it was turned into an

15     artificial he said-she said because of a

16     failure to pursue evidence, shouldn't that --

17     in that situation, given that the pre-existing

18     adverse action have operated against the

19     credibility of Daryl Best to turn the tide in

20     that situation to a sustained?

21         A.     I think that it should have, but I

22     also testified earlier that, that investigation


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                                                                   Page 213
 1     was not comprehensive, so had there been a

 2     comprehensive investigation coupled with the

 3     allegations and the findings of the other

 4     investigation, lending to the, as you said, the

 5     20 year-old who has everything to lose in this

 6     situation by coming forward and the history and

 7     the disciplinary or investigative history of

 8     Best, I do believe we could have reached a

 9     preponderance of evidence in the Jones case,

10     but again, I stress had there been a

11     comprehensive investigation.

12         Q.     And what I'd say, if it hadn't been a

13     failed investigation?

14         A.     If hadn't have been.

15         Q.     A failed, but yes.

16                MR. SMITH:     For now, unless do you

17     want to ask her any questions?

18                MR. JACKSON:     I have no questions.

19                MR. SMITH:     Well, let me just make

20     sure that I'm not sleeping because I'm out of

21     energy and I'm not feeling -- I had lots of

22     energy when I came this morning, but now I feel


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               EXHIBIT 7
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           Addressing Sexual
           Offenses and Misconduct
           by Law Enforcement:
           EXECUTIVE GUIDE
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                                                                          Professor Roger Goldman
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Philadelphia Police Department                                            John Firman, Research Center Director


   Every effort has been made to ensure that this document reflects current and comprehensive information.
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“It is imperative to the protection of citizens’ civil rights and the trust communities
 place in law enforcement that policies be adopted as part of a clear statement that
 sexual misconduct will not be tolerated.”
                                                —Chief David Nye, Fredericksburg Police Department, VA




Introduction
The problem of sexual misconduct by officers warrants the full attention of law enforcement
leadership. It represents a grave abuse of authority and a violation of the civil rights of
those victimized.* Law enforcement agencies and executives have a duty to prevent sexual
victimization, to ensure it is not perpetrated by their officers, and to take every step possible
to ensure the safety and dignity of everyone in the community.
When an incident of sexual misconduct involving a law enforcement officer is reported, it presents one
of the most difficult challenges a law enforcement executive can face. Therefore, it is imperative that
executives prepare through agency mission, policy, and training to proactively address and prevent
incidents. Leaders must demonstrate to their officers and their community a consistent, focused effort
to identify and eliminate misconduct through the institutionalization of a zero tolerance position.
Sexual misconduct within an agency may be indicative of a need for systemic and cultural changes.
Creating and implementing a policy are key steps to ensure an agency is prepared to respond to
allegations, reinforce officer accountability, and ultimately prevent abuses of power.


  Accountability of Law Enforcement: Under the ‘Color of Law’
  * According to 18 U.S.C. § 241, it is unlawful for two or more persons to conspire to injure,
  oppress, threaten or intimidate another person in the free exercise of any right or privilege provided
  to another by the Constitution or laws of the United States. Similarly, 18 U.S.C. § 242 makes it a
  crime for a person who is acting under the color of law to willfully deprive another person of any
  right or privilege provided to another by the Constitution or laws of the United States. Under §
  242, acts performed under the “color of law” include those conducted by federal, state, and local
  law enforcement officials within their lawful authority and any act conducted while the official is
  pretending to act in accordance with his or her official duties. The types of misconduct covered
  by these laws include: excessive force, sexual assault, intentional false arrest, and the intentional
  fabrication of evidence resulting in a loss of liberty to another. Enforcement of these provisions
  does not require that any racial, religious, or other discriminatory motive exists.



How to Use this Guide
This guide has been created to promote an understanding of the complexities of sexual
offense and misconduct cases involving officers and to encourage the proactive adoption of
policy and prevention efforts within law enforcement agencies.
Within this guide, references to misconduct are intended to encompass criminal offenses as well
as non-criminal sexual conduct that is inappropriate, unprofessional, and damaging to the public
confidence in the department.
This guide’s reference to officers is intended as an inclusive term for all sworn agency employees.
Departments are encouraged to apply these strategies to all employees, civilian and sworn, as appropriate.

                        A D D R E S S I N G S E X U A L O F F E N S E S A N D M I S C O N D U C T B Y L AW E N F O R C E M E N T   1
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           Background
           Recurring accusations of sexual offenses implicating law enforcement officers were noted with
           concern by the Office on Violence Against Women of the U.S. Department of Justice which
           funded the IACP to examine the problem of sexual offenses and misconduct and to develop
           resources to assist law enforcement leaders in investigating and preventing incidents.
           IACP’s work in the 1990’s to address domestic violence committed by law enforcement officers
           uniquely situated the Association to explore this serious problem and issue recommendations to
           the field. In 2007 the IACP hosted a roundtable discussion during the Association’s 114th Annual
           Conference in New Orleans to learn from department leaders about situations they confronted and
           the resulting problems. Over seventy executives chose to attend this moderated discussion that
           was closed to the media. The range of concerns and incidents many had faced in their own agencies
           made it clear that sexual offenses and sexual misconduct committed while officers were on or off
           duty necessitated focused attention and a proactive response.
           As a leadership organization with a history of addressing difficult issues in law enforcement
           including civil rights, racial profiling, immigration, and the use of force, the IACP took on the work of
           addressing sexual offenses and sexual misconduct committed by officers with an intent to develop
           tools to assist the profession and prevent abuses of power. Building from a variety of tools created
           to address the crime of sexual assault including Sexual Assault Investigative Guidelines, a Model
           Policy on Sexual Assault, and a roll call training video on preparing sexual assault cases for effective
           prosecution, the IACP assembled a multidisciplinary working group to guide efforts to examine
           sexual offenses committed by law enforcement officers. Through a process of study and discussion,
           the working group drafted this guide to assist executives. Following outside review by victim
           advocacy and criminal justice professionals, including some law enforcement leaders who attended
           a 2007 roundtable discussion on this matter and others who are alumni of the IACP’s National Law
           Enforcement Leadership Institute on Violence Against Women, recommendations were explored and
           this guide finalized.



           Overview
           The Reality Facing Law Enforcement
           While the vast majority of law enforcement personnel perform honorable and conscientious
           work on a daily basis, the reputation of their respected profession is tarnished by just one
           incident of sexual misconduct.
           Cases of sexual misconduct committed by law enforcement grab the attention of the public and
           media because such offenses are particularly egregious violations of trust and authority. Situations
           where officers engage in sexual misconduct and victimize those they are sworn to protect and serve
           amount to civil rights violations. Reported and investigated cases of sexual misconduct by officers
           appear all too frequently in the news. Regardless of the rate of occurrence, the problem is real.
           Headlines
           The following sample of 2009 and 2010 cases in the news highlights the variety of ways sexual
           misconduct by law enforcement can manifest itself.
           UÊ After a sheriff from an agency in a great plains state was sentenced to 79 years in prison for
              sexually abusing numerous female inmates and drug court defendants, the municipality was found
              liable for $10 million in damages.
           UÊ A police chief and assistant chief from a small department in the midwest were each sentenced
              to 25 years in prison for raping a woman in a bar after hours while off duty. The convictions, which

2   A D D R E S S I N G S E X U A L O F F E N S E S A N D M I S C O N D U C T B Y L AW E N F O R C E M E N T
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    were supported by evidence including admissions, require them to serve at least 14 years before
    being eligible for parole, and they will be on the state sex offender registry for the rest of their lives.
UÊ Following an investigation by the FBI, an officer with a west coast agency received a nine year
   federal prison sentence for sexually assaulting a motorist and violating her civil rights. The officer
   admitted in court that he took the victim in his patrol car to an isolated parking lot away from the
   traffic stop and assaulted her while armed and in his full police uniform. The victim left her job after
   the officer twice went to her workplace to warn her he was watching her.
UÊ A police officer from an agency in the west received one year in jail for fondling a woman he had in
   custody and was transporting to a hospital for a psychiatric evaluation. The department had previously
   received a complaint that this officer made sexual comments to a woman during a traffic stop.
UÊ A major city police department in the eastern United States settled a lawsuit alleging that an
   off-duty officer who was in uniform working security at a nightclub lifted a woman’s skirt and
   “offensively touched” and assaulted her while escorting her from the club.
UÊ A small western department suspended an officer for inappropriate conduct after he sent text
   messages and a picture of himself to a rape victim. Prior to being suspended, he had been assigned
   to investigate sex crimes and was demoted for having an intimate relationship with a victim.
This list of cases is troubling and indicates that this problem can and does occur in every section of
the country.

Definitions
Sexual misconduct by law enforcement is
defined as any behavior by an officer that              “There are hundreds of thousands of
takes advantage of the officer’s position in law         police officers doing a wonderful job
enforcement to misuse authority and power                out there, and to protect them, we
(including force) in order to commit a sexual            need to respond aggressively when
act, initiate sexual contact with another person,
or respond to a perceived sexually motivated             officers violate the community’s trust.”
cue (from a subtle suggestion to an overt                                — Chief Bernadette DiPino,
action) from another person. It also includes any                 Ocean City Police Department, MD
communication or behavior by an officer that
would likely be construed as lewd, lascivious,
inappropriate, or conduct unbecoming an officer
and violates general principles of acceptable conduct common to law enforcement.1
The limited research to date has focused on criminal sexual misconduct committed by officers while
on duty. However, in recent years concern has extended to additional forms of sexual misconduct
that include adult consensual sexual contact while on duty, voyeuristic behavior, and non-sexual
contacts (e.g., unnecessary call backs to crime victims and witnesses).
The various forms of sexual misconduct by law enforcement, some of which are criminal acts, may
be directed at colleagues, citizens, detainees, juveniles, and crime victims or witnesses.2 Forms may
include, but are not limited to, the following:
1. sexual contact by force (e.g., sexual assault, rape);
2. sexual shakedowns (e.g., extorting sexual favors in exchange for not ticketing or arresting a citizen);

1 This definition is adapted from one developed by Timothy M. Maher, professor of criminology and criminal justice at the University of Missouri at St.
Louis.
2  In 1994, researcher Allen Sapp developed seven individual categories of police sexual offenses (Sapp, Allen, D., “Sexual Misconduct by Police Of-
ficers,” Police Deviance, Cincinnati, OH: Anderson Publishing, 1994), and Timothy Maher added an eighth based on his research. (Maher, Timothy M.,
“Police Sexual Misconduct,” Contemporary Policing: Controversies, Challenges and Solutions, Los Angeles, CA, Roxbury Publishing Company, 2004,
pp. 327-338).




                                    A D D R E S S I N G S E X U A L O F F E N S E S A N D M I S C O N D U C T B Y L AW E N F O R C E M E N T              3
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           3. gratuitous physical contact with suspects (e.g., inappropriate or unnecessary searches, frisks
              or pat-downs);
           4. officer-initiated sexual contacts while on duty;
           5. sexual harassment of colleagues/co-workers;
           6. engaging in citizen-initiated sexual contact while on duty;
           7. sexual behavior while on duty (e.g., masturbation, viewing and/or distributing pornographic
              images, sexting);
           8. voyeuristic actions that are sexually motivated (e.g., looking in windows of residences for
              sexually motivated reasons);
           9. unnecessary contacts/actions taken by officers for personally and/or sexually motivated reasons
              (e.g., unwarranted call backs to crime victims, making a traffic stop to get a closer look at the
              driver for non-professional reasons); and
           10. inappropriate and unauthorized use of department resources and/or information systems for
               other than legitimate law enforcement purposes.
           Further complicating a full understanding of the scope of the problem is due in part to the reluctance
           of victims to report to authorities. In addition to experiencing the trauma of the violation, victims
           struggle with feelings of humiliation and fear retaliation or not being believed. Another reason it is
           difficult to gauge the extent of the problem is because accused officers will resign, expecting to
           avoid a complete administrative investigation. These officers might then be hired by another agency
           where they may continue to commit offenses against colleagues and/or citizens. Therefore, it is
           imperative that a complete investigation is carried out whether or not the accused officer resigns.
           Putting the scope of the problem aside, it is certainly clear that sexual misconduct by officers
           requires the attention of law enforcement leaders. Law enforcement executives are responsible
           for establishing and maintaining a healthy culture within their agencies and need to recognize that
           elements of law enforcement culture can contribute to the proliferation of sexual misconduct and
           its subsequent minimization. This requires leaders to consistently look to identify and prevent even
           the most subtle forms of misconduct which left unchecked can encourage widespread abuses and
           adversely affect the law enforcement agency and profession. Through their own words and actions,
           leaders must embody the highest standard of professionalism for their officers.

           The Culture of Law Enforcement
           Within the policing profession some
           conditions of the job may inadvertently create           “It is the agency executive’s responsibility
           opportunities for sexual misconduct. Law
                                                                      to foster an environment in which ethical
           enforcement officers (1) have power and
           authority over others; (2) work independently;             behavior is expected and each member
           (3) sometimes function without direct                      of the department is held accountable for
           supervision; (4) often work late into the night            meeting those standards.”
           when their conduct is less in the public eye3;
           and (5) engage with vulnerable populations                                            —Chief Russ Martin,
           who lack power and are often perceived as                                Delaware Police Department, OH
           less credible (e.g., juveniles, crime victims,
           undocumented people, and those with addictions and mental illness). Furthermore, some people are
           so impressed by and attracted to the authority the uniform and badge represent that they will seek to
           engage officers in sexual relations in order to have a vicarious connection to the power of the profession.4

           3  Lettner, Kimberly S., “Developing Policies to Address Police Sexual Misconduct,” Richmond, VA, University of Richmond, 2004, pp. 12-13; and
           Maher, Timothy M., “Police Sexual Misconduct: Female Police Officers’ Views Regarding its Nature and Extent,” Woman and Criminal Justice, Vol. 20,
           Issue 3, 2010, pp. 263-282.
           4   Discussion at IACP Focus Group, Alexandria, VA, March 15, 2010.


4   A D D R E S S I N G S E X U A L O F F E N S E S A N D M I S C O N D U C T B Y L AW E N F O R C E M E N T
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Within the profession, the existence of a law enforcement culture of allegiance and loyalty forms an
important backdrop against which officers risk personal safety to protect and serve the public. While
admirable in circumstances that are legitimate to effective policing, these principles may lead to the
belief that fellow officers will protect or provide cover in questionable circumstances. This could
result in situations where unprofessional and even illegal behavior is tolerated out of a misplaced
sense of loyalty. Over the past decade, work by professional leadership organizations, including the
IACP, with law enforcement officials on ethics, accountability, and peer-to-peer mentoring have done
much to mitigate this potential.
Sexual misconduct within the ranks must be recognized so agencies can then take appropriate
administrative and criminal actions to deter and prevent future incidents5, promote healthy
environments and build community trust. Failure to identify misconduct and enforce accountability
for even seemingly minor indiscretions may not only empower the officer, but may also encourage
those who have knowledge of, or were witness to, the behavior to commit similar or more serious
offenses. Tolerance at any level will invite more of the same conduct. Therefore, it is critical that law
enforcement executives ensure that every reported incident of sexual misconduct is investigated
thoroughly and all employees with knowledge of sexual offense(s) who fail to report it are held
accountable.


     Sexual Harassment in the Ranks
     Historically law enforcement has been a male-dominated profession; today women comprise just
     18% of state and local law enforcement (LEMAS, 2007). As a minority within the profession,
     women are sometimes subjected to sexually harassing behavior from colleagues that seems
     designed to challenge their right to work in law enforcement. Legal liability for sexual harassment in
     the workplace was established in the 1980’s and, as a result, once an employer is informed about
     actions of an employee, they can be held accountable if they fail to stop such behavior or allow the
     creation of a hostile work environment. Agency leadership needs to be aware of subtle as well as
     overt aspects of internal agency culture directed at those in the minority, whether along the lines of
     gender, race, religion, sexual orientation, or nationality, that may negatively shape the job climate.
     The potential for these attitudes to spill over and affect the perception and treatment of members
     of the public should also be recognized and addressed. In addition to shaping the culture with their
     priorities, standards, and expectations, leaders need to proactively monitor the culture within their
     agencies and establish employee reporting mechanisms that provide protections from retaliation.




Leadership Actions
Considering a Policy
Any type of officer misconduct erodes trust in, and respect for, the profession. When a leader fails to
ensure the adequate monitoring of officer actions or disregards complaints or concerns about officer
conduct, the department in effect condones the misconduct and enables it to proliferate. It is the
leader’s responsibility to ensure that policies to address and prevent sexual offenses are implemented;
that all employees regularly receive effective training (see page 11); and that roles, responsibilities,
and professional standards are communicated clearly and reinforced consistently throughout the
department.6 Through strong leadership and policies, agency employees at all levels can be held
accountable for their actions.
While strong policies prohibiting sexual harassment are necessary, relying on existing sexual
harassment policies to cover matters of sexual misconduct involving members of the public is

5   Maher, “Police Sexual Misconduct” pp. 327-338, citing Sapp.
6   Walker, Samuel and Dawn Irlbeck, “Driving While Female: A National Problem in Police Misconduct,” Omaha, NE, University of Nebraska, 2002, p. 3


                                   A D D R E S S I N G S E X U A L O F F E N S E S A N D M I S C O N D U C T B Y L AW E N F O R C E M E N T           5
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           completely inadequate. Similarly, provisions covering conduct unbecoming an officer are generally
           insufficient, for example, to address the full range of predatory or stalking behaviors that can
           be precursors to assaults but may appear to be reasonable surveillance actions as part of an
           investigation.
           Two reasons are commonly offered by executives as to why they would resist instituting a sexual
           misconduct policy or program. First, they report that there is no sexual misconduct problem in their
           agency. This may be an indicator of an undetected or denied problem. Leaders must be aware of the
           potential and willing to implement policy and procedures for monitoring and intervening proactively.
           Second, because policies are typically “incident driven,” they admit they are unlikely to develop a
           policy until one is absolutely necessary.7 To merely address issues and behaviors after they arise is
           an ineffective operating model and a lapse in critical oversight that can create significant liability while
           risking the public’s trust and confidence.
           As the profession has learned through community policing, proactive problem solving is much more
           effective than reactive problem solving. Therefore, it is incumbent on law enforcement leaders to
           pro-actively implement a well-crafted policy and clear plan to ensure that everyone understands the
           agency’s position and their specific roles and responsibilities. An agency leader may choose to make
           a public statement about the agency’s position by posting the policy on the department website as
           part of a transparency effort that will serve to reinforce a commitment to accountability.
           Law Enforcement Authority
           In order to combat the abuse of authority by employees, the community corrections field has
           adopted the principle that no on-duty sexual activity by corrections staff is permissible. All 50 states,
           the District of Columbia, Guam, and Puerto Rico have laws criminalizing sexual contact between
           corrections staff and jailed/imprisoned individuals, and many community corrections agencies have
           implemented internal policies on the subject.8
           Given law enforcement’s authority to detain and arrest citizens, a profession-wide position prohibiting
           on-duty sexual activity seems fundamental. Agencies already addressing this problem specifically
           prohibit all on-duty sexual conduct. In addition, agencies should also restrict consensual off-duty
           sexual activity from occurring on department property (e.g., within buildings or vehicles). A number
           of departments, including the Colorado State Patrol, Maryland State Police, Pennsylvania State
           Police, and Virginia Capitol Police, have instituted comprehensive policies that prohibit employees
           from engaging in any on-duty sexual behavior or off-duty sexual behavior on workplace premises.
           Because off-duty conduct by officers can potentially undermine the efficiency and effectiveness of an
           agency and lead to abuse of authority, agency leaders have a vested interest in setting parameters
           and managing agency risk. Court rulings support reasonable and appropriate efforts to regulate off
           duty behavior and activities.
           Agency Authority
           Law enforcement leaders should directly address the problem of sexual misconduct by instituting
           a zero-tolerance standard and demonstrating that allegations will be promptly and thoroughly
           investigated. Any meaningful policy addressing sexual misconduct and offenses should state that an
           abuse of authority is grounds for disciplinary action, up to and including termination.9 In keeping with
           efforts undertaken by the corrections field, local law enforcement executives should establish an
           agency wide culture of accountability and seek commitments from key stakeholders, including their
           governing body, police unions and their members, to support this standard.

           7  Maher, Timothy M., “Police Chiefs’ Views on the Nature, Extent and Causes of Police Sexual Misconduct,” Police Practice and Research: an Inter-
           national Journal, Vol. 9, 2008, pp. 239-250.
              Maher, Timothy M., “Police Sexual Misconduct: Female Police Officers’ Views Regarding its Nature and Extent,” Woman and Criminal Justice, Vol.
           20, Issue 3, 2010, p. 265.
           8  Preventing and Responding to Corrections-based Sexual Abuse: A Guide for Community Corrections Professionals, Washington, DC, U.S. Depart-
           ment of Justice, Office of Justice Programs, Bureau of Justice Assistance, 2009, p. 10.
           9   Lonsway, Kimberly A., “Preventing and Responding to Police Sexual Misconduct,” Law and Order, Herndon Publishing Co., 2009, p. 8.


6   A D D R E S S I N G S E X U A L O F F E N S E S A N D M I S C O N D U C T B Y L AW E N F O R C E M E N T
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An agency’s policy should be written with input from the state licensing board or Peace Officer
Standards and Training Board (POST), a local prosecutor, CALEA, and victim service providers in
the community.
An effective department policy aimed at deterring sexual misconduct should include:
1. the reason for the written policy;
2. definitions of various sexual offenses;
3. strategies to prevent sexual misconduct (e.g., applicant screening and accountability standards);
4. specific measures the agency will take to foster professional behavior (e.g., supervision and training);
5. a structured process for accepting, documenting, and responding to reported incidents and
   conducting administrative and criminal investigations; and
6. the range of possible disciplinary sanctions, should allegations of sexual misconduct be
   sustained.10
A written policy should include provisions to protect employees who report allegations from any
retaliation. It also should stipulate disciplinary action for any employee who has knowledge of and
fails to report sexual misconduct by a member of the department, except when the officer is the
victim. The policy should affirm the department’s intent to conduct a thorough investigation of every
reported allegation even when the victim is reluctant to participate.
Agency policy can be augmented with specific preventive/protective strategies that can serve as
deterrents. For example, some agencies require that traffic stops be recorded or videotaped and
that officers provide dispatch with timing for the start and finish when transporting a citizen/arrestee.
Additionally, a policy should specify that employee electronic communication and internet postings,
which affect professional credibility, will be regularly conducted.11


      Prison Rape Elimination Act and Custodial Situations
      Because offenses often occur when an individual is in custody, it is essential that police agencies,
      especially those with holding facilities, be aware of the 2003 Prison Rape Elimination Act (PREA).
      PREA was enacted to address sexual misconduct in all custodial settings, including police lock-ups,
      holding facilities and jails*. According to recent statistics, “25 percent of local police departments
      operate temporary lockup facilities for overnight detention of adults in a location separate from a
      jail, 13 percent operate juvenile lockups, and 9 percent of local police departments are responsible
      for operating a jail.”** Under PREA, numerous national standards have been drafted for the
      prevention, detection, response, and monitoring of sexual misconduct in lock-ups. These standards,
      when finalized, will apply to law enforcement. It is critical that all law enforcement executives are
      cognizant of the standards and aware of the implications of PREA for their agencies.
      * For more information, log on to www.ojp.usdoj.gov/programs/prisonrapeelimination.htm.
      ** McCampbell, Michael S., “Update and on the Prison Rape Elimination Act,” The Police Chief Magazine, International Association of Chiefs of
      Police, Alexandria, VA, March 2011.




Hiring
Through a rigorous selection process, law enforcement agencies should recruit and hire individuals
who demonstrate high standards of integrity by screening out those who do not exhibit the ethical
characteristics necessary for the profession. This can be achieved through a combination of (1)
medical, psychiatric, psychological, polygraph and integrity testing; (2) detailed personal interviews;
and (3) thorough background investigations that include a review of social networking websites.
10   Lettner, “Developing Policies to Address Police Sexual Misconduct,” pp. 8-9.
11   For more information, logon to www.theiacp.org and see IACP Social Media Project and Model Policy.



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           The professionals conducting the examinations and interviews should be knowledgeable about
           and specifically screen for patterns of inappropriate behavior or attitude as well as prior sexual
           offenses. Any candidate found through these processes to have a history of sexual misconduct or
           unacceptable sexual activities should be deemed ineligible for employment.
           When considering experienced personnel for hire from other agencies, the hiring agency should
           require candidates to sign a full-disclosure waiver that enables previous places of employment
           to provide in-depth references and copies of the officer’s complete internal affairs file and all
           employment files, including details contained in any non-disclosure agreement and circumstances
           surrounding separations from service. This practice can prevent experienced officers who are
           facing potential charges from moving to another agency prior to being disciplined or terminated.
           Additionally, agencies should contact the state licensing boards or POSTs12 in the states where the
           officers previously worked to determine whether the officer had been disciplined.
           Forty-four state POSTs have the authority to revoke peace officer certification due to misconduct.
           In some states, there must be a criminal conviction in order to revoke; in others, certification may
           be revoked for misconduct after a hearing before an administrative law judge. Issues arise when
           an accused officer who has engaged in misconduct is either terminated or allowed to resign from
           his or her current agency, and that department does not report the reasons for the termination or
           resignation. The result is that the officer may be hired by another agency in the state that is unaware
           of the problems in the prior department. Also, these officers may seek employment in other states,
           which raises the problem of interstate movement of unfit officers. Currently, the International
           Association of Directors of Law Enforcement Standards and Training (IADLEST) operates the
           National Decertification Index (NDI). The NDI includes the names of officers who have been
           decertified. Currently only twenty-nine state POSTs contribute names to the NDI. All state POSTs
           may query the NDI, and POST directors may authorize law enforcement executives to query the
           NDI. Since the NDI only gathers information concerning de-certifications, information on discipline
           of a less serious nature, such as a suspension of the certificate, must be gathered by contacting the
           state POST directly. Some states, like Florida, publish quarterly the names of the officers and any
           disciplinary action taken by POST against the officer. This allows other jurisdictions to check the list
           before hiring an officer from Florida.

           Training
           Ethical considerations should be woven                                         “Training in ethics, integrity and
           into all aspects of training, education,
                                                                                           discretion should begin in the police
           policies, and procedures, along with law
           enforcement’s role in upholding civil rights.                                   academy and continue on a regular
           Initial academy instruction on the ethics of                                    basis until the officer retires.”
           appropriate conduct should be reinforced at
           in-service opportunities and training for new                                      —International Association of Chiefs of Police,
                                                                                           “Building Trust between the Police and the Citizens
           supervisors and field training officers (FTO).
                                                                                            they Serve: An Internal Affairs Promising Practices
           It is the responsibility of law enforcement                                         Guide for Law Enforcement,” Washington, DC,
           leadership to ensure that training, including                                     U.S. Department of Justice, Office of Community
           academy curricula, covers the definition of                                                 Oriented Policing Services, 2010, p. 11
           sexual misconduct to include criminal and non-
           criminal behavior. Department-specific training
           should cover a review of the policy, response to sexual misconduct, and information on behaviors that
           are prohibited by the policy. Discussions using hypothetical scenarios and role-playing exercises can help
           officers anticipate and think through situations that warrant an ethical response and understand when their
           responsibilities under agency policy come into play. The administration of pre- and post-training tests will
           help the agency gauge the increased knowledge and understanding imparted through the training.

           12   For the name of the licensing body or POST in any state, logon to www.iadlest.org.



8   A D D R E S S I N G S E X U A L O F F E N S E S A N D M I S C O N D U C T B Y L AW E N F O R C E M E N T
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Because FTOs help shape the character of individual officers, each FTO must receive in-depth training
on: (1) the agency policy, procedures, and discipline related to sexual misconduct; (2) indicators of sexual
misconduct; (3) how to support the department’s zero-tolerance stance on sexual misconduct; and (4)
how to respect boundaries and confront challenging circumstances that may be encountered on the job.
When under consideration for a promotion, an officer’s direct supervisor and the agency’s human
resources staff should be consulted for input. With supervisory positions, including Field Training,
newly promoted employees must receive training on: (1) the department’s sexual misconduct policy;
(2) guidelines for how to respond to sexual misconduct by employees;13 (3) criminal and civil liability
for the department and governing body; (4) public relations and protocol for dealing with the media;
and (5) criminal and administrative investigations.

Evaluations and Early Intervention Systems
Supervisors are in a unique position to detect warning signs and patterns of sexual misconduct by
officers. Specific training on indicators of sexual misconduct and strategies for effective oversight of
officer conduct should be provided to those with supervisory responsibilities. Consistent employee
reviews and follow-up are essential to monitoring behavior. However, if an officer is demonstrating
problematic behavior, the supervisor should not wait for the officer’s scheduled review to address
the situation. The supervisor must act immediately to address the behavior in question, offer support
and/or referrals, fully document the situation, and provide required notification up the chain of
command. Supervisors should periodically remind officers of their professional obligation to report
knowledge of sexual misconduct by a member of the department.
Since part of the authority with which law enforcement is entrusted involves access to systems
of information, supervisors should be tasked with monitoring officer access for non-professional,
personally-motivated reasons. Additionally, periodic audits of each officer’s traffic stops and final
call dispositions are essential for identifying problematic patterns. Random checks of department-
issued cell phones and computers should be built into oversight plans in accordance with contracts
governing officer rights. Agencies can incorporate into existing systems newly available software
designed to identify pornographic images on electronic devices, as feasible, and assign monitoring
responsibilities to internal investigations. Periodic reviews of personal information and pages on
social networking websites should be conducted to ensure nothing potentially compromising or
questionable is posted on the internet.
Early intervention systems are helpful for monitoring, identifying, and preventing problem behavior
and electronic communications (e.g., email, text messaging). These systems come in many forms,
but generally they collect, review, and analyze data on each officer, thereby enabling the identification
of troubling patterns of behavior or suspicious trends that might otherwise go undetected. Such was
the case in a midwestern state capital city where a police officer was disciplined and received special
training after a review of his traffic stops revealed that 89 percent over a four-month period were of
female drivers.14
When an officer demonstrates any inappropriate or suspicious behavior (see ten forms of sexual
misconduct and offenses, pp. 3-4), a psychological fitness-for-duty examination should be required
and arranged promptly. This is particularly important when the conduct does not rise to the level
of termination or criminal conduct but for which sufficient cause for concern exists. Examination
conclusions will need to be addressed in terms of the officer’s assignments and supervision.




13   Lonsway, “Preventing and Responding to Police Sexual Misconduct,” p. 3.
14   Walker and Irlbeck, “Driving While Female,” p. 3



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            Incidents and Investigations
            Any and all allegations or suspicions of
            sexual misconduct must be accepted
                                                           “[S]exual misconduct that is not
            by the designated authority within the
                                                             documented, investigated and
            agency and investigated in a timely
            fashion. Dispatchers along with all              adjudicated often escalates.”
            members of the department need specific                 —Lonsway, Kimberly A., “Preventing and
            direction and training on protocols for           Responding to Police Sexual Misconduct,” Law
            accepting, documenting, forwarding, and             and Order, Herndon Publishing Co., 2009, p. 2
            processing reports or complaints against
            an officer. Officers approached with
            complaints should be required by department policy to provide citizens with complaint forms,
            document the information received, and pass the complaint through proper channels.

            Reports or Complaints
            It is imperative to have procedures in place in order to effectively handle incident reports or complaints
            concerning officers. The process15 must be:
            1. comprehensive, where an agency investigates all complaints received, including those that are
               anonymous or from third parties;
            2. accessible, where the procedures for making a report or filing a complaint are streamlined and
               not burdensome to the individual complainant and information about the rights of law enforcement
               personnel and the public to file a complaint and the procedures for doing so are widely available;
            3. fair, where the officer accused of misconduct is treated respectfully and receives a detailed
               investigation into the allegation;
            4. thorough, where the investigation is complete enough to determine validity of complaints and
               identify and unfound those that are false; and
            5. transparent, where a formal process to accept complaints exists, and all personnel know how to
               handle a complaint.
            Once a report or complaint is received, it should be documented (preferably electronically) and protected in a
            secure file, apart from regular personnel records.16 Documentation and preservation of findings in personnel
            and internal affairs files, even with unfounded or exonerated outcomes, is necessary for future investigations
            in order to support the identification of patterns of behavior and progressive discipline as necessary.
            Having comprehensive cross-jurisdictional memoranda of understanding in place with surrounding
            agencies will ensure timely notification of an incident involving a department employee in another
            jurisdiction. It will also provide guidance to officers responding to reports involving employees from
            other departments, including provisions for notifying the employing agency.
            With transparency as a goal, the subject officer should be notified promptly of the complaint either in
            writing or by other means of communication unless the criminal investigation would prohibit it or be
            compromised. This notification should include the nature of the allegation, a copy of the complaint,
            and the name and contact information of the assigned investigator. The confidentiality of the victim’s
            information should be protected to the maximum extent possible by law and department policy. All
            parties who are interviewed, including witnesses, as part of the investigation should be cautioned
            about the potential for retaliation and instructed how to report such actions to the department.
            15 Adapted from the following: Commission on Accreditation for Law Enforcement Agencies’ (CALEA) Standard No. 52.1.1; CALEA Accreditation Stan-
            dard No. 52.1.4; Preventing and Responding to Community Corrections Based Sexual Abuse, p. 48; and IACP, “Building Trust between the Police and the
            Citizens they Serve,” p. 21.
            16   CALEA Accreditation Standard No. 52.1.2.

10   A D D R E S S I N G S E X U A L O F F E N S E S A N D M I S C O N D U C T B Y L AW E N F O R C E M E N T
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The Investigation
Complaints of officer sexual misconduct will be received directly or tracked into the Internal
Investigations Unit or to a member of the command staff who handles internal investigations. Upon
initial assessment, if it is evident that criminal allegations are involved, an immediate referral should
be made to the criminal investigations unit or lead criminal investigator.
Reports of incidents or crimes alleging officer sexual misconduct may come to the agency through
communications (e.g., 9-1-1 or non-emergency systems) and should result in immediate notification
of criminal investigations and internal investigations by the supervisor in charge.
All criminal cases will require an administrative investigation also be conducted. In order to preserve
the integrity of investigations, especially in high-profile cases, the chief may want to seek the
services of a neighboring department or state police to conduct either the administrative or criminal
investigation. The propriety of the investigation is less likely to be questioned when an outside
investigative agency is involved. The administrative and criminal investigations can be conducted
simultaneously as separate, parallel investigations. The agency leader should ensure a firewall is
maintained between the administrative and criminal investigations and that the accused officer’s
rights are upheld especially in accordance with Garrity v. New Jersey.17
The investigative process should be transparent to both the complainant and the accused officer. All
procedures should be victim-centered and include periodic updates, and uphold the accused officer’s
rights set forth in collective bargaining agreements. A member of the command staff should serve as
the principal point of contact for the complainant to share information and respond to questions.
Victims may be reluctant to report an incident and/or participate in the investigation for a variety of
reasons, including trauma of the incident; fear of not being believed; retaliation from the perpetrator
or other officers; and previous bad experiences with law enforcement. These same reasons
may account for why a victim recants or seeks to withdraw a complaint. A victim’s reluctance
to participate in an investigation is neither indicative of a false allegation nor reason to forego a
thorough investigation. A detailed investigation should uncover unethical or illegal conduct just as
it will reveal unfounded claims.
As part of the investigation, efforts should be made to identify and interview any additional victims.
Following the initial filing of criminal charges against the accused officer, an agency can seek to
identify additional victims through the use of media outlets. All subsequent reports of incidents will
require documentation and investigation.
The agency leader must monitor the investigation for signs of retaliation and harassment directed
against a complainant or an employee who reported knowledge of sexual misconduct, including abuse
of the complaint procedure and violations of confidentiality guidelines.18 Parties to the case must be
cautioned about the possibility of intimidation, retaliation, and/or coercion and advised on steps to take
to report such actions (e.g., immediate notification of the department, preservation of evidence). Within
a designated time period (usually after a few weeks and again after 60 days), the complainant should
be asked by the point of contact about any intimidation or retaliation. Victims should be provided with
information and referrals to the court to petition for orders of protection as needed.
If the accused officer is not placed on administrative leave pending the outcome of the administrative
and/or criminal investigations, the officer’s assignments should be considered carefully. In the event
of administrative leave, a transfer of the accused officer’s case knowledge will be important to the
continuation of official agency business. Arrangements should be undertaken to reassign the subject
officer’s cases.
Law enforcement executives have a range of administrative options and tools available to reduce
the likelihood of further sexual misconduct or retaliation. Employing these options in a consistent

17   385 U.S. 493 (1967).
18   Lonsway, “Preventing and Responding to Police Sexual Misconduct,” p. 8.


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            and timely manner is crucial to victim safety and community confidence, as well as the well-being of
            the officer and the efficient operation of the department. The executive should consider issuing an
            Administrative Order of Protection19 to support clear communication with the accused officer(s) and
            reinforce accountability.
            If an employee resigns during the investigation, the investigation must still be completed and
            decisions regarding the findings and administrative sanctions that would have otherwise been
            imposed should be documented in the employee’s personnel and internal affairs files.
            The agency leader should track the complaint through to its conclusion(s).

            Dispositions
            Affirming the findings of the investigations
            is the responsibility of the law enforcement
            executive. When an administrative                                            “Behavior that violates power, authority
            investigation is sustained, even if the                                       and ethical standards generally
            misconduct was not determined to have
                                                                                          associated with law enforcement
            been criminal or the criminal outcome has
            not yet been determined, the accused officer                                  undermines the criminal justice system
            should be informed in person and in writing                                   and betrays the public trust.”
            and offered the opportunity to respond to the
            administrative findings.                                                                                       —Timothy M. Maher,
                                                                                                      “Police Sexual Misconduct: Female Police
            Following the officer’s response to the                                                         Officers’Views Regarding its Nature
            administrative findings, the executive should                                             and Extent,” Woman and Criminal Justice,
            consider the full range of sanctions for the                                                    Vol. 20, Issue 3, 2010, pp. 263-282
            officer found to have violated department
            policy. Before deciding how to address the
            issue with the officer, an examination of human resource policies, state and local laws, and collective
            bargaining agreements that may be in effect should ensure compliance with legal and contractual rights.
            It is important to understand in determining discipline that the confidence in the officer may have been
            severely compromised by a violation of department policy and, therefore, termination may be the most
            appropriate option. Disciplinary decisions should be communicated to the officer in person and in writing.
            When an allegation of sexual misconduct is sustained but termination is not warranted, demotions,
            re-assignment, and/or unpaid leave are possible administrative sanctions the law enforcement
            executive can impose. Sanctions should be severe enough to reinforce the agency’s zero-tolerance
            position. Discipline short of termination should include a warning of termination for any subsequent
            misconduct and be referenced in writing as part of an employee’s regularly scheduled review.
            Criminal investigation findings should conform to one of the following determinations in keeping with
            the FBI’s Uniform Crime Report:
            1. Unfounded: the allegation was investigated and found devoid of fact or false;
            2. Exonerated: the act occurred but was lawful and consistent with policy;
            3. Not sustained: the evidence was insufficient to either prove or disprove the allegation; or
            4. Sustained: the evidence was sufficient to prove the allegation.
            Once a finding concerning the criminal investigation is reached, the agency leader or designated
            principal point of contact should ensure the complainant is notified. The accused officer should be
            notified in writing.20 If the criminal allegation is upheld through the investigation, the prosecutor will
            need to be consulted concerning charging actions.
            19 Valle, Glenn, Chief Counsel, New York State Police, Albany, NY, “Administrative Orders of Protection: A Chief’s Best Tool for Victim Safety”, The
            Police Chief Magazine, November 2000, http://www.theiacp.org/LinkClick.aspx?fileticket=RNf31dIKLFk%3d&tabid=372
            20   CALEA Standard 52.2.8.


12   A D D R E S S I N G S E X U A L O F F E N S E S A N D M I S C O N D U C T B Y L AW E N F O R C E M E N T
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Any officer who has been found guilty of committing a sexual offense must be terminated
immediately. In the event of a termination, the officer should be notified by the executive in person
and in writing. Because of the heightened risk for violence at the point of termination, the department
should ensure a lethality assessment is conducted and adequate precautions taken to protect
against violence in the workplace or retaliatory violence against those who reported the allegations.
It is critical that the officer be given information and referrals on available support services.
Some states may require reporting to the state licensing board or POST even when the officer is not
terminated but has resigned or been given discipline short of termination. To prevent the officer from
continuing in law enforcement, the state licensing board or POST should be notified promptly about
the officer’s termination to pursue decertification, as applicable.21

Victims
All levels of law enforcement should treat
anyone who alleges sexual misconduct with
                                                                                “I feel that I have been given a life
professionalism and dignity. From the onset,
it is essential that citizens making reports                                     sentence... I frequently have intrusive
or filing complaints are shown respect                                           memories of the assault... I cringe every
and their allegations are taken seriously                                        time I see… a male officer in uniform, or
throughout the investigative process. The                                        a law enforcement vehicle. I am not the
way an agency receives and responds to
each complaint or report will impact the                                         same person I was before the assault
willingness of other crime victims to come                                       and I might never be that person again.”
forward and will be noted by members of the
                                                                                    —Survivor of Sexual Assault by Law Enforcement
department.
The reasons why authority figures may
engage in inappropriate and sometimes criminal behavior are varied, and each case is unique.
Predators select victims based on vulnerabilities and a perceived lack of credibility, and therefore,
victimization is often higher among certain populations including: (1) minors; (2) individuals in
prostitution and/or the commercial sex industry; (3) individuals under the influence of drugs or alcohol;
(4) immigrants and undocumented persons; (5) individuals with limited English proficiency; (6) people
with mental illness or developmental challenges; (7) individuals with physical disabilities; and (8)
those who have been victimized previously. Agencies should not query the criminal history of the
complainant, and references about the complainant’s criminal history should not be included in internal
agency reports.
It is important to note that although a majority of the victims are female, men and boys are also
victimized. Some victims of sexual offenses may not view themselves as victims. Conduct that a
victim may deem to be flattering attention or empathetic concern may be inappropriate, nonetheless.
A 16-year-old in an Explorer Program may not think that a “romantic relationship” with the 25-year-
old sworn officer who oversees the program is inappropriate. Whether or not a minor feels that the
interaction is consensual, a state’s statutory rape laws may make any sexual contact illegal. A victim
who is compromised due to alcohol, drugs, mental illness, or disability may under state law be unable
to give consent for sexual contact. In every case, the investigator must actively attempt to engage
the victim in the investigation and offer contacts and referrals for services available in the community.
It should also be recommended to a victim that an order of protection be sought from the court if
safety concerns exist.
The law enforcement executive should designate a principal point of contact to address the needs
and concerns of the victim. These include: (1) Safety: law enforcement must protect victims from
intimidation and educate them on how to decrease their likelihood of re-victimization; (2) Support:
law enforcement must ensure that victims receive current and accurate referral information about
victims’ services; (3) Information: law enforcement must provide victims with information about their
21   For more information about POSTs or decertification, see Resources section of this publication.


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            rights, the criminal justice process, and resources available to them; (4) Access: law enforcement
            agencies must ensure that information is readily available in languages that represent the
            populations in the community and attend to the special needs and circumstances of various victims;
            (5) Continuity: law enforcement must have sustained partnerships with victim service providers
            and allied criminal justice professionals; (6) Voice: law enforcement must empower victims by
            encouraging a dialogue with them; and (7) Justice: law enforcement must work in the best interests
            of victims to protect their safety and rights.22
            The zero-tolerance sexual offense policy should set forth clear guidelines of how to support victims
            and provide a setting/environment in which a victim can feel safe reporting the victimization. Some
            victims have reported that although his or her complaint was taken by a compassionate officer, the
            environment of the cubicle in which the information was taken was uncomfortable due to the close
            proximity of others or the presence of pornographic images. Another victim complained that while
            she was being taken into custody and handcuffed, she was asked out on a date by a member of the
            department. A good example of how to educate officers in these and other important areas is the
            “Tools for Tolerance for Law Enforcement” (Simon Wiesenthal Center- www.toolsfortolerance.com)
            curriculum which is designed to train officers on how to deliver a more effective level of service to
            members of the public. Awareness training such as TTLE enables law enforcement to identify and
            address problems before they may become criminal in nature. Nonetheless, in order to establish an
            environment in which a victim feels secure enough to report mistreatment, law enforcement should
            receive ethics and sensitivity training as a matter of course.



            Collaboration
            Criminal Justice System Collaboration
            Collaboration among criminal justice system partners and allied professionals is of utmost
            importance. Following the adoption of a policy to address sexual misconduct, agency leaders
            should reach out to prosecutors and victim assistance personnel to inform them of the agency’s
            position of zero tolerance and plan for responding to reported incidents and complaints.
            One of the most important criminal justice partnerships is between law enforcement and victim assistance
            representatives who work within the criminal justice system. These representatives can include victim-
            witness coordinators, victim advocates, or department-based victim service personnel. Although
            department advocates cannot provide confidentiality to victims because they are required to discuss
            relevant information obtained from the victims with investigators, these advocates can provide much
            needed services to victims by guiding them through the maze of the criminal justice system, securing
            resources they need, and providing counseling referrals. Specifically, the department’s victim advocates
            not only help victims navigate the process of filing a complaint and ensure follow-up, but they can also
            act as liaisons between victims and the agency and educate officers about the impact of trauma on crime
            victims. Departments that cannot afford to employ advocates should work closely with community-based
            victim service agencies.
            Additionally, during any criminal investigation of an officer, the agency should appoint a liaison to
            work closely with the prosecutor’s office and follow processes established for working on any high-
            profile case (see p. 11 for cross-jurisdictional assistance with case investigation).




            22 IACP, “Enhancing Law Enforcement Response to Victims: A 21st Century Strategy,” Washington, DC, U.S. Department of Justice, Office for Vic-
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14   A D D R E S S I N G S E X U A L O F F E N S E S A N D M I S C O N D U C T B Y L AW E N F O R C E M E N T
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Community Collaboration
Once a policy has been implemented, law enforcement leadership should support continuous
dialogue and working relationships with victim service agencies in order to promote an understanding
of the department’s zero-tolerance position. Collaboration with victim service agencies in the
community can encourage the reporting of incidents. Victim advocates need to know that the
department takes allegations seriously and wants to receive information about any incidents or
offenses, with the consent of the victim, even if communicated through a third party.
Although confidentiality laws may prohibit the sharing of information, community-based advocates
can provide long-term counseling and support for victims, as necessary. When working with
these advocates, whether or not a department has its own victim advocates, it is recommended
that the department establish a memorandum of understanding with each organization to which it
subsequently refers victims.
Law enforcement personnel and allied professionals should seek opportunities for cross training
and other types of information exchanges. For example, prosecutors, sworn personnel, and victim
advocates should participate in one another’s specialized trainings (e.g., statewide conferences) and
meetings (e.g., roll calls) to obtain a broader perspective on the issues of sexual assault, harassment,
and misconduct. Additionally, they should spend time with one another on their respective “turfs.” In
order to understand the intense nature of police work, victim advocates should accompany officers on
ride-alongs. In turn, officers can use this extended time with the advocate to obtain information about
the advocate’s role in assisting victims. When possible, officers should be involved in training victim
service agency staff and volunteers, and they should be included in the drafting of a department’s
position and policy addressing sexual misconduct.
To get out the message that a law enforcement department takes incidents of sexual misconduct
seriously and encourages those with information about offenses to come forward, agency leaders
need to actively engage the community. Law enforcement leaders should build awareness of the
department’s policy and zero-tolerance position, including the posting of the policy on the agency’s
website. Information shared should include the methods and procedures for reporting an incident and
filing a complaint (see pg. 10). Proactive outreach can happen through multiple avenues, including
citizen academies, town hall meetings, and public relations efforts. These efforts at transparency
will not only combat inappropriate behavior but also contribute to building community trust and
confidence.



Conclusion
Members of law enforcement are in a unique
and visible position in the communities they
serve. They are entrusted with the authority                 “Along with effective supervision,
to enforce laws and protect citizens’                         agency guidelines can reinforce
civil rights. Central to the executive’s
responsibility to the community is the                        standards of conduct and
proactive enforcement of ethical standards                    accountability and provide
of conduct and officer accountability.                        necessary safeguards.”
Leaders must establish zero-tolerance
policies to address and prevent sexual                           —Major Charles J. Skurkis, Pennsylvania
misconduct and reinforce the expectation                             State Police, PA Director, Bureau of
of integrity through meaningful training and                        Integrity and Professional Standards
effective supervision.




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Police Ethics,Association
International  Chapter Twoof of the Police
                             Chiefs        Chiefs
                                     of Police,   Desk
                                                Police   Reference,
                                                       Ethics        , can be and
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www.iadlest.org

National Decertification Index (NDI)
https://www.pocis.net/NDI/default.php

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IACP Tools and Policies
Sexual Assault Incident Reports: Investigative Strategies
http://www.theiacp.org/LinkClick.aspx?fileticket=PxEJMvQbU7c%3d&tabid=392

Sexual Assault Supplemental Report Form
http://www.theiacp.org/LinkClick.aspx?fileticket=CHt0qVEWYus%3d&tabid=392

Sexual Assault Model Policy
http://www.theiacp.org/tabid/299/Default.aspx?id=1133&v=1

Domestic Violence by Police Officers Model Policy
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Enhancing Law Enforcement Response to Victims: A 21st Century Strategy
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                          International Association
                              of Chiefs of Police
                           515 North Washington Street
                            Alexandria, VA 22314-2357
                                 www.theiacp.org

                                Published June 2011
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                                                                         1

                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

                                   + + + + +

       _______________________
                              :
       IN THE MATTER OF:      :
                              :
       JAQUIA BUIE,           :
                              :
                   Plaintiff, :
                              : C.A. No.
            v.                : 1:16-CV-01920
                              :
       DISTRICT OF COLUMBIA, :
       et al.,                :
                              :
                   Defendants.:
                              :
       _______________________:

                     Monday,
                     May 7, 2018

                     Washington, D.C.


       DEPOSITION OF:

                                SHENITA BUIE

       called for examination by Counsel for the

       Defendant, pursuant to Notice of Subpoena, in the

       D.C. Office of the Attorney General, located at

       441 4th Street, NW, Suite 630 South, Washington,

       D.C., when were present on behalf of the

       respective parties:



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                                                                         2

       APPEARANCES:

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1          to the church that -- for spiritual guidance, to

2          be able to worship, to be around goodness.              To be

3          around good people.      So, I can recall Darrell

4          asking, had my daughter made a decision on what

5          she wanted to do after high school.

6                       So, you know, I trusted this guy, and

7          I wanted him -- I wanted all the help that I

8          could get to make my children -- to make my

9          daughter better, to get her mind focused on what

10         she could do as far as becoming an adult, to be

11         self-sufficient for herself.

12                      I -- good gracious.            Mmm.   I think she

13         was considering becoming a police officer.              You

14         know, everybody bragging on this guy.              He was

15         such a good guy.     Supposed to be such a standup

16         guy, a pastor, you know, a husband, you know,

17         somebody that's going good for their mom.

18                      I'm thanking God for this guy, for him

19         to be able to say, you know, this is what you --

20         put my baby on the right -- in the right

21         direction.   And, you know, after all of the

22         commo- -- all of everything -- all of that, she



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                                                                               65

1          no longer wanted to become a police officer,

2          needless to say.        So, he messed that one up.

3                     Q    So, before you put -- before you went

4          to him to, like you said --

5                     A    I didn't go to him.           I didn't go to

6          him.       He came to me.

7                     Q    He came to you.         Okay.

8                     A    He asked me,       you know, what did my

9          daughter want to do after high school.

10                    Q    Okay.   Before that point where he

11         approached you, had Jaquia talked about becoming

12         a police officer?

13                    A    Yeah, she had talked about it.

14                    Q    Okay.

15                    A    She talked about it.

16                    Q    Had she taken any steps towards

17         pursuing it?

18                    A    As far as I know, no steps had been

19         taken for pursuing it.          After the ordeal, she no

20         longer wanted to do anything that dealt with

21         police officer.

22                    Q    Okay.   When she did talk about it,



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                                                                                     89

1                     A   He's never preached about him being a

2          police officer that I can recall.                  Never.

3                     Q   Okay.    And you said that he -- you

4          never went to the police any of the -- any police

5          station or police building --

6                     A   No.

7                     Q   -- with Best?

8                     A   I've never.

9                     Q   And outside of Jaquia, do you know of

10         him taking anyone else?

11                    A   No, I haven't.

12                    Q   Okay.

13                    A   Uh-uh, I don't.

14                    Q   And what about riding in the Dodge

15         Avenger that you -- I mean, not the -- the Dodge

16         car that you mentioned before?               Do you know of

17         anyone riding in that vehicle?

18                    A   Never.     Uh-uh.

19                    Q   So, you never saw the inside of that

20         vehicle.

21                    A   Never.

22                    Q   And so, we were talking earlier



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1          guidance in life, because she has me.                This was

2          about her future.       You know, what she wanted to

3          do after high school.        This is what this came

4          down to, about, you know, what she wanted to do

5          with her future, you know, after high school.

6                     Q   So, had she gone to him and mentioned,

7          you know, I really was interes- --

8                     A   Never.    Never.

9                     Q   Well --

10                    A   He came to me.

11                    Q   No no no.     I was going to say --

12                    A   Good gracious.

13                    Q   No, I wasn't -- I think you

14         misinterpreted where I was going.                I was going to

15         say, did you want him to talk to her solely about

16         potentially becoming a police officer?               Or did

17         you want him to talk to her about career options

18         in general?

19                    A   Career options in general, what she

20         wanted to do with her life.           How she wanted to

21         pursue her dreams after high school.

22                    Q   Okay.    And is it safe to say that had



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                                                                                    94

1          you not developed this rapport with Best to the

2          point where you considered him family, that you

3          wouldn't have allowed him and Jaquia to meet?

4                     A      What I can say is -- I can't say that.

5          I can't say that.        What I can say is, is what

6          happened.        I went to this church.              I became

7          leadership in this church.             Darrell Best is

8          family.        And some of the church members were

9          people that I trusted.

10                          So, for him and the positive light

11         that I've seen through him, I trusted -- I

12         trusted him -- I trusted him.

13                    Q     Okay.   And so, they're at -- so

14         Jaquia -- Best approached you about Jaquia.                     And

15         how does the -- can you walk me through how the

16         meeting ended up -- how the plans for the meeting

17         came about?

18                    A     So, he addressed me.               He asked --

19         well, it started with, you know, awards and

20         things in church.        And, you know, some of the

21         other kids were -- some of the kids were getting

22         awards.        He approached me and asked me what was



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                                                                                 95

1          Jaquia going to be doing after high school.

2                           And I said, well, you know, she's

3          undecided.       And he was like, well -- he had been

4          talking about going out to lunch or brunch, and

5          he was like, well, maybe I'll take her to lunch

6          of brunch, you know.         He was like, but you know

7          how everybody else is in the church.                 You can't

8          really say anything.         You know what I mean?

9                           I'm like, oh, okay, you know.            I'll

10         take her and talk to her.            This was over a period

11         of months -- maybe three or four months.                It

12         never happened until it happened.

13                         And, I'll talk to her.             He says, I'll

14         talk to her.      I'll find out what she wants to do.

15         And that was that.        And then this.

16                    Q    So, how did the -- who planned the

17         meeting?       Did Jaquia and Best get in contact with

18         each other without you?           Or did you -- did --

19         were the date and time selected through you?

20                    A    Okay, so the date and time was not

21         selected through me, because it was on his work

22         schedule.      However his work schedule was supposed



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                                                                              96

1          to be is what happened.           I was okay with Darrell

2          planning -- I was okay with him planning it out.

3          I was okay with that.          And that's what was done.

4                     Q     Okay.    And so you felt completely

5          comfortable with him?

6                     A     I -- yes, I did.         I felt completely

7          comfortable.

8                     Q     Okay.    And so, were the two of them

9          communicating by phone, email, do you know?

10                    A    That -- that I don't recall.         I don't

11         recall how it was set up, but I do know when it

12         was set up, I did know it was going to be at

13         Georgia Brown's.         She going to, I believe,

14         archives, and from archives I think he may have

15         picked her up and was going to go on to Georgia

16         Brown's.       That is all I know as far as

17         communication on how it was supposed to have

18         been, you know, set up.

19                    Q    Okay.    Were you ever supposed to join

20         them?

21                    A    Never.    I wasn't supposed to join.

22                    Q    Okay.    And after -- well, when Jaquia



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1          and that he pulls up in, I think, the parking

2          garage, or wherever you have to go to park the

3          car.       And, you know, she said, well I'll just sit

4          here until you get back.

5                          She told me, she said, I'll just sit

6          here until you get back.           And he was like, no.

7          You got to come in.        Something to that effect.

8          So, she said she ended up going in.                 She tells me

9          that she was walking past this, I guess, door or

10         whatever, to get into the building.                And she --

11         it was this security camera or something.

12                         She said she was really scared, she

13         didn't know what he was going to do.                She wanted

14         to make sure that the security camera got a

15         picture of her face if anything happened.

16                         And they ended up going into a

17         building or -- like some type of secure building.

18         It was folks still there, and he was telling her,

19         shhh, don't say nothing, be quiet.                 He put his

20         hand over her mouth, or something like that.

21                         He tried to make pa- -- they went into

22         a dark room, he tried to make passes at her,



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 GENERAL ORDER                                                  Subject
                                                                Disciplinary Procedures and
                                                                Processes
                                                                Topic                    Series                   Number
                                                                PER                      120                      21
                                                                Effective Date
                                                                April 13, 2006
                                                                Replaces:
                                                                General Order 1202.1 (Disciplinary
 DISTRICT OF COLUMBIA                                           Procedures and Processes) Effective
                                                                Date November 10, 1983

      I.     Background…….……………........      Page   1   V.      Regulations........................................   Page   5
      II.    Policy..……………………............    Page   1   VI.     Procedural Guidelines........................         Page   6
      III.   Definitions. ………………..….......   Page   2   VII.    Cross References...............................       Page   19
      IV.    Rules..………………………….....          Page   4   VIII.   Attachments........................................   Page   20


I.           BACKGROUND

             The purpose of this order is to establish policies, rules and procedures for handling
             discipline relating to the alleged misconduct of sworn members in a manner that is
             consistent with the mission of the Department, applicable labor agreements, and
             District of Columbia law concerning disciplinary appeals. Any provision for the review
             of corrective and adverse actions negotiated between the Department and the labor
             organization shall take precedence over the provisions of the D.C. Comprehensive
             Merit Personnel Act for members in the collective bargaining unit, to the extent that
             there is a difference. This order does not apply to the disciplinary process relating to
             civilian members.

II.          POLICY

             The policy of the Metropolitan Police Department is that members shall be subject to
             disciplinary action for cause. The Department recognizes the distinction between
             those misconduct matters that warrant a serious disciplinary response at the
             Department level, and those types of misconduct that may be handled effectively at
             the assigned element, and that permit non-disciplinary action or performance
             improvement action.

             Discipline shall be prompt, consistent, fair, and equitable, and the Department shall
             utilize progressive discipline as appropriate. Members shall have the opportunity to
             present a response, or a defense, and to appeal disciplinary actions. (CALEA
             26.1.1)




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III.      DEFINITIONS

          When used in this directive, the following terms shall have the meanings designated:

                1.     Adverse Action – Any fine, suspension, removal from service, or any
                       reduction in rank or pay of any member who is not serving a
                       probationary period.

                2.     Cause – (see D.C. Personnel Regulations, Section 1603 [Final
                       Rulemaking, pursuant to D.C. Official Code § 1-616.5, published in the
                       D.C. Register on Sept. 10, 1999])

                       a.     A conviction (including a plea of nolo contendere) of a felony;

                       b.     A conviction (including a plea of nolo contendere) of any crime
                              (regardless of punishment). No relationship need be established
                              between the crime, and the member’s position in the case of
                              sworn members of the Department;

                       c.     Any act or omission, whether occurring on or off duty, which
                              constitutes a criminal offense, whether or not such act or
                              omission results in a conviction;

                       d.     Any credible evidence of use of an illegal drug or
                              unauthorized use or abuse of prescription drugs,
                              including without limitation, the results of any drug test;

                       e.     Any knowing or negligent material misrepresentation on an
                              employment application or other document given to a
                              government agency;

                       f.     Any on-duty or employment-related act or omission that the
                              member knew, or should reasonably have known, is a violation
                              of law;

                       g.     Any on-duty or employment-related act or omission that
                              interferes with the efficiency, or integrity, of government
                              operations;

                       h.     Any other on-duty or employment-related reason for corrective
                              or adverse action that is not arbitrary and capricious.

                The definition of cause includes, without limitation:

                       i.     Unauthorized Absence – The absence from duty without
                              authorized leave;




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                j.    Negligence – Performing a job duty or responsibility in a manner
                      that demonstrates that the member is not using due care or
                      prudence in carrying out job responsibilities. A member engages
                      in negligent conduct if the conduct falls below the standards
                      established by the element, and can include such actions as
                      inadvertence, thoughtlessness and inattention;

                k.    Incompetence – The lack of ability, legal qualification, or fitness
                      to discharge a required duty;

                l.    Insubordination – The failure to obey directives or orders issued
                      from a supervisory official, or showing disrespect to a
                      supervisory official;

                m.    Misfeasance – The improper performance of a duty or
                      responsibility that is within the scope of duties of the member
                      and duties that the member is lawfully able to perform;

                n.    Malfeasance – The performance of a duty or act that the
                      member is not authorized to perform, and is not in the scope of
                      duties or responsibilities of the member; or

                o.    Unreasonable failure to assist a fellow government employee in
                      performing his or her official duties; or

                p.    Unreasonable failure to give assistance to a member of the
                      public seeking services, or information from the government.

          3.    Collective Bargaining Agreement (CBA) – The agreement entered into
                between the Metropolitan Police Department and the Fraternal Order
                of Police/Metropolitan Police Department Labor Committee.

          4.    Commander or Commanding Officer – In this directive, includes civilian
                directors and supervisors when supervising sworn personnel.

          5.    Commander’s Resolution Conference – A face-to-face meeting between
                the Commanding Officer, or the Director, Disciplinary Review Division
                (DDRD), and the subject member in cases where the proposed penalty
                does not exceed a fine or suspension of ten (10) days.

          6.    Conviction – Includes conviction of a member in any court of
                competent jurisdiction of any criminal or quasi-criminal offense, or any
                offense in which the member either pleads guilty, receives a verdict of
                guilty, or a conviction following a plea of nolo contendere.

          7.    Corrective Action – A PD Form 750 (Dereliction Report), a letter of
                prejudice, or an official reprimand.



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              8.     Disciplinary Action – A Corrective Action or Adverse Action taken
                     against a member.

              9.     Hearing Tribunal – In this directive, the term “tribunal” includes Trial
                     Boards as defined in D.C. Official Code § 5-133.06 (Trial Boards),
                     Adverse Action Panels, and Department Hearing Panels as
                     contemplated by the FOP/MPD Collective Bargaining Agreement.

              10.    Letter of Prejudice – A written notice to a member outlining specific
                     misconduct and warning of future disciplinary action, considered as
                     corrective action.

              11.    Officials – Sworn members the rank of sergeant or above, and civilian
                     equivalents who supervise sworn and/or civilian members.

              12.    Official Reprimand – A Commanding Officer’s formal written censure
                     for specific misconduct.

              13.    PD Form 750 (Dereliction Report) – A written notice used to cite
                     members for misconduct as determined by their Commanding Officers.

              14.    Rehabilitation – The ability of a member to recover from the
                     misconduct to perform all of the essential functions of the job of police
                     officer.

              15.    Suspension – A temporary cessation of pay and police authority, with
                     or without a definite date of restoration.

              16.    Termination or Removal – Dismissal from the Metropolitan Police
                     Department for cause in accordance with due process.

IV.      RULES

         A.   The Chief of Police is the designated final authority with respect to discipline.
              Such authority may be delegated.

         B.   The Chief of Police shall review and decide all appeals of disciplinary actions.
              The decision of the Chief of Police, or his/her designee, on appeals of
              Corrective Actions shall be the final administrative review of these actions.

         C.   All disciplinary actions are subject to the provisions of GO-PER-201.22 (Fire
              and Police Disciplinary Action Procedure Act of 2004), which sets forth the
              internal timelines governing the handling and commencement of Corrective
              Action or Adverse Action against sworn or civilian members of the
              Department in order to comply with the 90-day requirement as set forth in
              D.C. Official Code § 5-1031.




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V.      REGULATIONS

        A.   Members shall immediately notify supervisors upon observing, or becoming
             aware of, an alleged violation of Department policies, laws, rules, regulations,
             or directives. Supervisors shall immediately initiate a preliminary investigation
             by assigning a member not directly involved, obtain Incident Summary (IS)
             numbers when appropriate, and thereafter shall perform the duties, and
             assume the obligations, of their rank or grade as related to the investigation.
             (CALEA 26.1.5)

        B.   All Officers (including supervisors and managers who learn of evidence of
             possible misconduct through their review of an Officer’s work) shall notify the
             Office of Professional Responsibility (OPR) within one hour of any conduct by
             other Officers that reasonably appears to constitute any of the following:

             1.     An excessive use of force, or improper threat of force;

             2.     A false arrest, or filing of false charges;

             3.     An unlawful search or seizure;

             4.     Unlawful discrimination;

             5.     An intentional failure to complete use of force reports required by MPD
                    policies, and in accordance with procedures;

             6.     An act of retaliation for complying with any MPD policy and procedures;

             7.     An intentional provision of false information in an MPD or Office of Police
                    Complaints (OPC) investigation, or in any official report, log, or electronic
                    transmittal of information.

        C.   Members shall cooperate fully with any member of the Department
             conducting misconduct investigations.

        D.   The Assistant Chief, OPR, in coordination with the Assistant Chief, Office of
             Human Services (OHS), shall investigate and propose discipline as appropriate.
             The Chief of Police is the final decision maker on all discipline, and may modify
             a penalty in his sole discretion.

        E.   The procedures for Adverse Action do not apply to allegations of
             unsatisfactory performance or misconduct on the part of probationary
             members. Allegations involving probationary members shall be handled in
             accordance with the applicable provisions in General Order 201.7 (Review
             Boards).




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         F.   Sustained allegations of misconduct against at-will members that may result
              in suspension or termination of the member’s contract shall be forwarded to
              the Chief of Police for determination.

         G.   Except where a less restrictive standard is provided by statute, or other
              provision of law, members not covered by collective bargaining, to include
              Senior Police Officers, may only receive Corrective Action or Adverse Action
              for cause, and shall be subject to the same procedures and penalties
              prescribed in this directive so far as is applicable, or as determined by the
              Chief of Police.

         H.   Allegations of unsatisfactory performance or misconduct involving
              probationary members shall be handled in accordance with General Order
              201.7 (Review Boards).

         I.   All disciplinary actions shall be tracked and recorded by OPR.

         J.   All copies of signed and served notices involving corrective action that does not
              require IS numbers shall be sent to OPR. (CALEA 35.1.15 and 26.1.8)

         K.   Non-disciplinary action or performance improvement action shall be
              conducted in accordance with GO-PER-201.20 (Performance Management
              System [PMS] for Sworn Members in the Rank/Position of Civil Service
              Sergeant, Investigative Personnel, and Officer).

         L.   Every member of the Department shall familiarize himself/herself with all
              policies, laws, rules, regulations, and directives governing the Department
              before the completion of recruit training, and shall maintain familiarity,
              throughout their employment, with all updates and revisions as they are
              disseminated.

         M.   All investigative reports received from the OPC recommending disciplinary
              action shall be processed in accordance with General Order 1202.5 (Citizen
              Complaints), and this order.

         N.   Civilian directors and supervisors shall have the same disciplinary authority
              as equivalent Commanders and sworn officials when supervising sworn
              personnel. (CALEA 11.3.1)

         O.   The provisions in this order are not applicable to members of the Reserve
              Corps, or to civilian members of the Department.

VI.      PROCEDURAL GUIDELINES

         A.   General

              1.     The Table of Offenses and Penalties (Attachment A) is provided as a
                     guide for the administration of consistent disciplinary measures.


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          2.    The Department shall thoroughly and objectively investigate all
                allegations of misconduct.

          3.    Disciplinary action shall be taken in a manner, and at a level,
                appropriate with the member’s past record, and the seriousness of the
                offense.

          4.    Appropriate consideration may be given to aggravating or mitigating
                circumstances that, when weighed, would require discipline at a
                different level.

          5.    Determination of misconduct charges shall be based upon a
                preponderance of the evidence.

          6.    Members who are being investigated for misconduct charges shall be
                provided with the charges and specifications that pertain to their case
                at the time of their interview. This does not preclude the possibility that
                additional charges and specifications may be discovered and added
                during the course of the investigation.

          7.    Subject to compliance with applicable terms and conditions of the
                existing CBA, the MPD shall employ Corrective Action, or Adverse
                Action, in response to misconduct by members of the Department.

     B.   Corrective Action

          1.    Corrective Action is unit-level discipline.

          2.    Commanding Officers/Directors may issue corrective action as
                described in Section VI.(C-E) of this directive. In general, progressive
                discipline for a corrective action ranges from the administration of a PD
                Form 750, to a Letter of Prejudice, to an Official Reprimand
                (Attachments B and C to this General Order provide templates for the
                Letters of Prejudice and Official Reprimand). (CALEA 26.1.5)

          3.    When an Official Reprimand is under consideration, the Commanding
                Officer/Director must interview the offending member, and consider
                his/her comments for mitigation.

          4.    After reviewing the investigative summary, Commanding
                Officers/Directors (upon consideration and articulation of appropriate
                mitigating or aggravating factors) shall decide the appropriate level of
                action, and issue such action over their signatures.

          5.    An employee covered by the CBA, against whom corrective action is
                taken, has the right to appeal the action to the Chief of Police as
                provided in the CBA. The decision of the Chief of Police will not be
                subject to further appeal, or arbitration. (CALEA 26.1.6)


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          6.    Commanders and Directors shall forward to the DDRD copies of all
                corrective actions (Official Reprimands, Letters of Prejudice, or PD
                Form 750s) at the time any such corrective action is issued.

          7.    Records of Corrective Actions shall be sent to OPR and retained in the
                cited member’s element personnel folder for a period of three (3) years
                after issuance. Upon application by the member, the records may be
                ordered removed by the member’s Commanding Officer/Director,
                Assistant Chief, or the Chief of Police. (CALEA 26.1.8)

     C.   PD Form 750 (Dereliction Report)

          1.    The PD Form 750 is used as a record of derelict performance in
                matters that have not reached a serious level of concern or impact, but
                which need to be brought to the attention of the member so that
                conduct can be modified to avoid future problems.

          2.    The PD Form 750 shall:

                a.    Describe the specific violation(s);

                b.    Identify measures needed to correct deficiencies; and

                c.    Include a statement that such action may be:

                      (1)    Considered in performance evaluations; and

                      (2)    Considered in deciding greater degrees of disciplinary
                             action.

          3.    Unless otherwise directed by the Chief of Police, some appropriate
                uses of the PD Form 750 may include, but are not limited to, the first
                instances of the following:

                a.    Lateness appearing for an assignment;

                b.    Failure to appear for an assignment;

                c.    Court-related derelictions;

                d.    Minor crash-related derelictions; or

                e.    Uniform or equipment deficiencies.




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     D.   Letter of Prejudice (CALEA 26.1.4)

          1.    A Letter of Prejudice is a written notice to a member outlining the
                specific misconduct, and future consequences.

                Letters of Prejudice shall include a notice outlining:

                a.     Additional supervision;

                b.     Counseling; (CALEA 26.1.4-b)

                c.     Training; (CALEA 26.1.4-a)

                d.     Professional assistance; and

                e.     A statement that such action shall:

                       (1)     Be considered in performance evaluations;

                       (2)     Be considered in deciding greater degrees of disciplinary
                               action; and

                       (3)     Be used as a basis for an official reprimand, or adverse
                               action for any similar infraction within a two-year period.

          2.    Commanding Officers/Directors shall issue a Letter of Prejudice when
                the following criteria exist:

                a.     The infraction is such that it does not have a serious impact on
                       the image, reputation, or efficiency of the Department, yet tends
                       to have a serious effect upon the supervisor’s confidence in the
                       member’s ability to perform assigned duties;

                b.     Repeated or continued infractions may have a serious impact
                       upon the image, reputation, or efficiency of the Department;

                c.     There is a positive potential for the member’s rehabilitation.

     E.   Official Reprimand

          1.    An Official Reprimand is a Commanding Officer/Director’s formal
                written censure for specific misconduct. (CALEA 26.1.4-c)

          2.    An Official Reprimand shall be considered in performance evaluations
                and personnel assignment decisions, and in deciding greater degrees
                of disciplinary action for offenses committed within a three-year period.




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          3.    Receipt of three Official Reprimands within a two-year period shall
                subject the member to an unsatisfactory performance-of-duty rating at
                his/her next rating period.

          4.    Commanding Officers/Directors shall issue an Official Reprimand when
                the following criteria exist:

                a.     The violation is such that it could have a serious impact upon
                       the image, reputation, or efficiency of the Department;

                b.     The violation is such that it has a serious impact upon the
                       supervisor’s confidence in the member’s ability to perform
                       assigned duties;

                c.     There is a positive potential for the member’s rehabilitation.

     F.   Commander’s Resolution Conference

          1.    The Commanding Officer/Director shall attempt to resolve a
                disciplinary matter during a Commander’s Resolution Conference with
                an affected member and his/her Union representative, unless the
                member voluntarily waives representation. Once notified, and prior to
                the conference, the member may, during the day-work tour, review the
                investigative report of the incident that resulted in the proposal that is
                the subject of the conference.

          2.    Transfer, reassignment, change of days off, and nontraditional
                remedies that include, but are not limited to, community service,
                counseling, training, professional assistance, etc., may be employed
                when voluntarily agreed to by a member during a Commander’s
                Resolution Conference.

          3.    If discipline is recommended by OPC, or by a Commander/Director
                other than the one to whom the member is permanently assigned, the
                Commander’s Resolution Conference shall be held with the DDRD.

          4.    Members facing suspensions may request to forfeit accrued annual
                leave or compensatory time (not including sick leave) in lieu of
                suspension for any period up to five (5) days in discipline cases.
                Members may not work extra duty to compensate for suspended days.

          5.    If an agreement is reached as the result of a Commander’s Resolution
                Conference that includes discipline to be held in abeyance, the
                discipline should be held in abeyance for a minimum of twelve (12)
                months from the date the agreement was reached.




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                returned to an element for correction or additional information, the
                element shall notify OPR to adjust the due date for tracking purposes.

          6.    The DDRD, in administering the disciplinary process, shall:

                a.    Review investigative reports and disciplinary recommendations
                      for completeness and accuracy.

                b.    Depending on the severity and nature of the alleged violation,
                      and consideration of appropriate mitigating or aggravating
                      factors, recommend that:

                      (1)    Adverse Action be taken;

                      (2)    The case be heard by a Department Hearing Tribunal;

                      (3)    The case be returned to the forwarding element for
                             further investigation, or for other disciplinary action as the
                             Commanding Officer/Director deems appropriate; or

                      (4)    The charges be dismissed due to extenuating
                             circumstances.

                c.    When the DDRD recommends a “Suspension Not Exceeding
                      Ten Days,” a Commanding Officer/Director has the authority to
                      resolve the disciplinary action through a Commander’s
                      Resolution Conference. In suspension cases where no
                      agreement is reached, such matters shall be remanded to the
                      DDRD for appropriate processing.

          7.    Upon review by the DDRD, investigative reports recommending
                adverse action shall be referred to the Assistant Chief, OHS, with
                charges and specifications recommended by the DDRD, for
                appropriate concurrence and processing by the Assistant Chief, OHS.

     H.   Notice of Proposed Adverse Action

          1.    The Assistant Chief, OHS, shall issue a Notice of Proposed Adverse
                Action. The member shall be given an opportunity to respond to the
                notice, in writing, within fifteen (15) business days, and the Assistant
                Chief, OHS, shall consider the member’s response before rendering a
                written decision. In the event the Department proposes termination, the
                member shall have twenty-one (21) business days to submit his/her
                response, and to indicate whether he/she desires a Departmental
                hearing.

          2.    The Notice of Proposed Adverse Action issued by the Assistant Chief,
                OHS, shall include:


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                a.     Charges – specific regulation(s) alleged to have been violated;

                b.     Specification(s) – the date and location of the alleged act or
                       omission, and a statement of the alleged act or omission;

                c.     The proposed action; and

                d.     A copy of the investigative report.

          3.    In the event termination is proposed, the Notice of Proposed Adverse
                Action shall inform that:

                a.     The member has a right to be represented by an attorney
                       licensed to practice in the District of Columbia, or by a union
                       representative at all steps of a hearing;

                b.     The member must be provided with a history of charges up to
                       the current date;

                c.     The appropriate hearing procedures will be used, including the
                       DDRD Hearing Manual, or Trial Board Rules;

                d.     The accused member must furnish any pertinent documents, or
                       copies thereof, that he/she wishes to offer as evidence;

                e.     The names of any witnesses he/she wishes to testify on his/her
                       behalf must be submitted, in writing, to the DDRD not less than
                       five (5) days (exclusive of Saturdays, Sundays and legal
                       holidays) prior to the time set for the hearing.

     I.   Service of Notice of Proposed Adverse Action

          1.    Service of Notice of Proposed Adverse Action shall be made by an
                official of the Department, to include civilian supervisors as defined in
                Section III.11. of this order.

          2.    Upon receipt of the Notice of Proposed Adverse Action, the
                Commanding Officer/Director shall direct an official of his/her element
                to:

                a.     Serve the original of the Notice of Proposed Adverse Action
                       upon the member as instructed;

                b.     Deliver charges and specifications to the member, and require
                       him/her to acknowledge receipt by affixing his/her signature;

                c.     Have the member acknowledge receipt of the attached copy of
                       the entire investigative report;


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                d.     Sign the original and attached copies of the proposed notice as
                       a witness;

                e.     Keep a copy of the Notice of Proposed Adverse Action for
                       element files; and

                f.     Immediately forward two signed copies to the DDRD.

          3.    Accused members shall:

                a.     Keep a copy of the Notice of Proposed Adverse Action; and

                b.     Sign the original, and attached copies, and return the copies to
                       the official effecting service.

          4.    If timely personal service of the charges cannot be made, the
                responsible official shall notify the DDRD and the Commanding Officer/
                Director, Watch Commander, or acting director, who may authorize
                alternative manners of service designed to effect actual notice or
                constructive service, such as leaving a copy for the member at the last
                address of record, as appropriate.

     J.   Disciplinary Hearings

          1.    In cases where termination is proposed, or at the discretion of the
                Assistant Chief, OHS, a hearing shall be conducted by a Hearing
                Tribunal as a fact-finding forum to make recommendations to the
                Assistant Chief, OHS, subject to review and approval by the Chief of
                Police.

          2.    When a hearing has been set, the Assistant Chief, OHS, shall serve
                notice of the Department’s proposed adverse action on the affected
                member, informing him/her of the hearing date, the name and rank of
                each selected panel member, and the type of hearing, i.e., Adverse
                Action Panel/Trial Board.

          3.    The DDRD is authorized to:

                a.     Order any member of the Department to appear before him/her,
                       or before any person(s) designated by him/her, to give
                       testimony and/or produce all official books, records, papers or
                       documents pertaining to the case;

                b.     Grant continuances;

                c.     Administer the Oath of Office to members of the Hearing
                       Tribunal with authority to delegate the same.


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     K.   Selection of Hearing Tribunal

          1.    The Chief of Police, or his/her designee, shall select the Hearing
                Tribunal members.

          2.    In selecting members for Hearing Tribunals, the Chief of Police, or
                his/her designee, shall select from:

                a.     All Commanders and Inspectors who have previous experience
                       as Hearing Tribunal members, without regard to rank, to serve
                       as chairman.

                b.     All Commanders, Inspectors, and Captains to serve as Hearing
                       Tribunal members, except members from OPR.

                c.     The Chief of Police, or his/her designee, can exclude any
                       member for service on the Hearing Tribunal.

          3.    Hearing Tribunals are empowered to do the following:

                a.     Summon any member of the Department to appear before the
                       Hearing Tribunal to give testimony, and/or produce all official
                       books, records, papers, or documents pertaining to the case;

                b.     Enter into the record pleas of guilty or not guilty to the charges
                       and specifications, which may be with, or without extenuating
                       circumstances. The Hearing Tribunal shall have no authority to
                       agree to any penalty in exchange for a guilty plea or otherwise,
                       nor shall any such agreement have any binding force or effect
                       upon the Department;

                c.     Grant continuances;

                d.     Make findings of fact;

                e.     Make or cause depositions to be taken;

                f.     Make findings and recommendations for punishment consistent
                       with governing regulations;

                g.     Add, alter, and/or amend charges and specifications that are not
                       compatible with the evidence; provided the accused has an
                       opportunity to respond to the charges before the hearing
                       concludes;

                h.     Rule on all questions at issue in taking testimony, or submitting
                       evidence, but may have exceptions noted to the rulings;


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                i.     Revoke the privilege extended for the attendance of any
                       counsel during a proceeding for sufficient cause; but this action
                       shall in no way prevent the accused from substituting other
                       counsel;

                j.     Require respectful conduct on the part of any and all persons in
                       attendance.

                       (1)    Chairpersons are empowered to resolve any dispute, and
                              shall make record of their action in any such case;

                       (2)    Close any hearing to the public for good reason; making
                              a record of such reason.

          4.    The findings of Hearing Tribunals shall be recorded and maintained by
                the DDRD, which shall be open for inspection by the accused.

          5.    Authority of Hearing Tribunals shall be set forth in a “Hearing Manual”
                issued by the DDRD. The manual shall be consistent with guidelines
                set forth in this directive; D.C. Personnel Regulations Chapter 16; D.C.
                Official Code § 5-127.01 (Conduct of Force), and § 5-133.06 (Trial
                Boards); Title 6A DCMR, Chapter 10 (Disciplinary Procedures); and
                applicable provisions of the current CBA.

          6.    At the conclusion of a hearing, the Hearing Tribunal shall write findings
                of fact and conclusions of law with recommendations to the Assistant
                Chief, OHS, outlining the Tribunal’s findings and proposed decision.

          7.    In the event that the Hearing Tribunal recommends a lesser penalty
                when termination has been proposed, the Tribunal shall, as part of
                their findings and proposed decision, provide a specific written
                rationale to justify their recommendation for mitigation of the proposed
                termination.

          8.    After reviewing the Hearing Tribunal’s proposed decision, the Assistant
                Chief, OHS, may remand the case to the same, or a different tribunal,
                or issue a decision (Final Notice of Adverse Action) affirming, reducing,
                or setting aside the action, as originally proposed in the Notice of
                Proposed Adverse Action.

          9.    The Assistant Chief, OHS, shall issue the Final Notice of Adverse
                Action. The final notice of adverse action shall be issued in compliance
                with D.C. personnel rules and regulations and, as applicable, the
                related provisions in the CBA. Deadlines may be extended by request
                of the affected member, or through applicable agreement(s) referenced
                above.



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DISCIPLINARY PROCEDURES AND PROCESSES (GO-PER-120.21)                            17 of 20

     L.   Adverse Action Appeals (CALEA 26.1.6)

          1.    Upon receipt of a written Final Notice of Adverse Action, members
                may, within ten (10) business days, appeal the action to the Chief of
                Police, or Mayor, if applicable, or as outlined in an applicable CBA or
                law.

          2.    The Chief of Police shall respond to the member’s appeal within fifteen
                (15) business days. Upon receipt of an adverse decision from the Chief
                of Police, members may appeal to the D.C. Office of Employee
                Appeals, as permitted by the District Personnel Manual, or to
                arbitration, as outlined in the existing CBA.

          3.    Appeals shall not serve to delay the effective date of the decision of
                the Department.

          4.    When an appeal is made, the appropriate papers shall be forwarded to
                the Chief of Police, who may affirm or modify the findings and/or the
                penalty imposed, remand the case to a previous step in the process, or
                remand the case for an alternative process, as he/she deems
                appropriate.

          5.    The Chief of Police may impose a higher penalty than recommended
                by the Hearing Tribunal, or the Assistant Chief, OHS.

     M.   Appeal Rights Outside of Agency

          1.    D.C. Office of Employee Appeals (OEA)

                a.     A member may appeal to the OEA any Adverse Action for
                       cause that results in removal, reduction in grade, or suspension
                       for ten (10) days or more.

                b.     Any such appeal shall be filed within thirty (30) days of the
                       effective date of the agency action.

          2.    Arbitration Process

                The Fraternal Order of Police may elect to go to arbitration pursuant to
                Article 19-E (Arbitration) of the CBA with regard to a member covered
                by the CBA, against whom a decision by the Chief of Police has been
                made on Adverse Action exceeding a penalty of five (5) days.




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DISCIPLINARY PROCEDURES AND PROCESSES (GO-PER-120.21)                            18 of 20

          3.    Grievance Procedures

                A member covered by the CBA, who is to be suspended for less than
                six (6) days, has the right to appeal the action to the Chief of Police as
                provided in the CBA. The decision of the Chief of Police will not be
                subject to further appeal or arbitration. (CALEA 26.1.6)

     N.   Element Commanders shall ensure that all service of suspension and/or
          forfeited leave is documented and forwarded to OHS and OPR the next
          business day after the Commander’s Resolution Conference.

     O.   The Assistant Chief, OPR, shall be responsible for the investigation, review,
          or assignment of the following types of cases:

          1.    Formal charges by citizens against Department personnel, which may
                include those received and processed by the OPC.

          2.    Allegations against Department personnel involving the commission of
                criminal offenses, or serious misconduct as defined by GO-PER-
                120.23 (Serious Misconduct Investigations).

          3.    Allegations against Department personnel involving chain of command
                misconduct. Upon receipt of an alleged violation, the Assistant Chief,
                OPR, shall take one of the following actions:

                a.     Refer it to the appropriate command;

                b.     Conduct a preliminary investigation, and then, if appropriate,
                       refer it to an appropriate command; or

                c.     Order an investigator assigned to the OPR to conduct the
                       investigation.

          4.    OPR shall provide assistance to investigators engaged in complaint
                investigations when that element determines that assistance is
                needed.

     P.   The Assistant Chief, OHS, shall:

          1.    Review investigative reports and issue Proposed Notices of Adverse
                Action that include a statement of the charges citing violations of
                General Orders, and specific description of the manner in which the
                General Order was violated.

          2.    Review Appeals of Proposed Notices, and issue Final Notices of
                Adverse Action in accordance with the deadlines contained in the CBA,
                or when there is no appeal, at the expiration of the deadline.



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DISCIPLINARY PROCEDURES AND PROCESSES (GO-PER-120.21)                                    19 of 20

            3.     Disseminate Proposed, Final, and Final Agency Action Notices to
                   element commanders that involve members in their command. The
                   memorandum that accompanies these service documents shall
                   provide the deadline within which the member shall be served.

            4.     Schedule disciplinary suspensions. These suspensions shall be
                   scheduled as soon as possible after the issuance of the Final Notice of
                   Adverse Action, or the Final Agency Action, as applicable.

            5.     Ensure that disciplinary suspensions and terminations are documented
                   by the creation of a personnel action, and that a copy of such action is
                   placed in the member’s Official Personnel Folder. Copies of all
                   personnel actions documenting suspensions shall be sent to OPR.

       Q.   Disciplinary action will not preclude a member from participating in the
            promotional process.

            1.     If, after the eligibility list is formed, a final disciplinary penalty of a
                   suspension of twenty (20) days or greater is imposed, the member
                   need not be promoted from that list.

            2.     If an Adverse Action is proposed after the eligibility list is formed, the
                   promotion may be suspended pending a final disposition.

            3.     If the disposition is favorable to the member, or the penalty is less than
                   a suspension of twenty (20) days, the member shall be promoted with
                   back pay retroactive to the date when the member would otherwise
                   have been promoted.

       R.   Any person who has filed a formal complaint of misconduct against a member
            of the MPD is entitled to notification, in writing, of the resolution, including
            significant dates, general allegations, and the disposition of their complaint in
            accordance with General Order 1202.5 (Citizen Complaints).

VII.   CROSS REFERENCES

       A.   GO-PER-120.23 (Serious Misconduct Investigations)

       B.   General Order 201.7 (Review Boards)

       C.   GO-PER-201.20 (Performance Management System [PMS] for Sworn
            Members in the Rank/Position of Civil Service Sergeant, Investigative
            Personnel, and Officer)

       D.   GO-PER-201.22 (Fire and Police Disciplinary Action Procedure Act of 2004)

       E.   General Order 1202.5 (Citizen Complaints)



                                                                                DC 000061
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DISCIPLINARY PROCEDURES AND PROCESSES (GO-PER-120.21)                      20 of 20

VIII.   ATTACHMENTS

            1.   Attachment A: Table of Offenses and Penalties

            2.   Attachment B: Template for Letter of Prejudice

            3.   Attachment C: Template for Letter of Official Reprimand



                                           //SIGNED//
                                           Charles H. Ramsey
                                           Chief of Police
CHR:SOA:DAH:JAH:afa:jah




                                                                      DC 000062
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TABLE OF OFFENSES AND PENALTIES                                                      Page 1 of 5

                   TABLE OF OFFENSES AND PENALTIES

A.      OFFENSES

        Conduct described below is prohibited, and shall serve as the basis for an Official
        Reprimand, or Adverse Action.

        1.    Drinking “alcoholic beverage” or “beverage” as described in Section 25-
              101, subsection (5) of the D.C. Code, District of Columbia Alcoholic
              Beverage Control Act, or being under the influence of “alcoholic beverage”
              or “beverage”, while on duty.

        2.    Drinking “alcoholic beverage” or “beverage” as described in Section 25-
              101, subsection (5) of the D.C. Code, District of Columbia Alcoholic
              Beverage Control Act, “while in uniform off duty”; or being under the
              influence of “alcoholic beverage” when off duty.

        3.    The taking of any drug or substance, on or off-duty, as described in the
              D.C. Uniform Controlled Substances Act of 1981, unless taken upon the
              prescription of a licensed physician, or registered practitioner authorized to
              dispense a controlled substance during the course of professional
              practice.

        4.    Malingering or feigning illness or disability in order to evade the
              performance of duty.

        5.    Willfully disobeying orders, or insubordination.

        6.    Willfully and knowingly making an untruthful statement of any kind in any
              verbal or written report pertaining to his/her official duties as a
              Metropolitan Police Officer to, or in the presence of, any superior officer,
              or intended for the information of any superior officer, or making an
              untruthful statement before any court or any hearing.

        7.    Conviction of any member of the force in any court of competent
              jurisdiction of any criminal or quasi-criminal offense, or of any offense in
              which the member either pleads guilty, receives a verdict of guilty or a
              conviction following a plea of nolo contendere, or is deemed to have been
              involved in the commission of any act which would constitute a crime,
              whether or not a court record reflects a conviction. Members who are
              accused of criminal or quasi-criminal offenses shall promptly report, or
              have reported their involvement to their commanding officers.

        8.    Inefficiency as evidenced by repeated and well-founded complaints from
              superior officers, or others, concerning the performance of police duty, or
              the neglect of duty. Three sustained Adverse Actions within a 12-month
                                                                                         Attachment A
                                                                       Table of Offenses and Penalties
                                               GO-PER-120.21 (Disciplinary Procedures and Processes)
                                                                                          Rev. 3/14/06
                                                                                     DC 000063
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TABLE OF OFFENSES AND PENALTIES                                                  Page 2 of 5

           period upon charges involving misconduct, as provided in this section,
           shall be prima facie evidence of inefficiency. The Adverse Action charges
           need not be related.

     9.    Receiving money, or other valuable consideration, contrary to the rules
           and regulations of the Department, or the laws in force in the District of
           Columbia.

     10.   AWOL (Absent Without Leave), i.e., reporting late for duty more than six
           (6) times within a one-year period, an absence from duty without official
           leave in excess of the first four (4) hours of a scheduled tour of duty, or
           any unexcused absence from a scheduled duty assignment that is not in
           the category of “lateness.”

     11.   Using unnecessary and wanton force in arresting or imprisoning any
           person, or being discourteous, or using unnecessary violence toward any
           person(s), or the public.

     12.   Conduct unbecoming an officer, including acts detrimental to good
           discipline, conduct that would adversely affect the employee’s or the
           agency’s ability to perform effectively, or violations of any law of the United
           States, or of any law, municipal ordinance, or regulation of the District of
           Columbia.

     13.   Willful failure to promptly report to the Chief of Police, or the Assistant
           Chief, Office of Professional Responsibility, through channels or directly,
           any disloyalty, or suspected disloyalty, to the United States or to the
           Government of the District of Columbia; or to promptly report any violation
           by any person whomsoever, without or within the Metropolitan Police
           Department, of the Criminal Code of either the United States, or the District
           of Columbia; or to report the violation of any section of the rules and
           regulations of the Department.

     14.   Neglect of duty to which assigned, or required by rules and regulations
           adopted by the Department.

     15.   Compromising a felony or any other unlawful act, or to participate in,
           assent to, aid, or assist any person suspected of a crime to escape full
           judicial examination by failing to give known facts, or reasonable causes of
           suspicion, or withdrawing any information relative to the charge or
           suspicion from the proper judicial authorities; or in any manner to receive
           any money, property, favor, or other compensation from, or on account of,
           any person arrested, or subject to arrest, for any crime or supposed crime;
           or to permit any such person to go at large without due effort to secure an
           investigation of such supposed crime.


                                                                                     Attachment A
                                                                   Table of Offenses and Penalties
                                           GO-PER-120.21 (Disciplinary Procedures and Processes)
                                                                                      Rev. 3/14/06
                                                                                 DC 000064
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TABLE OF OFFENSES AND PENALTIES                                                    Page 3 of 5

     16.   Failure to obey orders or directives issued by the Chief of Police.

     17.   Fraud in securing appointment, or falsification of official records or reports.

     18.   Improper political activity, or engaging in a strike.

     19.   Willful misuse or mutilation, or willful or neglectful destruction of District of
           Columbia property or funds.

     20.   Misuse of official position, or unlawful coercion of an employee for
           personal gain or benefit.

     21.   Undependability as evidenced by repeated and well-founded tardiness
           complaints from superior officers, which results in adverse action. Three
           such complaints within a 12-month period shall be prima facie evidence of
           undependability. The member shall be cited for undependability on the
           fourth such instance.

     22.   The use of, or negligent loss of a firearm, and/or radios, badges, or other
           Department-issued equipment, not in conformity with Section 207, Title
           6A, District of Columbia Municipal Regulations; and/or not in conformity
           with General Order RAR-901.01 (Handling of Service Weapons).

     23.   The refusal of a member to submit to urinalysis testing, Breathalyzer test,
           or other tests that measure drugs and/or alcohol in the system (e.g. an
           Intoxilyzer test) when required, at the Medical Services Section.

     24.   A finding that a member has violated Department Equal Opportunity
           policies, the D.C. Human Rights Act, or equivalent federal laws or
           regulations. This includes the provision of equal services as required by
           District or federal law.

     25.   Any conduct not specifically set forth in this order, which is prejudicial to
           the reputation and good order of the police force, or involving failure to
           obey, or properly observe any of the rules, regulations, and orders relating
           to the discipline and performance of the force.




                                                                                       Attachment A
                                                                     Table of Offenses and Penalties
                                             GO-PER-120.21 (Disciplinary Procedures and Processes)
                                                                                        Rev. 3/14/06
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TABLE OF OFFENSES AND PENALTIES                                                                Page 4 of 5

B.      PENALTIES

        The following Table of Penalties Guide shall be used as specified in this order.
        Use of this guide shall be mandatory as applicable. Where an individual order or
        directive provides for penalties, such penalties will supersede those contained in
        this Table of Penalties Guide. However, the Chief of Police, or the Assistant
        Chief, Office of Human Services (as appropriate), may, without regard to the
        provisions of this section, in extraordinary circumstances when confronted by a
        unique factual situation:

        1.       Determine that a penalty less than that established in the Table of
                 Penalties shall be imposed, provided that such authority finds that, under
                 all circumstances of the case, the mitigating considerations outweigh the
                 aggravating considerations, or;

        2.       Determine that a penalty greater than that established in the Table of
                 Penalties shall be imposed, provided that such authority finds that, under
                 all the circumstances of the case, the aggravating considerations outweigh
                 the mitigating considerations. Such considerations shall be set forth on the
                 record with particularity, and such findings shall be made by a
                 preponderance of the evidence.

                          TABLE OF OFFENSES AND PENALTIES GUIDE


 #      Violation (abbreviated)               1st                           2nd                    3rd
 1.     On-Duty Alcohol             Suspension for 3 days to    Suspension for 10 days to    Removal
                                    removal                     removal
 2.     Off-Duty Alcohol            Suspension for 3 days to    Suspension for 10 days to    Removal
                                    removal                     removal
 3.     Drug Use                    Removal
 4.     Malingering                 Reprimand to removal        Removal
 5.     Insubordination             Suspension for 10 days to   Suspension for 15 days to    Removal
                                    removal                     removal
 6.     Untruthful Statement        Suspension for 15 days to   Suspension for 30 days to    Removal
                                    removal                     removal
 7.     Conviction                  Removal
 8.     Inefficiency                Reprimand to removal        Suspension for 10 days to    Removal
                                                                removal
 9.     Receiving                   Reprimand to removal        Removal
        consideration/gratuity
 10.    AWOL                        Reprimand to removal        Suspension for 5 days to     Removal
                                                                removal
 11.    Unnecessary or Wanton       Suspension for 3 days to    Suspension for 10 days to    Removal
        Force                       removal                     removal
 12.    Conduct Unbecoming          Suspension for 3 days to    Suspension for 5 days to     Removal
                                    removal                     removal
 13.    Failure to Report Certain   Reprimand to removal        Suspension for 10 days to    Removal
        Violations                                              removal
 14.    Neglect of Duty             Reprimand to removal        Suspension for 15 days to    Removal
                                                                removal
 15.    Compromising a Felony       Removal

                                                                                                   Attachment A
                                                                                 Table of Offenses and Penalties
                                                         GO-PER-120.21 (Disciplinary Procedures and Processes)
                                                                                                    Rev. 3/14/06
                                                                                               DC 000066
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TABLE OF OFFENSES AND PENALTIES                                                                Page 5 of 5

16.   Failure to Obey Orders &      Reprimand to removal        Suspension for 1 day to      Suspension for 15
      Directives of COP                                         removal                      days to removal
17.   Fraud in appt. or             Suspension for 30 days to   Removal
      falsification of records      removal
18.   Improper political activity   Removal
      or strike
19.   Misuse or mutilation of       Reprimand to removal        Suspension for 10 days to    Removal
      D.C. property or funds                                    removal
20.   Misuse of position            Removal
21.   Undependability               Reprimand to Removal
      (Tardiness)
22.   Negligent Use or Loss of      Suspension for 10 days to   Suspension for 20 days to    Removal
      Firearm, radios, badges,      removal                     removal
      or other Department-
      issued equipment
23.   Refusal to Submit to          Removal
      Urinalysis/Breathalyzer/
      Intoxilyzer
24.   Sustained EEO                 Reprimand to Removal        Removal
      Complaint
25.   Prejudicial Conduct           Reprimand to removal        Suspension for 15 days to    Removal
                                                                removal




                                                                                                   Attachment A
                                                                                 Table of Offenses and Penalties
                                                         GO-PER-120.21 (Disciplinary Procedures and Processes)
                                                                                                    Rev. 3/14/06
                                                                                               DC 000067
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       TEMPLATE FOR LETTER OF PREJUDICE

                         METROPOLITAN POLICE DEPARTMENT

                                                                                CS#________


MEMORANDUM

TO:            Member:
               District/Division:

SUBJECT:       LETTER OF PREJUDICE

You are hereby issued this Letter of Prejudice for the following dereliction of duty:

       (Describe action that supports the dereliction of duty, and any recommendation by the
       Commanding Officer)

This notice will be considered in performance evaluations, and will be used in deciding greater
degrees of disciplinary action. Consistent with General Order 120.21 (Disciplinary Processes and
Procedures), should you be cited for a similar violation within a two-year period, you will receive an
official reprimand or be cited for adverse action.

A copy of this Letter of Prejudice will be placed in your personnel folder. This constitutes a
corrective action as defined in Article 12, Section 2, of the Collective Bargaining Agreement
covering officers and sergeants, and may be appealed through the grievance procedure outlined in
that agreement. (Members not represented by the collective bargaining unit for officers and
sergeants may file a written appeal directly to the Chief of Police within ten (10) business days of
issuance of this Letter of Prejudice).

You shall acknowledge receipt of this action by affixing your signature on all copies, the original
of which shall be retained in your personnel folder for a period of two (2) years of
acknowledgement.

                                               _____________________________________
                                               Commander
ACKNOWLEDGEMENT
I hereby acknowledge receipt of this Letter of Prejudice, and I am aware that this report will be
made part of my personnel folder.

____________________________________________                                __________________
Signature of member                                                            Date

___________________________________________                                 __________________
Signature of serving official                                                  Date


                                                                                             Attachment B
                                                                           Template for Letter of Prejudice
                                                   GO-PER-120.21 (Disciplinary Procedures and Processes)
                                                                                        DCRev. 000068
                                                                                                  12/12/05
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         TEMPLATE FOR LETTER OF OFFICIAL
                   REPRIMAND
                         METROPOLITAN POLICE DEPARTMENT


                                                                        CS #___________

MEMORANDUM

TO:            Member:
               District/Division:

SUBJECT:       OFFICIAL REPRIMAND

You are hereby issued this Official Reprimand for the following dereliction of duty:

       (Describe action that supports the dereliction of duty, and any recommendation by the
       Commanding Officer)

This Official Reprimand is a written censure being issued to you as a formal notice of your
unsatisfactory conduct. This notice will be considered in performance evaluations, and will be used
in deciding greater degrees of disciplinary action within a three-year period. Receipt of three official
reprimands within a two-year period will subject you to an unsatisfactory performance rating for
your next rating period.

A copy of this Official Reprimand shall be placed in your personnel folder. This constitutes a
corrective action as defined in Article 12, Section 2, of the Collective Bargaining Agreement
covering officers and sergeants, and may be appealed through the grievance procedure outlined in
that agreement. (Members not represented by the collective bargaining unit for officers and
sergeants, may file a written appeal directly to the Chief of Police within ten (10) business days of
issuance of this Official Reprimand).

                                               _______________________________________
                                               Commander

ACKNOWLEDGEMENT
I hereby acknowledge receipt of this Official Reprimand, and I am aware that this report will be
made part of my personnel folder.

____________________________________________                                __________________
Signature of member                                                            Date

___________________________________________                                 __________________
Signature of serving official                                                  Date




                                                                                              Attachment C
                                                                  Template for Letter of Official Reprimand
                                                    GO-PER-120.21 (Disciplinary Procedures and Processes)
                                                                                         DCRev.  000069
                                                                                                   12/12/05
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             EXHIBIT 13
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                                                              DC 002490
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                                                              DC 002491
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                                                              DC 002493
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                                                              DC 002494
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                                                              DC 002495
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                                                              DC 002496
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                                                              DC 002497
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                                                              DC 002498
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                                                              DC 002499
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                                                              DC 002500
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                                                              DC 002501
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                                                              DC 002502
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                                                              DC 002503
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             EXHIBIT 14
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                                                                         1

                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

                                   + + + + +

       ________________________
                               :
       IN THE MATTER OF:       :
                               :
       JAQUIA BUIE,            :
                               :
                   Plaintiff, :
                               :
            v.                 :           Case No.
                               :           1:16-cv-01920-CKK-RMM
       DISTRICT OF COLUMBIA,   :
       ET AL.,                 :
                               :
                   Defendants. :
       ________________________:

                     Thursday,
                     February 28, 2019
                     Alpharetta, Georgia


       DEPOSITION OF:

                                 LOU REITER

       called for examination by Counsel for the
       Defendants, pursuant to Notice of Deposition, in
       the Deerfield Room, Holiday Inn Express & Suites,
       12505 Innovation Way, Alpharetta, Georgia, when
       were present on behalf of the respective parties:




                           Neal R. Gross and Co., Inc.
 (202) 234-4433                 Washington DC             www.nealrgross.com
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                                                                         2

       APPEARANCES:

                  On Behalf of the Government:

                  DAVID A. JACKSON, ESQ.
                  Civil Litigation Division, Section III
                  441 Fourth Street, NW, Suite 6305
                  Washington, DC 20001
                  202-724-6618
                  davida.jackson@dc.gov

                  On Behalf of the Deponent:

                  MARK A. SMITH, ESQ.
                  Smith Mustille, LLC
                  2200 Pennsylvania Avenue, 4th Floor East
                  Washington, DC 20037
                  202-776-0022
                  masmith@smithmustille.com




                            Neal R. Gross and Co., Inc.
 (202) 234-4433                  Washington DC            www.nealrgross.com
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                                                                              3

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       WITNESS                DIRECT CROSS REDIRECT RECROSS

       Lou Reiter                5         105           113




                           Neal R. Gross and Co., Inc.
 (202) 234-4433                 Washington DC                  www.nealrgross.com
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                                                                              4

1                           P-R-O-C-E-E-D-I-N-G-S

2                                                            (10:10 a.m.)

3                       MR. JACKSON:        Sir, will you please

4          state your name.

5                       MR. REITER:        Yes.     Lou Reiter, L-O-U,

6          R-E-I-T-E-R.

7                       MR. JACKSON:        Madam Court Reporter,

8          will you swear the witness, please.

9                       THE REPORTER:         Yes, sir.     Please raise

10         your right hand.

11         Whereupon,

12                                  LOU REITER

13         having been first duly sworn, was called as a

14         witness herein and was examined and testified as

15         follows:

16                      THE REPORTER:         Please state and spell

17         your name for the record.

18                      THE WITNESS:        Lou, L-O-U, Reiter, R-E-

19         I-T-E-R.

20                      THE REPORTER:         Thank you.

21                            DIRECT EXAMINATION

22                      BY MR. JACKSON:



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                                                                                 5

1                 Q      So, Mr. Reiter, my name is David

2          Jackson.   I'm an assistant attorney general, and

3          I will be the person questioning you today.                Just

4          as a housekeeping matter, we have in our

5          possession a check for your fee.                Would you just

6          tell us how you want to receive that check.

7                        MR. SMITH:     If I -- as a housekeeping

8          matter -- and he'll respond, but having not

9          received a check, it was unclear that the

10         District was going to provide him the check as

11         had been arranged.     We sent the District on

12         February 8 an email, specifically asking, Are you

13         going to provide the check for the expert

14         witness, $2,500 check for the expert witness, by

15         or before the deposition.         We received no

16         response to that email.

17                       Subsequently the witness informed us

18         that if he did not have a check at the

19         deposition, he would not be conducting the

20         deposition.   Okay.    And in the wake of the

21         silence of the District of Columbia, the law

22         office of Smith Mustille fronted a check to him.



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1                        Now, you can make clear whether or not

2          you cashed that check or not, and if you didn't,

3          you can receive this check by FedEx, and we can

4          just -- you can just destroy that other check.

5          So proceed.

6                        THE WITNESS:       I'll give Mr. Smith's

7          check back to him.      Why don't you just FedEx me

8          that check.    The address is 87 Chula, C-H-U-L-A,

9          Drive, Jasper, J-A-S-P-E-R, Georgia              30143.

10                       BY MR. JACKSON:

11                Q      So we have the address.            We will check

12         with our folks about how we go about FedExing it,

13         but we will make sure that it is in the mail to

14         you one way or the other at the address that you

15         just gave us, and we'll make sure that it gets

16         in --

17                A      Okay.

18                Q      -- the mail --

19                A      Let me put another address on, because

20         I don't know what you're going to use, because if

21         you use post office or UPS, you have to also add

22         another address.      10603, two words, Big, B-I-G, a



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1          new word, Canoe, C-A-N-O-E, still Jasper, Georgia

2          30143.

3                 Q      And just so that you are convinced,

4          can you see the check that I'm holding up?

5                 A      I can see a piece of paper.              Now you

6          went small.    I -- Mr. Jackson, I'll accept your

7          representation that that is a check for $2,500.

8          All right?

9                 Q      Okay.     Thank you, sir.            Now, Mr. -- to

10         make sure I pronounce your name correctly.                 Is it

11         Reiter?

12                A      Yes, sir.

13                Q      Okay.     Mr. Reiter, you have been

14         retained in this case to opine on issues relating

15         to Ms. Buie's claims against the District of

16         Columbia.    Is that correct?

17                A      Yes.

18                Q      Okay.     And you have produced for us

19         two reports, the original report and then a

20         supplemental report.         Is that correct?

21                A      Yes.

22                Q      And are all of the opinions that you



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1          have relating to this case contained in those two

2          reports?

3                 A       As of this date, that's correct.

4                 Q       And what does that mean, as of this

5          date?      Do you anticipate doing a second

6          supplemental report?

7                 A       If I'm asked to -- it's my

8          understanding that the District has been ordered

9          to produce additional administrative

10         investigation files, so if I'm asked to review

11         those and provide an additional supplemental

12         report, I will do so.

13                Q       And in terms of in preparation for

14         today's deposition, what steps or what did you do

15         to prepare for the deposition today?

16                A       I reviewed my materials.              I reviewed

17         my -- both of the reports I did.                  I read over

18         again the report of 2011 from the International

19         Association of Chiefs of Police, which was

20         titled, Addressing Sexual Offenses and Misconduct

21         by Law Enforcement.       I spent a couple of hours

22         with Mr. Smith yesterday.



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1                 Q    That IACP document that you just

2          mentioned that you read over --

3                 A    Yes.

4                 Q    Okay.     Did you provide that to

5          Plaintiff's counsel to produce to the Defendant

6          or District?

7                 A    I have provided them a copy.            What

8          they did with it, I don't know.             And by the way,

9          I've also --

10                Q   What did --

11                A   I've also noted it in my original

12         expert report.

13                Q   Okay.      What year is that document that

14         you just referenced?

15                A   The research began in 2005, and it was

16         actually printed in 2011 by the IACP.

17                Q   Now, in your -- in both reports, you

18         set out all of the material that you reviewed in

19         preparing both your initial report and your

20         supplemental report.       Did you rely on any other

21         documents that are not listed in either your

22         initial report or your supplemental report?



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1                 A    No.

2                 Q    Now, what was your understanding of

3          what you were asked to opine on in this case?

4                 A    I was asked to look at the practices

5          of the police department in investigating

6          allegations alleging sexual misconduct by its

7          officers.

8                 Q    And was it your understanding or is

9          your understanding that the opinions that you

10         have given us or rendered in this case are

11         sufficient to establish, one, a constitutional

12         claim against the District of Columbia, and/or,

13         two, a negligence claim against the District of

14         Columbia?

15                A    Remember, I'm not a lawyer, so what

16         you're asking me is to look at a legal issue.

17         But from my experience, knowledge and skills, and

18         education and the continuous training that I do,

19         in my opinion what I have seen in the

20         investigative reports that I have looked at the

21         disciplinary procedures of the District, in my

22         opinion it has established a pattern of practice



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1          of being deliberately indifferent to sexual

2          misconduct allegations by its police officers.

3                        So if that fits in the constitutional

4          arena -- I mean, that's for lawyers and the judge

5          to make a decision.         In my opinion, it goes far

6          beyond, however, just negligence.

7                 Q      You have identified in both your

8          original report and your initial report six

9          opinions that you have given us.                    Is that

10         correct?

11                A      Yes.

12                Q      And just so that we are clear, those

13         six opinions are -- one is that the lack of

14         adequate and realistic written policies --

15         that's -- one of your opinions deals with that

16         issue.     Correct?

17                       MR. SMITH:         Objection.          I wasn't clear

18         on the question just now, and I don't know that

19         the witness was.

20                       BY MR. JACKSON:

21                Q      Well, Mr. Reiter, if -- let's just do

22         this, because I know that you have been deposed



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1          in a number of cases.        I should have did this at

2          the very beginning.      Let's just set out the

3          ground rules that I know you're familiar with.

4                        One is that if I ask you a question

5          and you are not clear on the question I am

6          asking, would you please let me know that, sir.

7                 A      I will.

8                 Q      Okay.   And certainly if you want me to

9          clarify something, I'm more than willing to do

10         that, so just let me know that you want me to

11         clarify any question that I may ask.

12                A     You're speaking of the six areas of my

13         preliminary report, which is paragraph number 2

14         of the preliminary report.          Is that correct?

15                Q     Well, I am actually looking at page

16         17, but let me see if they're also repeated on

17         page 2.    (Perusing document.)

18                      No, sir.      I don't see your opinions on

19         page 2.    I mean -- or paragraph 2.             (Perusing

20         document.)   No.   They do not appear in paragraph

21         2 in the report that I have.            And let's make sure

22         that we are talking about the same report.               The



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1          report that I'm looking at is one that was signed

2          by you under the penalties of perjury on the 4th

3          day of August of 2008.          Is that the one you're

4          looking at?

5                 A      Yes --

6                 Q      I mean, 2018.          Is that the one you're

7          looking at?

8                 A      Yes.     But, see, I said paragraph 22,

9          not 2.

10                Q      Oh, 22.      I'm sorry.         22.   I didn't

11         hear you.   Okay.      So then we are on the same

12         document.   And the six issues that your report

13         lays out that it will address is, one, the lack

14         of adequate and realistic written policies.                Is

15         that correct?

16                A      Yes.

17                Q      And number two is the lack of training

18         specific to sexual and domestic misconduct.

19         Correct?

20                A      Yes.

21                Q      And three is the filing of reports of

22         employee misconduct.         Correct?



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1                 A    Yes.

2                 Q    And four is Officer Best's

3          disciplinary record and performance evaluations.

4          Is that correct?

5                 A    Yes.

6                 Q    And five is the supervisory oversight

7          failures, including Best's retention.            Correct?

8                 A    Yes.

9                 Q    And six is the administrative

10         investigative inadequacies.           Is that correct?

11                A   Correct.

12                Q   Okay.      And the six areas that I just

13         mentioned to you are the same six areas that are

14         mentioned in your supplemental expert report.             Is

15         that correct?

16                A   Yes.

17                Q   Okay.      Are there any other areas of

18         opinions that you would testify at trial that are

19         not listed here in either your original report or

20         your supplemental report?

21                A   Not as of today.             Of course, they

22         might be elaborated on, but they will still all



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1          fall within these six areas, because we're

2          talking about the environment and culture of the

3          police department when it comes to sexual

4          misconduct allegations, investigation and

5          discipline.

6                 Q      So let's start with your background.

7          And can you tell me whether or not you have had

8          any experience in the area of applied

9          mathematics.

10                A      I'm a police practices expert.           That's

11         what I -- and I'm basing my opinions on my 58

12         years in law enforcement and my specialized

13         knowledge, skills, training and experience.             i am

14         not a statistician.

15                Q      Okay.    And you have no educational

16         background as a statistician.             Is that correct?

17                A      I took a course once and I passed it,

18         but other than that, no.

19                Q      Okay.    And you have never -- or have

20         you ever rendered an opinion as a statistician?

21                A      No.

22                Q      Have you ever attempted to qualify or



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1          has anybody attempted to qualify you as an expert

2          in the area of being a statistician?

3                 A     No.

4                 Q     Have you ever testified as an expert

5          on EEO matters generally?

6                 A     Your question would have to be more

7          specific.    I have testified many times on police

8          personnel issues that have dealt with EEO issues,

9          sexual harassment, and employee retaliation.          But

10         I am not an expert in EEO.

11                Q     Have you ever conducted EEO training?

12                A     Not specifically.           No.

13                Q     Have you ever drafted or written any

14         kind of EEO policies?

15                A     No.

16                Q     So at different times in this case,

17         the terms "sexual misconduct/harassment" have

18         been used.   In your mind is there a distinction

19         between sexual misconduct and sexual harassment?

20                A     You know, in the first place, you'd

21         have to clarify, where has it stated in any of

22         the materials that I've seen or that I've written



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1          sexual misconduct/harassment.             I have not used

2          that term.

3                 Q       Well, I didn't say that you used the

4          term.      I just said that during the course of this

5          litigation, those are the terms that have been

6          used.      I want to know from you, what do you

7          understand the distinction to be between sexual

8          misconduct and sexual harassment.

9                 A       I think they're two totally distinct

10         areas of police misconduct.

11                Q       Okay.   And so what is -- what kinds of

12         events or incidents would fall under sexual

13         misconduct?

14                A       Sexual misconduct would be demanding

15         services from prostitutes, using your official

16         authority as a police officer over vulnerable

17         persons in the community.           They might be drug

18         dealers.     They may be runaways.           They may be drug

19         users.     They could be prostitutes.             They could be

20         victims of crimes.       They could be victims of

21         domestic violence.       And they're using -- the

22         officer is using his authority as a police



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1          officer or some indices of his office to

2          accomplish those acts of sexual misconduct.

3                        Sexual misconduct could be touching,

4          fondling, masturbating in front of the person,

5          actually having forced intercourse, having

6          consensual intercourse.

7                 Q      Mr. Reiter, can you tell me on the

8          record what it is that counsel just wrote to you

9          that you looked at.

10                A      He wrote, "other officers."

11                Q      Do you understand what that means?

12                A      No.   Not in the context of sexual

13         misconduct.

14                Q      And what is your understanding of the

15         definition of sexual harassment?

16                A      My understanding of sexual harassment

17         would be normally it's an employment issue where

18         there are unwelcome advances.             It could be a

19         hostile work environment where persons believe

20         they're being harassed because of their gender or

21         their sexual orientation.           It's an employee

22         against employee.



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                                                                                    19

1                  Q        And so do you have an understanding of

2          how the Metropolitan Police Department deals with

3          claims of sexual harassment?

4                  A        Yes.

5                  Q        And what is your understanding?

6                  A        They have a separate investigative

7          unit, and I've looked at some of their

8          investigations.         And it's -- I believe it's

9          called the EEO investigative unit.                    It's separate

10         and apart from internal affairs.

11                Q        Okay.      And would you agree that in

12         terms of dealing with issues of sexual

13         harassment, that it is the appropriate structure

14         within a police department to have a separate

15         unit that deals with sexual harassment?

16                A        It's appropriate.             Some departments do

17         that.       It depends on the size of the department.

18         It certainly is appropriate in a department the

19         size of D.C.      In addition, they are different

20         types of investigations.              EEO investigation has

21         different foundation, different methods of

22         investigation than sexual misconduct which is



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1          normally done by internal affairs or the office

2          of professional standards.

3                 Q      Do you have an opinion as to whether

4          or not the Metropolitan Police Department's EEO

5          office deviates in some way from a national

6          standard?

7                 A      I don't have an opinion on that.

8                 Q      Do you have an opinion as to whether

9          or not the way the EEO office conducts their

10         investigations deviates from national standards?

11                A      I have no opinion on that.

12                Q      Do you have an opinion as to whether

13         or not the way that the EEO office maintains

14         their records deviates from a national standard?

15                A      I have no opinion on that.

16                Q      So are your opinions that you have

17         rendered in this case more focused on incidences

18         of sexual misconduct as opposed to sexual

19         harassment?

20                A      Yes.

21                Q      And what is your understanding how the

22         Metropolitan -- strike that.              What is your



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                                                                               21

1          understanding of the different ways that a sexual

2          misconduct allegation can come into the

3          Metropolitan Police Department?

4                 A     It could come from a variety of ways.

5          It could come from an anonymous call.              It could

6          come from a citizen's complaint.               It could come

7          from other officers observing misconduct and

8          reporting it.   It could come to the attention of

9          the District by a criminal investigation being

10         conducted by the U.S. Attorney's Office.

11                     It could come to the attention -- it

12         might come through a civil proceeding that could

13         be like a divorce or a stalking -- temporary

14         protective order being filed against one of the

15         officers.   So it could come from a myriad of

16         sources.

17                Q    And in your opinion, is it appropriate

18         for a police department to have all of these

19         different ways in which they are willing to

20         accept complaints of police misconduct in the

21         sexual assault arena?

22                A    Sexual misconduct arena?              Yes.



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                                                                             22

1                 Q    Sexual misconduct.

2                 A    Yes.

3                 Q    So am I correct that you do not have

4          a concern that the Metropolitan Police

5          Department -- you do not have a concern of the

6          way the Metropolitan Police Department allows

7          complaints to come to its attention?             Is that

8          correct?

9                 A    You know, I know what they have in

10         their written policy.        I don't have a problem

11         with the written policy.         I don't have enough

12         information to say whether that written policy is

13         implemented 100 percent in the field and the

14         geographic districts.

15                Q   Now, which policy are you referring

16         to?

17                A   Well, I've read several.              I've read

18         citizen complaints.      I've read investigating

19         allegations of misconduct.          I've looked at

20         investigating serious allegations of misconduct.

21         Those are the three that stick in my mind,

22         directly relating to intake of complaints.



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1                      I'm also aware of 2004, how you apply

2          a disciplinary act in 2004.         The main focus of

3          that written policy was that the officer had to

4          be notified within 90 days, business days, when

5          there was potential adverse disciplinary measures

6          that might be taken against the officer.        But

7          that's not intake of complaints.

8                 Q    Excuse me one second.

9                      (Pause.)

10                    BY MR. JACKSON:

11                Q   So if I understand you correctly, sir,

12         are you saying that as an expert in police

13         practices, you do not have an issue with the

14         general orders that you just referred to?

15                A   Actually I only had one of the ones

16         that I've referred to.      There are others that

17         I've looked at in this case which I've enumerated

18         in both of my reports.      The only one that I would

19         have some concern with, if I were running a

20         police department and looking at national

21         generally accepted practices is in the

22         investigation of serious allegations.



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1                         There's a requirement that the police

2          department get a declination from the U.S.

3          Attorney's Office before they can compel an

4          officer to give a statement during the

5          administrative investigation of an allegation

6          concerning serious misconduct.

7                         What they've done is they've given

8          away one of the principal tools that a police

9          department can use to undercut a culture of a

10         department and hold employees accountable for

11         misconduct by abrogating that right to the U.S.

12         Attorney's Office who's looking at it strictly

13         from a criminal point of view, not from an

14         administrative and effective running of a police

15         department.

16                Q       Okay.     So would you agree that not all

17         sexual misconduct investigations are the same?

18         Can we agree on that?

19                A       I'm sorry?        The protocol?

20                Q       Could we -- could we agree that not

21         all allegations of sexual misconduct are the

22         same?      Correct?



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1                       MR. SMITH:     Objection.         I don't --

2          unclear question.    The same as what?            What do you

3          mean by this?

4                       BY MR. JACKSON:

5                 Q     Okay.   Mr. Reiter, do you understand

6          what I mean, or do you want me to clarify?

7                 A     It would help if you could clarify it.

8                 Q     Would you agree that all sexual

9          misconduct allegations might not rise to the

10         level of a criminal matter?

11                A     I think there's always the potential,

12         because it is an abuse of authority.            It could be

13         a battery.   It could be an assault.           So I think

14         there's always in sexual misconduct allegations,

15         there is a high likelihood that there may be an

16         underlying criminal issue involved.            Whether it's

17         prosecuted or not is another matter.

18                Q     So would you agree that --

19                A     Well, let me --

20                Q     -- a police --

21                A     Let me back up a little bit if I can,

22         because I just thought of one.           Sexual



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1          misconduct -- as an example, two officers on duty

2          having sex in their patrol car probably would not

3          rise to a criminal charge.

4                 Q     All right.        And yet that could be

5          considered sexual misconduct.             Correct?

6                 A     Absolutely.

7                 Q     Okay.     And so -- but when the

8          allegation does arise to the level of a criminal

9          matter, a police officer would be no different

10         than any other criminal.          Correct?

11                A     Correct.

12                Q     And we know that criminals have

13         certain constitutional rights.              Right?

14                A     Yes.

15                Q     And one of those rights is they don't

16         have to make a statement without an attorney

17         present.   Correct?

18                A     Yes.     If it is not being done

19         administratively, if it is a purely criminal

20         investigation, they can -- they don't have to

21         provide a statement.        They can rely on the Fifth

22         Amendment.



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1                 Q      Correct.    And in the cases that are

2          referred to the United States Attorney's Office,

3          you understand that until that United States

4          Attorney certifies to MPD that they will not

5          bring criminal charges, that particular officer

6          has a right against self-incrimination.         Right?

7                 A      In their -- in any dealings that the

8          officer would have with the criminal

9          investigators who would be working for the U.S.

10         Attorney's Office, that's correct.

11                Q      Okay.   And so the investigator cannot

12         compel that officer to give a statement.        Isn't

13         that correct?

14                A      Well, that's in the D.C., yes, because

15         you have given up that authority of the police

16         department.   In all other departments across the

17         country, we bifurcate the cases, so the criminal

18         is handled either by a separate unit or an

19         outside entity, so that there's no

20         misunderstanding on the part of the officer that

21         he or she is compelled to give a statement in

22         that criminal matter.



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1                      However, the administrative matter,

2          which can run concurrently with a criminal

3          investigation, they do not have that right and

4          can be ordered, under Garrity, to give a

5          compelled statement regarding their performance

6          or their actions or their failures.

7                 Q    So is it your opinion that the fact

8          that the   District chose to involve the U.S.

9          Attorney in their investigation of sexual

10         misconduct that rise to a level of a criminal --

11         of a possible criminal case somehow deviates from

12         a standard of care or a national standard?

13                A    It's not a standard.               A generally

14         accepted practice, yes.       We bifurcate the

15         criminal, and we have what some people refer to

16         as a Chinese wall between them.           But the training

17         I provide and the training that I know other

18         people who train in internal affairs and police

19         discipline matters say that you should bifurcate

20         the case and run them concurrently.

21                     Otherwise you could be sitting with an

22         officer for upwards of 18 months to two years



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1          that you don't know what to do with as long as

2          the criminal case is plodding along or just

3          languishing over in some prosecutor's office.

4                 Q    So in the District of Columbia, when

5          an officer that is accused of sexual misconduct

6          in the criminal sense, do you know the -- are you

7          familiar with the procedure that Metropolitan

8          Police Department implements to constrict or

9          control that officer's authority to act as a

10         police officer?

11                     MR. SMITH:       Objection.         First of all,

12         when you say, sexual misconduct in a criminal

13         sense, is there -- are we talking about a charge

14         called sexual misconduct in a criminal sense,

15         because I'm unaware of such a charge.             So could

16         you be more specific.

17                     BY MR. JACKSON:

18                Q    Mr. Reiter, do you understand my

19         question?

20                A    Well, I think Mr. Smith, you know,

21         stated something proper because the criminal

22         would be sexual assault.        It could be a lot of



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1          other.     But that -- you know, sexual misconduct

2          is not a criminal charge.           That's why in law

3          enforcement we use the term "sexual misconduct,"

4          because we don't want to confuse it with a

5          criminal aspect of an officer's action.               We want

6          to make a distinction between the criminal side

7          of it and the administrative side of it.

8                 Q      Okay.   So here's what --

9                        MR. SMITH:      And one other thing --

10                       BY MR. JACKSON:

11                Q      Here's what I'm trying to --

12                       MR. SMITH:      No.     As a housekeeping

13         matter, as a housekeeping matter, the screen

14         keeps shrinking, so that all we see is an image

15         of you that is an inch and a half.               The whole

16         screen image is an inch and a half.              You're a

17         micro, unidentifiable dark figure, and everybody

18         else in the room is also.          It's not -- so could

19         you do something to try to adjust that, because

20         we don't -- we can't see you.

21                       MR. JACKSON:       That's on your end.         It

22         has nothing to do with us.



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1                          MR. SMITH:      No, no.       When you say,

2          it's on our end, this is your deposition, and you

3          structured this this way, so the only party I

4          have to talk to that's responsible for this is

5          the District.      The court reporter here works for

6          you.       When you say, it's on our end, we don't

7          have an end.      This is one deposition.                You set it

8          up this way, and I'm complaining about it.

9                          MR. JACKSON:       It's the court reporting

10         service.      It's not us.

11                         MR. SMITH:      It's the court

12         reporter's --

13                         MR. JACKSON:       Madam Court --

14                         MR. SMITH:      Excuse me.         I'm

15         representing the deponent, as you're aware, and I

16         have no responsibility for the fact that we're

17         looking at you on a screen that itself is a mere

18         12 inches, and then the actual portion that

19         displays your image is, like I said, an inch and

20         a quarter by a half an inch.              We cannot see you,

21         and it keeps going in and out and in and out.

22                         BY MR. JACKSON:



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1                 Q      Mr. Reiter, can you hear me okay?

2                 A      I can hear you fine.

3                 Q      Okay.    As the deponent in this case,

4          is it troublesome to you that whatever you're --

5          however you're seeing us is not a full screen?

6          Is that a problem for continuing with this

7          deposition?

8                 A      It's just distracting, but I've done

9          telephone depositions before, so I can do it just

10         on audio.

11                Q      Okay.    Thank you.         So my questions,

12         Mr. Reiter, are geared to trying to understand

13         the issue that you named about in the District of

14         Columbia having the process of referring, let's

15         say, a sexual assault case to the U.S. Attorney's

16         Office.    As I understand you, you're saying that

17         that deviates from the standard practice.            Is

18         that correct?

19                A      No.   You misunderstood me.         I said

20         we --

21                Q      Okay.

22                A      -- always bifurcate the criminal case,



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1          and it could be done in house with, say, a sexual

2          assault unit, and then they deal with the

3          prosecutor to determine whether there's going to

4          be any filing.

5                         But the administrative side can run

6          concurrently, and that's the generally accepted

7          practice in law enforcement, because otherwise,

8          you could be stuck waiting 18 months to two

9          years, and you've got an officer who might be --

10         we call it on the bench or on the beach, you

11         know, during that time.

12                       Now, you're a large enough

13         organization, you've got closets you can put that

14         person into.    A lot of departments aren't as big

15         as you are.

16                Q      Okay.   So it's -- your issue is that

17         a police officer who is in the situation that

18         we're talking about is a referral to the United

19         States Attorney's Office to determine whether or

20         not criminal charges could be lodged.            That

21         officer could be just -- I think you said, on the

22         beach.     Is that what you said?



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1                 A    Yes.

2                 Q    Do you know what steps the

3          Metropolitan Police Department take when that

4          particular officer is referred to the United

5          States Attorney's Office, what processes does the

6          MPD have in place to control that officer's

7          movements during his tour of duty?

8                 A    I have seen in some of the

9          investigative files, but not all of them, where

10         the officer's issued, I believe it's called, a

11         PO77, which is a revocation of police powers,

12         which means that the officer, my understanding,

13         doesn't have a badge or ID card, can't do any

14         enforcement duties, can't work off-duty paid

15         details as an enforcement officer.

16                Q   And do you know if that officer is

17         then assigned to do some work within the local

18         district that they are assigned?

19                A   You know, I don't have enough

20         information to give you an opinion on what

21         happens to that officer, whether they're sent

22         home, whether they're put in a closet, whether



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1          they're given menial tasks.                I just -- in the

2          materials I looked at, I couldn't see any

3          specificity to that.

4                           And I don't recall -- could be

5          mistaken.       I don't recall seeing that laid out in

6          any of the general orders, but it could be there.

7          I just don't recall.

8                  Q        Okay.     Would it be acceptable police

9          practice if that particular officer is -- not

10         only loses their police powers, their badge,

11         their service weapon, all the other service

12         equipment, but they are assigned only to desk

13         duty?       Is that within acceptable police

14         practices?

15                A         Yes.

16                Q        Mr. Reiter, do you know why it is that

17         the District sends cases to the U.S. Attorney's

18         Office?

19                         MR. SMITH:         Objection.         Let me --

20         under what circumstances?               What are we talking

21         about right now?

22                         BY MR. JACKSON:



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1                 Q      Mr. Reiter, do you understand my

2          question?

3                 A      Yes.

4                 Q      Okay.     And what is your answer?

5                 A      I don't know why.            I know what is

6          generally accepted.        If you believe there is a

7          possible criminal charge that prosecutor could

8          bring against the officer for whatever act of

9          misconduct they've been accused of, the only

10         person that can authorize the officer to be

11         criminally charged is a prosecutor.                And in your

12         case, it's the U.S. Attorney's Office.

13                Q     Do you know of any jurisdictions that

14         do not create what you call a Chinese wall and

15         first seek a declaration from the local

16         prosecutor's office before they proceed with the

17         administrative case against a law enforcement

18         officer?    Do you know of any jurisdiction, other

19         than the District?

20                A     Sure.      There's a lot of them.

21                Q     And which jurisdictions are those?

22                A     Well, for one example, my -- in



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1          past -- I know Philadelphia had that when they

2          had, oh, the woman who had been their DA for 50

3          years.     A lot of other departments do it.      So it

4          depends.    But I also know other departments who

5          do concurrent investigations, because they don't

6          want to wait for a prosecutor to make a decision.

7                        And particularly when they believe

8          they have sufficient evidence in the

9          administrative investigation to go ahead and

10         terminate or separate the officer from

11         employment, they go ahead and do that --

12                Q      Okay.   I --

13                A      -- and not wait for the prosecutor,

14         because then they don't have to keep paying the

15         person, because most departments, until the

16         officer is --

17                Q      So --

18                A      -- criminally charged with a felony,

19         most departments have to suspend the officer but

20         have to keep paying the officer.

21                Q      So just so I'm clear, so the District

22         of Columbia isn't the only municipality that has



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1          that process where matters are referred, criminal

2          matters, in this case a sexual assault, for

3          example, might be referred to a local prosecutor

4          before the administrative process or the

5          administrative case is completed within the

6          department.    Correct?

7                 A      That's correct.

8                 Q      And do you have an idea of how many

9          different jurisdictions are similar to the

10         District?

11                A      I have no way of knowing.         You know,

12         we don't even know how many police jurisdictions

13         there are.    You've got numbers ranging from

14         13,000 to 18,000.    We can't even identify how

15         many there are in the United States.            But, no, I

16         can't.

17                Q      Now, within the Metropolitan Police

18         Department, how many different units are there

19         that actually investigate sexual assault cases

20         involving police officers?

21                A      I don't know.

22                Q      Is there acceptable police practices



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1          for a police department to have what I will call

2          for the purposes a specialized unit to

3          investigate certain types of sexual assault

4          cases?

5                 A     Yes.

6                 Q     And are you aware of whether or not

7          the Metropolitan Police Department has any

8          specialized units that investigate a certain type

9          of sexual assault case?

10                A     Yes.

11                Q     And what's your understanding?

12                A     My understanding, you have at least

13         one that I'm aware of, a sexual assault unit.

14                Q     Any other kind of units?

15                A     That's the only one I've seen in

16         relation to the materials that I've reviewed in

17         this case.   But I have reviewed a general order,

18         but it was sexual assault investigations, but it

19         was not specific to police officer-involved

20         issues of misconduct.         It was a generic sexual

21         assault unit.

22                Q     Is it within acceptable police



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1          practices for a police department to have a unit

2          that focuses on sexual assaults regarding

3          children?

4                 A    Yes.

5                 Q    Do you know whether or not the

6          Metropolitan Police Department has such a unit?

7                 A    I believe they do.             I'm sure they do.

8          I would be surprised if they didn't.

9                 Q    Okay.     Well, I -- do you know for

10         sure, or are you guessing?

11                A    I'm just assuming that a department

12         that size is going to have a specialized unit

13         dealing with child sex abuse.            Yes.    Now, I could

14         go to the -- I could go back to my home.             I've

15         got the general order on investigating

16         allegations of sexual assault and review it, but

17         I don't have that with me.

18                Q    And so is it an accepted police

19         practices for the Metropolitan Police Department

20         to have a unit that investigates cases in which

21         the victim is a child?        Correct?

22                A    Yes.



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1                 Q    Okay.    And do you have an opinion as

2          to whether or not the sexual assault unit of the

3          Metropolitan Police Department deviates from

4          nationally accepted standards?

5                 A    No.   I don't have an opinion on that.

6                 Q    Excuse me, sir.

7                      (Pause.)

8                      BY MR. JACKSON:

9                 Q    Let me ask you, Mr. Reiter, about the

10         opinions that you hold as it relates to --

11                A   You know, if we're going into -- Mr.

12         Jackson, if we're going into another area, could

13         we take like a five-minute break?

14                Q   Oh, sure.        You want to take that now?

15                A   Yes.     Since you're going into another

16         area, yes, please.

17                Q   Okay.     Sure.

18                    MR. JACKSON:         We'll take a five-minute

19         break.

20                    (Whereupon, a short recess was taken.)

21                    BY MR. JACKSON:

22                Q   Mr. Reiter --



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1                 A    Yes.

2                 Q    Okay.     Thank you for your patience.

3          I don't know what happened.           We haven't touched

4          anything at this end, but thank you for your

5          patience.

6                      So, Mr. Reiter, now I just want to ask

7          you some questions on four different areas of

8          how -- on proving a constitutional claim against

9          a municipality.     Okay?     But I understand you're

10         not a lawyer, but just to give you a broad

11         understanding of where I'm going to go with my

12         questions, but you'll see once I start to ask.

13         Okay?

14                A    All right.

15                Q    Okay.     So do you have an opinion

16         whether or not the District of Columbia has a

17         written express policy of allowing officers to

18         engage in sexual misconduct of any kind?

19                A    They have no written policy concerning

20         sexual misconduct at all.          In fact, the director

21         of your disciplinary review division, in his

22         deposition, indicated he thought sexual



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1          misconduct was a vague term.              I mean, that's

2          ludicrous for any management, particularly one

3          who is over the disciplinary -- the final

4          disciplinary control body that metes out

5          discipline for an allegation such as sexual

6          misconduct to say it's a vague term.

7                        But to answer your question, they have

8          no written policy specifically authorizing them

9          to engage in sexual misconduct, because they have

10         no written policy at all that covers that area of

11         known police misconduct.

12                Q      Do you have an opinion as to whether

13         or not the -- a District of Columbia policymaker

14         has adopted an unconstitutional policy as it

15         relates to police officers engaging in sexual

16         misconduct?

17                A      Okay.     Are you talking about a written

18         policy?    Or are you talking about an operational

19         policy covering patterns or practice?

20                Q      Yes.     The latter.         Or either one.

21                A      I have not seen a written policy by

22         the policymaker, but in my opinion, looking at



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1          nearly 50 administrative investigative files

2          involving 13 different employees, including

3          Officer Best and looking at the depositions and

4          training records, in my opinion, they have an

5          operational policy of not addressing a known

6          police misconduct area involving sexual

7          misconduct, whether it's on or off duty, or

8          involving citizens or between officers.

9                      So in my opinion, they have created

10         this culture within the department by having a

11         pattern or practice of not addressing the issue,

12         either in written format or in training format.

13         And their investigative practices in the

14         administrative investigations I've looked at are

15         severely egregious and contrary to generally

16         accepted practices for this kind of serious act

17         of police misconduct.

18                Q   Okay.    And what is your understanding

19         of who is a policymaker?

20                A   In looking at the general orders, it's

21         signed by the chief of police.

22                Q   So do you have an opinion that the



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1          chief of police has adopted a policy that allows

2          police officers to engage in sexual misconduct?

3                 A     No.    The chief of police has made a

4          conscious choice not to even address the issue of

5          sexual misconduct, one way or the other.

6                 Q     And who is the chief of police you are

7          referring to?

8                 A     Well, looking at the record here, it

9          would go back to -- no.         I think Chuck Ramsey

10         left by that time, so it would be -- right now I

11         think it's Newcomb, Newsham and prior to that, it

12         was Chief Lanier.

13                Q    Okay.     So tell me.          What did Chief

14         Lanier do or did not do according to you?

15                A    She did not enact a policy concerning

16         sexual misconduct by police officers.            She did

17         not ensure that it was dealt with in training.

18         She did not articulate a proper definition of

19         what constitutes sexual misconduct by police

20         officers.   She did not ensure that there was a

21         reference number where the agency could, in fact,

22         access data to determine the frequency of these



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1          allegations of sexual misconduct by the police

2          officers.

3                 Q      And how did the training -- can you

4          hear me?

5                 A      I can.

6                 Q      And can you tell me in what way the

7          training was deficient?

8                 A      Well --

9                 Q      What did they fail to train the police

10         officers on?

11                A      I've looked at the basic academy

12         curriculum.    There is nothing there dealing with

13         sexual misconduct.      In fact, the person who was

14         deposed acknowledged that he had no knowledge of

15         a specific lesson plan that dealt with the issue

16         of sexual misconduct and thought that it might be

17         included possibly in the area of ethics, but he

18         did not know, and he was the person designated as

19         the 30(b)(6) person from the District.

20                       But I also, in looking at the

21         curriculum, basic academy curriculum, there is

22         nothing in there regarding sexual misconduct.



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1                 Q      And who was the person from the

2          academy whose deposition you read?

3                 A      I believe it was Alphonso Lee.          That's

4          A-L-P-H-O-N-S-O.      But let me check my report.

5          (Perusing document.)         No.    I was mistaken.   It's

6          Lieutenant Arthur Davis, director of recruit

7          training.

8                 Q      Did you see any -- did you see

9          anything in Lieutenant Davis's deposition that

10         indicated to you that they do teach or they do

11         address criminal conduct in the training?

12                A      My note that I took was, "There's a

13         block on sexual assault crimes and

14         investigation."       Yes.

15                Q      Okay.    And did you see where -- and is

16         it your opinion that that training would be

17         inadequate?

18                A      Is that the question, or were you

19         going to continue?

20                Q      No.   That was the question.

21                A      Inadequate for what?

22                Q      To teach officers during the training



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1          about sexual misconduct.

2                 A    Yes.

3                 Q    Is it -- why is that inadequate?

4                 A    Because that deals with dealing with

5          victims and suspects who are engaged -- who have

6          committed a sexual assault.           It does not talk

7          about the culture of the agency and the abuse of

8          authority on the part of the officer who uses his

9          or her badge and indices of the office to commit

10         sexual misconduct on normally very vulnerable

11         people in the community.

12                    Those are not topics that are

13         covered -- from my understanding of that section

14         of training for police officers, those are not

15         subjects that would be covered under the generic

16         investigating sexual assault crimes.

17                Q   So let me understand and see if I

18         understand you correctly.          Is it your opinion

19         that the Metropolitan Police Department should

20         have a portion of their training dealing strictly

21         with police officers' conduct as it relates to

22         sexual misconduct?



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1                 A       It's not only my opinion.              It's the

2          opinion of the International Association of

3          Chiefs of Police.     It's the opinion of Neal

4          Troutman, who's been doing ethics training for

5          law enforcement since the early 1990s.

6                         And it's my understanding of the same

7          opinion -- I mean, I've written policies and

8          directed training be conducted in this field for

9          17 state risk insurance pools that are associated

10         with Legal and Liability Risk Management

11         Institute that they use in dealing with their

12         clients in 17 different states.

13                    So it's not just me.                  It's the law

14         enforcement industry that has said, this is a

15         specific area of police misconduct that any

16         reasonable police manager should know will more

17         likely than not occur in their agency, and that

18         training will help guide officers in doing the

19         right thing.    And then absence of training crates

20         the culture within the agency where officers may

21         engage in sexual misconduct.

22                    I mean, a lot of officers who engage



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1          in sexual misconduct, particularly with crime

2          victims, say, In my opinion, it was consensual.

3          You know, consensual when they come to a victim

4          of a domestic violence, a person's been violated

5          by her significant other and now the officer

6          violates her again, as he consoles her and grooms

7          her to engage in sexual misconduct.              I mean,

8          that's something that is specific to law

9          enforcement, has nothing to do with sexual

10         assault investigations and training.

11                Q     What other kinds of crimes are

12         prevalent among police officers?

13                A     Excessive force, theft.             Those are the

14         big, large ones.     Falsification of reports in

15         probable cause affidavits for search warrants or

16         arrest warrants.     Those are probably the top tier

17         of serious allegations of misconduct involving

18         police officers.

19                Q     What about drug use or involvement?

20                A     Well, that's also misconduct as well.

21         But    I'm saying the serious ones that have a

22         direct impact on citizens -- drug use has an



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1          impact on the employee, and that can be

2          catastrophic to his or her performance.

3                      Now, when you're dealing with

4          falsification or erroneous probable cause

5          affidavit to enter someone's home, now you're

6          dealing with the citizens' rights.             When you're

7          dealing with sexual misconduct involving law

8          enforcement, you're dealing with vulnerable

9          people, traffic violators, someone who's been

10         stopped for DWI, a drug user, a runaway, a

11         juvenile, an Explorer Scout.

12                    Those deal directly with citizens, and

13         they're abuse of citizens through the abuse of

14         the police powers.    Sure, other things -- I mean,

15         crinkling a fender in your patrol car by running

16         into a light stanchion in a Starbucks, yes,

17         that's misconduct.    That's not the serious

18         misconduct we're talking about here.

19                Q   So is it adequate that the

20         Metropolitan Police Department teaches officers

21         of the criminal code which also -- which would

22         include sexual offenses, and they also have a EEO



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1          training program that all officers must go

2          through?

3                 A      Well, sure.      That's because the

4          Federal Government has told us we have to go

5          through EEO training.       We have to have bulletins

6          on the bulletin boards, covering what EEO is.          We

7          don't have bulletin boards talking about what

8          sexual misconduct is, do we?

9                        But even in the EEO area, even in

10         sexual harassment, yes, there could be sexual

11         misconduct.   But that is a different area of law

12         enforcement practices.       EEO has specific

13         requirements.   They have a different -- you know,

14         they talk about Title 7.        They have different

15         title they deal with than police sexual

16         misconduct.

17                       But that in itself -- I'm glad that

18         they have a two-hour block, which the persons

19         most knowledgeable said they did have, and that's

20         appropriate, because if we're abusing our own

21         employees, I mean, how do you expect an officer

22         not to feel it's okay to abuse citizens?



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1                      So, of course, we don't want our

2          employees to be abused, so EEO training is

3          appropriate.

4                 Q    So can you articulate for me what this

5          policy you're talking about, what is that policy?

6          What does it say to police officers?

7                 A    Well, I think better than that -- I

8          mean, I can read it over.          I put two policies in

9          my first report.     One of them is from the

10         International Association of Chiefs of Police,

11         which go through definitions.            It goes through

12         considering a policy for the chief.              Then I also

13         have put -- and that's on paragraph 11.

14                    Paragraph 12, which appears on page

15         11, is the sexual misconduct that I've written

16         for our insurance pool clients.             So I think look

17         at that, and you'll see what I'm saying the

18         District has made a conscious choice not to

19         involve or not to implement or create with -- for

20         their officers in the District.

21                    Now, I can read it if you want me to.

22                Q   No.     That's okay.          I have a question.



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1          Let's look at your paragraph 11.

2                 A    Yes.

3                 Q    Okay.     And at the bottom, you set out

4          a model policy.    Correct?

5                 A    The International Association of

6          Chiefs of Police have.        Yes.

7                 Q    Right.      I'm sorry.         You have

8          incorporated that into your report then.

9          Correct?

10                A    Yes.     As an example of one

11         authoritative organization within law enforcement

12         of what they've identified as being an ongoing

13         problem and to address that problem, you address

14         it through policy and you address it through

15         training.

16                Q    And in the definition that the IACP

17         gives, it says that it also includes "any

18         communication or behavior by an officer that

19         would likely be construed lewd, lascivious,

20         inappropriate, or conduct unbecoming of an

21         officer."   Do you see that?

22                A    I do.



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1                 Q      And as a matter of fact, in the

2          disciplinary policies of the Metropolitan Police

3          Department, one of the charges, the most serious

4          charge, is conduct unbecoming, isn't it?              Is that

5          correct?

6                 A      That's a catch-all phrase they have.

7          I think one of -- I believe you have 23 of them.

8          That's one of them.        Yes.

9                 Q      But in that sense, the Metropolitan

10         Police Department general order would be

11         consistent with the International Association of

12         Police by using the terms "conduct unbecoming of

13         an officer."    Isn't that correct?

14                A      No.    I disagree with you, because it

15         doesn't talk about the specificity that the IACP

16         policy talks about in specific regard to sexual

17         misconduct.

18                Q      Okay.     So if I understand you, your

19         opinion is that the Metropolitan Police

20         Department should tell police officers that you

21         cannot have sex with a child.              Is that correct?

22                A      Yes.



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1                 Q     And they should tell police officers,

2          you cannot rape a person.           Correct?

3                 A     Yes.

4                 Q     And they should tell police officers,

5          you cannot touch the private parts of another

6          person.    Is that what you're saying?

7                 A     Yes.     I'm saying that we have --

8                 Q     It's not enough --

9                       MR. SMITH:        You're talking over him.

10                      THE WITNESS:         I'm saying that you have

11         to tell the police officers, You now are

12         different than a normal citizen.                  You now are

13         wearing this badge and have the authority over

14         vulnerable people, over arrestees, over inmates.

15         You have power that a normal citizen does not

16         have.

17                      You can use the indices of your office

18         to engage in something of a sexual nature when

19         the person is in a position, vulnerable position,

20         where they can't refuse you or they feel

21         reluctant to refuse you.          Yes.

22                      They are absolutely different, and



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1          they have to be codified, and they have to be

2          trained with specificity to tell some person who

3          has never been a police officer before, has never

4          had that level of authority over citizens before,

5          has never encountered temptations like they will

6          as a police officer.       Yes.

7                        You have to train that person that

8          these are the things that you cannot do, and this

9          is the stance of our position.            These are

10         horrendous crimes.     These underrode the

11         professionalism and the image of our department.

12         Yes.

13                       And not only are we training you.

14         We're going to monitor you.          We're going to do

15         callbacks.    We're going to tenaciously

16         investigate allegations that come to us from any

17         source where there is an allegation of sexual

18         misconduct.   Yes.   They're different.         They're --

19                       BY MR. JACKSON:

20                Q      And am I --

21                A      -- distinct.

22                       MR. SMITH:     Could you not talk over



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1          him, please.

2                           THE WITNESS:         I'm done.

3                           BY MR. JACKSON:

4                 Q         Thank you.        And consistent with your

5          opinion, wouldn't they also have to teach a

6          police officer that now that you are carrying a

7          gun, you have authority over people, you cannot

8          go out and shoot people?              Correct?

9                 A         Yes.     And they do a great job there,

10         because they've got hours and hours and hours

11         about use of force training and how to shoot

12         proficiently.      But I'll be honest with you.

13         We've got a lot more sexual misconduct than we do

14         police officers killing citizens during the

15         course and scope of their duties.

16                Q         And do you know specifically what is

17         taught at the police academy as it relates to the

18         D.C. code and sexual assaults?                  Do you know the

19         curriculum?

20                A         I don't believe I've seen that lesson

21         plan.      No.

22                Q         Now, you said that there's some police



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1          officers who have never had -- or police officers

2          who've never been in a position where they've had

3          so much power, and that's one of the concerns,

4          that they now have this power, and they have to

5          understand that they cannot use their power in an

6          illegal manner.    Correct?

7                 A    Yes.

8                 Q    But would you agree that there are

9          police officers who change from one jurisdiction

10         to another jurisdiction?

11                A   You mean, move from one department to

12         another department?

13                Q   Yes.

14                A   Yes.

15                Q   And when that happens, is it your

16         opinion that that particular officer needs to go

17         through this training program that you were just

18         articulating?

19                A   You would have to evaluate.           I mean,

20         some -- you know, they can come to some training

21         programs where they get 400 hours of training.

22         In your case, in Metro PD, I believe you give



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1          five or six months of training.            So you'd have to

2          evaluate whether their training is going to be

3          adequate and comparable to how you train new

4          people.    Otherwise, you may be hiring someone who

5          has less knowledge and skills than a recruit

6          coming out from your own department.

7                       But still, the underlying issue is you

8          have no written policy that articulates what

9          sexual misconduct is, and you have no specific

10         training in your agency that addresses that

11         particular known area of police misconduct.

12                      So if you want to bring in an officer

13         from outside and they have less than the training

14         you provide your recruits, shame on you if you

15         don't provide them some sort of updated training

16         to make sure they now have training relevant to

17         what is necessary for the MPD.

18                Q     Are you familiar with the kind of

19         training sessions that the DC office of human

20         rights offers to all DC employees?

21                A     The office of human rights?          Yes.

22                A     Is that what you said?



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1                 Q      Yes, sir.

2                 A      No.

3                 Q      Would it surprise you to know that the

4          EEO training talks more -- doesn't talk only

5          about sexual harassment, but also the stuff

6          that's -- and gives examples of sexual

7          misconduct?    Are you aware of that?

8                 A      I haven't seen the lesson plan.                I

9          would suspect that it should, if it's a

10         reasonable training on EEOC provisions.               I mean,

11         you know, if an officer is -- you know, examples

12         in law enforcement:       If an officer, during the,

13         say, inspection at ongoing shift, one officer

14         takes his penis out and puts in the hand of a

15         female officer who has her hands behind her back

16         in a parade rest format, yes.             I would hope that

17         it would cover that and say, We don't do that.

18                       I would hope that it says, We don't

19         watch pornographic movies on your own smart phone

20         in a police car or in the station.                We don't

21         share with other officers pornographic images via

22         email or text or any other format.                I would hope



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1          that it would cover that.          I have not seen the

2          lesson plan.   I don't know whether it covers that

3          or not.

4                 Q    So is it your opinion that the

5          Metropolitan Police Department has to

6          specifically tell officers that you cannot do the

7          things that you just described?

8                 A    Yes.

9                 Q    And can you tell me the different

10         police departments that have lesson plans

11         consistent with what you just described to us.

12                A   I can't as I sit here right now.           No.

13         I can't tell you that.        I can tell you the IACP

14         talks about having specific, realistic training.

15         I can tell you that the model policy I created

16         that's provided to 17 states' insurance risk

17         pools talk about realistic and specific training.

18                    I can tell you that the block of

19         time -- I spend a two-hour block in the internal

20         affairs training programs I do specifically on

21         sexual misconduct, which are very specific and

22         deal not only with those kind -- I deal with the



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1          case law.   I deal with videotapes of what's

2          occurred in other departments.           I don't talk

3          about generic phraseology.        I get into the nuts

4          and bolts, dirt of police work.

5                 Q    So tell me the jurisdictions -- or how

6          many jurisdictions have adopted your model

7          policy?

8                 A    I can tell you that the insurance risk

9          pools in 17 states have adopted and provide this

10         policy to all of their client agencies.          Now,

11         those are sheriff and police departments.          I

12         can't tell you which ones specifically have

13         adopted them.

14                     And more importantly, a lot of

15         departments still stick their head in the sand,

16         kind of like what Metro PD does, and have not

17         done that, even though the IACP has said, This is

18         a critical issue; you need to do it.           And we

19         can't mandate that they do it.

20                     But we can then chastise them when

21         these instances of police misconduct arise in

22         their department and point the finger and say,



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1          You knew better; you had guidance; you made a

2          choice not to do what was proper to ensure your

3          officers knew what they could or could not do.

4                 Q    So of these 17 jurisdictions, you

5          don't know which ones, if any, have actually

6          adopted your model policy.          Correct?

7                 A    I don't.

8                 Q    What are some of these 17

9          jurisdictions?

10                A   I'm sorry?

11                Q   What are those jurisdictions that

12         you're referring to?

13                A   They're the states of Vermont,

14         Michigan, Ohio, Illinois, Kentucky, Tennessee,

15         South Carolina, North Carolina, Nebraska, Kansas,

16         South Dakota, Arkansas.         Those are the ones that

17         I can recall off the top of my head.             I probably

18         got close to 17.

19                Q   And just remind me again.              You offered

20         your model policy to a group -- what's the group

21         called again?

22                A   Well, I forgot Georgia.               In Georgia,



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1          it's GIRMA, Governmental -- Georgia

2          Intergovernmental Risk Management Association.

3          In South Dakota, it's the Risk Management

4          Association.    They're the underlying insurance

5          pools that underwrite police and sheriff

6          departments and will support them in lawsuits as

7          far as payouts and settlement agreements, or if

8          necessary, defend them in court.

9                 Q      So these are insurance companies?

10                A     No.   They're not actual insurance

11         companies.    What they are is they're

12         governmental -- intergovernmental risk pools that

13         get together under a memo of understanding t

14         provide risk management services to their client

15         agencies.    And some of them may have 20.       Some of

16         them may have 150 in the state where they offer

17         that service.

18                Q     Okay.    And the client agencies can be

19         law enforcement and non-law enforcement.

20         Correct?

21                A     No.   These are all law enforcement,

22         either police or sheriffs.



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1                 Q     All police or sheriffs.             Okay.   And of

2          all of these 17 jurisdictions, you don't know how

3          many police departments have actually adopted

4          your model policy.      Am I correct?

5                 A     That's correct.

6                 Q     Do you know if any department has

7          adopted your model policy?

8                 A     I've seen it in their policy, but I

9          can't tell you as I sit here which agency that

10         might be.    No.

11                Q     What jurisdiction?

12                A     I say, I can't tell you as I sit here

13         right now.   I don't know.

14                      MR. SMITH:       And next time you --

15                      BY MR. JACKSON:

16                Q     When was the last time you saw it --

17         whatever jurisdiction is in your mind, when was

18         the last time you saw that?

19                A     Within the last couple of years.

20                Q     Okay.

21                      MR. SMITH:       Hold on for a minute.

22         There's some ambient music playing in this room



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1          suddenly.     This is like a -- can we take a -- we

2          need to pause this.

3                         THE REPORTER:        Sure.

4                         MR. SMITH:      Ask the manager what it

5          is.

6                         VOICE:    It's off now.

7                         MR. SMITH:      We don't want it to come

8          back.      And it's background.        You've got to

9          communicate with people and tell them we're on

10         break right now.      We're on pause.

11                        THE REPORTER:        Mr. Jackson --

12                        MR. JACKSON:       Yes.

13                        THE REPORTER:        We're trying to find

14         out where the loud music is coming from.                 It's

15         disturbing these gentlemen, so we're going to go

16         do that for a couple of minutes if you don't mind

17         just holding on.      Thank you.

18                        MR. JACKSON:       I'm going to step out

19         and use the restroom, so five minutes?

20                        THE REPORTER:        Okay.         That'll be good.

21         Thank you.

22                        (Whereupon, a short recess was taken.)



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1                      THE REPORTER:         We're on.

2                      MR. JACKSON:        Thank you.

3                      BY MR. JACKSON:

4                 Q    Is it your opinion that but for this

5          lack of training as you just described it, that

6          this incident involving Ms. Buie would not have

7          occurred?

8                 A    No.   That's not my opinion.             We're

9          really talking -- this is one cog of developing

10         the culture within an agency where an employee

11         believed he could use the indices of his office

12         and do what he did on MPD property, on the fifth

13         floor where all the command staff normally hang

14         out, and in the internal affairs office.

15         Training alone is not adequate.

16                     It's the policy.           It's the training.

17         It's not only basic training, but it's in-service

18         training to reiterate it.         It's the

19         administrative investigations.            It's the

20         monitoring of officers and doing normal

21         supervisory oversight of officers.

22                     So I can't take one of them out and



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1          say, This is the key to Ms. Buie's harm.         No.    I

2          can't do that.

3                 Q       So based on all of those factors that

4          you just laid out for us or all of those areas

5          that you just laid out, do you have an opinion

6          that if those areas were different, that this

7          incident with Ms. Buie would not have taken

8          place?

9                 A       I can't say it wouldn't have taken

10         place.     I'm saying that more likely than not,

11         an -- a reasonable officer on any police

12         department would not go to the extent of what

13         Officer Best did with Ms. Buie.

14                       Now, of course, we're going to have

15         malignant officers, and if your agency, MPD, had

16         done all the things that I'm saying the law

17         enforcement industry says they should be doing,

18         if you had done all those things, I wouldn't be

19         here, because they wouldn't need a police

20         practices expert to opine on the customs and

21         practices of the agency, because I would say,

22         They're doing everything possible; they had a



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1          malignant officer that committed a dastardly act

2          of misconduct, but at least they have done

3          everything reasonable to create a culture where

4          any reasonable officer would know that is not

5          acceptable.

6                 Q       Okay.   So tell me, within the confines

7          of those things that you just stated, how could

8          MPD have prevented Officer Best from doing what

9          he did to Ms. Buie.

10                       MR. SMITH:      Objection.         It restates

11         his answer incorrectly.         Implicit in your

12         question is not adopting the answer he gave you.

13                       BY MR. JACKSON:

14                Q      Mr. Reiter, do you understand my

15         question?

16                A      Sort of.     You know, the one thing

17         you're asking me to do is to get into Officer

18         Best's mind.    I can't do that.           I -- nobody can

19         do that.    Nobody can get into his mind and

20         determine why he did what he did.                But I'm saying

21         that more likely than not, had MPD done all those

22         things that the law enforcement industry has



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1          advocated, more likely than not, it would not

2          have occurred.       Now, can I say absolutely it

3          won't?     No.

4                 Q         So is that the best that you can say,

5          is more likely than not, it might not have

6          occurred?

7                 A         Yes.

8                 Q         Okay.     Do you have an opinion as to

9          whether or not MPD had a custom and usage -- or a

10         custom or usage of allowing police officers to

11         engage in sexual misconduct at any level?

12                A         You know, I don't have enough

13         information.      I know that looking at -- there've

14         been a lot of discovery issues and problems with

15         this entire case.          I think I would have a better

16         ability to answer that question if there had been

17         more specific robust discovery on the part of the

18         District.

19                          But with the limited discovery and the

20         inadequacies the discovery displayed with the

21         recordkeeping of the District, I really can't

22         answer that question.



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1                 Q    Have you been retained in this case

2          and asked to render an opinion as to the

3          discovery in this case?

4                 A    I think my report talks about the

5          inadequate, inept filing system.                 I know that I

6          have worked with the Plaintiff attorneys during

7          the discovery process.        I have told them what a

8          reasonable police agency should have and should

9          have the ability to discover, and to my chagrin,

10         the District apparently doesn't have any of those

11         reasonable systems in place.

12                Q   So am I correct that based on the

13         reports -- or I'm sorry -- based on the materials

14         that you have identified in your two reports as

15         to what you considered, you cannot opine as to

16         whether or not it is a custom or usage in the

17         District of Columbia allowing police officers to

18         engage in sexual misconduct?            Is that correct?

19                    MR. SMITH:         Objection.          Now, you say,

20         custom or usage.     Is that what you're saying?

21         What is usage --

22                    MR. JACKSON:          That's what I'm saying.



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1                         MR. SMITH:     What's "usage" mean in

2          this situation?       I haven't heard that language.

3                         MR. JACKSON:      It's a part of the legal

4          standard.

5                         MR. SMITH:     I'm used to custom or

6          practice.     Custom or practice -- at least is that

7          what -- is that considered synonymous with what

8          you're saying, custom or usage?

9                         BY MR. JACKSON:

10                Q      Mr. Reiter, do you understand what I

11         mean?

12                       MR. SMITH:      I'm asking you a question.

13         I asked the question.        I have a question on the

14         table.     Don't talk past me, because that won't

15         work.

16                       BY MR. JACKSON:

17                Q      Mr. Reiter, do you understand my

18         question?

19                A      I don't understand "usage."        "Usage"

20         is not how I train when we talk about civil

21         liability in law enforcement.

22                Q      Okay.    Forget about the word "usage."



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1          Do you have an opinion -- my understanding, based

2          on all of the materials you have identified in

3          your two reports that you have reviewed, am I

4          correct that you cannot -- or you do not have an

5          opinion whether or not there is a custom within

6          MPD of allowing police officers to engage in

7          sexual misconduct?

8                        MR. SMITH:     Objection.         That garbled

9          question -- could you ask a straightforward

10         question, please.

11                       BY MR. JACKSON:

12                Q      Mr. Reiter, do you understand my

13         question?

14                A      Not really.      No.

15                Q      What do you not understand?           I'll

16         explain it.   Let me know what you don't

17         understand.

18                       MR. SMITH:     We're asking you to

19         restate the question in a simpler fashion.

20                       BY MR. JACKSON:

21                Q      Mr. Reiter, you testified that you did

22         not have enough information, when I first asked



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1          the question, to answer my question regarding

2          whether or not there was a custom in the District

3          of Columbia allowing police officers to engage in

4          sexual misconduct.     And you talked about the

5          discovery.

6                        My question to you is:            Based on the

7          documents that you have identified in your two

8          reports that you relied on in reaching your

9          opinions, am I correct that you do not at this

10         point have an opinion as to whether or not

11         there's a custom in the District of Columbia

12         allowing police officers to engage in sexual

13         misconduct?

14                A      Well, in the first place, I don't know

15         of any police department that has a custom of

16         allowing officers to engage in sexual misconduct.

17         But I do believe from my review of the materials

18         in this case that the District has created a

19         culture within the agency that could allow an

20         officer who wanted to abuse a female -- or wanted

21         to abuse someone's sexually, the belief that they

22         may not be held accountable for it, I believe,



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1          yes, the deficiencies in the District's systems

2          and investigative practices and lack of a

3          specific written policy and lack of specific

4          training and lack of specific supervisory

5          monitoring can create the culture where some

6          officers may believe they could engage in sexual

7          misconduct and not be held accountable for it.

8                      The District has never said, Hey, go

9          out there and sexually abuse females.            No.   They

10         have not said that directly.          But in acquiescing,

11         by not doing any of these other proactive

12         measures, they're not creating a culture that

13         would communicate to employees, This is wrong;

14         you can't do this.

15                Q   So what are those deficiencies in the

16         system that you keep talking about?            What are the

17         deficiencies?

18                A   Okay.     The first one, no written

19         policy on sexual misconduct.          The second one, no

20         specific training on sexual misconduct.           A third

21         one, deficient administrative investigations when

22         it comes to handling cases involving allegations



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1          of sexual misconduct.

2                      The inept filing of reports and

3          adjudications which leave so many unanswered

4          questions about what the District actually

5          finally did with officers who engaged in sexual

6          misconduct. I believe that probably covers most

7          of them.

8                 Q    Okay.   So if there was a written

9          policy, is it your opinion that former Officer

10         Best would not have done what he did as it

11         relates to Ms. Buie?

12                A   You know, again, I don't know what was

13         going on in Officer Best's mind.               I don't know --

14         I've never met the man.       I have no idea.         I know

15         that he was in -- I know that he was engaged in

16         several acts of sustained misconduct.

17                    I was surprised when he put

18         fraudulent -- when he was accused of fraudulent

19         timesheets and found to have lied, that the

20         department kept him on the job.           I mean, there's

21         a Brady and Gigilio issue -- by the way, Gigilio

22         is G-I-G-I-L-I-O -- and that the systems that --



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1          great written order the systems had on the PPMS

2          and the SSP, which is a -- kind of like an early

3          identification intervention system, great written

4          order with one exception. They don't tell me what

5          the threshold number is.

6                       But like I mentioned in my report,

7          Officer Best, I believe, in a three-year period

8          amassed 300 points on your own scale.           And

9          there's no documentation that he was ever

10         identified by this comprehensive written system

11         that the District says it has.           That in itself,

12         something happened.    Something had to fail if

13         that system, with 300 -- someone who garnered 300

14         threshold points, if that doesn't red flag an

15         employee, then the system simply doesn't work.

16                Q    So let me go on to my last area of --

17         my last section of this area, my last area of the

18         section.   Do you have an opinion as to whether or

19         not somebody within the Metropolitan Police

20         Department in a supervisory role was deliberate

21         indifferent to a need for further training as it

22         relates to sexual misconduct?



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1                 A     I've already said that.             I said

2          they've stuck their hand in the sand.             Here we

3          have all these national bodies and all these

4          reports and all these articles that have been

5          written that have identified this serious act of

6          police misconduct and that training is an

7          essential -- one of the essential elements to try

8          to nip it in the bud, and they -- somebody on MPD

9          has elected not to create that level of basic and

10         in-service training.

11                Q     And --

12                A     That would be --

13                Q     -- am I correct that the person that

14         you identified was former chief of police Cathy

15         Lanier?

16                A     No.   That was the question when you

17         asked me, who was the policymaker, and that's

18         where I said Ramsey and Lanier.             Now, I don't

19         know who -- I don't know if they have a training

20         committee.   I don't know who it is that

21         identifies what training will be provided to

22         District officers.      I don't know that person.



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1                 Q      And I'm just a little bit confused,

2          but just correct me if I'm wrong.                 Your opinion

3          as to deliberate indifference is the same opinion

4          that you gave as it relates to the policymaker?

5                        MR. SMITH:       Objection.         I mean, ask

6          that -- he doesn't remember everything he said.

7          What's the specific question you're asking?

8                        BY MR. JACKSON:

9                 Q      Mr. Reiter, do you understand my

10         question?

11                A      No.

12                Q      Okay.    So is there somebody that you

13         can point to within the Metropolitan Police

14         Department that you believe was deliberate

15         indifferent to police officers engaging in sexual

16         misconduct?

17                       MR. SMITH:       First I'm going to say,

18         objection, asked and answered.              But go ahead.

19                       THE WITNESS:        I've already said that

20         in my opinion, Chief Lanier was the policymaker

21         and the failures on the part of the District

22         ultimately rise to her level, and the fact that



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1          she made a conscious choice not to develop a

2          specific written policy, specific training for

3          basic and in-service, and ensure that the

4          administrative investigations were done in a

5          reasonable, efficient manner, yes.              She was

6          deliberately indifferent.

7                        Now, I know there's a whole bunch of

8          other people down the chain of command who had

9          specific responsibilities for those areas.                I

10         don't know specifically who they are.             If they

11         were identified, yes, I would say they're

12         being -- they were deliberately indifferent as

13         well.

14                       BY MR. JACKSON:

15                Q     Okay.   And although you might not know

16         their names, tell me the position these people

17         held.

18                A     I don't know.        I'm saying, chain of

19         command.    It could be assistant chief.           It could

20         be deputy chief, could be the director of

21         training.   It could be, you know, the head of

22         internal affairs.



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1                        I don't know those people, because

2          those persons -- even if I did know who they

3          were, they were not asked specific questions,

4          even if they had any knowledge, the few

5          depositions that I did read involving some of

6          those persons, so I can't identify who in your

7          chain of command would have had that

8          responsibility.

9                 Q      So let me -- going to page 20 of your

10         report --

11                A     That's the original report?

12                Q     I'm sorry.      Yes, sir.

13                A     All right.

14                Q     I'm sorry.      Just give me one second,

15         please.

16                      (Pause.)

17                      BY MR. JACKSON:

18                Q     Let me just -- let me ask you some

19         questions about Mr. Best.

20                A     All right.

21                Q     This incident occurred on December 3

22         of 2014.    Is that your recollection?



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1                  A        Yes.

2                  Q        And in your report, I know that you

3          talk about -- do you have an understanding of

4          whether or not Mr. Best was on duty or off duty

5          at the time of this incident?

6                  A        I know that he was in uniform, driving

7          a District vehicle.           He drove to the headquarters

8          building.       He used a key card to get into a

9          secure elevator.          He went up to the fifth floor,

10         a secure floor, where command staff and internal

11         affairs are located, and that's where the act

12         occurred.       He had his badge, his gun.

13                         Whether he was on or off duty, I don't

14         specifically know, but I know most police

15         departments consider an officer on duty 24/7 and

16         can be held accountable for anything that happens

17         24/7.       And that's from a public safety

18         standpoint, but more importantly in his case, he

19         had all the equipment and indices of the office.

20                         So in my opinion, I would say, yes, he

21         was on duty.

22                Q        So your opinion is based on whether or



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1          not former Officer Best can be held responsible

2          for what he did.     My question is whether or not

3          the employer -- does it make a difference in your

4          opinion as to the employer's liability if the

5          employee is on duty or off duty?

6                      MR. SMITH:        Okay.      First of all, I'm

7          going to object, because that would -- you didn't

8          ask that question.      You might have that question

9          in your mind.   You certainly never said it to us.

10         Now if you want to ask that question now, fine,

11         but I object to the idea that you asked that

12         question.

13                     BY MR. JACKSON:

14                Q    Would you answer my question, Mr.

15         Reiter.

16                     MR. SMITH:        Could you restate the

17         question, because he can't remember.

18                     BY MR. JACKSON:

19                Q    Mr. Reiter, can you -- you look a very

20         healthy man to me, Mr. Reiter.             Do you remember

21         the question?

22                A    The last question?             I remember the



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1          first one and the last one.           Which one do you

2          want me to answer?

3                 Q       The last question.

4                 A       The last question, can the employer be

5          held liable?     Yes.

6                 Q       Even if the employee is off duty.

7                 A       You need I read case law, and I train

8          in seminars.     Absolutely.       I mean, that has been

9          a consistent trend.      All you have to do is look

10         at even Supreme Court cases that involve sexual

11         misconduct, and I used some from the Fifth

12         Circuit and from the Eleventh Circuit and from

13         the Ninth Circuit, and these are all off-duty

14         cases.

15                       And I remember Justice Scalia saying

16         in the one case -- and this is the one from San

17         Diego.     He said, you know, We're not going to

18         allow some police officers to engage in

19         masturbating and selling videotapes on eBay; no;

20         that's wrong.    And, I mean, it was all off duty.

21         Not my favorite Justice, but, you know, he had

22         some colorful opinions.



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1                      So, yes.     I think the court cases have

2          continuously said that police departments have

3          the authority to control their employees on and

4          off the job.

5                 Q    Have you had an opportunity to look at

6          Officer or former Officer Best's time and

7          attendance record for December 3?

8                 A    I don't have a recall of that.         No.

9          I may have seen it.    I don't --

10                Q   One of the things that you said that

11         you read was former Chief Kimberly Chisley-

12         Missouri's deposition.      Remember that?     Remember

13         reading that?

14                A   I did.     Yes.

15                Q   And did you look at the exhibits that

16         were attached to that deposition?

17                A   There were voluminous, and I did.           But

18         I don't have a specific recall to any time

19         record.

20                Q   Well, if I represent to you that

21         Darrell Best was not on duty at the time of this

22         incident, does that change your opinion at all?



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1                 A       No.

2                 Q       And is it your opinion that if the MPD

3          did everything that you have identified that was

4          deficient, that somehow Ms. Buie would not have

5          been assaulted?

6                 A       You know, I've answered that numerous

7          times.     I've said I can't get into Officer Best's

8          mind.      I don't know what was going on there.             I

9          can say that if the culture represented by my

10         readings of the materials in this case and the

11         administrative investigations, if the culture had

12         been what I'm recommending it should have been,

13         more likely than not, it may not have occurred.

14         But that's the best I can do, to answer your

15         question.

16                Q       Just give me one second, please.

17                        (Pause.)

18                        BY MR. JACKSON:

19                Q       Mr. Reiter, what is your understanding

20         of how the relationship between Ms. Buie and

21         former Officer Best developed?

22                        MR. SMITH:       Objection.         When you say,



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1          the relationship, what are you talking about?

2                       BY MR. JACKSON:

3                 Q     The knowledge of each other, how did

4          that come about?     What is your understanding?

5                 A     It's my understanding they knew each

6          other prior to this incident occurring.            Vaguely

7          I recall, I believe it was from something to do

8          with his church where he was the preacher of his

9          church, but I'm not positive about that.            But I

10         believe, yes, they knew each other.

11                Q     Is there -- in your opinion, is there

12         anything that the Metropolitan Police Department

13         could have done to prevent Officer or former

14         Officer Best from assaulting Ms. Buie?

15                      MR. SMITH:       Okay.      Again, I'm going to

16         object as asked and answered on multiple

17         occasions.   But go ahead.         Proceed.

18                      THE WITNESS:        You know, like I've

19         said, in my opinion, from the materials I've

20         reviewed, the agency has created a culture that

21         has not adequately defined in written format,

22         trained with specific, realistic examples, both



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1          at basic and in-service, monitored and then

2          created administrative investigations and filing,

3          and the whole issue of being able to look at an

4          overview of what their officers are doing that

5          are getting them in trouble and making corrective

6          moves there, and there's no indication that

7          there's any ongoing monitoring of what the

8          officers are engaged in on a realistic way.

9                       I mean, just the number of instances

10         that have come from the 7th District that I've

11         seen -- and I've only scratched the surface on

12         this documentation -- any reasonable manager

13         would say, What the hell's going on down there;

14         is this some sort of frat house that we've got in

15         the 7th District.

16                     And, now, would all of those things

17         have stopped the sexual assault against Ms. Buie?

18         I'm saying, more likely than not.              That's why we

19         do this.   Could it have occurred?             Possibly, yes.

20         But it's the idea that if they had done all those

21         things, I wouldn't be here doing this deposition

22         now.



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1                           BY MR. JACKSON:

2                 Q         So, Mr. Reiter, you have been retained

3          as an expert in many cases.                Correct?

4                 A         I have, even by the District.

5                 Q         All right.        Even by the District.          And

6          those cases have ranged from constitutional

7          claims to negligent claims.                Correct?

8                 A         Yes.

9                 Q         And you know that it is always

10         important to establish causation in a lot of

11         cases.       Correct?

12                A        Well, I know that's the plaintiff's

13         job.       That's rarely the job of the expert.

14                Q        So you -- based on what you just said,

15         am I correct that you have no opinion as to

16         causation in this case?              Is that correct?

17                         MR. SMITH:         Objection.         Restating

18         incorrectly the witness's answer -- if you want

19         to ask him a question, go ahead and do it, but

20         you don't have to twist his words.

21                         BY MR. JACKSON:

22                Q        I didn't ask you if what I said to you



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1          was repeating your words.            My question is:       You

2          cannot opine in this case on the issue of

3          causation.       Isn't that correct?

4                  A        I don't do that as an expert.

5                  Q        Okay.

6                  A        So I don't have an opinion --

7                  Q        But isn't it correct --

8                  A        I don't have an opinion.          That's

9          not -- in my opinion, that's not the role of an

10         expert, at least police practices expert.

11                         MR. SMITH:      They can mute.      They

12         probably can hear us right now, but we can't hear

13         them.       That's not your fault, but -- can you hear

14         us?

15                         (No response.)

16                         MR. SMITH:      Yes, he can hear us,

17         because he's looking at me right now.

18                         MR. JACKSON:       Go ahead.

19                         MR. SMITH:      You can hear us.      Right?

20                         MR. JACKSON:       I can now.

21                         MR. SMITH:      We're on the record it's

22         structured so you can mute us, but we can't mute



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1          you.

2                       THE WITNESS:       No.     It's the reverse.

3          They mute themselves.

4                       MR. SMITH:      Right.       I know.   They can

5          talk among themselves, but we can't.

6                       MR. JACKSON:       Can we go off the record

7          for one second.

8                       (Whereupon, a short recess was taken.)

9                       THE REPORTER:        We're on.

10                      MR. JACKSON:       We're on?       Thank you.

11                      BY MR. JACKSON:

12                Q     Mr. Reiter, you indicated that Officer

13         Best had accumulated 300 points in the PPMS

14         system.    Correct?

15                A     My interpretation of it, yes.

16                Q     Okay.    And where did you get the 300

17         points?

18                A     Well, you know, attached to your --

19         the order, at the end of it, there are

20         actually -- the categories of acts of misconduct

21         that give a point scale, and all I did is add

22         them up.



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1                 Q    Okay.     And which misconducts did you

2          add up?

3                 A    (Perusing document.)                 Okay.   I have to

4          go to my notes, so can you hang on a minute?

5                 Q    Sure.

6                 A    (Perusing document.)                 Okay.   In a

7          three-year period between 2006 and 2008, he had

8          four administrative investigations.                Three of

9          them were sustained.       The first one was 06-158,

10         which was the time and attempted fraud and lying.

11         He got a 30-day suspension.           The SSP points would

12         be 100 for that.

13                    In '07, IA 07-2351 was the -- he had

14         a domestic incident with his wife and a temporary

15         protective order served on him.             I looked at

16         that, even though there's an unknown disposition,

17         under the chart, that would have been a hundred

18         points.

19                    And then 2008, the incident with Ms.

20         Lee, the sexual harassment, where he was demoted,

21         and he was not truthful was another hundred

22         points.



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1                 Q         Is that it?

2                 A         Those -- that's how I amassed 300

3          points.       That's what you asked me.

4                 Q         Okay.   So the 2006 incident, that

5          would not have been included in PPMS.              Isn't that

6          correct?

7                 A         Why would you say -- oh, are you

8          saying because it was the -- I'd have to go back

9          to see -- are you saying that the order was

10         not -- that program was not in effect at that

11         time?

12                Q        The PPMS operating procedures have a

13         date of April 2007, so that would not have picked

14         up the 2006 incident.          Isn't that correct?

15                A        Well, actually, you know, that's the

16         fallacy of the District.           I mean, you enact

17         something.      Why wouldn't you go back for the same

18         period of time for just the -- if you're going to

19         have a threshold -- a span of either two years or

20         three years, you would make it retroactive.

21                         So, I mean, that's a deficiency they

22         had.       I don't think that's -- so I disagree with



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1          you.       I think it's still -- any reasonable

2          agency, when you enact that would go back.               You

3          don't start fresh.        You got to say, Do we have

4          any people we need to worry about now, based on

5          what occurred one year before or two years

6          before.      Now you have the ability to do that.

7                 Q        So was it --

8                 A        But it doesn't matter, because in his

9          case, I don't think it was ever done.               And nobody

10         has said what the threshold is.               Nobody has -- in

11         any of the depositions, including the assistant

12         chief -- I forgot his -- he started with an M,

13         his last name.      He didn't know what the number of

14         points necessary to trigger the PPMS or the SSP

15         either.      I don't know who knows that.

16                Q        Do you have an opinion as to whether

17         or not the Metropolitan Police Department should

18         have terminated Best prior to the incident with

19         Ms. Buie?

20                A        You know, I don't have enough

21         information to give you an opinion on that.               I'm

22         saying -- mainly because I don't -- when you get



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1          into termination, you have to know the person

2          themselves.    It's more than what's on paper, so I

3          really don't have an opinion.

4                 Q      Okay.    Well, let me          --

5                 A      Now -- well, let me back up.

6                 Q      -- ask.     Based on the --

7                 A      Let me back up.          Could they have?

8          Based on what limited I've seen, sure.                  I mean,

9          twice he's been untruthful.            I mean, what good is

10         an officer who's lying during administrative

11         investigations?     But apparently that was not

12         enough to get him terminated.             Could they have

13         terminated him for lying in two administrative

14         investigations?     Yes.

15                Q      I understand that they could have

16         terminated him.     My question is:               Based on your

17         expert opinion, on your experience, do you have

18         an opinion as to whether that they should have

19         terminated Officer Best prior to the incident

20         involving Ms. Buie?

21                A      No.   I can't answer that, because I

22         don't know Officer Best.          When you get into a



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1          personnel decision like that, you have to have

2          intimate knowledge of the employee.                 So I have no

3          opinion on that.

4                  Q        Are you aware of any other

5          jurisdictions that have allowed police officers

6          who have been accused of sexual misconduct to

7          remain on the job?

8                  A        Some have.

9                  Q        And am I correct that if I ask you,

10         Mr. Reiter, if the Metropolitan Police Department

11         had terminated Officer Best, that the incident

12         with Ms. Buie would not have occurred, you don't

13         have an opinion on that.           Correct?

14                         MR. SMITH:      Objection.         It's a

15         ridiculous question.

16                         THE WITNESS:       It would not have

17         occurred where he's using his authority as a

18         police officer, the indices and equipment of the

19         police department.        That would not have occurred.

20          Yes.       Now, he might have raped her in his church

21         office.       I don't know.

22                         BY MR. JACKSON:



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1                 Q    And just so that we're clear, Mr.

2          Reiter, you're aware that Officer -- former

3          Officer Best did not rape Ms. Buie.              Correct?

4                 A    No.   It was an attempt rape.             Yes.

5                 Q    So let me just -- I think I'm going to

6          be finished probably within the next half-hour or

7          so, maybe less than that.         I just want to ask you

8          about some of the specific claims in this case.

9                      I understand that you are not an

10         attorney, Mr. Reiter, but let me ask you.             Do you

11         have an opinion as to whether or not the District

12         violated Ms. Buie's Fifth Amendment rights?

13                     MR. SMITH:       Objection.         He's not an

14         attorney, and you shouldn't be asking that

15         question.

16                     BY MR. JACKSON:

17                Q    You can answer, Mr. Reiter.

18                A    No, I don't have an opinion.

19                Q    Do you have an opinion as to whether

20         the District deprived Ms. Buie of her liberty?

21                     MR. SMITH:       Objection.         He's not an

22         attorney.   But go ahead.



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1                       THE WITNESS:       No, I don't have an

2          opinion.

3                       BY MR. JACKSON:

4                 Q     Thank you.      Do you have an opinion,

5          Mr. Reiter, as to whether or not the District

6          deprived Ms. Buie of her right to bodily

7          integrity?

8                 A     I don't have an opinion.

9                       MR. SMITH:      Objection.         Not an

10         attorney.    Go ahead.

11                      THE WITNESS:       No, I don't have an

12         opinion.

13                      MR. JACKSON:       Mr. Smith, I will give

14         you a running objection on all these questions if

15         you want, but if you want to state it for the

16         record, that's fine with me.

17                      MR. SMITH:      Okay.      Thank you for the

18         running objection, David.         That's nice of you.

19                      BY MR. JACKSON:

20                Q     Mr. Reiter, have you been asked to

21         render an opinion as to whether or not the

22         District negligently entrusted Ms. Buie with



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1          Officer Best?

2                 A      I have not been asked that.

3                 Q      Have you been asked to render an

4          opinion as to whether or not the District was

5          negligent in retaining Officer Best?

6                 A      I have not.         I have not been asked

7          that.

8                 Q      And do you have an opinion on that at

9          this point?

10                A      No.

11                Q      Mr. Reiter --

12                A      Yes.     Still here.

13                Q      Okay.     Have you looked at any videos

14         relevant to this case?

15                A      No.

16                Q      Have you spoken with Ms. Buie?

17                A      I have not.

18                Q      Have you spoken with Ms. Buie's

19         mother?

20                A      No.

21                Q      Have you read Mrs. Buie's deposition

22         transcript?



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1                 A      Oh, the mother?          No.

2                        MR. SMITH:       Because you said Mrs.

3          Buie.

4                        MR. JACKSON:        Yes.

5                        BY MR. JACKSON:

6                 Q      The mother.

7                 A      No.

8                 Q      Do you have an opinion as to the

9          quality of the investigation report that was

10         completed by Nicole Webster?

11                      MR. SMITH:        Objection.         Could you

12         clarify?    There's more than one, so which one are

13         you talking about?

14                       BY MR. JACKSON:

15                Q     The investigation report relating to

16         Ms. Buie.

17                A     You know, there were about six

18         different citations on that case, so I'm not sure

19         exactly which you're talking about.

20                Q     The list of documents that you said

21         that you reviewed, one of those was the

22         deposition transcript of Nicole Patrice Webster.



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1          So you read her deposition.             Did you look at any

2          of the exhibits that were attached to that

3          deposition?

4                        MR. SMITH:        Hold on for a minute.

5          Even -- I'm genuinely confused about the question

6          you asked then.      What -- could you restate the

7          original question, because neither one of us

8          understood it.

9                        BY MR. JACKSON:

10                Q      Mr. Reiter, do you understand my

11         question?

12                A      No.    Tell me which case you're

13         referring to that Lieutenant Webster did.            Which

14         case am I looking at?

15                Q      Let me refer you to your report, where

16         you mentioned her.        Just bear with me for one

17         second, please.

18                       (Pause.)

19                       BY MR. JACKSON:

20                Q      Going to your paragraph 43 in the

21         original report or the initial report --

22                A      Yes.



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1                 Q    -- you talk about the administrative

2          investigation by -- regarding recruit Officer

3          Rayna [phonetic] Jones.

4                      MR. SMITH:       Is that a question or is

5          it a statement?

6                      MR. JACKSON:        It's a statement.          I

7          just want to make sure that we're -- he's on

8          that.

9                      BY MR. JACKSON:

10                Q   Do you see that?

11                A   I'm on that paragraph.               Yes.

12                Q   So the investigation that you're

13         referring to there, do you have an opinion as to

14         the adequacy of Lieutenant Webster's report?

15                A   The -- I have an opinion regarding her

16         investigation or lack of it.           Yes.

17                Q   And what is your opinion?

18                A   That is was egregiously deficient.

19         She basically dropped the ball, and she didn't

20         pick it up and do an administrative investigation

21         regarding the allegations from Ms. Jones.               And I

22         think I've laid it out, both in paragraph 43 and



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1          44, specifically what I thought -- why I thought

2          this was so egregiously deficient.

3                 Q    And do you have an opinion as to

4          whether or not, if the report was not -- if it

5          was not egregiously deficient, whether or not the

6          incident involving Officer Best and Ms. Buie

7          would not have occurred?

8                 A    No, I don't have an opinion.             You

9          know, it's the idea if they had sustained it, who

10         knows what would have happened?           I don't.

11                Q   And you cannot say within a reasonable

12         degree of your -- of professional practice that

13         there is a causation between Lieutenant Webster's

14         report and the incident involving Ms. Buie.

15         Correct?

16                A   Well, I've already answered the

17         question on causation.      But I think what this

18         really reflects is the failure of the

19         administrative investigation into a serious

20         allegation by a police recruit, and that leads

21         into all of my answers regarding the creation of

22         this culture within the department.



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1                         I mean, they dropped the ball on this

2          case.      She never even -- she acknowledged --

3          Lieutenant Webster acknowledged she didn't even

4          know there had been a sexual assault unit

5          investigation, never saw the reports.              I mean,

6          but I can't say that in and of itself, that led

7          to what occurred with Ms. Buie.              No.   I have no

8          opinion on that.

9                         MR. JACKSON:       All right.       Well, I have

10         at this point no further questions, and I thank

11         you very much.     I'm not sure if Mr. Smith has

12         some questions for you.

13                        MR. SMITH:      I'm going to ask him a

14         couple questions.      Okay.

15                               CROSS-EXAMINATION

16                        BY MR. SMITH:

17                Q       And since we're right at this Rayna

18         Jones situation and what he just asked, I'm going

19         to turn on that and ask a slightly different

20         question.     Now, you are aware that the case that

21         followed the Rayna Jones investigation was the

22         Janice Lee investigation.           Right?



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1                 A    Yes.

2                 Q    And though that situation involved

3          allegations of sexual misconduct as well.

4          Correct?

5                 A    Yes.

6                 Q    Now, let me take a moment to clarify.

7          Earlier in this deposition, Mr. Jackson asked you

8          if there was a distinction between sexual

9          harassment and sexual misconduct.                And you said,

10         yes, there was, and you opined on that

11         distinction.   Okay.

12                    But now I'm going to ask you:                Despite

13         that distinction, which I'm not resisting that

14         these two things are to be distinguished, are

15         you -- do you not recognize the view that sexual

16         misconduct is the broader term, and sexual

17         harassment can fall under that broader term, even

18         despite the distinction you recognize?

19                A   Of course it can --

20                    MR. JACKSON:          Objection as to the form

21         of the question.

22                    MR. SMITH:         Would you -- did I --



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1                       THE WITNESS:        He might want to have an

2          objection.

3                       MR. SMITH:       Okay.      Are you objecting?

4                       MR. JACKSON:        Yes.      Objection as to

5          the form of the question.

6                       MR. SMITH:       Okay.      Fine.

7                       BY MR. SMITH:

8                 Q     Now go ahead.

9                 A     No.     It can be a subsection, depending

10         on what the nature of the sexual harassment is,

11         because more importantly, you get someone who is

12         engaged in sexual harassment of other employees.

13         That also can be indicative of someone who has

14         some real issues with gender discrimination, so

15         that can be an employee as well as a citizen.

16                      Not necessarily true, but in my

17         opinion, yes.    Sexual harassment is under the

18         umbrella, total umbrella, of sexual misconduct.

19         But the investigative techniques may be

20         different.

21                Q     Okay.    Now -- and that was a

22         parenthetical.     Back to the broader question.



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1          All right.   So you know that the Janice Lee -- do

2          you recall the underlying allegation associated

3          with the Janice Lee investigation?

4                 A     I'd have to go back to my notes.                I

5          know she was an employee, and I believe they

6          were -- I think he was making some utterances.

7          And I have to go back.         He regularly made

8          utterances about wanting to, using the

9          vernacular, eat pussy, and I don't know if that

10         was part of it with Janice Lee or not.             But I

11         know that was a common thread that he apparently

12         had.

13                Q     Okay.     Are you aware that the Janice

14         Lee allegations were sustained?

15                A     They were.

16                Q     Okay.     Now, and the Rayna Jones matter

17         preceded the Janice Lee matter.              Correct?

18                A     It did.

19                Q     And do you recall that it was while

20         the Rayna Jones matter was under investigation

21         that the Janice Lee incident occurred?

22                A     Yes.



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1                 Q       Okay.    So related to the question he

2          asked you but distinctly different, if the Rayna

3          Jones case had been sustained and as we know, the

4          Janice Lee case had been sustained, do you have

5          an opinion on whether or not Mr. Best should have

6          been fired?

7                         MR. JACKSON:      Objection.       Asked and

8          answered.

9                         MR. SMITH:     I never asked that

10         question, so I don't know what you're talking

11         about.     Asked and answered by whom?           This is the

12         first time I asked him the question.

13                        BY MR. SMITH:

14                Q       But anyway, go ahead.

15                A      No, I don't have a definite opinion

16         there.     I'm saying it would be another build-up,

17         and that would have meant four instances in that

18         period of time as well.         It could have resulted

19         in termination.

20                Q      Okay.    Just bear with me, because I

21         don't have much.       Oh, now, earlier in your

22         testimony, the dialogue between you and Mr.



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1          Jackson, you talked about the issue of

2          declination, and you said, well, that's a

3          conscious decision that the District has made to

4          suspend administrative investigation while the

5          criminal inquiry by the United States Attorney's

6          Office is being made; they didn't have to set it

7          up that way.    Is that correct?            Did I hear you

8          correctly?

9                 A     Yes.

10                Q     Okay.     So --

11                      MR. JACKSON:         Objection as to form.

12                      MR. SMITH:        I'm sorry?

13                      MR. JACKSON:         Objection as to the form

14         of your question.

15                      MR. SMITH:        Okay.

16                      BY MR. SMITH:

17                Q     So then what are some of, in your

18         opinion, the philosophical implications of the

19         fact that they did choose to set it up that way,

20         the District?

21                      MR. JACKSON:         Objection as to the form

22         of the question.



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1                      THE WITNESS:       Well, there can be

2          several.   One thing, we know that prosecutors

3          have a different burden of proof, so in many

4          cases, the incident may have occurred, but it

5          doesn't reach the beyond a reasonable doubt, and

6          prosecutors are very conscious normally about

7          their success rate.

8                      And then throughout the country, some

9          police agencies will then use a declination to

10         prosecute as a reason to suspend the

11         administrative investigation and simply not look

12         beyond the four corners of what occurred here and

13         look at the cultural implications, the

14         supervisory implications, what other officers may

15         have known and maybe didn't report.

16                     So there's a lot of other things that

17         if an agency -- if a prosecutor declines to

18         prosecute a police officer who is involved in,

19         let's say, a sexual assault case, the agency may

20         overlook all of those other areas that could be

21         uncovered in the administrative investigation and

22         lead to a disruption of a false culture within



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1          the department.

2                      So, I mean, some departments -- and I

3          don't know if MPD does that, because the cases

4          that we've looked at, in all those cases -- well,

5          I can't say that.    Well, yes, I can say that,

6          because in the case of Rayna Jones is a good

7          example.   There was a declination on the part of

8          the prosecutor in that case, and Lieutenant

9          Wilson dropped the ball and didn't conduct an

10         administrative investigation --

11                Q    Do you mean Lieutenant Webster not --

12                A    Lieutenant Webster didn't conduct, and

13         so there's a specific example involved in the

14         production in this case that shows the

15         consequences of having this kind of set-up with

16         the prosecutor and not bifurcating the cases and

17         investigating them concurrently.

18                Q    So would you say structuring the

19         investigative process the way the District has

20         it, so that it's suspended during the declination

21         inquiry, is consistent with your other opinion

22         that the District has developed a culture of



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1          conscious indifference towards sexual misconduct?

2                 A        Yes.     That could be true.           Yes.

3                 Q        Okay.

4                 A        Long-winded question.

5                 Q        Yes, I know.         They happen sometimes.

6                          MR. SMITH:        All right.         I'm good for

7          now.       No more questions from me.

8                REDIRECT EXAMINATION

9                          BY MR. JACKSON:

10                Q        Just to follow up, Mr. Reiter, do you

11         know what happens in the District of Columbia

12         once the U.S. Attorney's Office issues the letter

13         of declination?

14                A        Do I know what the District then does

15         when they get a declination?                Is that what you're

16         asking me?

17                Q        Yes.     Let me rephrase that, because it

18         might not have been clear.              Do you know what

19         steps, if any, the Metropolitan Police Department

20         takes as it relates to the administrative

21         investigation, once the U.S. Attorney's Office

22         issues their letter of declination?



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1                  A        I don't have a specific protocol of

2          what they would do, because there's -- in the

3          materials I've looked at, there's so few of

4          those.       The only one I can point to is Rayna

5          Jones when they declined a filing and they

6          dropped the administrative investigation.

7                           There may have been one other,

8          possibly with Officer Dixon [phonetic], but I'd

9          have to go -- he was the detective who was -- no.

10         In that case, they got the declination.              They

11         went ahead and administratively -- they

12         investigated that case, so that was a little bit

13         different.

14                         But I don't know if there's a standard

15         protocol or not, so I can't answer your question,

16         Mr. Jackson.

17                         MR. JACKSON:       Okay.      Thank you very

18         much.       That's all that I have.          And we will make

19         sure that we put this check in the mail --

20                         MR. SMITH:      No.     Go ahead.   I'm sorry.

21                         MR. JACKSON:       Okay.      So we'll make

22         sure that we put your check in the mail to you



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1          today.      And again, thank you.         We're finished.

2          I'm finished.

3                         MR. SMITH:      Okay.      Well, hold one.

4          There might be one more housekeeping issues.                 I

5          just need to make sure.

6                         (Pause.)

7                         MR. SMITH:      All right.         We're fine.

8                         THE WITNESS:       Thank you, Mr. Jackson.

9                         MR. JACKSON:       Thank you.       Are you

10         going to read and sign?

11                        THE WITNESS:       I'd like to.       Yes.

12                        MR. JACKSON:       Okay.      Thank you very

13         much.      Have a good day.

14                        (Whereupon, at 1:22 p.m., the taking

15         of the instant deposition was concluded.)

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                                     C E R T I F I C A T E


         This is to certify that the foregoing transcript


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         In the matter of: Jaquia Buie v DC


         Before: US District Court


         Date:            02-28-19

         Place: Alpharetta, GA



         were duly recorded and accurately transcribed under

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             EXHIBIT 15
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                                Alphonso Lee

                                                                        Page 1
 1                     UNITED STATES DISTRICT COURT
 2                           DISTRICT OF COLUMBIA
 3                               Civil Division
 4     ------------------------------x
 5     JAQUIA BUIE,                            :
 6                         Plaintiff,          :
 7     vs.                                     : Case No.
 8     DISTRICT OF COLUMBIA, et al., : 1:16-CV-01920-CKK
 9                         Defendants.         :
10     ------------------------------x
11                             Washington, D.C.
12                     Wednesday, November 14, 2018
13
14     Deposition of:
15                                ALPHONSO LEE
16     the witness, called for examination by counsel for
17     the plaintiff at Smith Mustille LLC, 2200
18     Pennsylvania Avenue, Northwest, 4th Floor East,
19     Washington, D.C., commencing at 10:15 a.m. before
20     Suzanne M. Enderson, Court Reporter and Notary
21     Public in and for the District of Columbia, and
22     present on behalf of the respective parties:


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                                                                        Page 2
 1     APPEARANCES:
 2
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                                                                      Page 12
 1     Metropolitan Police Department as it relates to EEO.
 2           Q.    I'm sorry?
 3           A.    As it relates to EEO.
 4           Q.    You were clarifying -- "as it relates to
 5     EEO," what are you clarifying?
 6           A.    Yes.    I said it governs all things that
 7     deal with EEO.
 8           Q.    Okay.     And does this general order comment
 9     on sexual misconduct anywhere?
10           A.    Yes, it does.
11           Q.    So you're equating sexual harassment with
12     sexual misconduct?
13                 MR. JACKSON:       Objection as to the form of
14     the question.
15                 BY MR. SMITH:
16           Q.    Are you equating sexual misconduct with
17     sexual harassment?
18           A.    No, I'm not.
19           Q.    So where in here does this policy mention
20     sexual misconduct?
21           A.    In the note section under 19, section 19,
22     page 5, there's a note that says, "Sexual harassment


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 1     may include, but is not limited to, verbal
 2     harassment or abuse, subtle pressure for sexual
 3     activity, patting or pinching, brushing against
 4     another person's body, and demands for sexual
 5     favors."
 6                 My interpretation of that is to include
 7     sexual misconduct.
 8           Q.    You're talking about the note on 19?
 9           A.    Yeah, number 19, the --
10           Q.    There is a note, right?
11           A.    Yes, sir.
12           Q.    And the language "sexual harassment may
13     include, but is not limited to, verbal harassment or
14     abuse, subtle pressure for sexual activity, patting
15     or pinching, brushing against another person's body,
16     and demands for sexual favors."             So this passage is
17     where this policy document of the Equal Employment
18     Opportunity Division of MPD comments on sexual
19     misconduct, according to your interpretation?
20           A.    Yes, sir.
21           Q.    Are there any other comments anywhere else
22     in here that comments on sexual misconduct according


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                                                                      Page 14
 1     to your interpretation?           Well, let me ask you a more
 2     specific question.
 3                 MR. JACKSON:       Objection.      You asked him a
 4     question.      He hasn't --
 5                 MR. SMITH:      I understand, but I'm the --
 6                 MR. JACKSON:       -- had a chance to answer.
 7                 MR. SMITH:      -- source of the questions.
 8     And I'm shifting while he is doing this which is my
 9     prerogative.
10                 MR. JACKSON:       But I think you should
11     withdraw the question.          Otherwise you have to give
12     him a chance to answer.
13                 MR. SMITH:      Okay.     I withdraw the question.
14     Good counseling there.          I withdraw the existing
15     question.
16                 BY MR. SMITH:
17           Q.    Please turn to page 6.          And you see
18     regulation V -- Roman numeral V, correct?
19           A.    Yes, sir.
20           Q.    Now, it reads -- subsection A of Roman
21     numeral V entitled "Regulations" reads, "The
22     department prohibits and will not tolerate sexual


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                                                                      Page 15
 1     and/or any other form of unlawful harassment."
 2                 Now, is it your interpretation that this
 3     involves a reference to sexual misconduct?
 4           A.    Yes.    It would be my interpretation, yes.
 5           Q.    So when it reads "the department prohibits
 6     and will not tolerate," will you please annunciate
 7     for me, to the best of your ability, what are the
 8     measures that the department has instituted to
 9     manifest its lack of toleration for sexual
10     misconduct?
11           A.    I don't understand the question.
12           Q.    Okay.     "The department prohibits and will
13     not tolerate," because you've already agreed that it
14     is your interpretation that this language that
15     follows includes sexual misconduct, right?
16           A.    Uh-huh.
17           Q.    So I'm asking you, what are the measures
18     that the department has instituted to manifest its
19     intolerance -- it will not tolerate sexual
20     misconduct?       So what are the things the department
21     has put in place to express that intolerance?
22           A.    They express this through training --


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                                Alphonso Lee

                                                                        Page 16
 1           Q.    Training?
 2           A.    -- investigations, EEO counseling.
 3           Q.    You said EEO counseling?
 4           A.    Yes.
 5           Q.    Okay.
 6           A.    Disciplinary action.
 7           Q.    Disciplinary action is a subset of
 8     investigation, though, right?
 9           A.    I'm describing my interpretation of this.
10           Q.    And I'm clarifying -- I want to make sure
11     that I'm following you.           That flows from
12     investigations; is that right?
13           A.    Yes.    I agree.
14           Q.    Okay.     I just wanted to make sure.           So
15     we've got training, investigations, EEO counseling.
16     Anything else?
17           A.    Outreach.
18           Q.    Okay.     Anything else?
19           A.    Not at this time.
20           Q.    Let's take those one at a time.             You said
21     training.      What is the training that the department
22     has devised to manifest its intolerance of sexual


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                                                                      Page 29
 1           A.    There is an annual training for
 2     Metropolitan Police Department employees in relation
 3     to EEO and sexual harassment.
 4           Q.    And it's an hour each year?
 5           A.    Yes, sir.
 6           Q.    And when you say "EEO and sexual
 7     harassment," it's not an hour dedicated to the
 8     broader topic of sexual misconduct/sexual
 9     harassment?       Let's do it that way.         It's in that
10     hour they cover the range of EEO topics, racial
11     discrimination, age discrimination national origin
12     discrimination?        All those types of EEO-related
13     topics are covered in that hour?
14           A.    That is correct.
15           Q.    Okay.     In one of your answers you said
16     module and programs I heard you say.               What are these
17     programs?
18           A.    Programs?      I described the EEO program.               I
19     don't necessarily meant program regarding the actual
20     training.      So if that was what was interpreted from
21     my statement, that's not what I meant.
22                 I meant the EEO program is a program that


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GENERAL ORDER
                                                           Title
                                                           Equal Employment Opportunity
                                                           Topic/Number
                                                           GO-PER-201.09
                                                           Effective Date           Distribution
                                                           February 17, 2005                        B
                                                           Rescinds:
                                                           General Order 201.9 (Equal Employment Opportunity)

DISTRICT OF COLUMBIA

        I.     Background………...…….…..     Page 1   VI.     Procedural Guidelines..……. .……...…       Page 7
        II.    Policy……………………...….        Page 1   VII.    Affirmative Action Plan………………...         Page 10
        III.   Definitions………………….…       Page 2   VIII.   MPD Workplace Environment Plan…..        Page 11
        IV.    Rules.……...……..……….…..     Page 6   IV.     Cross References……………………....             Page 13
        V.     Regulations……….. ...….……   Page 6


I.       BACKGROUND

         This order establishes the Metropolitan Police Department's Equal Employment
         Opportunity Program (EEO), and describes the policies, objectives, organizational
         relationships, procedures and responsibilities involved in promoting and executing
         an effective program. The EEO Program for the Department includes:

                  •   Complaint Procedures

                  •   Affirmative Action Program

                  •   Workplace Environment Program (CALEA 31.2.3)

II.      POLICY

         The Metropolitan Police Department is committed to providing a workplace free of
         any demeaning, derogatory, or abusive language, actions, and/or gestures relating
         to a person’s race, color, national origin, sex/gender, age, religion, disability, sexual
         orientation, language harassment, discrimination, or retaliation. MPD senior
         command officials, managers, and supervisors shall ensure that all employees are
         treated according to these guidelines. Every employee of the Department, sworn
         and civilian, regardless of rank, title or position, shall be held responsible for the
         contents of this Directive.

         Employment discrimination is prohibited by the D.C. Human Rights Act of 1977, as
         well as Title VII of the Civil Rights Act of 1964, and Title VI of The Omnibus Safe
         Streets Act, as amended. MPD employees are reminded that equal employment is
         the law. As an employer, MPD has the responsibility for preventing discrimination in
         the workplace. Conduct of this nature is prohibited, even if the conduct is not
         specifically intended to be offensive to anyone, and the member to whom it is
         directed is not personally offended by the conduct.



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III.      Definitions

          When used in this directive, the following terms shall have the meanings designated:

          A.    Type Of Discrimination Or Complaint

                1.      Age Discrimination – an unlawful employment practice that occurs
                        when the compensation, terms, conditions, and privileges of
                        employment differ because of the age of an individual.

                2.      Disability – a physical or mental impairment that substantially limits one
                        or more of the major life activities of an individual; where there is such
                        a record of impairment; or where the individual is regarded as having
                        such impairment.

                3.      Discrimination – the failure to treat all persons equally where no
                        reasonable distinction can be found between those favored and those
                        not favored.

                4.      Familial Status – an unlawful discrimination against persons under the
                        age of 18 who reside with someone other than their natural parents.
                        This protection also applies to any person who is pregnant or in the
                        process of securing legal custody of any individual under 18 years of
                        age.

                5.      Family Responsibilities – are not job-related and shall be impermissible
                        considerations for employment decisions. Therefore, it is unlawful to
                        base an employment decision on whether an employee or applicant
                        has children or other dependents.

                6.      Gender Or Sex Discrimination – an unlawful employment practice that
                        occurs when the compensation, terms, conditions, and privileges of
                        employment differ on the basis of sex/gender.

                7.      Harassment – occurs when slurs or jokes, offensive or derogatory
                        comments, or other verbal or physical conduct are made based upon
                        an individual’s race/color, national origin or ethnicity, religion,
                        sex/gender, sexual orientation, age, or disability, and if the conduct
                        creates an intimidating, hostile, or offensive working environment or
                        interferes with the individual's work performance.

                        a.     Racial or ethnic harassment is a form of race/color
                               discrimination.

                        b.     National origin harassment is a form of national origin
                               discrimination.

                        c.     Religious harassment is a form of religious discrimination.

                        d.     Sex/gender harassment is a form of sex discrimination.
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                e.     Sexual orientation harassment is a form of sexual orientation (or
                       preference) discrimination.

                f.     Age harassment is a form of age discrimination.

                g.     Disability harassment is a form of disability discrimination.

          8.    Hostile Work Environment – is established when employees are made
                to work in an atmosphere of sufficiently severe or pervasive
                harassment as defined in III, A., 7.

          9.    Marital Status – the state of being married, single, divorced, separated,
                or widowed cannot be used as a basis for an employment decision.

          10.   Matriculation – An employer shall not refuse to hire or discharge a
                person because he/she is a student, or use a different pay scale for
                students performing the same work as other employees.

          11.   National Origin Discrimination – includes, but is not limited to, the
                denial of equal employment opportunity because of:

                a.     An individual's, or his or her ancestor's, place of origin, or;

                b.     An individual who has the physical, cultural or linguistic
                       characteristics of a national origin group, or;

                c.     An individual who has been denied equal employment
                       opportunity for reasons grounded in national origin
                       considerations such as:

                       (1) Marriage to, or association with, persons of a national
                           origin group;

                       (2) Membership in, or affiliation with, an organization identified
                           with, or seeking to promote, the interests of national origin
                           groups;

                       (3) Attendance or participation in schools, churches, temples
                           or mosques, generally used by persons of a national origin
                           group; or,

                d.     An individual's name or spouse's name, which is associated
                       with a national origin group.

          12.   Personal Appearance – the outward appearance of any person,
                irrespective of sex, with regard to bodily condition or characteristics,
                manner or style of dress, and manner or style of personal grooming,
                including, but not limited to, hairstyle and beards. It shall not relate to
                the requirement for cleanliness, uniforms, or prescribed standards,
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                when uniformly applied to a class of employees, for a reasonable
                business purpose; or when such bodily conditions or characteristics,
                style, or manner of dress or personal grooming presents a danger to
                the health, welfare, or safety of any individual.

          13.   Place Of Residence Or Business – it is unlawful to deny employment,
                services or accommodations based on where an individual lives, or the
                location of a business licensed by the District of Columbia.

          14.   Political Affiliation – it is unlawful for an employer to use an individual’s
                present or past political affiliation, or lack of political affiliation, as the
                basis for an employment decision.

          15.   Pregnancy Discrimination – an unlawful employment practice that
                occurs when the compensation, terms, conditions, and privileges of
                employment differ on the basis of pregnancy, childbirth, or related
                medical conditions, from the treatment of other medical conditions with
                similar abilities or limitations. Pregnancy discrimination is a form of sex
                discrimination.

          16.   Race/Color Discrimination – an unlawful employment practice that
                occurs when the compensation, terms, conditions, and privileges of
                employment differ on the basis of:

                a.     Race or color;

                b.     Immutable characteristics associated with race, such as skin
                       color, hair texture, or certain facial features;

                c.     A condition which predominately affects one race;

                d.     Membership in, or association with, ethnic-based organizations
                       or groups;

                e.     Marriage to, or association with, an individual of a different race;
                       or

                f.     Attendance or participation in schools or places of worship
                       generally associated with certain minority groups.

          17.   Religious Discrimination – when an employment rule or policy requires
                a person to violate a fundamental precept of his/her religion or lose an
                employment opportunity.

          18.   Retaliation – when an employer harasses or punishes an employee
                because that employee complained about discrimination, or
                cooperates with, or participates in, an investigation of an allegation of
                discrimination.


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          19.   Sexual Harassment – unwelcome sexual advances, requests for
                sexual favors, and other verbal or physical conduct of a sexual nature
                when:

                a.     Submission to such conduct is made either explicitly or implicitly
                       as a term or condition of employment;

                b.     Submission to, or rejection of, such conduct by an individual is
                       used as the basis for employment decisions affecting such
                       individual; or,

                c.     Such conduct has the purpose or effect of unreasonably
                       interfering with an employee's work performance, or creating an
                       intimidating, hostile, or offensive working environment.

                Note: Sexual harassment may include, but is not limited to, verbal
                harassment or abuse, subtle pressure for sexual activity, patting or
                pinching, brushing against another person's body, and demands for
                sexual favors.

          20.   Sexual Orientation Discrimination – an unlawful employment practice
                that occurs when the compensation, terms, conditions, and privileges
                of employment differ on the basis of actual sexual orientation or
                perceived sexual orientation. Sexual orientation means male or female
                homosexuality, bisexuality or heterosexuality by preference or practice.

     B.   General Definitions

          1.    Agency Complaint – a complaint filed with the District of Columbia
                Office of Human Rights, U.S. Equal Employment Opportunity
                Commission, or the U.S. Department of Justice, Office of Civil Rights.

          2.    Complainant – the aggrieved party.

          3.    Days – business days, unless otherwise specified.

          4.    Employee – sworn or civilian member of the Department.

          5.    Equal Employment Opportunity – exists when compensation, terms,
                conditions, and privileges of employment are provided on a non-
                discriminatory basis.

          6.    Equal Employment Opportunity Counselors – consists of sworn and
                civilian employees who are authorized to provide advice and counsel
                to employees on how to use the EEO complaint process, as well as
                other avenues for addressing their complaint, both internally and
                externally.

          7.    Equal Employment Opportunity Officer – the Manager of the Diversity
                and EEO Compliance Unit.
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                 8.     Internal Complaint – a complaint filed with the Metropolitan Police
                        Department Diversity and EEO Compliance Unit.

                 9.     Respondent – the employer or his/her agent.

IV.      Rules

         A.      No MPD employee shall knowingly discriminate nor harass another
                 employee. (CALEA 26.1.1; 26.1.3; 31.2.3)

         B.      All MPD employees shall comply with the obligations prescribed under the
                 Department's Workplace Environment plan and shall make themselves
                 familiar with the Department's Affirmative Action Plan.

V.       Regulations

         A.      The Department prohibits, and will not tolerate, sexual and/or any other form
                 of unlawful harassment or discrimination. Such conduct may result in
                 disciplinary action as necessary, up to, and including, termination of
                 employment. (CALEA 26.1.3)

         B.      Acts of retaliation are strictly prohibited against an employee who files a
                 charge of sexual harassment.

         C.      Managers and supervisors shall be accountable for promptly reporting and/or
                 correcting unlawful discriminatory practices within their knowledge and
                 responsibility.

         D.      Command Staff shall ensure the Department's Equal Employment Policies
                 are posted in a visible place in every unit within their commands.

         E.      All complainants shall be advised that they have a right to pursue a complaint
                 with an outside agency. This right is not forfeited by using the MPD's internal
                 procedure.

         F.      An external complaint can be filed with the U.S. Equal Employment
                 Opportunity Commission, the U.S. Department of Justice, Office of Civil
                 Rights, or the D.C. Office of Human Rights. Internal and external complaints
                 (excluding sexual harassment complaints) must be filed within 180 calendar
                 days from the date of the alleged incident. Sexual harassment complaints
                 must be filed within one year of the alleged incident.

         G.      Complainants, and those employees engaged in carrying out the provisions of
                 this order, shall be free from restraint, interference, coercion, discrimination,
                 or reprisal in connection with the performance of their duties during, or
                 following, the complaint procedure.

         H.      Any employee who knowingly interferes with, coerces, discriminates against,
                 or practices any form of reprisal against a complainant, or attempts any of the
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              above, is in violation of this general order and may be subject to disciplinary
              action. Any evidence of such actions shall be immediately reported to the
              EEO Officer. (CALEA 26.1.3; 31.2.3)

         I.   Participants in the investigative process, e.g., employees and management,
              are required to cooperate fully with all phases of the investigation. Failure to
              do so may result in discipline. (CALEA 26.1.3; 31.2.3)

VI.      Procedural Guidelines

         A.   It is the primary objective of the Department to resolve the complainant's
              allegations of discrimination promptly and appropriately.

              1.     At any stage of the complaint process, the complainant shall have the
                     right to be accompanied, represented, and advised by legal counsel of
                     the complainant's own choosing. (CALEA 26.1.3; 31.2.3)

              2.     The complainant and his/her legal or union representative shall have a
                     reasonable amount of official time for the preparation and presentation
                     of the complaint, as permitted by the applicable union contract and/or
                     the District Personnel Manual. (CALEA 26.1.3; 31.2.3)

              3.     The procedures for filing complaints under the Equal Employment
                     Opportunity Programs are to be considered separate and apart from
                     any of the other procedures for filing all other official complaints.
                     (CALEA 26.1.3; 31.2.3)

         B.   Internal EEO Complaints (CALEA 26.1.3; 31.2.3)

              1.     An employee may first consult with his/her local EEO Counselor prior
                     to filing an EEO complaint. If, after the initial consultation, the
                     employee wishes to file an internal complaint, the EEO Counselor shall
                     refer the complainant to the Diversity and EEO Compliance Unit.

              2.     Employees are encouraged to contact the Diversity and EEO
                     Compliance Unit to schedule an initial interview.

              3.     Additionally, the employee may contact the Diversity and EEO
                     Compliance Unit without consulting the local EEO Counselor.

              4.     After the filing of a complaint, the EEO Officer shall make a prompt and
                     comprehensive investigation of the allegations in the complaint,
                     determine whether a violation has occurred, and recommend a finding.

                     a.     For all complaints involving command personnel (i.e., Inspectors
                            and above), DS 15 and above, MSS 14 and above, and all
                            Excepted Service personnel, the Chief of Police will conduct the
                            final review and make the final determination.


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                b.     For all other personnel, the Assistant Chief of the Office of
                       Professional Responsibility will conduct the final review and
                       make a final determination.

          5.    If it is determined that the charge is without merit, the complaint shall
                be dismissed with notice to the complainant and the respondent. The
                notice shall state the reasons for the dismissal.

          6.    If it is determined that reasonable cause exists, immediate action shall
                be taken to eliminate the alleged unlawful practice, and any
                appropriate sanctions shall be imposed.

          7.    If a complainant is not satisfied with the written decision of the EEO
                Officer, they have a right to pursue a complaint with an outside agency.

     C.   Sexual Harassment Complaints (CALEA 26.1.3; 31.2.3)

          1.    The Diversity and EEO Compliance Unit in the Office of Professional
                Responsibility, has the authority to investigate sexual harassment
                complaints. Upon learning of sexual harassment allegations either from
                the victim or a third party, it is the responsibility of supervisors and
                EEO counselors to notify the Diversity and EEO Compliance Unit of
                said allegations. Additionally, it is imperative that supervisors and EEO
                counselors encourage the complainant to personally contact the
                Diversity and EEO Compliance Unit.

          2.    After the filing of a complaint, the EEO Officer shall make a prompt and
                comprehensive investigation of the allegations in the complaint.

          3.    The accused person, the accused person’s supervisor, and the
                Assistant Chief, Office Professional Responsibility, are to be notified
                simultaneously.

          4.    The EEO Officer, or an agent of the Office of Professional
                Responsibility, will caution all parties, including witnesses, against
                discussing allegations with persons not directly involved in the
                complaint.

          5.    As applicable, the Assistant Chief, Office of Professional
                Responsibility, or the Chief of Police shall conduct the final review and
                make the final determination after the comprehensive investigation.

          6.    If the complaint is found to be without merit, the complaint shall be
                dismissed with notice to the complainant, the accused person, the
                accused person’s supervisor, and the element Commander/Director.
                The notice shall state the reasons for the dismissal.

          7.    If it is determined that reasonable cause exists, immediate action shall
                be taken to eliminate the alleged unlawful practice and any appropriate
                sanctions shall be imposed.
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          8.    If a complainant is not satisfied with the written decision of the EEO
                Officer, he/she has a right to pursue a complaint with an outside
                agency.

     D.   Agency EEO Complaints (CALEA 26.1.3; 31.2.3)

          1.    The complainant is encouraged to make every effort to resolve his/her
                complaint through the Department's internal complaint process before
                initiating an external complaint.

          2.    The complainant has the right to file an external complaint with the
                D.C. Office of Human Rights within fifteen (15) calendar days after
                receiving an unsatisfactory determination from the MPD Diversity and
                EEO Compliance Unit. The complainant may also file a complaint with
                the U.S. Equal Employment Opportunity Commission, or the U.S.
                Department of Justice Office of Civil Rights.

          3.    MPD’s EEO Officer shall cooperate with the relevant Agency in the
                processing of a formal complaint.

     E.   Manager for Diversity and EEO Compliance

          1.    The Diversity and EEO Compliance Manager shall:

                a.     Provide day-to-day management of the EEO investigators;

                b.     Be responsible for the prompt resolution of complaints; and

                c.     Ensure expedient corrective action when appropriate.

          2.    EEO Investigators report to the Manager for Diversity and EEO
                Compliance, and shall:

                a.     Be responsible for the investigation of EEO complaints;

                b.     Maintain the confidentiality of employees who come to them for
                       assistance, except to the extent necessary to perform their
                       duties, or if otherwise released by the employee in writing; and

                c.     Perform investigative duties as prescribed in Title 4, DCMR §
                       100 et. seq.

     F.   EEO Counselor Program (CALEA 22.2.5; 22.2.10-d&e; 31.2.3)

          1.    The MPD Equal Employment Opportunity Officer, in consultation with
                the Assistant Chief, Office Professional Responsibility, and the
                appropriate officials, shall develop an EEO Counseling Program
                designed to train employees as EEO Counselors.

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              2.     EEO Counselors shall:

                     a.     Provide advice and counsel to employees within their units who
                            feel they have been subjected to discriminatory treatment.

                     b.     Provide information on the complaint process and avenues the
                            employee may use to have their complaint addressed, including
                            the right to seek counseling services from any other counselor
                            or outside the agency, if the employee chooses to do so. In
                            addition, Counselors may provide information to the employee
                            on the Employee Assistance Program.

                     c.     Serve only in an advisory, non-investigative role and have no
                            authority to investigate.

              3.     The specific components of the EEO Counselors program shall be
                     published as Standard Operating Procedures and are to be made
                     available to all employees.

VII.    Affirmative Action Program

        The Department is committed to the implementation of specific programs and
        practices of affirmative action designed to promote equal employment opportunity in
        the workplace and will undertake steps to assure that minorities and women are
        fairly represented in all areas and at all levels of the agency. Affirmative action
        activities shall be conducted throughout the Department in such areas as:

        A.    Recruitment, hiring, training, promotion, reassignment, upward mobility, and
              termination.

        B.    Employee utilization.

        C.    EEO training and evaluation of supervisors.

        D.    Publishing statements of the Department’s commitment to equal employment
              opportunity in posters, websites, vacancy announcements, and other
              appropriate agency issuances.

        E.    Monitoring the complaint process, workplace environment, and employment
              statistics so as to recognize and correct possible inequities in employment
              opportunities within the Department.

VIII.   MPD Workplace Environment Plan

        The purpose of the Workplace Environment Plan is to provide employees of the
        Metropolitan Police Department with guidelines and procedures that will ensure an
        environment where all employees can perform their work free of improper and illegal
        racial, national origin, sex/gender, age, religion, disability, sexual orientation,
        language harassment, discrimination, or retaliation. (CALEA 26.1.3; 31.2.3) The
        MPD Workplace Environment Plan addresses the following major elements:
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     A.   Harassment (CALEA 26.1.3; 31.2.3)

          1.    MPD Responsibility:

                (a)   As an employer, MPD has the responsibility to maintain a
                      working environment free of harassment. Slurs and other verbal
                      or physical conduct relating to an individual's race, color,
                      national origin, sex/gender, age, religion, disability or sexual
                      orientation constitute harassment when this conduct:

                      (1)    Effects or creates an intimidating, hostile or offensive
                             working environment;

                      (2)    Affects or unreasonably interferes with an individual’s
                             work performance; or

                      (3)    Otherwise adversely affects a person’s employment
                             opportunity.

                      (4)    Derogatory or offensive language of the nature described
                             in II, 2., a., is prohibited in all verbal expressions, whether
                             in face-to-face conversations or in telephone, radio,
                             printed or e-mail communication.

                (b)   The MPD is also responsible whenever its agents or supervisory
                      employees condone, or otherwise enable, the discriminatory
                      acts of non-employees against MPD employees in the
                      workplace. The workplace environment extends to any place the
                      employee, while in the performance of his/her official duties, has
                      a lawful right to be.

          2.    Senior Command Official, Manager and Supervisor Responsibilities:

                (a)   Every official, manager and supervisor is held responsible for
                      maintaining an environment free of harassment.

                (b)   MPD employees shall immediately report to supervisory
                      personnel any conduct that occurs in their presence, or is
                      brought to their attention, that could be construed as
                      harassment, regardless of whether there has been a complaint
                      made by the affected member.

          3.    Official Responses:

                The following two Official Responses shall be adhered to whenever an
                official of this Department witnesses, or is notified of, conduct by an
                employee that would constitute offensive behavior as described in this
                directive:


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                       (1)    Official Response I: In any instance where an official
                              witnesses, or has brought to his/her attention,
                              discriminatory or harassing conduct of a relatively minor
                              nature that could be construed by a reasonable person
                              as derogatory, disrespectful or offensive to the dignity of
                              any person, that official shall take immediate action to
                              correct the offending party and initiate an
                              investigation, if warranted, within one hour of
                              occurrence.

                              The official may choose to document the matter for future
                              reference in lieu of initiating an investigation if the
                              offending party is receptive to the admonition, and the
                              official has no knowledge of any prior similar misconduct
                              by the offending party.

                              NOTE: The Diversity and EEO Compliance Unit must
                              be notified each time an investigation is initiated by
                              an official. If an official chooses to document the
                              matter, in each instance, a copy of the
                              documentation must be provided to the Diversity and
                              EEO Compliance Unit.

                       (2)    Official Response II: In instances where an employee of
                              the MPD makes a complaint to an official about
                              workplace harassment based on race, color, national
                              origin, sex/gender, age, religion, disability, or sexual
                              orientation, the official to whom the complaint is made
                              shall be responsible for ensuring that an
                              investigation is initiated by conducting the
                              investigation, or reporting the matter to the Diversity
                              and EEO Compliance Unit to conduct the
                              investigation.

                              NOTE: If the official wishes to conduct the
                              investigation, he/she shall first contact the Diversity
                              and EEO Compliance Unit and comply with that
                              unit’s guidance.

     B.   Language

          1.    Employees shall be courteous, civil and respectful to persons when on
                duty. Employees of the MPD shall not use terms or resort to name-
                calling that might be interpreted as derogatory, disrespectful, or
                offensive to the dignity of any person. Employees shall not engage in
                idle conversation, tell jokes, or make comments that relate to the race,
                color, national origin, sex, age, religion, disability or sexual orientation
                of any individual. A member can also be held accountable for this
                behavior while off duty. (CALEA 26.1.1)

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              2.    As an employer, the Department recognizes that employees engage in
                    casual conversation, generally in a language common to each of the
                    parties.

                    (a)     Use of Languages Other than English: Employees who speak
                            a language other than English can converse among themselves,
                            or to the citizens of the District of Columbia in their common
                            languages. When such conversations are conducted pursuant
                            to official police business, upon the request of an official,
                            employees are required to provide English-translated versions
                            of interviews or conversations.

                    (b)     English-Only Requirements: Officials requiring employees to
                            speak only English must be able to demonstrate that such a
                            requirement is necessary for official business.

                    (c)     Radio Communications: Members shall continue to apply the
                            provisions of GO-SPT-302.05 (Radio Communications), which
                            prohibit radio transmissions in languages other than English
                            without approval of the official in charge of the Unified
                            Communications Center.

         C.   Retaliation

              1.    Employees of the MPD shall not be subjected to any form of retaliation,
                    disciplinary or corrective action, transfers, or changes in assignment
                    solely because the employee opposed what he/she believed to be an
                    unlawful employment practice or made a charge, testified, assisted, or
                    participated in an investigation, proceeding, or hearing under Title VII
                    and the D.C. Human Rights Act.

              2.    An employee is protected against retaliation for his/her opposition to
                    discrimination, as long as the employee has a reasonable and "good
                    faith" belief that the employer's conduct is illegal, even if it turns out
                    that the employee was mistaken as to the legality of the employer's
                    conduct.

IV.      Cross References

         A.   Federal Laws

              1.    Title VII of the Civil Rights Act of 1964, as amended,
                    42 USC § 2000e et seq.

              2.    Civil Rights Act of 1991.

              3.    Title I of the Americans with Disabilities Act of 1990, as amended, 42
                    USC § 12101 et seq.


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           4.    The Age Discrimination in Employment Act of 1967, as amended, 29
                 USC § 621 et seq.

     B.    D.C. Laws and Regulations

           1.    D.C. Human Rights Act of 1977, as amended, D.C. Official Code § 3-
                 201 et seq.

           2.    Title 4 DCMR § 100 et seq. (Complaints of Discrimination in the District
                 of Columbia Government)




                                            // SIGNED //
                                            Charles H. Ramsey
                                            Chief of Police

CHR:NMJ:SOA:DAH:jj:jah




                                                                          DC 002583
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                     OFFICE OF PROFESSIONAL RESPONSIBILITY

                           SEXUAL HARASSMENT POLICY STATEMENT

The policy of the Metropolitan Police Department (MPD) is to provide a work environment free of unlawful
discrimination, which includes freedom from sexual harassment. The policy applies to all applicants for
employment, all employees and citizens served by MPD.

Sexual harassment is an unlawful discriminatory employment practice and a violation of Title VII of the
Civil Rights Act of 1964, as amended.

Sexual harassment has been defined by the EEOC as "unwelcome sexual advances, requests for sexual
favors, and other verbal or physical conduct of a sexual nature" when:

   •    Submission to the conduct is either an explicit or implicit condition of employment; or,
   •    Submission to, or rejection of, such conduct is used as the basis for employment decisions such
        as compensation, promotions or assignments affecting the individual; or,
   •    Such conduct has the purpose or effect of unreasonably interfering with an individual's work
        performance, or creating an intimidating, hostile, or offensive work environment.

The key word is "unwelcome," i.e., the conduct must not be wanted or solicited. This policy is not intended
to regulate social interactions in the work place. When a person makes it known that the sexual overture
or conduct is unwelcome, then it must stop immediately.

It is the responsibility of each manager and supervisor to prevent sexual harassment in the work place and
ensure that no employee is subjected to such conduct. This includes making it clear that behaviors such
as flirtation, sexual comments or jokes, graphic descriptions of an individual's body, sexually degrading
words used to describe an individual, and the display in the workplace of sexually suggestive objects or
pictures are not allowed.

If any employee believes he or she has experienced sexual harassment, the situation should be discussed
immediately with a supervisor, who in turn shall immediately notify the Diversity and EEO Compliance Unit,
Office of Professional Responsibility. If such a discussion with a supervisor is not feasible, the situation
should be reported directly to the Diversity and EEO Compliance Unit. Every complaint will be handled in a
confidential manner to the extent permitted by law, and consistent with the needs of the investigation. No
retaliation will be permitted against any employee alleging sexual harassment.

A complainant's right to file a complaint with an outside agency is not forfeited by using MPD's internal
procedure. Therefore, an employee may file a complaint with the EEOC, the Office of Civil Rights, U.S.
Department of Justice, or the D.C. Office of Human Rights. Sexual harassment complaints must be filed
within one year from the date of the alleged incident.

MPD prohibits and will not tolerate sexual harassment. Such conduct may result in disciplinary action as
necessary up to, and including, termination of employment.

MPD will take all appropriate steps to enforce this policy.




Date:    February 11, 2005                            ______________________________________
                                                                 Charles H. Ramsey
                                                                   Chief of Police
                                    Diversity and EEO Compliance Unit
                                                                                           DC 002584
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           OFFICE OF PROFESSIONAL RESPONSIBILITY



   EQUAL EMPLOYMENT OPPORTUNITY POLICY STATEMENT
The policy of the Metropolitan Police Department (MPD) is to provide an equal
employment opportunity (EEO) to all individuals. It is our objective to recruit,
select, train and promote qualified individuals without regard to race, color,
religion, gender, age, national origin, alienage or citizenship status, marital status,
sexual orientation, disability, familial status, family responsibilities, matriculation,
political affiliation, source of income, place of residence or business, personal
appearance, or status as a disabled veteran or Vietnam era veteran.

In support of this policy, we reaffirm MPD's commitment to comply voluntarily with
the requirements and the spirit of federal and local anti-discrimination laws and
regulations. The Metropolitan Police Department is committed to ensuring
implementation of specific programs and practices of affirmative action and
promotion of EEO in the workplace.

Through its Affirmative Action Program, MPD will undertake steps to ensure that
minorities and women are represented in all areas and at all levels of the agency.
The individuals responsible for the day-to-day implementation and monitoring of
the Affirmative Action Program are Assistant Chief, Office of Professional
Responsibility, and Manager, Diversity and EEO Compliance Unit.

It is the responsibility of each senior command official, manager, and supervisor to
ensure compliance with our EEO policies and affirmative action obligations; to
disseminate and implement these policies; to prevent discrimination in the
workplace; and, to ensure that no employee is subjected to such conduct.

Any employee of the Metropolitan Police Department who alleges that they have
been discriminated against may consult the local EEO Counselor or file a
complaint with the Diversity and EEO Compliance Unit, Office of Professional
Responsibility. An external complaint can be filed with the U.S. Equal Employment
Opportunity Commission, the Office of Civil Rights, U.S. Department of Justice, or
D.C. Department Human Rights. Internal and external EEO complaints must be
filed within 180 calendar days (excluding sexual harassment) from the date of the
alleged incident. Sexual harassment complaints must be filed within one year from
the date of the alleged incident.


Date:    February 11, 2005                     ______________________________
                                                    Charles H. Ramsey
                                                      Chief of Police


                        Diversity and EEO Compliance Unit
                                                                         DC 002585
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                  OFFICE OF PROFESSIONAL RESPONSIBILITY

                    NONDISCRIMINATION FOR PERSONS WITH DISABILITIES

The policy of the Metropolitan Police Department (MPD) is to provide equal employment
opportunity to qualified persons with disabilities. This policy is applicable to all
personnel practices, including recruitment, hiring, promotion, training, and
compensation and benefits.

A qualified person with a disability is one that:

   •    Has a physical or mental impairment that substantially limits one or more of the
        major life activities of such individual;
   •    Has a record of such impairment; or
   •    Is being regarded as having such impairment; and
   •    With or without reasonable accommodation, can perform the essential functions of
        the employment position that such person holds or desires.

In support of this policy, the Department has adopted a program of affirmative action to
employ and promote qualified individuals with disabilities. This program conforms to the
guidelines for implementation of Section 504 of the Rehabilitation Act of 1973, and to the
Americans with Disabilities Act of 1990.

To ensure their rights under this program, employees who claim physical or mental
impairment are invited to identify themselves on a voluntary and confidential basis.
Reasonable accommodations will be made available where applicable.

It is the responsibility of each manager and supervisor to disseminate and implement
this policy; to prevent discrimination against persons with disabilities in the work place;
and to ensure that no employee is subjected to such conduct.

Any employee of the Metropolitan Police Department who alleges to have been
discriminated against may consult their local EEO Counselor or file a complaint with the
Office of Diversity and EEO Compliance, Office Professional Responsibility. An
employee may also file a formal complaint with the U.S. Equal Employment Opportunity
Commission, the Office of Civil Rights, U.S. Department of Justice, or the D.C. Office of
Human Rights. Complaints must be filed within 180 calendar days from the date of the
alleged incident.



Date:     February 11, 2005                   ________________________________
                                                     Charles H. Ramsey
                                                      Chief of Police


                               Diversity and EEO Compliance Unit
                                                                             DC 002586
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             EXHIBIT 17
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IS         IncidentDate   IncidentType                                   Allegations                                                    AssignedTo
06002639   03/14/2006     Civil Action                                   Sexual Misconduct, Civil Action                                IAB
06005448   10/04/2006     Citizen Complaint, Outside Jurisdiction        Sexual Misconduct                                              IAB
06003809   08/03/2006     Citizen Complaint                              Officer Misconduct                                             IAB
06003030   01/01/2005     EEO                                            Sexual Harassment                                              EEOB
06004018   08/07/2006     EEO                                            Sexual Harassment                                              EEOB
06003271   06/28/2006     EEO                                            Retaliation                                                    IAB
06005910   11/22/2006     EEO, Other                                     Conduct Unbecoming, Officer Misconduct, Sexual Harassment      IAB
06001881   03/31/2006     Other                                          Sexual Misconduct                                              IAB
06001883   03/31/2006     Other                                          Sexual Misconduct                                              IAB
06000407   09/01/2005     Other, Outside Jurisdiction, Member Arrested   Sexual Misconduct                                              IAB
06004204   08/18/2006     Other, Outside Jurisdiction                    Harassment                                                     ROC
06005027   10/02/2006     Domestic Violence                              Domestic Violence                                              IAB
06003956   08/12/2006     Other                                          Officer Misconduct                                             IAB
06004352   08/31/2006     Other                                          Officer Misconduct                                             IAB




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IS         IncidentType           Allegations
07000143   EEO                    Sexual Harassment
07002276   EEO                    Sexual Harassment
07005607   EEO                    Sexual Harassment
07000736   EEO                    Sexual Harassment, Hostile Work Environment
07002661   EEO                    Sexual Harassment, Retaliation
07001323   EEO                    Sexual Harassment, Retaliation
07003163   Member Arrested        Sexual Misconduct
07002874   Other                  Sexual Misconduct
07004510   Other                  Sexual Misconduct
07005559   Other                  Sexual Misconduct
07001424   Outside Jurisdiction   Sexual Misconduct
07002170   Citizen Complaint      Conduct Unbecoming
07004156   Citizen Complaint      Conduct Unbecoming
07004793   Citizen Complaint      Conduct Unbecoming
07005629   Other                  Conduct Unbecoming
07004679   Other                  Officer Misconduct
07005732   Domestic Violence      Domestic Violence
07005985   Citizen Complaint      Criminal Activity
07006191   Member Arrested        Conduct Unbecoming, Criminal Activity, Sexual Misconduct




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IS         IncidentType            Allegations                                                                                                   AssignedTo   CaseStatus
08002066   EEO                     Sexual Harassment                                                                                             EEOB         Closed
08003544   EEO                     Sexual Harassment                                                                                             EEOB         Closed
08003668   EEO                     Sexual Harassment                                                                                             EEOB         Closed
08004986   EEO                     Sexual Harassment                                                                                             EEOB         Closed
08005412   EEO                     Sexual Harassment                                                                                             EEOB         Closed
08003617   Other                   Sexual Misconduct                                                                                             IAB          Closed
08001092   Citizen Complaint       Abuse of Authority, Improper Use of MPD Vehicle/Equipment, Officer Misconduct, Fail to Report Misconduct,     IAB          Closed
                                   Misuse of WALES
08002313 Other                     Conduct Unbecoming                                                                                            IAB          Closed
08000552 Other                     Conduct Unbecoming, Criminal Activity, Officer Misconduct, Racial/Ethnic Slur, Bias/Discrimination, Hostile   IAD          Closed
                                   Work Environment, Sexual Orientation, Destruction of Property, Damage to MPD Property
08004406   Other                   Corruption, Officer Misconduct                                                                                             Closed
08001021   Outside Jurisdiction    Criminal Activity                                                                                             IAD          Closed
08001582   Other                   Criminal Activity                                                                                             IAD          Closed
08003428   Citizen Complaint       Criminal Activity, Drug Use/UCSA Violation                                                                    IAD          Closed
08000700   Citizen Complaint       Criminal Activity, Threats/Intimidation, Sexual Misconduct                                                    IAB          Closed
08004370   Domestic Violence       Domestic Violence                                                                                             IAB          Closed
08003101   Other                   Officer Misconduct                                                                                            CLD          Closed
08003321   Member Arrested         Officer Misconduct                                                                                            IAD          Closed
08004026   Citizen Complaint       Officer Misconduct                                                                                            1D           Closed
08002963   Citizen Complaint       Officer Misconduct, False/Unlawful Arrest                                                                     IAD          Closed
08002585   Other                   Conduct Unbecoming                                                                                                         Closed




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IS         IncidentAddress              IncidentDate                 IncidentTime                                                    Assigned   Case status   Disposition
09000433   External Citizen Complaint   Citizen Complaint            Sexual Misconduct                                               IAB        Closed        Insufficient Facts
09002057   External Citizen Complaint   Citizen Complaint            Sexual Misconduct                                               IAB        Closed        Sustained
09003040   External Citizen Complaint   Citizen Complaint            Sexual Misconduct                                               IAD        Closed        Insufficient Facts
09001778   External Citizen Complaint   Citizen Complaint            Sexual Misconduct, Assault                                      NSID       Closed        Unfounded
09001224   EEO                          Sexual Harassment            Sexual Harassment                                               EEOB       Open          Pending
09003827   EEO                          Sexual Harassment            Sexual Harassment                                               EEOB       Closed        Sustained
09002260   EEO                          Sexual Harassment, Assault   Sexual Harassment                                               EEOB       Closed        Unfounded
09001248   EEO                          Sexual Misconduct            Sexual Misconduct                                               EEOB       Inactive      Pending
09003888   EEO, Other                   Sexual Harassment            Sexual Harassment                                               EEOB       Open          Pending
09001539   Internal Complaint           Other                        Sexual Harassment                                               IAD        Closed        Sustained
09004290   Internal Complaint           EEO                          Abusive Language, Conduct Unbecoming, Neglect of Duty, Sexual   EEOB       Closed        Sustained
                                                                     Harassment, Fail to Report Misconduct
09001479 Internal Complaint             Other                        Conduct Unbecoming, Officer Misconduct                          IAD        Closed        Sustained
09003818 Internal Complaint             Other                        Conduct Unbecoming, Officer Misconduct, Sexual Misconduct       IAD        Closed        Insufficient Facts
09004182 External Citizen Complaint     Citizen Complaint            Conduct Unbecoming, Officer Misconduct                          IAD        Closed        Sustained




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IS         IncidentAddress              IncidentDate         IncidentTime                            Assigned   Case status   Disposition
10000394   Internal Complaint           EEO                  Sexual Harassment                       IAD        Closed        Insufficient Facts
10002192   Internal Complaint           EEO                  Sexual Harassment                       EEOB       Closed        Insufficient Facts
10002610   Internal Complaint           EEO                  Sexual Harassment                       EEOB       Closed        Insufficient Facts
10000555   Internal Complaint           Other                Sexual Harassment                       IAD        Open          Pending
10001039   External Citizen Complaint   Citizen Complaint    Sexual Harassment, Other                7D         Closed        Insufficient Facts
10002321   External Citizen Complaint   Citizen Complaint    Sexual Misconduct                       IAD        Closed        Unfounded
10005014   External Citizen Complaint   Citizen Complaint    Sexual Misconduct                       IAD        Closed        Unfounded
10002985   Internal Complaint           EEO                  Sexual Misconduct                       EEOB       Closed        Insufficient Facts
10001147   Internal Complaint           Member Arrested      Officer Misconduct, Sexual Misconduct   IAB        Closed        Sustained
10000934   Internal Complaint           Other                Criminal Activity, Sexual Misconduct    IAD        Closed        Sustained
10002908   Internal Complaint           Domestic Violence    Domestic Violence                       IAD        Closed        Sustained
10003677   Internal Complaint           Officer Misconduct   Illegal Search, Officer Misconduct      IAD        Closed        Unfounded
10004472   External Citizen Complaint   Citizen Complaint    Officer Misconduct                      IAB        Open          Pending
10001060   Internal Complaint           Other                Officer Misconduct                      IAB        Closed        Insufficient Facts
10004135   Internal Complaint           Other                Officer Misconduct                      EEOB       Closed        Sustained
10002713   Internal Complaint           Other                Conduct Unbecoming                      IAB        Closed        Sustained




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IS         IncidentType                 Allegations          Synopsis                                        AssignedTo   CaseStatus
11000234   Internal Complaint           EEO                  Sexual Harassment                               EEOB         Closed
11001946   Internal Complaint           EEO                  Sexual Harassment                               EEOB         Inactive
11002529   Internal Complaint           EEO                  Sexual Harassment                               EEOB         Closed
11002530   Internal Complaint           EEO                  Sexual Harassment                               EEOB         Closed
11000064   Internal Complaint           Other                Sexual Misconduct                               3D           Closed
11001623   Internal Complaint           Officer Misconduct   Sexual Misconduct                               IAD          Closed
11002911   External Citizen Complaint   Citizen Complaint    Sexual Misconduct, Abuse of Authority           IAD          Closed
11002711   Internal Complaint           Officer Misconduct   Sexual Misconduct, Criminal Activity            IAD          Closed
11002044   Internal Complaint           EEO                  Conduct Unbecoming, Sexual Harassment           EEOB         Closed
11000047   External Citizen Complaint   Citizen Complaint    Harassment                                      6D           Closed
11002001   Internal Complaint           Domestic Violence    Domestic Violence ‐ TPO/CPO                     IAD          Closed
11000711   Internal Complaint           EEO                  Bias/Discrimination, Hostile Work Environment   OCIO         Closed
11001293   Internal Complaint           Officer Misconduct   Conduct Unbecoming                              IAD          Closed
11000857   Internal Complaint           Officer Misconduct   Criminal Activity                               IAD          Closed




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IS         IncidentAddress              IncidentDate         IncidentTime                                                                    Assigned   Case status   Disposition
12000778   External Citizen Complaint   Citizen Complaint    Conduct Unbecoming, Criminal Activity, Sexual Misconduct                        IAD        Closed        Unfounded
12002873   Internal Complaint           Officer Misconduct   Conduct Unbecoming, Prejudicial Conduct                                         EEOB       Closed        Unfounded
12002134   Internal Complaint           EEO                  Sexual Harassment                                                               EEOB       Closed        Pending
12001998   Internal Complaint           Officer Misconduct   Sexual Misconduct                                                               IAD        Closed        Unfounded
12001719   Internal Complaint           Officer Misconduct   Sexual Misconduct                                                               IAD        Closed        Sustained
12000254   Internal Complaint           Officer Misconduct   Conduct Unbecoming                                                              IAD        Closed        Unfounded
12000732   Internal Complaint           Officer Misconduct   Conduct Unbecoming                                                              IAD        Closed        Sustained
12000844   Internal Complaint           Officer Misconduct   Conduct Unbecoming                                                              IAD        Closed        Sustained
12000166   Internal Complaint           Officer Misconduct   Conduct Unbecoming                                                              IAD        Closed        Insufficient Facts
12002477   Internal Complaint           Officer Misconduct   Conduct Unbecoming                                                              SOD        Closed        Sustained
12000778   External Citizen Complaint   Citizen Complaint    Conduct Unbecoming, Criminal Activity, Sexual Misconduct                        IAD        Closed        Unfounded
12002873   Internal Complaint           Officer Misconduct   Conduct Unbecoming, Prejudicial Conduct                                         EEOB       Closed        Unfounded
12000476   Internal Complaint           Officer Misconduct   Conduct Unbecoming, Sexual Misconduct                                           IAD        Closed        Insufficient Facts
12002267   External Citizen Complaint   Citizen Complaint    Fail to Report Misconduct, Inefficiency, Orders/Directives Violation, Conduct   HSB        Closed        Unfounded
                                                             Unbecoming
12002006 External Citizen Complaint     Citizen Complaint    Racial/Ethnic Slur, Rude/Unprofessional                                         1D         Closed        Sustained




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IS         IncidentAddress              IncidentDate         IncidentTime                                          Assigned   CaseStatus   Disposition
13002702   Internal Complaint           Officer Misconduct   Assault/ADW, Sexual Misconduct                        IAD        Closed       Sustained
13000545   External Citizen Complaint   Citizen Complaint    Illegal Search, Sexual Misconduct                     IAD        Closed       Insufficient Facts
13002583   Internal Complaint           EEO                  Sexual Harassment                                     EEOB       Closed       Unfounded
13000605   External Citizen Complaint   Citizen Complaint    Sexual Misconduct                                     IAD        Closed       Unfounded
13002577   Internal Complaint           Officer Misconduct   Sexual Misconduct                                     IAD        Closed       No Action Taken
13002298   Internal Complaint           Officer Misconduct   Sexual Misconduct                                     IAD        Closed       No Action Taken
13002413   Internal Complaint           Officer Misconduct   Sexual Misconduct                                     IAD        Closed       No Action Taken
13003026   Internal Complaint           Officer Misconduct   Sexual Misconduct                                     IAD        Closed       No Action Taken
13000435   Internal Complaint           Officer Misconduct   Sexual Misconduct                                     IAD        Closed       Insufficient Facts
13002317   Internal Complaint           EEO                  Sexual Orientation, Hostile Work Environment          EEOB       Closed       Unfounded
13000391   Internal Complaint           EEO                  Bias/Discrimination                                   EEOB       Closed       Insufficient Facts
13000594   Internal Complaint           Officer Misconduct   Conduct Unbecoming                                    1D         Closed       Insufficient Facts
13001317   Internal Complaint           Officer Misconduct   Conduct Unbecoming                                    IAD        Closed       Exonerated
13002000   Internal Complaint           Officer Misconduct   Conduct Unbecoming                                    IAD        Closed       No Action Taken
13002391   Internal Complaint           Civil Action         Conduct Unbecoming, Criminal Activity, Civil Action   IAD        Closed       Adverse Action
13000157   External Citizen Complaint   Citizen Complaint    Abuse of Authority, Rude/Unprofessional               IAD        Closed       Insufficient Facts




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IS         ComplaintType                 IncidentType                  Allegations                                                                AssignedTo   CaseStatus   Disposition
14001600   Internal Complaint            EEO                           Sexual Harassment                                                          HSB          Closed       IS # Cancelled
14002653   Internal Complaint            Officer Misconduct            Sexual Misconduct                                                          IAD          Closed       Insufficient Facts
14001765   Internal Complaint            Officer Misconduct            Sexual Misconduct                                                          IAD          Closed       Insufficient Facts
14000790   Internal Complaint            Officer Misconduct            Sexual Misconduct                                                          IAD          Closed       Sustained
14000988   Internal Complaint            Officer Misconduct            Sexual Misconduct                                                          IAD          Closed       Insufficient Facts
14001013   Internal Complaint            Citizen Complaint             Sexual Misconduct                                                          IAD          Closed       Sustained
14001593   Internal Complaint            Officer Misconduct            Sexual Misconduct                                                          IAD          Closed       Insufficient Facts
14002077   Internal Complaint            Officer Misconduct            Sexual Misconduct                                                          IAD          Closed       Exonerated
14002228   Internal Complaint            Officer Misconduct            Sexual Misconduct                                                          IAD          Closed       Sustained
14003452   Internal Complaint            Officer Misconduct            Sexual Misconduct, Theft                                                   IAD          Closed       Exonerated
14000177   External Citizen Complaint    Citizen Complaint             Abuse of Authority                                                         IAD          Closed       Unfounded
14003335   External Citizen Complaint    Citizen Complaint             Abusive Language                                                           1D           Closed       Sustained
14002226   Internal Complaint            Civil Action                  Bias/Discrimination, Hostile Work Environment, Sexual Orientation, Civil   IAD          Closed       Sustained
                                                                       Action
14002416   Internal Complaint            Officer Misconduct            Conduct Unbecoming                                                         7D           Closed       Insufficient Facts
14003313   Internal Complaint            Officer Misconduct            Conduct Unbecoming                                                         IAD          Closed       Sustained
14002285   Internal Complaint            Officer Misconduct            Conduct Unbecoming, Disorderly Conduct, Prejudicial Conduct                IAD          Closed       Sustained
14000051   Internal Complaint            Officer Misconduct            Criminal Activity, Sexual Misconduct                                       IAD          Closed       Insufficient Facts
14002834   Internal Complaint            Officer Misconduct            Criminal Activity, Sexual Misconduct                                       IAD          Closed       Unfounded
14000589   Internal Complaint            Member Arrested               District of Columbia Arrest                                                IAD          Closed       Sustained
14002787   Internal Complaint            Officer Misconduct            Neglect of Duty                                                            IAD          Closed       Sustained
14001685   Internal Complaint            Orders/Directives Violation   Orders/Directives Violation, Conduct Unbecoming                            IAD          Closed       Sustained
14000374   Internal Complaint            Officer Misconduct            Orders/Directives Violation, Sexual Misconduct                             ISB          Closed       Sustained




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IS         ComplaintTIncidentType            Allegations                                                    AssignedTo   CaseStatus   Disposition
15000494   External CitCitizen Complaint     Racial Profiling                                               4D           Closed       Unfounded
15000662   Internal Co Officer Misconduct Sexual Misconduct                                                 IAD          Open
15000682   Internal Co Officer Misconduct Sexual Misconduct                                                 IAD          Open
15000683   Internal Co Officer Misconduct Sexual Misconduct                                                 IAD          Closed       Unfounded
15000823   Internal Co Officer Misconduct Sexual Misconduct                                                 IAD          Closed       Insufficient Facts
15002443   Internal Co Officer Misconduct Sexual Misconduct                                                 IAD          Closed       Insufficient Facts
15002299   Internal Co Officer Misconduct Sexual Misconduct                                                 IAD          Inactive
15000624   Internal Co Officer Misconduct Conduct Unbecoming                                                IAD          Closed       Insufficient Facts
15002244   Internal Co Officer Misconduct Conduct Unbecoming                                                IAD          Closed       No Action Taken
15000577   Internal Co Civil Action          Criminal Activity, Civil Action                                IAD          Closed       Referred DRD Discip
15003067   Internal Co Orders/Directives ViolOrders/Directives Violation, Unauthorized Outside Employment   IAD          Closed       No Discipline




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IS         IncidentType                  Allegations                                 AssignedTo   CaseStatus
16000445   Citizen Complaint             Sexual Misconduct                           IAD          Closed
16003582   Citizen Complaint             Sexual Misconduct                           IAD          Closed
16000958   Officer Misconduct            Sexual Misconduct                           IAD          Closed
16002494   Officer Misconduct            Sexual Misconduct                           IAD          Closed
16000447   Officer Misconduct            Sexual Misconduct                           IAD          Closed
16004161   Officer Misconduct            Sexual Misconduct                           IAD          Closed
16004162   Officer Misconduct            Sexual Misconduct                           IAD          Inactive
16002850   Citizen Complaint             Sexual Misconduct, OPC ‐ 90 Day Referrals   IAD          Closed
16000685   EEO                           Hostile Work Environment                    IAD          Closed
16000599   Orders/Directives Violation   Orders/Directives Violation                 YID          Closed
16000106   Orders/Directives Violation   Orders/Directives Violation                 4D           Closed
16001644   Officer Misconduct            Alcohol/On Duty, Sexual Misconduct          IAD          Closed
16002093   Citizen Complaint             Abuse of Authority, Conduct Unbecoming      IAD          Closed
16004010   Officer Misconduct            Conduct Unbecoming                          IAD          Open




                                                                                                               DC 002651
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IAD 2006 thru 2018.xlsx                                              2017                                             12 of 13

IS         IncidentType         Allegations                                           AssignedTo   CaseStatus
17000379   EEO                  Sexual Harassment                                     EEOB         Closed
17000209   Officer Misconduct   Sexual Misconduct                                     IAD          Closed
17000316   Officer Misconduct   Sexual Misconduct                                     IAD          Closed
17000815   Officer Misconduct   Sexual Misconduct                                     IAD          Closed
17003815   Officer Misconduct   Sexual Misconduct                                     IAD          Closed
17001608   Citizen Complaint    Abuse of Authority, Harassment, Rude/Unprofessional   4D           Closed
17000920   Officer Misconduct   Abuse of Authority, Sexual Misconduct                 IAD          Closed
17001513   Domestic Violence    Assault/ADW                                           IAD          Closed
17002355   Citizen Complaint    Conduct Unbecoming                                    1D           Closed
17001958   Officer Misconduct   Conduct Unbecoming                                    IAD          Closed
17002747   Officer Misconduct   Conduct Unbecoming                                    IAD          Closed
17001118   Officer Misconduct   Conduct Unbecoming, Prejudicial Conduct               IAD          Closed
17000089   Citizen Complaint    Harassment                                            IAD          Closed
17001420   OPC                  OPC ‐ Harassment                                      OPC          Closed
17003923   OPC                  OPC ‐ Harassment, OPC ‐ Conduct                       OPC          Closed
17000451   EEO                  Retaliation, Sexual Harassment                        EEOB         Closed




                                                                                                                DC 002652
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IAD 2006 thru 2018.xlsx                                               2018                               13 of 13

IS         IncidentType                  Allegations            AssignedTo   CaseStatus
18000370   EEO                           Sexual Harassment EEOB              Open
18000668   EEO                           Sexual Harassment EEOB              Closed
18001076   EEO                           Sexual Harassment, ReEEOB           Open
18001714   EEO                           Sexual Harassment EEOB              Open
18000573   Officer Misconduct            Sexual Harassment, SeEEOB           Closed
18001038   Officer Misconduct            Sexual Misconduct IAD               Open
18001715   Officer Misconduct            Sexual Harassment, SeEEOB           Open
18001339   Officer Misconduct            Sexual Misconduct IAD               Open
18001391   Member Arrested               District of Columbia A IAD          Open
18000406   OPC                           Rude/Unprofessional, OPC            Closed
18001017   Orders/Directives Violation   Orders/Directives ViolEEOB          Closed
18001355   Civil Action                  Civil Action           IAD          Open
18000079   Officer Misconduct            Sexual Misconduct IAD               Closed




                                                                                                   DC 002653
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             EXHIBIT 18
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 DRD        CS               Rank                   Violation                                 Specs                          FINDINGS         PENALTY          DispDate                  FinDispo
                                         Failure to Obey             INAPPROPRIATE SEXUAL EXPLICIT COMMENTS THAT WERE
159-10 09-004290 Officer                 Orders/Directives           HEARD BY A FEMALE OFFICER                              SUSTAINED PD 750                   07-Apr-10 PD 750 FOR 18 MONTHS
461-13 13-001486 Officer                 Failure to Obey             FAIL TO NOTIFY YID REGARDING A CHILD SEX ABUSE CASE    SUSTAINED 12 DAYS SWOP            10/18/2013 7 DAYS SWOP & 5 DAYS HELD
963-16 16-003199 Senior Police Officer   Chapter 16                  NOD-FAILED TO PROPERLY HANDLE A SEXUAL ASSAULT CASE              10 DAYS SWOP
                                                                     MADE DISRESPECTFUL AND SEXUAL COMMENTS TOWARDS A
531-11 10-004039 Sergeant                Conduct Unbecoming          RECRUIT                                                          TERMINATION             11/29/2011 MEMBER TERMINATED ON DRB# 198-11
                                         Failure to Obey             USED RACIAL SLURS WHILE TEACHING A RECRUIT CLASS       NOT-
198-11 10-004832 Sergeant                Orders/Directives           (SEXUAL IN NATURE)                                     SUSTAINED TERMINATION             11/29/2011 TERMINATED
                                                                     PROPOSITIONED A PROSTITUTE FOR SEX AND THREATED                                                     45 DAYS SWOP & REMOVAL FROM MPO
277-16 15-003114 Master Patrol Officer   Conduct Constitutes Crime   SUBJECT WITH HIS WEAPON                                SUSTAINED TERMINATION               8/3/2016 PROGRAM
                                                                     FAIL TO UPDATE WACIIS AND FOLLOW-UP REGARDING A                                                     OFFICIAL REPRIMAND MEMO ATTACHED
163-12 12-000489 Detective               Neglect of Duty             SEXUAL ASSAULT CASE                                    SUSTAINED 10 DAYS SWOP             5/21/2012 FROM CID COMMANDER
177-06 05-2321   Officer                 Conduct Constitutes Crime   SEXUAL ASSAULT SUSPECT                                 SUSTAINED TERMINATION              10/3/2006 TERMINATION
                                                                     CRIMINAL SUMMONS FOR DUI & ALLEGED SEXUAL ASSAULT
171-09 09-000144 Officer                 Conduct Constitutes Crime   IN VIRGINIA                                            SUSTAINED TERMINATION               3/5/2010 TERMINATED
                                                                     MADE SEVERAL LEWD & INAPPROPRIATE COMMENTS AND
506-15 14-001342 Officer                 Conduct Unbecoming          SEXUAL ADVANCES TOWARDS A DETAINEE                     SUSTAINED TERMINATION             7/22/2016 TERMINATED
                                                                     FAIL NOTIFY SEXUAL ASSAULT UNIT OF A POSSIBLE SEXUAL             20 DAYS SWOP & NO CLUB            20 DAYS SWOP & NO CLUB OVERTIME FOR 12
429-14 14-001586 Sergeant                Conduct Unbecoming          ASSAULT WHILE WORKING CLUB OVERTIME                    SUSTAINED OVERTIME FOR 12        10/10/2014 MONTHS
433-12 12-001334 Sergeant                Neglect of Duty             FAIL TO FOLLOW-UP ON 44 SEX CASES                      SUSTAINED 15 DAYS SWOP            12/5/2012 15 DAYS SWOP
528-07 05-001993 Officer                 Conduct Constitutes Crime   ARRESTED & INDICTED FOR 1 COUNT OF SEXUAL ABUSE        SUSTAINED TERMINATION            10/22/2008 TERMINATION
                                                                     FAILURE TO OBTAIN VALID PERMIT FROM SEXUAL ASSAULT
292-08 08-001021 Officer                 Conduct Unbecoming          SUSPECT                                                SUSTAINED OFFICIAL REPRIMAND        7/3/2008 PD 750
                                                                     ACCUSED OF AN SEXUAL ASSAULT AGAINST A MINOR IN WEST
279-11 11-000064 Officer                 Prejudicial Conduct         VIRGINIA                                               SUSTAINED TERMINATION              10/7/2011 TERMINATION
462-13 13-001486 Officer                 Neglect of Duty             FAIL TO NOTIFY YID REGARDING A CHILD SEX ABUSE CASE    SUSTAINED 1 DAY SWOP & 2 DAYS     11/19/2013 PD 62E
                                                                     SOLICIT AN UNDER COVER OFFICER FOR SEXUAL ACTS FOR               35 DAYS/15 HELD WITH
439-09 09-001855 Officer                 Conduct Unbecoming          THE EXCHANGE FOR MONEY                                 SUSTAINED TRAINING                  1/5/2010 15 DAYS HELD/20 SWOP
055-10 09-004182 Investigator            Conduct Unbecoming          IMPROPER CONTACT WITH SEXUAL ASSAULT VICTIM            SUSTAINED TERMINATION             10/18/2010 15 DAYS SWOP RECOMMENDED BY THE PANEL
                                                                     CONVICTED & SENTENCED TO 18 YRS IN JAIL FOR LEWD &
699-14 12-000732 Officer                 Conduct Constitutes Crime   INDECENT ACTS OF A SEXUAL NATURE W/ MINOR              SUSTAINED TERMINATION              6/27/2015 TERMINATED
699-14 12-000732 Officer                 Conduct Constitutes Crime   FOUND GUILTY ON 7 COUNTS OF CHILD SEXUAL ABUSE         SUSTAINED TERMINATION              6/27/2015 TERMINATED
                                                                     ARRESTED FOR MISDEMEANOR SEXUAL ABUSE OF A CHILD &                                                  MBR RESIGNED EFF. 3/5/14 PRIOR TO CASE
163-14 14-000589 Officer                 Conduct Constitutes Crime   SIMPLE ASSAULT                                         SUSTAINED TERMINATION              3/10/2014 GOING TO AA
085-07 06-005263 Lieutenant              Neglect of Duty             FAILURE TO REPORT MISCONDUCT                           SUSTAINED 15 DAYS                  6/21/2007 OFFICIAL REPRIMAND & SEXUAL HARASSMENT
432-08 07-005559 Officer                 Conduct Constitutes Crime   CONVICTION FOR MISD. SEXUAL ASSAULT                    SUSTAINED TERMINATION             10/14/2009 MEMBER TERMINATED EFFECTIVE 10/14/09

620-12 12-001719 Detective               Conduct Constitutes Crime   ARRESTED FOR SEXUAL CONDUCT TOWARDS STEP-DAUGHTER                TERMINATION
                                                                                                                            NOT-
764-14 14-002568 Detective               Neglect of Duty             FAIL TO PROPERLY INVESTIGATE A SEXUAL ASSAULT          SUSTAINED NO DISCIPLINE           12/29/2014 NO PREPONDERANCE OF EVIDENCE
463-13 13-001486 Officer                 Failure to Obey             FAIL TO NOTIFY YID REGARDING A CHILD SEX ABUSE CASE    SUSTAINED 12 DAYS SWOP            10/21/2013 3 DAYS SWOP & 2 DAYS HELD




                                                                                                                                                                                      DC 002640
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                               Nicole Webster

                                                                        Page 1
 1     UNITED STATES DISTRICT COURT - DISTRICT OF COLUMBIA
 2                            Civil Division
 3     ----------------------------:
 4     JAQUIA BUIE,                          :
 5                         Plaintiff,        : Case No.:
 6               vs.                         : 1:16:CV-01920-CKK
 7     DISTRICT OF COLUMBIA, et al.:
 8                         Defendants.       :
 9     ----------------------------:
10                                Washington,D.C.
11                                Wednesday, May 9, 2018
12     Deposition of
13                     NICOLE DETRESE WEBSTER
14     the witness, was called for examination
15     by counsel for the plaintiff, at the law
16     offices of Smith Mustille, LLC, 2200
17     Pennsylvania Avenue, Fourth Floor East,
18     Washington, D.C. commencing at 10:15 a.m.,
19     before Hedy D. Blau, Court Reporter and Notary
20     Public for the District of Columbia, and
21     present on behalf of the respective parties:
22


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                               Nicole Webster

                                                                        Page 2
 1     APPEARANCES:
 2
 3               On Behalf of the Plaintiffs:
 4               BY: MARK A. SMITH, ESQUIRE
 5                    JUDITH MUSTILLE, ESQUIRE
 6                    Smith, Mustille, LLC
 7                    51 Monroe Street
 8                    Suite 1600
 9                    Rockville, Maryland 20850
10                    (202) 776-0022
11
12               On Behalf of the Defendants:
13               BY: DAVID JACKSON, ESQUIRE
14                    PATRICIA DONKOR, ESQUIRE
15                    Office of the Attorney General
16                    One Judicary Square
17                    441 4th Street, Northwest
18                    Suite 630 South
19                    Washington, D.C. 20001
20                    (202) 724-6618
21
22


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                               Nicole Webster

                                                                      Page 23
 1     were going to say.
 2         A.      What's the question?          Let me make sure
 3     I'm answering it correctly.
 4         Q.      So, I lead with the words, there's
 5     categories of investigation and then, you were
 6     going to illuminate me by structuring the
 7     response a certain way.           Go ahead and do that.
 8         A.      Certainly.
 9         Q.      Okay.
10         A.      We have misconduct, the use of force
11     and equal employment opportunity.
12         Q.      Misconduct?
13         A.      And police complaint board, the
14     citizen's police complaint board.
15         Q.      So misconduct, the use of force,
16     citizen's complaint board and what else?
17         A.      The equal employment opportunity.
18         Q.      Okay, let's address each one of them,
19     one at a time, okay?
20         A.      Okay.
21         Q.      Do you operate in all four of those
22     realms as an Internal Affairs agent?


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                               Nicole Webster

                                                                      Page 27
 1     it?
 2                 MR. JACKSON:       Objection as to the form
 3     of the question.
 4                 BY MR. SMITH:
 5         Q.      If they're held responsible, there's a
 6     presumption that they need to know about it,
 7     right?
 8         A.      They should be familiar with it and
 9     know where to look, if they need more
10     information.
11                 So is there some type of iPad that
12     each police officer is issued with all the
13     general orders on it?
14         A.      No iPad, but they are given a CD and
15     it's on our internet page.
16         Q.      On the MPD on-line?
17         A.      Yes, sir.
18         Q.      And so in the area of misconduct, in
19     that category, is sexual misconduct included in
20     that category?
21         A.      I believe so.       Yes, sir.
22         Q.      Now, what is the Metropolitan Police


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                               Nicole Webster

                                                                      Page 28
 1     Department's position on sexual misconduct?
 2                 MR. JACKSON:       Objection.
 3                 THE WITNESS:       That we don't tolerate
 4     it.
 5                 BY MR. SMITH:
 6         Q.      When you say you don't tolerate it,
 7     explain to me what you mean?
 8         A.      We don't tolerate it, knowingly.              So
 9     if the facts are provided and it's found to be
10     sustained, then the member is disciplined.
11         Q.      But you have a zero tolerance policy
12     towards sexual misconduct?
13         A.      Yes, sir.      When it's proven, it's zero
14     tolerance.
15         Q.      And when you say "proven," what's the
16     standard of proof that you understand it to be?
17         A.      Evidence.
18         Q.      No, no.     I understand that is the
19     material --
20         A.      You mean preponderance?
21         Q.      Yes.    What's the standard?
22         A.      Preponderance.


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                               Nicole Webster

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 1                 BY MR. SMITH:
 2         Q.      Do you know Darrell Best?
 3         A.      Yes, sir.
 4         Q.      How long have you known him?
 5         A.      For 28 years.
 6         Q.      So were you part of the same cadet
 7     class?
 8         A.      No, sir.
 9         Q.      Were you close in your classes?
10         A.      Yes, sir.
11         Q.      And when did you meet him?
12         A.      When we were cadets.
13         Q.      Were you in the same district?
14         A.      No, sir.
15         Q.      So you met him at the academy?
16         A.      Yes, yes.
17         Q.      And over the years, did you guys
18     maintain a friendship?
19         A.      Yes.
20         Q.      So now, did you ever work together?
21         A.      No, sir.
22         Q.      Did you ever socialize outside the


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                                                            DC 001472
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             EXHIBIT 25
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                        Kimberly Chisley-Missouri

                                                                        Page 1
 1                     UNITED STATES DISTRICT COURT
 2                           DISTRICT OF COLUMBIA
 3                               Civil Division
 4     ------------------------------x
 5     JAQUIA BUIE,                            :
 6                         Plaintiff,          :
 7     vs.                                     : Case No.
 8     DISTRICT OF COLUMBIA, et al., : 1:16-CV-01920-CKK
 9                         Defendants.         :
10     ------------------------------x
11                                Washington, D.C.
12                                Friday, April 20, 2018
13
14     Deposition of:
15                       KIMBERLY CHISLEY-MISSOURI
16     the witness, called for examination by counsel for
17     the plaintiff at Smith Mustille LLC, 2200
18     Pennsylvania Avenue, Northwest, 4th Floor East,
19     Washington, D.C., commencing at 12:52 p.m. before
20     Suzanne Marie Alona Enderson, Court Reporter and
21     Notary Public in and for the State of Maryland, and
22     present on behalf of the respective parties:


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                        Kimberly Chisley-Missouri

                                                                        Page 2
 1     APPEARANCES:
 2
 3     ON BEHALF OF THE PLAINTIFF:
 4                   MARK A. SMITH, ESQUIRE
 5                   JUDITH A. MUSTILLE, ESQUIRE
 6                   2200 Pennsylvania Avenue, Northwest
 7                   4th Floor East
 8                   Washington, D.C.        20037
 9                   (202) 776-0022
10
11     ON BEHALF OF THE DEFENDANTS:
12                   DAVID JACKSON, ESQUIRE
13                   PATRICIA DONKOR, ESQUIRE
14                   Office of the Attorney General
15                   For the District of Columbia
16                   441 4th Street, Northwest
17                   Suite 630 South
18                   Washington, D.C.        20001
19                   (202) 724-6618
20
21
22


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                        Kimberly Chisley-Missouri

                                                                      Page 56
 1     has been marked as Exhibit 4 for this deposition.
 2     Now, take a look at it.           Then I will ask you some
 3     questions.
 4           A.    Okay.
 5           Q.    You testified that in November 2014 you
 6     were promoted to assistant chief of the Corporate
 7     Support Bureau, right?
 8           A.    Correct.
 9           Q.    Okay.     So explain this document that I
10     presented to you.
11           A.    This is a teletype.         It is used to put
12     information out to the department.
13           Q.    And what is the -- and you see that it
14     indicates that you are the detail supervisor for the
15     Corporate Support Bureau, and it indicates that
16     Darrell Best was detailed to the Corporate Support
17     Bureau, correct?
18           A.    Correct.
19           Q.    Now, what does it mean by "detailed"?
20           A.    Detailed means it's not your permanent
21     assignment.
22           Q.    Okay.     But I -- thank you for that.            I had


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                        Kimberly Chisley-Missouri

                                                                      Page 57
 1     that sense, but can you develop that more?                 So it's
 2     not their permanent assignment, but what motivates
 3     detailing?      What's behind detailing?
 4           A.    I can't explain for purposes of this.               A
 5     detail is -- in some instances, if there is a need
 6     to move personnel, they can be detailed to an
 7     assignment.       They're still assigned to whatever they
 8     were permanently, but for working purposes every day
 9     they will respond to their detail assignment.
10           Q.    Okay.     Now, prior to being -- Best being
11     detailed to the Corporate Support Bureau, he had
12     been working for you before, right?
13           A.    At the Fourth District, yes.
14           Q.    How long?
15           A.    I don't know exactly.          He came while I was
16     there during my tenure.           He was assigned.
17           Q.    You supervised him, right?
18           A.    I was not his immediate supervisor, no.
19           Q.    Were you his immediate -- if you're not
20     his immediate supervisor, were you his supervisor
21     any way when he was in the Fourth District?
22           A.    I was in the chain of command.             I was a


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                        Kimberly Chisley-Missouri

                                                                      Page 58
 1     district commander.         So everyone fell under my
 2     command.      All 300 people.
 3           Q.    So you were the commander of the Fourth
 4     District.
 5           A.    Yes.
 6           Q.    Everybody fell under your supervision, I
 7     mean, as a technical matter, right?
 8           A.    Yes.
 9           Q.    But you didn't supervise him day to day,
10     you're saying, right?
11           A.    Correct.
12           Q.    Okay.     At that time who did supervise him
13     day to day?
14           A.    When he was in the administrative office,
15     it would have been the administrative sergeant.
16           Q.    Which is who?
17           A.    When I left, it was Sergeant DiPasquale.
18           Q.    Now, when you say when you left --
19           A.    When I was promoted.
20           Q.    That was in November 2014, right?
21           A.    Correct.
22           Q.    Now, I take it that you requested that


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                        Kimberly Chisley-Missouri

                                                                      Page 59
 1     Darrell Best be detailed to the Corporate Support
 2     Bureau, right?
 3           A.    Correct.
 4           Q.    Why did you make that request?
 5           A.    It's past practice that when you're
 6     relocating to different command assignments, that
 7     you can have personnel come with you, especially if
 8     the location that you're going to has personnel that
 9     has moved on as well, if that makes sense.
10                 So for example, in Exhibit 4 Ms. Campbell
11     was in Corporate Support, but she left with the
12     person who I replaced.          So there were vacancies in
13     the office.       So I was allowed to bring personnel.
14           Q.    How many people did you bring with you from
15     the Fourth District?
16           A.    Two.
17           Q.    So you had, as you earlier testified, 300
18     plus people under your supervision at the Fourth
19     District, and you brought two of them with you after
20     you were promoted to Corporate Support Bureau,
21     right?
22           A.    Correct.


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                                                                      Page 60
 1           Q.    And Darrell Best was one of them?
 2           A.    Correct.
 3           Q.    So were you -- what knowledge of Darrell
 4     Best did you have prior to bringing him with you
 5     that motivated you to want him to be there with you?
 6           A.    I had no issue with his work.             When I did
 7     interact with him, he handled assignments that I
 8     gave him, as did the sergeant.             So I had no problem
 9     with requesting that the two of them come to fill
10     the void that was in the office that I was assuming.
11           Q.    You said this was -- this was an exercise
12     of your druthers, right?           I mean, it was a choice
13     that you had.       You could have chosen anybody to
14     come, right?
15           A.    I could have.
16           Q.    Yes.    And so you chose two specific people
17     because you had a preference for those people,
18     right?
19                 MR. JACKSON:       Objection to the form of the
20     question.
21                 THE WITNESS:       To be honest, it was after
22     someone else I wanted to bring, but I did not want


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                                                                      Page 80
 1                 MR. SMITH:      Well, that's good to know.
 2                 Can you mark this as Exhibit 7.
 3                 (Deposition Exhibit Number 7 was marked for
 4     identification.)
 5                 BY MR. SMITH:
 6           Q.    Okay.     I'm handing you a document now that
 7     is marked as Exhibit 7 for purposes of this
 8     deposition.       Take a look at it and I want to ask you
 9     a few questions.
10           A.    Okay.
11           Q.    Okay.     So when you requested that Darrell
12     Best come to work for you in the Corporate Support
13     Bureau, you were aware that he had been demoted,
14     right?
15           A.    Yes.
16           Q.    Did you know the details behind that
17     demotion?
18           A.    No.
19           Q.    Did you care to know?
20           A.    I was -- I never asked why he had been
21     demoted or did I know when he was demoted.
22           Q.    Did you know why he was demoted?


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                                                                      Page 81
 1           A.    No.
 2           Q.    So is it a common occurrence at the
 3     Metropolitan Police Department that a sergeant is
 4     demoted to officer?
 5                 MR. JACKSON:       Objection as to what is a
 6     common occurrence at the Metropolitan Police
 7     Department.       She's not here as a 30(b)(6) witness.
 8                 THE WITNESS:       Demotions happen.        They don't
 9     happen every day, but they do occur.
10                 BY MR. SMITH:
11           Q.    I didn't ask about demotions generally.                   I
12     said is it a common occurrence at the Metropolitan
13     Police Department for sergeants to be demoted back
14     to basically gumshoe police officers?
15                 MR. JACKSON:       Objection as to the form of
16     the question.
17                 THE WITNESS:       A what officer?
18                 BY MR. SMITH:
19           Q.    Gumshoe.      It's like a standard.         A person
20     walking the beat who doesn't have authority like
21     Sergeant Best had before he was demoted.
22           A.    So an officer.        There have been demotions


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                                                                      Page 82
 1     from the rank of sergeant to officer, but it's not a
 2     common occurrence.
 3           Q.    Is it a big deal or a minor thing?
 4
 5                 MR. JACKSON:       Objection as to the form of
 6     the question.
 7                 THE WITNESS:       In my opinion?       Of course.
 8                 BY MR. SMITH:
 9           Q.    You're the one I'm asking, ma'am.              And you
10     were the person who was an assistant chief at the
11     Metropolitan Police Department and worked there for,
12     you know, a couple of decades or more, right?
13           A.    Yes.
14           Q.    So even though you're not a 30(b)(6)
15     witness, I expect you to be very knowledgeable about
16     this subject.       And you supervised hundreds of people
17     in the time of your career there, and you've known
18     many sergeants.        You've been a sergeant yourself,
19     correct?
20           A.    Correct.
21           Q.    So I'm asking you, is it a minor thing or a
22     significant thing for a sergeant to be demoted?


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                                                                      Page 83
 1                 MR. JACKSON:       Same objection.
 2                 THE WITNESS:       Between minor and
 3     significant, definitely more significant, yes.
 4                 BY MR. SMITH:
 5           Q.    But you had -- you didn't look in -- before
 6     you brought him into police headquarters and gave
 7     him the privileges of accessing the office of the
 8     Corporate Support Bureau, you didn't investigate why
 9     he had been demoted?
10           A.    No.
11           Q.    Okay.     Is today when I handed you this
12     document the first time you learned why he was
13     demoted?
14           A.    Yes.
15           Q.    I may come back to that, but I want to take
16     you to another one before I do.             So does the
17     Metropolitan Police Department track occurrences of
18     members who are accused of sexual misconduct?
19           A.    If you're talking about from a criminal
20     aspect, yes.       Internal Affairs would be involved.
21           Q.    No.    I mean if just an allegation is made
22     that, you know, this officer, you know, touched me


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             EXHIBIT 26
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                                                                        DC 000235
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             EXHIBIT 27
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                                                                                               Carole T. Giunta, Ph.D.
                                                                                                        Licensed Psychologist
                                                                                                 Clinical & Forensic Psychology
                                                                                                               Neuropsychology




      March 2, 2018


      Mark A. Smith, Esq.
      Judith A. Mustille, Esq.
      Smith Mustille, LLC
      200-A Monroe Street, Suite 305
      Rockville, MD 20850-4442

      Re: Jaquia Buie v. District of Columbia and Darrell L. Best
          Civil Action No.: 1:16-cv-01920


      Dear Mr. Smith and Ms. Mustille,

      Pursuant to your referral, I have completed my evaluation of your client, Ms. Jaquia Buie, a 21-year-old
      African American woman. On December 3, 2014, Ms. Buie was sexually assaulted by Officer Darrell Best
      of the Metropolitan Police Department. Officer Best pled guilty to Second Degree Child Sexual Abuse; he
      is currently incarcerated. Ms. Buie was evaluated with respect to the question of the impact of this event on
      her, in light of the above referenced civil action.

      I personally evaluated Ms. Buie on February 16, 2018. The nature of the evaluation and the limits of
      confidentiality were explained to Ms. Buie. Her consent for participation was obtained. Additionally, I
      reviewed the following documents which you forwarded to me: Complaint, Government’s Submission
      Relating to Guilty Plea Hearing Pursuant to General Order Governing Criminal Cases, Statement of Offense,
      Plea Agreement, Darrell Best Judgment in Criminal Case, Articles re Case, Metropolitan Police Department
      Memorandum (03/26/15) and Wendt Center for Loss and Healing Medical Records. To obtain collateral
      information, I interviewed her mother Shenita Buie (02/27/18) and her friend Jazzmine Hester (02/27/18).

      RELEVANT HISTORY: Ms. Jaquia Buie was born in North Carolina and raised in Washington DC from
      the age of two. Her sisters who are four and 14 years younger than she. Ms. Buie was raised primarily by a
      single mother; her father was in and out of the family home. Her father became incarcerated when she was
      six or seven, leading her mother to take on a second job. At that time, Ms. Buie began to take the bus to
      school independently, pick up her sister after school and help with housework. Ms. Buie recalled that the
      family’s finances became strained and at times there was insufficient food in the house. But she stated, “My
      mother always made a way out of no way.” Ms. Buie offered the observation that her family background
      helped her develop independence and become a hard worker.

      Ms. Buie recalled being close to both of her parents growing up, despite the fact that their relationship was
      conflictual. Ms. Buie reported that her parents’ relationship was “marked by disrespect.” There was
      considerable verbal fighting but no domestic violence. She recalled a string of broken promises from her
      father whom she described as very blunt and angry. Ms. Buie characterized her mother as hard-working and
      trustworthy. She described each of them as “my best friend.”



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Ms. Buie reports that she worked hard and did well in school. Her grades slipped a bit in high school but
she graduated on time with a 2.89 GPA. Ms. Buie worked during high school to help contribute to the family.
After a brief stint at Nationals Stadium, she was a server and line cook at a local country club. In high school,
Ms. Buie identified law enforcement as her career goal and hoped to attend the Police Academy and become
employed by the Metropolitan Police Department (MPD).

When she was young, Ms. Buie’s family attended church on a regular basis. When Ms. Buie was 16, her
mother began to attend God of a Second Chance Ministry on a weekly basis where Officer Darrell Best was
the pastor. Ms. Buie described her mother as “a believer” who was very committed to the church. Her mother
gave a tithe to the church on a regular basis despite the fact that it stressed the family’s modest finances and
created conflict at home. Ms. Buie’s father knew Officer Best and his siblings from the streets. According
to Ms. Buie, her father referred to Officer Best as “a crook” whom he believed pulled people over for no
reason and “a whore" whom he believed messed with young girls. There was considerable disagreement at
home about attending his church, but Ms. Buie’s mother prevailed.

Ms. Buie’s mother attended Bible study on a weekly basis at Officer Best’s home and insisted that Ms. Buie
join her there and at weekly services. Ms. Buie was somewhat uncertain about her spiritual beliefs; while
certain sermons spoke to her, she did not see herself as a follower and was trying to clarify how her beliefs
fit with the church. Initially, Ms. Buie’s interactions with Officer Best were limited to greeting him at church
services and Bible study. Over time, Ms. Buie interacted with him more, particularly after her mother shared
with him that Ms. Buie was hoping to join the Metropolitan Police Department. Ms. Buie looked at Officer
Best as a mentor.”

When Ms. Buie’s mother learned that Officer Best and his fiancée were planning their honeymoon, she
suggested that her daughter share pictures with him of their recent trip to Jamaica. Ms. Buie selected certain
photos to share, avoiding photos of herself in a bathing suit. Around Thanksgiving 2014, Officer Best asked
Ms. Buie for her cell phone number. He subsequently offered to take her to dinner as a belated high school
graduation gift. She was not interested in having dinner with him and indicated to him that a gift was not
necessary. He persisted, suggesting that she could choose whatever restaurant she wanted and she could bring
her mother. He indicated that they would discuss her interest in becoming a police officer. She felt awkward
about meeting with him as she did not have a personal relationship with him. Ms. Buie wondered about his
agenda, particularly as he was not including his fiancée in the arrangements. Her mother urged her to accept
the invitation, because of her career interest. Her mother declined to attend the dinner as she felt that Ms.
Buie would be less engaged in the career discussion if she were there.

On December 3, 2014 Officer Best took Ms. Buie to Georgia Brown’s restaurant for dinner ostensibly to
discuss her interest in a career in law enforcement. Officer Best picked her up a few blocks from the
restaurant in an unmarked police car, dressed in full uniform, including his service weapon. At the restaurant,
Officer Best initially asked innocuous questions such as “How was your day?” While they were waiting for
the food to arrive, Officer Best asked Ms. Buie a few questions about her interest in law enforcement then
steered the conversation to other topics beginning with her interest in boys. He asked whether she had a
boyfriend and then transitioned into sexually explicit questions such as “Do you like getting your pussy ate?”
Ms. Buie was shocked and disgusted and spit out her drink. When the food arrived she felt unable to eat.
Officer Best admonished Ms. Buie for not eating the food. While he ate dinner, Officer Best continued to
pepper Ms. Buie with questions such as “Do you want a boyfriend?” and “What positions do you like?” Ms.
Buie noted that he kept bringing the conversation back to the latter question. Ms. Buie was offended and very
uncomfortable. She signaled the server, with the intention of paying her own bill and leaving. Officer Best

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indicated that he felt Ms. Buie was making too big a deal of his comments. He paid the bill but complained
to her that she chose an expensive restaurant.

Ms. Buie put her coat on and walked out of the restaurant, intending to walk to the Metro and travel home
independently. However, Officer Best insisted on taking her home stating, “How’s that gonna look to your
mother.” She initially refused the ride but when Officer Best started “talking through his teeth,” further
insisting that she get in the car, Ms. Buie complied.

Instead of taking her home, Officer Best drove to MPD headquarters, claiming that he had to finish some
work. He used his badge to access the underground parking garage. When she asked to stay in the car, Officer
Best insisted that Ms. Buie accompany him inside headquarters. He used his badge to access an elevator and
pointed out the police chief’s office which was on the same floor as his own. Inside Officer Best’s office,
Ms. Buie sat on a sofa while he sat at the desk and used his computer. Officer Best then called his fiancée,
telling her that he would be home later after he finished some work. Officer Best then moved to the sofa near
where Ms. Buie was sitting. She moved away and he asked “Why are you acting like a little girl?” She
replied, “I am a little girl.” He stated, “You don’t look like it.” Officer Best persisted in his advances, stating,
“You know I like you. Why are you acting like that? Don’t you find me attractive?” Ms. Buie responded,
“You’re my pastor.” He asked her to stop calling him that and suggested that she call him Darrell.

Next, Officer Best touched Ms. Buie’s thigh. She moved his hand away stating “We’re not doing that.” He
then proceeded to touch her inner thigh while continuing to profess his affection for her. Ms. Buie moved
to another couch to evade his advances. Officer Best followed her. This occurred more than once. Officer
Best then turned out the lights and requested that Ms. Buie kiss him. She refused. He then held her face,
forcing a kiss on her and trying to put his tongue in her mouth. She asked him to stop. Officer Best took off
his belt and placed his gun on the table. She was very aware that his service weapon was within reach and
felt terrified. Officer Best proceeded to tell Ms. Buie that he was not going to hurt her and that he loved her.
He put her feet up on the sofa, opened her pants but did not take them down. He took his penis out and asked
her to touch it; she refused. He kissed her, got on top of her and humped her, saying “I want some.” She
refused to allow him to enter her. When he was finished, he told Ms. Buie that “Nobody should find out
about this because I got more to lose than you.” He admonished her to “fix your shirt” so that nobody who
saw her in the hall would “think something was going on.” He then proceeded to drive her home, dropping
her a block from her house and asking if her father was home.

When Ms. Buie came in the house, her mother noticed that she looked distraught and asked what was wrong.
Ms. Buie did not tell her parents about the assault at that time, because “I hate talking about it.” She also
worried about losing her father to incarceration if he tried to harm Officer Best; Ms. Buie felt that she would
have carried enormous guilt about him being locked up and felt she could not risk these possible events. She
did call and tell her best friend, Jazzmine Hester, immediately. About three months later, Ms. Buie’s parents
learned of the sexual assault after they were contacted by the parents of another minor who had also been
sexually victimized by Officer Best. Ms. Buie indicated that she was “so relieved” when her parents became
aware.

The day after the sexual assault, Ms. Buie sent a text message to Officer Best because she “wanted to tell
Darrell something to keep that from happening again.” She was very aware that she would continue to see
him at church and did not want him to think that he could repeat the prior night’s conduct. With help from
her friend Ms. Hester, Ms. Buie crafted a text message to communicate that: the sexual assault was wrong
and should never have happened.


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IMPACT OF THE SEXUAL ASSAULT: Since the sexual assault, Ms. Buie has withdrawn notably from
her relationships with friends and family and from the world more generally. For about a year after the
assault, she primarily isolated herself at home, pursuing neither work nor school. She has curtailed her social
life sharply and only interacts with a limited group of peers. At present, when she is not at work or school,
Ms. Buie generally stays in the house, overeats and distracts herself with TV. Most of the time when she is
home, Ms. Buie stays in her room with the door locked. She stated, “I feel so at peace with the door locked,
nobody’s gonna hurt me.” She sleeps with her bedroom door locked as well.

After isolating herself at home for a year, Ms. Buie got a job as a line cook at a country club where she had
worked previously. She subsequently left that position to take a job at Dave and Busters. She was fired from
that position in late 2016 after she engaged in a verbal and physical altercation with a coworker who wished
to date her. Ms. Buie noted that she was not an angry person prior to the sexual assault. She stated, “Now,
I don’t let nothing past me.” She experiences very high levels of anger when issues of trust emerge and when
she feels someone is trying to get over on her. Ms. Buie also reports that her anger now gets out of control
easily, “because I don’t want to be taken advantage of again.” When angry, Ms. Buie has damaged her own
things at times, has put a few holes in the wall and has gotten into physical altercations. Ms. Buie was
arrested a few months ago after an argument with her sister turned physical. The charges were dropped but
this demonstrates that Ms. Buie now struggles to keep her anger within acceptable boundaries.

Since the sexual assault, Ms. Buie has re-experienced the event in a number of ways. Initially, she was having
intrusive recollections of the event and would see an image of Officer Best’s face which triggered a fear
response. These thoughts plagued her throughout the day during the first year after the assault. They continue
now on a less frequent basis. Visual or physical reminders of Officer Best, such as seeing a police car or
seeing one of his family members, trigger memories of the assault. As described below, she also has
nightmares stemming from the assault and finds that sexual activity reminds her of the assault.

Initially after the sexual assault, Ms. Buie worried that Officer Best would find her father in the streets and
harm him. She also reports that she is very afraid for her own and her family’s safety. She stated, “I’m scared
he’s gonna come out after 18 years and kill me.” She ruminates about this and finds it hard to distract herself
from this worry at times. Ms. Buie also worries about her sisters’ and her mother’s safety. In this way, the
terrifying aspects of the assault continue to plague her.

Pursuant to the sexual assault, Ms. Buie feels less open, more concerned about her safety and finds it
especially hard to trust men. She did not date again until 2016 at which time she became involved with a
boyfriend who got two other girls pregnant while he was dating Ms. Buie. She also became pregnant and
subsequently miscarried. Since this relationship ended, Ms. Buie has been reluctant to date again. She notes
that she is argumentative with potential boyfriends and is keeping people away because she is unclear about
their intentions. Referring to her trust issues, Ms. Buie stated, “Every man I have put on a pedestal has let
me down.” She further stated, “I want to be loved, but I can’t trust.”

Ms. Buie avoided sexual activity for nearly 2 years following the assault. When she has been sexually active
since the assault, she finds it to be less pleasurable as her boyfriend’s sexual advances trigger memories of
the assault. Specifically, Ms. Buie does not want a boyfriend to kiss her, because it reminds her of Officer
Best. Certain types of touching also feel reminiscent of the sexual assault, triggering a very strong negative
reaction.



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Ms. Buie has struggled with depressive symptoms on and off for the past three years since the sexual assault.
This has included bouts of low mood, crying, poor concentration, isolating, sleep disturbance and negative
feelings about herself. These feelings were heightened after she lost her job, had a miscarriage and broke up
with her boyfriend. At present, Ms. Buie describes her mood as “calm” when she is alone and “triggered,”
meaning that she feels worried and stressed, when she is with others. Although she is aware that the assault
is not her fault, Ms. Buie continues to blame herself at times. Since the assault, she has experienced low self-
esteem, lack of belief in her own abilities and negative feelings about herself as a result of the assault.

Ms. Buie describes an “anniversary reaction” whereby in December of the years following the assault, she
isolates herself more, experiences lower mood and finds herself thinking about the event more than usual,
which interferes with her sleep.

At present, Ms. Buie copes with the aftermath of the sexual assault by trying to distract herself as opposed
to dealing with it directly. Distractions include drinking alcohol, watching television and actively avoiding
situations and thoughts connected with the assault. Since the event, Ms. Buie avoids: church, the
neighborhood around Officer Best’s church, the neighborhood where his family lives, the area near Georgia
Brown’s restaurant, police officers, dark skinned men and the gym. She also avoids being outgoing because
she feels that she needs to limit her social contacts in order to keep herself safe.

Since the sexual assault, Ms. Buie has had difficulty sleeping. Initially, she used marijuana or NyQuil to help
initiate sleep. Recently, her sleep schedule has been disrupted by working at night. Ms. Buie also
experiences nightmares on a weekly basis. Some nightmares include reliving the sexual assault. Others center
on Officer Best breaking out of jail, finding Ms. Buie and killing her, her sisters and her mother. Ms. Buie
also evidences an exaggerated startle reaction and is more cautious and vigilant about checking her
surroundings.

Ms. Buie reports that Officer Best told her that he was attracted to small [i.e. thin] girls. As such, she has
gained 80 pounds since the assault because, “I didn’t want to be small anymore. I didn’t want to be appealing
to him.” In an effort to move past the assault, Ms. Buie tried to take some of the weight off. When she went
to the gym, she felt that there were “so many men looking at you” that she felt uncomfortable and canceled
her membership. She is now exploring the idea of surgery because “I want to change my physical appearance.
I don’t want to be that same person who [Officer Best] assaulted.”

Ms. Buie reported that the sexual assault has “literally torn my family apart.” In the aftermath of the assault,
there was considerable conflict as her father and grandmother blamed her mother for trusting Officer Best
and for being so involved in his church. About a month after the disclosure, her mother got a stay away order
and put her father out; they remain separated and he cannot see her siblings (who are minors) without a
relative being present. Ms. Buie identified many changes in her family pursuant to the sexual assault. She
noted that her two younger sisters are more rebellious. Ms. Buie believes that her mother blames herself for
not attending the dinner. She perceives her mother as more focused now on her own needs and as spending
less time with her children. Ms. Buie also described her mother as less spiritual, indicating that she no longer
goes to church. Ms. Buie does not see her father nearly as much since he is no longer living in the family
home. Ms. Buie isolates herself in her room, invests less in her family relationships and feels more distant
from her family members. Ms. Buie misses the prior sense of connection she had with all of her family
members and laments the loss of family cohesion.



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Similarly, Ms. Buie has allowed many friendships to die away, only keeping up with a few close friends.
Although she still feels close to two friends, she reports greater difficulty trusting even these long time
friends.

Ms. Buie first tasted alcohol at age 15. As a teenager, she drank occasionally at parties but her mother did
not allow her to go out much. Ms. Buie tried both marijuana and K2 once at the age of 15. After graduating
high school, she tried marijuana again, but did not feel drawn to its effects. After the sexual assault, she
started smoking marijuana on a daily basis as much as three times a day. In the summer of 2015, she stopped
smoking weed and started drinking several days a week to the point of being tipsy. Ms. Buie reports that she
does not like being drunk, because she feels vulnerable. At present, she drinks one or two glasses of wine
to help her go to sleep, particularly on the weekends.

Ms. Buie reported that pursuant to the assault, her feelings about men, police and clergy are markedly
changed. The prior assumptions she carried about the integrity and trustworthiness of police and clergy have
been violated. Ms. Buie no longer feels that she can automatically afford someone trust or respect. As she
put it, “The idea that he was protecting the community is ridiculous.” Ms. Buie also reports that her
relationship with God is different following the sexual assault. She no longer attends church and feels that
even God failed to protect her.

At present, Ms. Buie works two jobs as a security guard and is completing training to become a dental
assistant at Fordis College. She is finishing her course work, is completing an externship at present and then
will sit for her licensure exams. Throughout this training, Ms. Buie has struggled with fears that she is not
capable and “not good enough.” After the assault, her prior goal of becoming an MPD officer was “out of
the question.”

In 2015, Ms. Buie was seen for a short course of therapy at the Wendt Center for Loss and Healing, through
their affiliation with the Crime Victims Compensation Fund. Within a short period of time, Ms. Buie was
transferred to a new therapist twice which interfered with her ability to establish a trusting relationship which
is the foundation of psychotherapy. Thereafter, Ms. Buie’s attendance waned, leading to termination of the
therapy. As she put it, “I was getting tossed around. I was not getting treatment with the proper care.” Ms.
Buie indicated that she has not had the financial resources to undertake further therapy.

INFORMATION FROM COLLATERAL SOURCES: Ms. Shenita Buie, the plaintiff’s mother, stated
that her daughter is “totally changed” following the sexual assault. She reports that her daughter is “almost
like a hermit,” indicating that she is much less social than she used to be. The plaintiff’s mother described
Ms. Buie as “very leery of people” and as having difficulty trusting. She also confirmed that her daughter
is very angry now. She voiced concerns about Ms. Buie’s functioning and expressed a wish for her daughter
to get counseling to decrease the impact of this event. She indicated that the prior counseling was problematic
because they kept changing her daughter’s counselor and it was difficult for her to keep explaining these
events to new providers.

Ms. Buie’s close friend, Ms. Jazzmine Hester, also corroborated the plaintiff’s report of the impact of the
sexual assault. She too noted that Ms. Buie now shows considerable anger, feelings of insecurity about
herself, weight gain, isolating and difficulty trusting police, church officials and men. Ms. Hester also
observed that Ms. Buie has difficulty reassuring herself that she is okay . Ms. Hester feels that since the
assault, Ms. Buie and her mother have been arguing more; she also observed that the plaintiff and her father
seem closer despite the fact that he no longer lives in their home.

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CURRENT CLINICAL PRESENTATION: Ms. Buie was fully cooperative with the evaluation. She
presented as slightly nervous but became more comfortable as the evaluation progressed. Ms. Buie was open
and forthcoming on interview.

Ms. Buie evidenced no unusual motor movements. She was fully oriented to person, place and time. There
is no history of auditory or visual hallucinations or delusional thinking. Her thought process was logical and
goal-directed. As indicated, Ms. Buie is much more vigilant regarding her safety since the sexual assault, but
this does not rise to a clinical level of paranoia.

Ms. Buie experienced some passive thoughts of death in the wake of the sexual assault; this consisted of
wondering what would happen if she wasn’t here anymore. She has not experienced active suicidal ideation
and has not had a plan or intent to suicide. There is no history of self-mutilation or manic symptoms. When
her anger is triggered she has thoughts of hurting other people at times, but has not had a plan to harm others.

As described above, Ms. Buie experiences a full complement of symptoms of Posttraumatic Stress Disorder
(PTSD). She also describes a considerable amount of worry and anxious behavior tied in particular to safety
and fears that but things that could “go wrong.” These symptoms all have onset following the sexual assault.

DIAGNOSIS (DSM-V):

        Post Traumatic Stress Disorder

FORENSIC OPINION: The following is my opinion within a reasonable degree of psychological certainty.

Ms. Jaquia Buie is a 21-year-old woman who was sexually assaulted at the age of 17 by a Metropolitan
Police Department officer who was also the pastor at her church. Officer Best is currently in prison as a result
of his conduct. Now, more than three years later, Ms. Buie continues to be greatly impacted by the assault.
She evidences Post Traumatic Stress Disorder secondary to the sexual assault along with a host of other
sequelae.

As amplified above, Ms. Buie is changed in a myriad of ways by this event. Her feelings about herself are
much more negative. She has low self-esteem and struggles intermittently with feeling that she is to blame
for the assault. Her emotional experience is entirely different. She is now an extremely angry person with
a short fuse who fears that others are trying to get over on her. Events in the present easily trigger the great
well of anger she carries about the sexual assault, leading to displays of anger and aggression which are
disproportionate to the provocation. Ms. Buie’s interactions with others, particularly men, are vastly
different. She does not trust men, she fears further victimization and she tries to keep men away from her
because she is unclear about their intentions.

Because she was victimized by someone she knew and trusted and whose stature in the community she
respected, this violation has affected Ms. Buie’s beliefs on very fundamental levels. The fact that she was
sexually assaulted by someone who had been entrusted by the community to both protect and serve and guide
and comfort spiritually has left her feeling utterly unprotected in the world and enormously alone. Because
larger societal structures failed to protect her, Ms. Buie feels that she cannot trust others to keep her safe and
that she alone must manufacture whatever modicum of security she can manage. Indeed, if she could be lured


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and taken advantage of by a representative of both law and order and God then are there no benevolent
protectors and are there no structures to ensure safety and protection? Indeed, this act has challenged Ms.
Buie’s spiritual beliefs and changed her relationship with God. It has also shattered her fundamental
assumptions about right and wrong, about order and boundaries in the world, about the role of societal
institutions in protecting individuals and about her sense of agency in the world. But most profoundly, it has
shattered her feelings of security and has left her doubting whether she can reestablish a sense of safety in
this world.

Now, the overriding imperative in Ms. Buie’s life is protecting herself and staying safe from further
victimization. In an effort to do so, she isolates, spending her free time alone in her room with the door
locked. She limits her social contacts to a few select individuals. She works and attends school but has
otherwise narrowed her world in her attempt to reestablish feelings of safety and security. However, because
the sexual assault remains so raw and the fear, anxiety, indignation and fundamental questions associated
with it continue to plague her, Ms. Buie feels markedly unsafe and triggered as she moves about the world
and interacts with others. The fact that she feels less comfort and trust in relationships with those closest to
her is one measure of the extent to which she still feels vulnerable, exposed and unsafe. Thus, she has been
failed by society’s larger structures and protectors and is feeling distant from her personal network of family
and friends, reinforcing her profound sense of isolation in the wake of the sexual assault.

Because she continues to reexperience the sexual assault on a regular basis and has not yet been able to
integrate this event into the larger narrative of her life, Ms. Buie copes with its aftermath in largely unhealthy
ways. She keeps others at a distance, forgoing support in favor of isolation. She has relied on substances to
distance herself from the experience and facilitate sleep. Her fuse is ignited quickly, resulting in displays of
anger and aggression in an attempt to ward off the feared experience of further victimization. In short, Ms.
Buie is relying on any and all strategies she can muster to cope with what continues to be an overwhelming
array of feelings and experiences which tie back directly to the sexual assault or represent attempts to manage
its fallout. However, these coping strategies create more problems for her and put her at risk for a negative
life trajectory.

Ms. Buie is in dire need of psychotherapy with a clinician who specializes in the treatment of post traumatic
conditions. I strongly recommend ongoing therapy with a specialist who will utilize best practices to
sequence the trauma therapy appropriately. She must first work to establish a trusting relationship with a
therapist who can remain available to her for the duration of her work. The goals of therapy include helping
Ms. Buie metabolize the pain and meanings of this event while remaining stable and functional in the world.
Treatment must also focus on strategies for managing triggers, learning more functional methods of coping
including reducing anger and its negative consequences. Later stages of therapy will need to focus on
integrating this event into the larger narrative of her life and renegotiating her fundamental beliefs and
assumptions about the world. To achieve these aims, I anticipate Ms. Buie will require weekly therapy for
three years.1 If subsequent life events become triggering, she may need as many as 30 additional sessions at
a future date to reinforce the gains made in therapy and to manage new symptoms.2 After she has made


        1
            Estimating $200/hour for individual therapy x 50 sessions per year x 3 years = $30,000.
        2
            Additional possible therapy at $200/hour x 30 sessions = $6,000.

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significant progress in therapy, she will benefit from an estimated one year course of group therapy on a
twice monthly basis. 3

It should be noted that the therapy Ms. Buie was afforded following the sexual assault was insufficient to
meet her therapeutic needs. She was transitioned among therapists in the clinic which further taxed her issues
with trust and safety. The notes do not memorialize any attempt to process these issues. This experience
reinforced Ms. Buie’s difficulties with trust and her feeling that she is alone. Ms. Buie has not pursued
further therapy due to lack of financial resources.

If Ms. Buie is unable to access appropriate therapy, she is at risk for any number of negative outcomes. Her
high levels of anger are a particular concern with respect to the potential for negative consequences. To date,
she has lost a job, been arrested and created distance in her relationships as a result of intermittent
dyscontrolled anger. Without sufficient appropriate treatment, Ms. Buie’s anger could interfere with her
ability to remain employed, perhaps indefinitely.

Finally, it is noteworthy that Ms. Buie was a relatively unsophisticated, under age black female from a low
income background at the time that she was sexually assaulted. All of these factors made her more vulnerable
to exploitation by an older, more savvy man whom society had accorded respect and stature due to his status
as a member of the law enforcement and clerical communities. These imbalances in power and privilege
constitute an additional level of meaning to the victimization and insult which Ms. Buie must unravel in her
therapy.

Respectfully submitted,




Carole T. Giunta, Ph.D.




        3
            Group therapy estimated at $120/hour x 2 sessions/month x 12 months = $1,200.

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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OFCOLUMBIA
                                     Civil Division


JAQUIA BUIE                   )
                              )
     Plaintiff,               )
                              )
vs.                           )               Civil Action No. 1:16-cv-01920 (CKK)
                              )
DISTRICT OF COLUMBIA, et. al. )
     Defendants               )
                              )


                 PLAINTIFF’S RESPONSE TO DEFENDANT DISTRICT’S
                        STATEMENT OF MATERIAL FACTS

                Under Fed. R. Civ. P. 56(c)(1) and (2) and LCvR 7(h)(1), Plaintiff hereby submits

the following response to Defendant District of Columbia’s Statement of Material Facts as to

Which There Is No Genuine Issue.


                Defendant Statement commences with a narrative of facts, some undisputed that

do not actually matter to the claims Plaintiff has alleged, and they will be marked as

‘immaterial.’


       1.       In December 2012, Defendant Darrell Best (Best) founded the God of Second

Chance Ministries (“the church”), located at 4410 Southern Avenue, SE, Washington, DC. Ex. 1,

Best Decl. at ¶ 7.

                RESPONSE: Immaterial, but undisputed.

       2.        Plaintiff Jacquia Buie started attending the church in the fall of 2013. Ex. 2, Pl.

Dep. Tr. at 84:17-19; Ex. 1, Best Decl. at ¶ 14.
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                RESPONSE: Immaterial, but Plaintiff’s name is spelled “Jaquia,” without a “c,”

                and Plaintiff attended the church with her mother at her mother’s insistence.

                Plaintiff’s Ex. 1, Jaquia Buie (“J. Buie”) Tr.” at 89:12-13.

        3.        Plaintiff did not know Best before attending the church, and she had no previous

contact with him in his capacity as a police officer. Ex. 2, Pl. Dep. Tr. at 90:19-91:2, 99:2-7.

                RESPONSE: Immaterial, but undisputed.

        4.        From the moment she joined the church until November 2014, Plaintiff never

spoke to Best about her life, her career goals, or any other topic. Id. at 122:6-22.

                RESPONSE: Immaterial, but undisputed.

        5.        On Thanksgiving Day 2014, Plaintiff had a one-on-one conversation with Best

for the first time since joining the church. Id. at 145:9-21, 149:11-17, 150:2-9. Best mentioned

that Plaintiff’s mother, Shenita Buie (Ms. Buie), told him that Plaintiff was interested in being a

police officer. Id. at 145:9-21, 147:22-148:3. Plaintiff responded that she was interested and that

her mother had arranged for her to attend a police cadet meeting in early 2015. Id. at 148:4-16.

                RESPONSE: Immaterial, except to the extent it evinces Jaquia’s interest in

                potentially becoming a police officer. Ex. 1, J. Buie Tr. at 148:20-149:4.

        6.        Shortly thereafter, Best had another conversation with Plaintiff at the church in

which he asked for her phone number and inquired whether she had come up with an idea for a

graduation gift. Id. at 163:7-19. Plaintiff said no, and Best responded that he would take Plaintiff

and her mother out to dinner to discuss Plaintiff’s interest in becoming a police officer. Id.

Plaintiff told Best that there was “nothing . . . really to talk about[,]” that “it was not that

serious[,]” and that she “would just take a gift card[.]” Id. at 165:6-16.




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                RESPONSE: Immaterial, except as to the implication that Jaquia’s response

                “nothing . . . really to talk about” referred to a graduation gift and not to becoming

                a police officer. Plaintiff’s Ex. 1 at 165:6-166:4.

        7.        Plaintiff eventually agreed to go to dinner with Best and chose Georgia Brown’s

as the location for the dinner. Id. at 171:9-22.

                RESPONSE: Immaterial, but undisputed.

         8.      At approximately 4:00 p.m. on the day of the dinner (December 4, 2014), Ms.

 Buie decided not to attend. Id. at 170:8-17.

                RESPONSE: Immaterial, except the day of the dinner was actually December 3,

                2014, not December 4, 2014.

        9.        On the day of the dinner, Best sent a text message to Plaintiff confirming their

plans to have dinner at Georgia Brown’s. Id. at 170:18-171:8. Plaintiff agreed to meet him at the

Mount Vernon metro station. Id. at 172:1-15.

                RESPONSE: Immaterial, but undisputed.

        10.       Best picked Plaintiff up from the metro in an unmarked police car. Id. at 173:16

- 174:4. Best did not tell Plaintiff why he was driving an unmarked police cruiser; nor did

Plaintiff inquire. See id. at 176:5-10.

                RESPONSE: Undisputed that Best picked Plaintiff up from the metro in an

                unmarked police car. Immaterial as to what Best and Jaquia did not say about it.


        11.       Best was dressed in his full police uniform with his service weapon. Id. at

176:11-17.


                RESPONSE: Undisputed.




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        12.        As Best drove Plaintiff to Georgia Brown’s, he asked if she had any questions

about the police force, and Plaintiff stated she did not. Id. at 177:3-9, 178:3-16.

                RESPONSE: Immaterial, but undisputed.

        13.        Plaintiff and Best arrived at Georgia Brown’s around 6:00 p.m. Id. at 223:2-4.

                RESPONSE: Immaterial, but undisputed.

        14.        Upon arriving at the restaurant, Best briefly spoke about the police academy. Id.

at 179:21-180:11. It was a one-sided conversation that lasted only five minutes, and Plaintiff did

not ask Best any questions. Id. at 180:12-22.

                RESPONSE: Undisputed.

        15.        Throughout dinner, Best asked Plaintiff a series of inappropriate and harassing

questions, such as: if she had a boyfriend, id. at 181:8-13; if she liked having oral sex performed

on her, id. at 181:8-13; and what “position” she liked, id. at 183:4-13.

                RESPONSE: Undisputed.

        16.        Plaintiff started to put her coat on but Best, in an aggressive manner, demanded

that she take it off. Id. at 201:7-202:6.

                RESPONSE: Undisputed.

        17.        Plaintiff told Best that she would pay for her own dinner because she considered

the dinner was “no longer a gift.” Id.

                RESPONSE: Immaterial, but undisputed.

        18.        Plaintiff told Best that she was leaving, and she planned to take the metro home.

Id. at 204:3-20.

                RESPONSE: Undisputed.

        19.        Plaintiff and Best were at the restaurant for about one hour. Id. at 202:22-203:6.




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               RESPONSE: Immaterial, but undisputed.

       20.       Best paid for the meal over Plaintiff’s objection. Id. at 205:4-15.

               RESPONSE: Immaterial, but undisputed.

       21.       After dinner, Best’s demeanor changed—he became “aggressive,” “stern,” and

was “talking as if he was [Plaintiff’s] parent,” id. at 201:7-202:6—ultimately causing Plaintiff to

fear him, id. at 202:7-9.

               RESPONSE: Immaterial, but undisputed.

       22.       When Plaintiff left the restaurant, Best followed her and, as she crossed to the

other side of the street, Best, “talking between his teeth[,]” said “come here.” Id. at 205:12-

206:22.

               RESPONSE: Undisputed.

       23.       Plaintiff walked back to Best who asked “what would it look like if I didn’t take

you home?” Id. Plaintiff got into the car. Id. at 211:2-20.

               RESPONSE: Disputed as misleading. Officer Best induced Jaquia to believe

               that he was taking her home. Id. Tr. at 247:18-19. Best brought her to police

               headquarters against her will instead. Id. at 248:2-7.

       24.       Best drove Plaintiff to MPD headquarters, stating that he had work to finish but

that he would not be long. Id. at 212:5-11.

               RESPONSE: Disputed. This was the execution of a “bait and switch.” Jaquia

               got into the police car, believing that Officer Best was going to drive her home.

               After she was inside the car and it was moving, Best took her to police

               headquarters against her will. Id. at 248:2-7.




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       25.       Best then drove into the parking garage at MPD Headquarters and used his

badge to gain access. Id. at 212:12-14, 213:2-17.

               RESPONSE: Undisputed.

       26.       Plaintiff asked to wait in the car but Best told her that she could not because

“Chief Lanier’s in here.” Id. at 213:2-17.

               RESPONSE: Undisputed.

       27.       As Plaintiff and Best walked to the elevators, the only person Plaintiff saw was

a cleaning person. Id. at 213:21-214:10.

               RESPONSE: Immaterial, but undisputed.

       28.       Best used his badge to operate the elevators. Id. at 243:20-244:2.

               RESPONSE: Undisputed.

       29.     The two proceeded to the Corporate Support Bureau (CSB)—where Best was

detailed at the time, see Ex. 3, Teletype—which is located on the fifth floor. Ex. 2, Pl. Dep. Tr. at

214:11-17.

               RESPONSE: Undisputed.

       30.       Once they arrived on the fifth floor, Plaintiff did not see any police officers. Id.

at 214:21-215:11. Plaintiff saw that Chief Lanier’s office door was open but she did not hear any

voices. Id. at 215:21-216:9.

               RESPONSE: Undisputed.

       31.       Plaintiff proceeded with Best to the CSB suite, which was comprised of Assistant

Chief Kimberly Chisley-Missouri’s private office, an open workspace for staff, a smaller office,

and a file room. Ex. 4, Chisley-Missouri Dep. Tr. at 51:10-54:2. Best’s desk was located in the

open workspace. Id. at 62:4-8.




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                RESPONSE: Disputed as misleading. Plaintiff did not “proceed[ ] with Best to

                the CSB suite. . .” Officer Best took her there against her will. Id. at 212:5-14;

                248:2-7.

        32.       When Plaintiff and Best entered the CSB suite on the night of the incident, Best

sat at his desk while Plaintiff sat on a couch away from the desk. Ex. 2, Pl. Dep. Tr. at 216:20-

217:6. Eventually, Best “made his way to [Plaintiff].” Id. at 227:17-20.

                RESPONSE: Disputed as misleading, because Best sat at his desk and worked

                on his computer, consistent with the statement to her that he had “work to finish

                up.” Id. at 212:10-11.

        33.       Best then sexually assaulted Plaintiff. Id. at 228:10-229:11, 230:2-17, 230:20-

231:2, 231:6-232:12, 232:20-233:20, 237:3-12, 237:15-21, 238:5-15.

                RESPONSE: Disputed as misleading, because the District does not even cite the

                full record of sexual abuse, which was the actual crime that Officer Best was

                convicted of as a result of this incident. Id. at 238:16-241:8, 242:14-243:10.

        34.       After the assault, Plaintiff and Best left the CSB suite. Plaintiff could hear

voices coming from Chief Lanier’s office but she did not see anyone. Id. at 243:11-19.

                RESPONSE: Undisputed.

        35.      Best drove Plaintiff away from MPD headquarters and dropped her off two

blocks from her house. Id.

                RESPONSE: Undisputed.

        36.       In January 2015, A.T.,1 Best’s fiancé’s 16-year-old niece, confided in Plaintiff

that Best raped her. Id. at 259:7-261:21.


1
          A.T. was a minor (age 16) at the time Best raped her. Thus, to protect her privacy, only her
initials are used throughout this brief and her name is redacted from the exhibits.


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               RESPONSE: Undisputed.

       37.     Plaintiff and A.T. were in the church choir together, and A.T. revealed Best’s

criminal conduct to Plaintiff after the choir had performed at another church. Id.

               RESPONSE: Immaterial, but undisputed.

       38.       On March 14, 2015, A.T.’s older sister reported Best’s crimes to her cousin,

Officer Zunobia Hakir. Ex. 5, Incident Summary Report. The ensuing investigation revealed that

Best raped and otherwise sexually assaulted A.T. on three separate occasions. Ex. 6, Arrest

Warrant. The incidents occurred on December 23, 2014, January 15 or 17, 2015, and February

14, 2015 (Valentine’s Day). Id. All three incidents occurred in Best’s private office inside the

church. Id.

               RESPONSE: Undisputed.

       39.       On March 14, 2015, agents from MPD’s Internal Affairs Division served Best

with a Form PD 77 (Revocation of Police Powers). Ex. 7, Internal Affairs Final Report. MPD

then placed Best on administrative leave. Id. On March 15, 2015, a warrant was issued for

Best’s arrest for raping and sexual assaulting A.T. Id. Best was arrested on March 16, 2015, and

charged with First Degree Sexual Abuse of Minor. Id.

               RESPONSE: Undisputed.

       40.       On August 4, 2015, Best resigned from MPD. Ex. 1, Best Decl. at ¶ 3.

               RESPONSE: Undisputed.

       41.       On August 18, 2015, the Internal Affairs Division (IAD) sustained the

allegations against Best. Ex. 7, Internal Affairs Final Report. However, MPD could not take any

disciplinary action against Best because he had resigned from his position. Ex. 8, Gottert Dep.

Tr. at 50:20-51:15.




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               RESPONSE: Disputed. The only allegation of misconduct sustained against

               Officer Best was for violation of “Department policies and procedures when he

               was arrested for First Degree Sex Abuse of a Minor. No allegation of misconduct

               was raised, much less sustained, for his attempted rape of Jaquia in police

               headquarters. Admission of Defendant: Defendant Ex. 7, Internal Affairs Final

               Report, at 7.

       42.       On or about March 10, 2016, Best pled guilty to Production of Child

Pornography, First Degree Sexual Abuse of a Minor, and Second Degree Sexual Abuse of a

Minor. Ex. 9, Judgment in a Criminal Case. Best was sentenced to 18 years in prison. Id.

               RESPONSE: Disputed. Best pled guilty on October 22, 2015, not March 10,

               2016.

       43.       Best was originally hired as a police officer with the Metropolitan Police

Department (MPD) on February 2, 1987. Ex. 1, Best Decl. at ¶ 3. In November 1998, he was

promoted from patrol officer to master patrol officer with the Fifth District. Ex. 10, Personnel

Action, Promotion to Master Patrol Officer. Several months later, he was promoted to sergeant

and assigned to the Seventh District. Ex. 11, Personnel Action, Promotion to Sergeant.

               RESPONSE: Disputed as misleading. In 2007, he was assigned to assist as

               liaison between the Police Academy and the Seventh District Youth

               Investigations Branch to teach the Code of Ethics, Report-Writing and Property to

               the cadets in the police academy. Defendant’s Ex. 12 at 8. He was reassigned to

               the Police Academy in March 2008. Ex. 2, Best Personnel History, (DC 000545).

               The chief of police then detailed Sgt. Best to the Fifth District in the summer of

               2008 during the first investigation of police sexual misconduct against him at the




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              police academy. While he was detailed for his pending investigation, a female in

              the Fifth District filed a second investigation of police sexual misconduct against

              him in October 2008, and he was placed on administrative leave with pay in

              October 31, 2008. Id. at DC 000980. He remained on administrative leave for

              approximately 11 months and was then reassigned to the Fourth District on

              October 4, 2009. Id. at DC 000561.

       44.      In January 2009, MPD’s Diversity and Equal Employment Opportunity

Compliance Unit (EEO) completed an investigation into allegations by a female police cadet

with the Youth Investigation Branch Cadet Program that Best had sexually harassed and sexually

assaulted her over a period. Ex. 12, Investigation Report (Jones matter).

 The complainant alleged that Best repeatedly requested oral and vaginal sex, fondled her

 buttocks and breast, and kissed her neck. Id.

              RESPONSE: Disputed. The sergeant who investigated the Cadet Raynette Jones

              matter was an agent of the Internal Affairs Bureau assigned to EEO cases.

              [Defendant Ex. 12]. The complainant—in addition to alleging that Sgt. Best

              repeatedly requested oral and vaginal sex, fondled her buttocks and breast, and

              kissed her neck, also alleged that Best would call her on her cell phone and tell

              her to come to his office, and once inside, lock the door, feel her buttocks and

              breast, and kiss her on the neck, while humping her. She alleged this occurred on

              approximately ten (10) occasions and once when they were detailed to an old

              folks home. He allegedly directed her to the coat room, shut the door, blocked it

              with his body, and grabbed her buttocks and began humping her while kissing her

              neck. Sgt. Best knew the cadet had a female lover and he said, “She can’t do the



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                things I can do! What she doesn’t know won’t hurt her.” And, “I will eat you out

                better than your girlfriend can.”

        45.       The investigation of the Jones matter found that there were insufficient facts

to support the allegations, specifically noting that the people identified by the complainant

as having information supporting the allegations denied having any knowledge of Best’s

alleged misconduct. Id. The United States Attorney for the District of Columbia declined to

prosecute Best for sexual abuse related to these allegations. Ex. 13, Declination Letter (Jones

matter).

                RESPONSE: Disputed. The persons interviewed by the Internal Affairs agent

                were not “identified by the complainant as having information supporting the

                allegations,” but about another story of Best’s inappropriate conduct with respect

                to cadets. There was only one person that Cadet Jones identified by name as

                having information supporting the allegations; a male cadet who was not

                interviewed.2 Ex. __, Jones, Investigation, Tr. of Cadet Jones interview by

                Internal Affairs Division, April 28, 2008, at 10-11. Even though the investigator

                brought up the male cadet’s name at the end of the interview, told Cadet Jones

                that she would “interview the witnesses you named,” and put the name of the

                male cadet on her “Things to Do” list, there is no mention of him in the final

                report and no evidence in the file that he was ever interviewed. Id. at DC 001547,

                “Things to Do” list. The charge that the United States Attorney Office (USAO)

                declined to prosecute was not “Sexual Abuse.” The charge was Second Degree



2
         The persons interviewed were female cadets, who Cadet Jones identified as referring to Best as
a “pervert” and not as people having information supporting Cadet Jones’ allegations against Best. Ex.
__ Tr. of Cadet Jones interview by Internal Affairs Division, April 28, 2008, at 12‐13.


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                Sexual Abuse of a Ward, fulfillment of the elements of which there was never a

                possibility, as the situation did not involve “a ward,” and all involved were aware

                of that fact in advance. Id. at DC 001484, DC 001508 and 001548.

       46.       In the winter and spring of 2009, MPD’s EEO investigated allegations made by

a civilian employee that Best touched her buttocks and asked that she allow him to give her a

message for $35 at a hotel. Ex. 14, Investigation Report (Lee matter).

                RESPONSE: Disputed because the investigation into allegations made by a

                civilian employee that Best touched her buttocks began on October 21, 2008.

                Defendant’s Ex. 14.

       47.       The Lee matter investigation substantiated the allegations and recommended

sustaining a charge of “conduct unbecoming an officer” against Best. Id. Best appealed the charge

and, in September 2009, Chief of Police Cathy Lanier denied Best’s appeal. Ex. 15, Lanier Letter

(Lee matter).

                RESPONSE: Undisputed.

       48.       As punishment, Best was demoted from sergeant to officer. Id. A few weeks

later, Best was issued a Notice of Direction (Notice), requiring him to report to the training

academy for training and recertification. Ex. 16, Notice of Direction. The Notice also specified

that Best was reassigned to the Patrol Service and School Security Bureau at the Fourth District.

Id. The United States Attorney declined to prosecute Best in connection with the allegations. Ex.

17, Declination Letter (Lee matter).

                RESPONSE: Disputed as misleading. The demotion did nothing to protect the

                civilian population of vulnerable females from misuse of the sway of Officer

                Best’s police authority. Nothing, in terms of the citizenry changed: Best remained




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               a documented lying, undutiful, miscreant with a penchant for police sexual

               misconduct and the badge to exercise it.

       49.       Best was with the Fourth District until November 21, 2014, when Chief Lanier

issued a teletype detailing Best to the CSB for the period of November 23, 2014, to February 21,

2015. Ex. 3, Teletype. Best was an administrative officer with CSB. Ex. 4, Chisley-Missouri

Dep. Tr. at 61:12-17.


               RESPONSE: Undisputed.

       50.       At CSB, Best’s work hours were Monday through Friday, 9:00 a.m. to 5:00

p.m., and Best could only work overtime if it was approved by Chief Chisley-Missouri. Ex. 1,

Best Decl. at ¶ 5.

               RESPONSE:         Disputed because Darrell Best’s credibility is established as

               unreliable: he is documented liar. Charges of fraud and time/attendance were

               sustained against him in 2007 (Ex. 4, Fraud/ Time Attendance); he denied under

               oath the allegations against him that were sustained in the second sexual harassment

               case against him in 2009 (Defendant’s Ex. 14); and the District’s Rule 30(b)(6)

               witness on Internal Affairs testified that if the first sexual harassment case against

               him in 2008 had been investigated properly, the charges would have been sustained.

               Ex. 5, Inspector Dickerson Tr., at 211:19-213:14.

               Further, Best has exclusive access to many of the purported facts he swears to in

               his Declaration, he is interested in the outcome of the case, and there has been no

               opportunity for cross-examination.

       51.       On the night that Best assaulted Plaintiff, he was not authorized to work

overtime. Id. at ¶ 20.



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                RESPONSE: Disputed for the same reasons set forth in response to Defendant’s

                No. 50 above, as the assertion is based solely on Best’s utterly unreliable word.

        52.       The unmarked police car that Best used to take Plaintiff to dinner in December

2014, was assigned to CSB for official MPD business and the keys to the vehicle were kept in the

CSB office. Id. at ¶ 6.

                RESPONSE: Disputed because Officer Best had signed a police car out of the

                MPD motor pool on December 1, 2014. The record shows that the cruiser had not

                been returned as of December 14, 2014. Ex. 6, Motor Pool records.

        53.       Best was not authorized by any MPD official to use the vehicle to take Plaintiff

to dinner. Id. at ¶ 22.

                RESPONSE: Disputed because MPD authorized Best’s use of a police car by

                permitting him access to the Motorpool. Id. The CSB oversees the Motorpool.

                Id. Best was detailed to the CSB by the chief of police, effective November 24,

                2014. Defendant’s Ex. 3. During his first nine (9) days at CSB, Best signed out

                police cars on three occasions: November 26, 27 and December 1, 2014. He

                returned the cars the same day on November 26 and 27, but there is no indication

                in the record as of December 14th that he had returned the car he signed out on

                December 1st. Id.

        54.       No one at MPD was aware of Best’s dinner plans with Plaintiff. Id. at ¶¶ 22, 23.

                RESPONSE: Disputed. Best cannot have personal knowledge that no one at

                MPD was aware of his dinner plans with Jaquia. It is an epistemic and

                psychological impossibility.




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        55.       Best independently decided to use the CSB car to avoid rush hour and parking

problems. Id. at ¶ 22.

                RESPONSE: Disputed because the “CSB car” is not necessarily the car that Best

                used, as the car he signed out from the Motorpool on December 1, 2014 had not

                been returned by December 14th.

        56.       Best’s duties as a police officer were completely unrelated to his association and

work with the God of Second Chance Ministries. Id. at ¶ 8.

                RESPONSE: Disputed. Best told Jaquia Buie’s mother that he was working

                overtime as an MPD officer and receiving overtime payments for working in the

                church. Jaquia Tr. 100:19-21 Furthermore, that fact that he was a member of

                MPD who visibly wore his sidearm under his pastoral robe inexorably associated

                MPD with his ministry. Ex. 1, J. Buie Tr., at 100:19-21

        57.       Best did not seek approval or authorization from MPD to establish or preach at

the church. Id. at ¶ 9.

                RESPONSE: Disputed. In 2011, IAD opened a chain of command investigation

                after a male member of Best’s church called the MPD alleging that Best was

                having an affair with his wife and wore his service weapon while preaching in the

                pulpit. Id. MPD explicitly required Best to explain why it was appropriate to

                wear his service weapon in church, and Best’s sought authorization from the

                MPD to continue wearing his uniform in church and service weapon in the pulpit.

        58.       MPD did not assign Best to perform any police-related duties at or for the

church Id. at ¶ 10.




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                RESPONSE: Disputed. Best told Jaquia Buie’s mother that he was working

                overtime as a MPD officer and receiving overtime payments for working in the

                church. Id., at 236:11-14, 245:11-17.

        59.       There was no official or unofficial association or connection between MPD and

the church. Id. at ¶ 11.

                RESPONSE: Disputed. ABC 7 News broadcast a story showing Best dressed

in his MPD police uniform and preaching in church at part of its coverage of his arrest in March

2015. Moreover, that a uniformed MPD officer is in the pulpit of a church necessarily creates, at

minimum, an “unofficial association [and] connection between MPD and the church.”

https://www.youtube.com/watch?v=sMtRYs_HXoM

        60.     All MPD recruits are trained on sexual misconduct topics in the context of

learning the offenses of the D.C. Criminal Code, as well as in the context of EEO training.

Ex. 18, Davis Dep. Tr. at 6:9-19, 32:22-33:7.

                RESPONSE: Disputed. This is false. The only evidence of training is on sexual

                harassment, which is a single category (at minimum, 1 of 10) of sexual

                misconduct. See Ex.___, Addressing Sexual Offenses and Misconduct by Law

                Enforcement: Executive Guide, at 3-4. There is no evidence that MPD recruits, or

                MPD sworn members, have ever received training on the broader topic of police

                sexual misconduct, because they have not. The “EEO/Sexual Harassment”

                training for MPD recruits consists of a segment of a 40-hour program divided into

                20 topics, 19 of which are unrelated to sexual misconduct. Def. Ex. 18, Dep, Lt.

                Arthur Davis, 34: 8-16; Def. Ex. 19, Dep. Alphonso, 29:4. The training module

                speaks for itself. Ex. __., EEO Training Module.




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       61.      MPD recruits are also trained “to act ethically, act with morals, act with

standards[.]” Id. at 7:10-19.

               RESPONSE: Disputed. The District mistakes taking a course in ethics for

               actually being conditioned—trained—to conduct oneself ethically. (One can take

               a course multiple times and fail it for consecutive semesters: happens all the

               time.) Officer Best actually was the person who taught the Code of Ethics at the

               Police Academy in 2007, the same year that the fraud/ time attendance charge was

               sustained against him, as well as the year in which the incidents upon which

               Internal Affair’s first investigation of police sexual misconduct against him was

               predicated (Defendant District Exhibit 12, at DC 001479), and which Inspector

               Kimberly Dickerson (the District’s 30(b)(6) witness regarding Internal Affairs has

               effectively said he lied about not committing. Ex__ Inspector Kimberly

               Dickerson Tr. at 211-213..




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       62.      MPD officers receive ongoing, quarterly sexual harassment training

throughout their time on the force. Ex. 19, Lee Dep. Tr. at 30:7-20.

              RESPONSE: Disputed because it is not accurate. It refers to sexual harassment

              training begun in 2017 as a result of Mayor’s Order 2017-313, which was promulgated

              three years after the night of December 3, 2014.


                                             Respectfully submitted,

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                                             December 21, 2020

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                                 CERTIFICATE OF SERVICE

               I hereby certify that this document filed through the CM/ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing and

paper copies will be sent to those indicated as non-registered participants on December 21, 2020.



                                                /s/ Mark A. Smith
                                                Mark A. Smith




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